      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 1 of 348



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                          * MDL NO. 2592
LIABILITY LITIGATION
                                                               * SECTION L
                                                               *
                                                               * JUDGE ELDON E. FALLON
                                                               *
                                                               * MAG. JUDGE SHUSHAN
**********************************************                 *

THIS DOCUMENT RELATES TO: ALL CASES

                                      PRETRIAL ORDER #1
                                     Setting Initial Conference

          It appearing that civil actions listed on Schedule A, attached hereto, which were

transferred to this Court by order of the Judicial Panel on Multi District Litigation pursuant to its

order of December 12, 2014 merit special attention as complex litigation, the following Order is

issued:

          1. INTRODUCTION—It is not yet known how many attorneys will eventually join this

litigation, but we can assume it will be a large number. The attorneys involved in a multi-district

case, such as this, will probably be laboring together for some time in the future with work

progressively becoming more complicated and exacting. Some will know each other and some

will be complete strangers. Undoubtedly each has a different style and personality. It is likely

that during the course of this litigation their working relationship will occasionally be strained,

communication derailed, and mutual trust questioned. The just and efficient resolution of this

litigation will depend in large measure on the way the attorneys comport themselves and

overcome the temptations and trepidations inherent in a case of this magnitude. The Manual for

Complex Litigation recognizes that judicial involvement in managing complex litigation does

not lessen the duties and responsibilities of the attorneys. To the contrary, the added demands
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 2 of 348



and burdens of this type of litigation place a premium on professionalism and require counsel to

fulfill their obligations as advocates in a manner that will foster and sustain good working

relations among fellow counsel and the Court. The Court expects, indeed insists, that

professionalism and courteous cooperation permeate this proceeding from now until this

litigation is concluded. The court record should never be the repository of ill- chosen words

arising out of a sense of frustration over real or imagined issues. Because of the high level of

competence and experience of attorneys who are generally involved in multi-district litigation,

this Court is confident that this objective will be achieved without judicial intervention.



       2. APPLICABILITY OF ORDER—Prior to the initial pretrial conference and entry of a

comprehensive order governing all further proceedings in this case, the provisions of this Order

shall govern the practice and procedure in those actions that were transferred to this Court by the

Judicial Panel on Multi District Litigation pursuant to its order of December 12, 2014 listed on

Schedule A. This Order also applies to all related cases filed in all sections of the Eastern

District of Louisiana and will also apply to any "tag-along actions" later filed in, removed to, or

transferred to this Court.



       3. CONSOLIDATION—The civil actions listed on Schedule A are consolidated for

pretrial purposes. Any “tag-along actions” later filed in, removed to or transferred to this Court,

or directly filed in the Eastern District of Louisiana, will automatically be consolidated with this

action without the necessity of future motions or orders. This consolidation, however, does not

constitute a determination that the actions should be consolidated for trial, nor does it have the




                                                 [2]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 3 of 348



effect of making any entity a party to any action in which he, she or it has not been named,

served or added in accordance with the Federal Rules of Civil Procedure.



       4. DATE OF INITIAL CONFERENCE AND AGENDA FOR CONFERENCE—Matters

relating to pretrial and discovery proceedings in these cases will be addressed at an initial pretrial

conference to be held on January 29, 2015 at 9:00 a.m. in Judge Eldon E. Fallon's courtroom,

Room C- 468, United States Courthouse, 500 Poydras Street, New Orleans, Louisiana. Counsel

are expected to familiarize themselves with the Manual for Complex Litigation, Fourth (“MCL

4th”) and be prepared at the conference to suggest procedures that will facilitate the expeditious,

economical, and just resolution of this litigation. The items listed in MCL 4th Sections 22.6,

22.61, 22.62, and 22.63 shall, to the extent applicable, constitute a tentative agenda for the

conference. Counsel shall confer and seek consensus to the extent possible with respect to the

items on the agenda, including a proposed discovery plan, amendment of pleadings,

consideration of any class action allegations and motions, and be prepared to discuss the mode of

trial. If the parties have any suggestions as to any case management orders or additional agenda

items, these shall be faxed to (504) 589-6966 or otherwise submitted to the Court on or before

January 27, 2015.



       5. POSITION STATEMENT—Plaintiffs and defendants shall submit to the Court on or

before January 20, 2015 a brief written statement indicating their preliminary understanding of

the facts involved in the litigation and the critical factual and legal issues. These statements will

not be filed with the Clerk, will not be binding, will not waive claims or defenses, and may not

be offered in evidence against a party in later proceedings. The parties' statements shall list all



                                                 [3]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 4 of 348



pending motions, as well as all related cases pending in state or federal court, together with their

current status, including any discovery taken to date, to the extent known. The parties shall be

limited to one such submission for all plaintiffs and one such submission for all defendants.



       6. APPEARANCE AT INITIAL CONFERENCE—Each party represented by counsel

shall appear at the initial pretrial conference through their attorney who will have primary

responsibility for the party’s interest in this litigation. Parties not represented by counsel may

appear in person or through an authorized and responsible agent. To minimize costs and

facilitate a manageable conference, parties with similar interests may agree, to the extent

practicable, to have an attending attorney represent their interest at the conference. A party, by

designating an attorney to represent the party’s interest at this initial conference, will not be

precluded from personally participating or selecting other representation during the future course

of this litigation, nor will attendance at the conference waive objections to jurisdiction, venue or

service.



       7. SERVICE—Prior to the initial conference, service of all papers shall be made on each

of the attorneys on the Panel Attorney Service List attached hereto and designated as Schedule B.

Counsel on this list are requested to forward a copy of this order to other attorneys who should

be notified of the conference. Any attorney who wishes to have his/her name added to or deleted

from such Panel Attorney Service List may do so upon request to the Clerk of this Court and

notice to all other persons on such service list. Parties who are not named as parties in this

litigation but may later be joined as parties or who are parties in related litigation pending in

other federal or state courts are invited to attend in person or through counsel. Liaison counsel



                                                  [4]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 5 of 348



for the parties, if appointed before the conference, shall present to the Court at the initial

conference a list of attorneys and their office addresses, phone and fax numbers, and E-mail

addresses.



       8. EXTENSION AND STAY—Each defendant is granted an extension of time for

responding by motion or answer to the complaint(s) until a date to be set by this Court. Pending

the initial conference and further orders of this Court, all outstanding discovery proceedings are

stayed, and no further discovery shall be initiated. Moreover, all pending motions must be

renoticed for resolution on a motion day or days after the Court's initial conference herein.



       9. MASTER DOCKET FILE—Any pleading or document which is to be filed in any of

these actions shall be filed with the Clerk of this Court and not in the transferor court. The Clerk

of this Court will maintain a master docket case file under the style "In Re: XARELTO

(RIVAROXABAN) PRODUCTS LIABILITY LITIGATION” and the identification "MDL No.

2592." When a pleading is intended to be applicable to all actions, this shall be indicated by the

words: "This Document Relates to All Cases." When a pleading is intended to apply to less than

all cases, this Court's docket number for each individual case to which the document number

relates shall appear immediately after the words "This Document Relates to." The following is a

sample of the pleading style:

IN RE: XARELTO (RIVAROXABAN)                         MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                     SECTION: L
                                                     JUDGE FALLON
                                                     MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:




                                                  [5]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 6 of 348



       10. FILING—All documents filed in this Court must be filed electronically pursuant to

Local Rule 5.7 E and this Court’s Administrative Procedures for Electronic Filing. Attorneys

may register for electronic filing at

www.laed.uscourts.gov/case-information/cmecf/e-file-registration. An attorney who, due to

exceptional circumstances, is unable to comply with the requirements of electronic filing, may

apply to the Court for an order granting an exemption. The application shall be in writing, filed

with the Clerk of Court, and shall state the reason for the attorney’s inability to comply.

Pro se litigants who have not been authorized to file electronically shall continue to file their

pleadings with the Clerk of this Court in the traditional manner, on paper.

The Clerk of Court is directed to make all entries on the master docket sheet with a notation

listing the cases to which the document applies, except that a document closing a case will also

be entered on the individual docket sheet. All documents shall be filed in the master file.



       11. DOCKETING—When an action that properly belongs as part of In Re: Xarelto

(Rivaroxaban) Products Liability Litigation is hereinafter filed in the Eastern District of

Louisiana or transferred here from another court, the Clerk of this Court shall:

           a. File a copy of this Order in the separate file for such action;

           b. Make an appropriate entry on the master docket sheet;

           c. Forward to the attorneys for the plaintiff in the newly filed or transferred case a

               copy of this Order;

           d. Upon the first appearance of any new defendant, forward to the attorneys for the

               defendant in such newly filed or transferred cases a copy of this Order.




                                                 [6]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 7 of 348



        12. APPEARANCES IN LITIGATION—Counsel who appeared in a transferor court

prior to transfer need not enter an additional appearance before this Court. Moreover, attorneys

admitted to practice and in good standing in any United States District Court are admitted pro

hac vice in this litigation, and the requirements of Local Rules 83.2.6E and 83.2.7 are waived.

Association of local counsel is not required.



        13. PRESERVATION OF EVIDENCE—All parties and their counsel are directed to

preserve evidence that may be relevant to this action. The duty extends to documents, data, and

tangible things in possession, custody and control of the parties to this action, and any

employees, agents, contractors, carriers, bailees, or other nonparties who possess materials

reasonably anticipated to be subject to discovery in this action. “Documents, data, and tangible

things” is to be interpreted broadly to include writings, records, files, correspondence, reports,

memoranda, calendars, diaries, minutes, electronic messages, voice mail, E-mail, telephone

message records or logs, computer and network activity logs, hard drives, backup data,

removable computer storage media such as tapes, discs and cards, printouts, document image

files, Web pages, databases, spreadsheets, software, books, ledgers, journals, orders, invoices,

bills, vouchers, checks statements, worksheets, summaries, compilations, computations, charts,

diagrams, graphic presentations, drawings, films, charts, digital or chemical process

photographs, video, phonographic, tape or digital recordings or transcripts thereof, drafts,

jottings and notes, studies or drafts of studies or other similar such material. Information that

serves to identify, locate, or link such material, such as file inventories, file folders, indices, and

metadata, is also included in this definition. Preservation includes the obligation not to alter any

such thing as to its form, content or manner of filing. Until the parties reach an agreement on a



                                                  [7]
      Case 2:18-cv-07825-EEF-MBN Document
                                     a    4 Filed 08/23/18 Page 8 of 348



preservation plan or the Court orders otherwise, each party shall take reasonable steps to

preserve all documents, data and tangible things containing information potentially relevant to

the subject matter of this litigation. Each counsel is under an obligation to the Court to exercise

all reasonable efforts to identify and notify parties and nonparties, including employees of

corporate or institutional parties of the contents of this paragraph. Failure to comply may lead to

dismissal of claims, striking of defenses, imposition of adverse inferences or other dire

consequences.

       Before any devices, tangible things, documents, and other records which are reasonably

calculated to lead to admissible evidence are destroyed, altered, or erased, counsel shall confer to

resolve questions as to whether the information should be preserved. If counsel are unable to

agree, any party may apply to this Court for clarification or relief from this Order upon

reasonable notice.



       14. FILING OF DISCOVERY REQUESTS—In accordance with Rule 5(d) of the

Federal Rules of Civil Procedure, discovery requests and responses are not to be filed with the

Clerk nor sent to the Judge’s Chambers, except when specifically ordered by the Court to the

extent needed in connection with a motion.



       15. LIAISON COUNSEL—It is the intent of the Court to appoint liaison counsel for the

parties. Liaison counsel shall be authorized to receive orders and notices from the Court on

behalf of all parties within their liaison group, and pending further orders of the Court, shall be

responsible for the preparation and transmittal of copies of such orders and notices to the parties

in their liaison group and perform other tasks determined by the Court. Liaison counsel shall be



                                                 [8]
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 9 of 348



required to maintain complete files with copies of all documents served upon them and shall

make such files available to parties within their liaison group upon request. Liaison counsel are

also authorized to receive orders and notices from the Judicial Panel on Multi District Litigation

pursuant to Rule 5.2(e) of the Panel's Rules of Procedure or from the transferee court on behalf

of all parties within their liaison group and shall be responsible for the preparation and

transmittal of copies of such orders and notices to the parties in their liaison group. Plaintiffs’

liaison counsel shall coordinate the establishment of a document depository, real or virtual, to be

available to all participating plaintiffs’ counsel. The expenses incurred in performing the services

of liaison counsel shall be shared equally by all members of the liaison’s group in a manner

agreeable to the parties or set by the Court failing such agreement. Applications/nominations for

the designation of liaison must be filed with the Eastern District of Louisiana’s Clerk’s Office

either electronically or on paper (original and one copy) on or before January 15, 2015. The

applications and nominations must also be served upon counsel named in Schedule B on the day

of filing. No submissions longer than three (3) pages will be considered. Appointment of liaison

counsel shall be made by the Court after full consideration of the proposals. At the initial

conference, liaison counsel and/or the parties should be prepared to discuss any additional needs

for an organizational structure or any additional matters consistent with the efficient handling of

this matter. Henceforth, liaison counsel for all parties shall meet and confer prior to the Court

conferences; prepare agendas for the conferences and submit them to the Court three days before

the conference; and report at the conference regarding the status of the case.



       16. PLAINITFFS’ STEERING COMMITTEE—It is also the Court’s intent to appoint a

Plaintiffs’ Steering Committee (“PSC”) to conduct and coordinate the discovery stage of this



                                                 [9]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 10 of 348



litigation with the defendant’s representatives or committee. Applications/nominations for the

PSC positions must be filed with the Eastern District of Louisiana’s Clerk’s Office either

electronically or on paper (original and one copy) on or before February 2, 2015. The

applications and nominations must also be served upon counsel named in Schedule B on the day

of filing. The main criteria for membership in the PSC will be: (a) willingness and availability to

commit to a time-consuming project; (b) ability to work cooperatively with others; and (c)

professional experience in this type of litigation (d) willingness to commit the necessary

resources to pursue this matter. Applications/nominations should succinctly address each of the

above criteria as well as any other relevant matters. No submissions longer than four (4) pages

will be considered. The Court will only consider attorneys who have filed a civil action in this

litigation, and the application/nomination should include a list of cases in which the attorney

appears as counsel.

        Objections may be made to the appointment of a proposed applicant/nominee.

Nevertheless, the Court will entertain only written objections to any application/nomination.

These must be filed with the Clerk of Court either electronically or on paper (original and one

copy) on or before February 5, 2015. The objections, if there be any, must be short, yet

thorough, and must be supported by necessary documentation. As with the

application/nomination, any objection must be served on all counsel appearing on the attached

list on the day of filing.

                The PSC will have the following responsibilities:

                Discovery




                                                [10]
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 11 of 348



             1. Initiate, coordinate, and conduct all pretrial discovery on behalf of

                 plaintiffs in all actions which are consolidated with the instant

                 multidistrict litigation.

             2. Develop and propose to the Court schedules for the commencement,

                 execution, and completion of all discovery on behalf of all plaintiffs.

             3. Cause to be issued in the name of all plaintiffs the necessary discovery

                 requests, motions, and subpoenas pertaining to any witnesses and

                 documents needed to properly prepare for the pretrial discovery of

                 relevant issue found in the pleadings of this litigation. Similar

                 requests, notices, and subpoenas may be caused to be issued by the

                 PSC upon written request by an individual attorney in order to assist

                 him/her in the preparation of the pretrial stages of his/her client’s

                 particular claims.

             4. Conduct all discovery in a coordinated, efficient, and consolidated

                 manner on behalf and for the benefit of all plaintiffs. No attorney for

                 a plaintiff may be excluded from attending the examination of

                 witnesses and other proceedings. Such attorney may suggest questions

                 to be posed to deponents through the designated PSC members

                 provided that such questions are not repetitious.

       Hearings and Meeting

             1. Call meetings of counsel for plaintiffs for any appropriate purpose,

                 including coordinating responses to questions of other parties or of the




                                       [11]
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 12 of 348



                 Court. Initiate proposals, suggestions, schedules, or joint briefs, and

                 any other appropriate matter(s) pertaining to pretrial proceedings.

             2. Examine witnesses and introduce evidence at hearings on behalf of

                 plaintiffs.

             3. Act as spokesperson for all plaintiffs at pretrial proceedings and in

                 response to any inquiries by the Court, subject of course to the right of

                 any plaintiff’s counsel to present non-repetitive individual or different

                 positions.

       Miscellaneous

             1. Submit and argue any verbal or written motions presented to the Court

                 or Magistrate on behalf of the PSC as well as oppose when necessary

                 any motions submitted by the defendant or other parties which involve

                 matters within the sphere of the responsibilities of the PSC.

             2. Negotiate and enter into stipulations with Defendants regarding this

                 litigation. All stipulations entered into by the PSC, except for strictly

                 administrative details such as scheduling, must be submitted for Court

                 approval and will not be binding until the Court has ratified the

                 stipulation. Any attorney not in agreement with a non-administrative

                 stipulation shall file with the Court a written objection thereto within

                 ten (10) days after he/she knows or should have reasonably become

                 aware of the stipulation. Failure to object within the term allowed

                 shall be deemed a waiver and the stipulation will automatically be

                 binding on that party.



                                      [12]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 13 of 348



                       3. Explore, develop, and pursue all settlement options pertaining to any

                           claim or portion thereof of any case filed in this litigation.

                       4. Maintain adequate files of all pretrial matters and have them available,

                           under reasonable terms and conditions, for examination by plaintiffs or

                           their attorneys.

                       5. Prepare periodic status reports summarizing the PSC’s work and

                           progress. These reports shall be submitted to the Plaintiffs’ Liaison

                           Counsel who will promptly distribute copies to the other plaintiffs’

                           attorneys.

                       6. Perform any task necessary and proper for the PSC to accomplish its

                           responsibilities as defined by the Court’s orders.

                       7. Perform such other functions as may be expressly authorized by

                           further orders of this Court.

                       8. Reimbursement for costs and/or fees for services will be set at a time

                           and in a manner established by the Court after due notice to all counsel

                           and after a hearing.



       17. DEFENDANT(S) STEERING COMMITTEE—The Court will consider the

recommendations of the defendant(s) for membership on the defendant(s) steering committee.

Defendant(s) Steering Committee will have the duties and responsibilities described in

Paragraph 16 of this order as it pertains to this respective group.




                                                  [13]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 14 of 348



       18. MDL 2592 WEBSITE—A website particular to MDL 2592 has been created and can

be accessed by going to this Court’s website located at www.laed.uscourts.gov and clicking on

“MDL & Mass/Class Action,” and then clicking on the link to “Xarelto (Rivaroxaban) Products

Liability Litigation, 14-MD-2592 (Hon. Eldon E. Fallon)” located under the” Multi-District

Litigation (MDL) Cases” heading. The MDL 2592 website may also be accessed directly by

going to www.laed.uscourts.gov/xarelto. The website will contain forms, court orders, minute

entries, a calendar of upcoming events, and other relevant information.



       19. COMMUNICATION WITH THE COURT—Unless otherwise ordered by this Court,

all substantive communications with the Court shall be in writing, with copies to opposing

counsel. Nevertheless, the Court recognizes that cooperation by and among plaintiffs' counsel

and by and among defendant’s counsel is essential for the orderly and expeditious resolution of

this litigation. The communication of information among and between plaintiffs' counsel and

among and between defendant's counsel shall not be deemed a waiver of the attorney-client

privilege or the protection afforded attorney's work product, and cooperative efforts

contemplated above shall in no way be used against any plaintiff by any defendant or against any

defendant by any plaintiff. Nothing contained in this provision shall be construed to limit the

rights of any party or counsel to assert the attorney-client privilege or attorney work product

doctrine.

                       New Orleans, Louisiana this 17th day of December, 2014.



                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
       Attachments



                                                [14]
   Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 15 of 348



IN RE: XARELTO (RIVAROXABAN)
PRODUCTS LIABILITY LITIGATION                                 MDL No. 2592


                                     SCHEDULE A


          Northern District of Florida

     NICHOLSON v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 5:14-00173

          Southern District of Florida

     PACKARD v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 0:14-61448

          Southern District of Illinois

     LEMP, ET AL. v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-00987
     HANEY v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-00988
     LEACH v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-00989
     RUCKER v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-01026
     PENNELL, ET AL. v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-01040
     MCMUNN v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-01042
     BIVEN v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-01050
     MULRONEY v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 3:14-01073

          Eastern District of Kentucky

     BOLTON, ET AL. v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
          C.A. No. 0:14-00146

          Western District of Kentucky

     COX v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
           C.A. No. 3:14-00579
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 16 of 348



                                       - A2 -

       Eastern District of Louisiana

 BRASWELL v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
     C.A. No. 2:14-02258

       Eastern District of New York

 JEFFCOAT v. JANSSEN REASEARCH & DEVELOPMENT LLC, ET AL.,
      C.A. No. 1:14-04524
 GRIGGS, ET AL. v. JANSSEN RESEARCH & DEVELPMENT LLC, ET AL.,
      C.A. No. 1:14-04841
 BOYNTON, ET AL. v. JANSSEN RESEARCH & DEVELPMENT LLC, ET AL.,
      C.A. No. 1:14-05133
 USELTON v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
      C.A. No. 1:14-05728
 GREEN, ET AL. v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
      C.A. No. 1:14-05871

       District of Utah

 ARMSTRONG, ET AL. v. JANSSEN RESEARCH & DEVELOPMENT, ET AL.,
     C.A. No. 2:14-00599

       District of Vermont

 MCGOWAN v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET AL.,
     C.A. No. 2:14-00159

       Southern District of West Virginia

 DALRYMPLE v. JANSSEN RESEARCH & DEVELOPMENT LLC, ET. AL.,
     C.A. No. 5:14-25893
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 17 of 348



                                       SCHEDULE B

Plaintiffs’ Counsel

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Plaintiffs: Ruth E. McGowan as the Executrix for and on behalf of the heirs of the estate of
Thomas C. Dunkley, Edwin Nicholson, Sharon Rucker as the Administrator for and on behalf of
the heirs of the Estate of Marion Rucker, Jr.

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Plaintiffs: Shirley Boynton & James Boynton, Harry Griggs and Joseph Griggs, on behalf of the
Estate of Charles Griggs, deceased, and Harry Griggs and Joseph Griggs, Individually, Julia
Green and Arthur Green, Carolyn Uselton, Jeanne Jeffcoat

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Plaintiff: Michael Mulroney

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Plaintiff: Michael Mulroney
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 18 of 348



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Plaintiff: Ronald Dalrymple

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Fax: (212) 779-3218
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Plaintiff: Alice Rentrop

Neil D. Overholtz
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Tel: (850) 202-1010
Fax: (850) 916-7449
noverholtz@awkolaw.com
Plaintiffs: Scott Lindsey individually and as successor-in-interest and proposed estate
representative of the Estate of Donald G. Lindsey, deceased, Nancy Packard, Individually and as
Personal Representative of the Estate of William N. Packard, Jr.

David Cleary
CLEARY SHAHI & AICHER, P.C.
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P.O. Box 6740
Rutland, VT 05702-6740
Tel: (802) 775-8909
Fax: (802) 775-8809
dlc@clearyshahi.com
Plaintiffs: Ruth E. McGowan as the Executrix for and on behalf of the heirs of the estate of
Thomas C. Dunkley




                                               [2]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 19 of 348



Bruce Kingsdorf
Dawn Barrios
Zachary Logan Wool
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New Orleans, LA 70139-3650
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kingsdorf@bkc-law.com
barrios@bkc-law.com
zwool@bkc-law.com
Plaintiff: Christopher Braswell

Roger C. Denton
Kristine K. Kraft
Ashley Brittain Landers
SCHLICHTER, BOGARD & DENTON, LLP
100 South 4th Street, Suite 900
St. Louis, MO 63102
Tel: (314) 621-6115
Fax: (314) 621-7151
rdenton@uselaws.com
kkraft@uselaws.com
abrittain@uselaws.com
Plaintiffs: Christopher Braswell, Dorothy Leach, William F. Haney, Mary K. Lemp and Charles
Lemp, Jr., Stanley Pennell and Nancy Pennell, Michael Mulroney

Nancy A. Mismash
ROBERT J. DEBRY & ASSOCIATES
4252 S. 700 E
Salt Lake City, UT 84107
Tel: (801) 262-8915
nmismash@robertdebry.com
Plaintiffs: Dale Armstrong, Karen Cimino, Clifford Armstrong and Douglas Armstrong, heirs,
Individually and on behalf of Margaret Armstrong, deceased

Lawrence L Jones, II
JONES WARD, PCL
312 S. Fourth Street, 6th Floor
Louisville, KY 40202
Tel: (502) 882-6000
Fax: (502) 587-2007
larry@jonesward.com
Plaintiff: Marilynne A. Cox, Jeanette and Charles Bolton




                                              [3]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 20 of 348



Diane M. Nast
NASTLAW LLC
1101 Market Street, Suite 2801
Philadelphia, Pennsylvania 19107
Tel: (215) 923-9300 Fax: (215) 923-9302
dnast@nastlaw.com
Plaintiffs: Richard Newman, Donald Norword and Carol Hines

Robert C. Hilliard
Catherine Tobin
T. Christopher Pinedo
Marion Reilly
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719 S. Shoreline, Suite 500
Corpus Christi, Texas 78401
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bob@hmglawfirm.com
catherine@hmglawfirm.com cpinedo@hmglawfirm.com
marion@hmglawfirm.com
Plaintiff: Tatyana Tonyan

Andrew Childers
CHILDERS, SCHLUETER & SMITH, LLC
1932 N. Druid Hills Road
Suite 100
Atlanta, Georgia 30319
Plaintiff: Kimberly West

Michael K. Johnson
JOHNSON BECKER, PLLC
33 South Sixth Street, Suite 4530
Minneapolis, MN 55402
Tel: (612) 436-1800
Fax: (612) 436-1801
MJohnson@johnsonbecker.com
Plaintiff: Martha McMunn

D. Todd Mathews
GORI, JULIAN & ASSOCIATES, PC
156 N. Main Street
Edwardsville, IL 62025
Tel: 618-659-9833
Fax: 618-659-9834
todd@gorijulianlaw.com
Plaintiff: Robert Biven


                                           [4]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 21 of 348



Scott R. Bickford, T.A.
Lawrence J. Centola, III
Jason Z. Landry
MARTZELL & BICKFORD
338 Lafayette Street
New Orleans, LA 70130
Plaintiffs: Joann Varnado and Christian Varnado, individually and on behalf of decedent Gerald
Varnado

Eve S. Reardon, Esq.
THE KEATING LAW FIRM, LLC
3714 Airline Drive
Metairie, LA 70001
Plaintiffs: Joann Varnado and Christian Varnado, individually and on behalf of decedent Gerald
Varnado

Morris Bart
Daniel B. Snellings
Mekel Alvarez
MORRIS BART, LLC
909 Poydras Street, 20th Floor
New Orleans, LA 70112
Plaintiffs: James J. Brien Sr. and Dolly S. Brien, Linda Randazzo, individually, and on behalf of
Lawrence Randazzo, Samantha Davis, Claudette Brown, Patricia Ferguson, Douglas and Shirley
Silvey, Lionel St. Amand

Galen M. Hair, T.A.
Benjamin C. Varadi
VARADI, HAIR & CHECKI, LLC
650 Poydras St., Ste. 1550
New Orleans, LA 70130
Plaintiffs: Estate of Cornelius McLain Goodwin III, Rose Marie Goodwin, Steven Wayne
Goodwin, Craig McLain Goodwin, Liza Ann Gatson and Cornelius McLain Goodwin IV

Ronald E. Johnson, Jr.
Sarah N. Lynch
SCHACHTER, HENDY & JOHNSON, PSC
909 Wright’s Summit Parkway #210
Ft. Wright, KY 41011
Plaintiffs: Tony Mathena and Karen Mathena




                                               [5]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 22 of 348



Amy M. Carter
SIMON GREENSTONE PANATIER BARTLETT, P.C.
3232 McKinney Avenue, Suite 610
Dallas, TX 75204
Plaintiff: Marilyn S. Haney, as the Executrix for and on Behalf of the Heirs of the Estate of
Bobby N. Haney

Russell Wills Buss
BARON & BUDD, P.C.
3102 Oaklawn Avenue, Suite 1100
Dallas, TX 75219
Tel: (214) 521-3605
Fax: (214) 520-1181
sblackburn@baronbudd.com
Plaintiff: Sara Jean Jonas

Steven Davis
TORHOERMAN LAW LLC
101 W. Vandalia St., Ste. 350
Edwardsville, IL 62025
Tel: (618) 656-4400
Fax: (618) 656-4401
sdavis@torhoermanlaw.com
Plaintiff: Theodore Van Dorn, Jr.; Howard Mize

M. Elizabeth Graham
GRANT & EISENHOFER P.A.
123 Justison Street. 7th Floor
Wilmington, DE 19801
Tel: (302) 622-7000
Fax: (302) 722-7001
egraham@gelaw.com
Plaintiff: William Sandusky

Jay F. Hirsch
POPE, MCGLAMRY, KILPATRICK, MORRISON & NORWOOD, P.C.
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3391 Peachtree Road, N.E.
Atlanta, GA 303026
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Fax (404) 524-1648
efile@pmkm.com
Plaintiff: Randolph Sinclair




                                               [6]
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 23 of 348



Seth A. Katz
BURG SIMPSON ELDREDGE HERSH & JARDINE, P.C.
40 Inverness Drive East
Englewood, CO 80112
Tel: (303) 792-5595
Fax: (303) 708-0527
Plaintiff: Henry Harding and Mary Jane Harding

Kristian Rasmussen
CORY WATSON CROWDER & DeGARIS, P.C.
2131 Magnolia Avenue
Birmingham, AL, 35205
Tel: (205) 328-2200
Fax: (205) 324-7896
krasmussen@cwcd.com
Plaintiff: Annie Banks

Melissa Mendoza
BERNSTEIN LIEBHARD LLP
10 East 40th Street, 22nd Floor
New York, NY 10016
Phone: (212) 779-1414
Fax: (212) 779-3218
Email: mmendoza@bernlieb.com
Plaintiff: Claire Browning

Chad Joseph Primeaux
Douglas Robert Plymale
James Dugan
Lanson Leon Bordelon
THE DUGAN LAW FIRM, APLC
One Canal Place, Suite 1000
365 Canal Street
New Orleans, LA 70130
Tel: (504) 648-0180
Fax: (504) 648-0181
cprimeaux@dugan-lawfirm.com
drplymale@plymalelawfirm.com
jdugan@dugan-lawfirm.com
lbordelon@duganlawfirm.com
Plaintiff: William Heffker




                                    [7]
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 24 of 348



Frank Jacob D'Amico , Jr.
FRANK J. D’AMICO, APLC
622 Baronne Street, 2nd Floor
New Orleans, LA 70113
Tel: (504) 525-7272
Fax: (504) 525-1167
frank@damicolaw.net
Plaintiff: William Heffker

Defendants’ Counsel

F.M. (Tripp) Haston, III
BRADLEY ARANT BOULT CUMMINGS LLP 1819 Fifth Avenue North
Birmingham, AL 35203
Phone: (205) 521-8303
Fax: (205) 488-6303
Email: thaston@babc.com
Defendants: Bayer HealthCare Pharmaceuticals Inc., Bayer HealthCare LLC,
Bayer Corporation

Susan M. Sharko
DRINKER BIDDLE & REATH LLP
600 Campus Drive
Florham Park, NJ 07932-1047
Phone: (973) 549-7000
Fax: (973) 360-9831
Email: susan.sharko@dbr.com
Defendants: Janssen Pharmaceuticals, Inc., Janssen Research & Development, LLC, Janssen
Ortho LLC, Johnson & Johnson

Bayer Pharma, AG
Mullerstrasse 178
D-13353
Berlin, Germany

Bayer Healthcare AG
CHEMPARK Leverkusen
Zentraler Besucherempfang
Kaiser-Wilheml-Allee
D-51368 Leverkusen

Bayer AG1
Leverkusen
North Rhine-Westphalia, Germany




                                            [8]
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 25 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                          * MDL NO. 2592
LIABILITY LITIGATION
                                                               * SECTION L
                                                               *
                                                               * JUDGE ELDON E. FALLON
                                                               *
                                                               * MAG. JUDGE NORTH
**********************************************                 *

THIS DOCUMENT RELATES TO ALL CASES

                                     PRETRIAL ORDER #2

       Pursuant to Pretrial Order #1, issued by this Court on December 17, 2014, the Court has

received applications for the position of Plaintiffs’ Liaison Counsel and finds that Gerald E.

Meunier and Leonard A. Davis are well qualified to carry out the duties and responsibilities of

the position. Accordingly, the Court hereby appoints Gerald E. Meunier, 2800 Energy Centre,

1100 Poydras St., New Orleans, LA 70163, and Leonard A. Davis, 820 O’Keefe Ave., New

Orleans, Louisiana 70113, to serve as Co-Plaintiffs’ Liaison Counsel.

               The responsibilities of Co-Plaintiffs’ Liaison Counsel shall be the following:

               1. to serve as the recipient for all Court orders on behalf of all of the plaintiffs;

               2. to coordinate service and filings for all plaintiffs whether presently included
                  or subsequently added;

               3. to maintain and distribute to co-counsel and to Defendants' Liaison Counsel
                  an up-to-date service list;

               4. to receive and distribute pleadings, orders, and motions by overnight courier
                  service and/or telecopier within two days after receipt, unless such service has
                  been waived, in writing, by a receiving counsel (until some program for
                  electronic service can be arranged and agreed upon);

               5. to coordinate the establishment of a document depository, real or virtual, to be
                  available to all participating plaintiffs’ counsel;
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 26 of 348



              6. to maintain and make available to all participating plaintiffs’ counsel of record
                 at reasonable hours a complete file of all documents served by or upon each
                 party (except such documents as may be available at a document depository);

              7. to prepare agendas for court conferences and periodically report regarding the
                 status of the case; and

              8. to carry out such other duties as the Court may order.

       Liaison counsel shall be entitled to seek reimbursement for costs expended at the time

and in a manner approved by the Court.


                     New Orleans, Louisiana this 16th day of January, 2015.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE




                                               [2]
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 27 of 348



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                        * MDL NO. 2592
LIABILITY LITIGATION
                                                             * SECTION L
                                                             *
                                                             * JUDGE ELDON E. FALLON
                                                             *
                                                             * MAG. JUDGE NORTH
**********************************************               *

THIS DOCUMENT RELATES TO ALL CASES

                                   PRETRIAL ORDER #3

       Pursuant to Pretrial Order #1, issued by this Court on December 17, 2014, Defendants

have informed the Court that they have selected James B. Irwin as Defendants’ Liaison Counsel.

Accordingly, the Court designates James B. Irwin, 400 Poydras St., Suite 2700, New Orleans,

Louisiana 70130, to be Defendants’ Liaison Counsel.

              The responsibilities of Defendants’ Liaison Counsel shall be the following:

              1. to serve as the recipient for all Court orders on behalf of all of all defendants;

              2. to coordinate service and filings for all defendants whether presently included
                 or subsequently added;

              3. to receive and distribute pleadings, orders, and motions by overnight courier
                 service and telecopier within two days after receipt, unless such service has
                 been waived, in writing, by a receiving counsel (until some program for
                 electronic service can be arranged and agreed upon); and

              4. to carry out such other duties as the Court may order.

       Liaison counsel shall be entitled to seek reimbursement for costs expended at the time

and in a manner approved by the Court.

                     New Orleans, Louisiana this 16th day of January, 2015.

                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 28 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                        * MDL NO. 2592
LIABILITY LITIGATION
                                                             * SECTION L
                                                             *
                                                             * JUDGE ELDON E. FALLON
                                                             *
                                                             * MAG. JUDGE NORTH
**********************************************               *

THIS DOCUMENT RELATES TO ALL CASES

                                    PRETRIAL ORDER #4

        The Court has appointed the following persons to serve as Liaison Counsel in this matter:

For the Plaintiffs:                               For the Defendants:

Gerald E. Meunier                                 James B. Irwin
Gainsburgh Benjamin David Meunier &               Irwin Fritchie Urquhart & Moore LLC
Warshauer, LLC                                    400 Poydras Street, Suite 2700
2800 Energy Centre                                New Orleans, LA 70130
1100 Poydras Street                               Telephone: 504-310-2100
New Orleans, Louisiana 70130                      Fax: (504) 310-2120
Phone: 504-522-2304                               Email: jirwin@irwinllc.com
Fax: 504-528-9973
Email: gmeunier@gainsben.com

Leonard A. Davis
Herman, Herman & Katz, LLC
820 O’Keefe Avenue
New Orleans, LA 70113
Phone: 504-581-4892
Fax: 504- 561-6024
Email: ldavis@hhklawfirm.com


        IT IS ORDERED that all counsel within 5 days of receipt of this order shall provide to

the appropriate Liaison Counsel updated contact information to be used for service. Henceforth,

service of all papers by the Court will be made on Liaison Counsel only. It shall then be the

responsibility of Liaison Counsel to serve said papers on each of the attorneys or parties with
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 29 of 348



whom that Liaison Counsel is affiliated. Accordingly, IT IS FURTHER ORDERED that

Paragraph 7 of Pretrial Order #1 regarding SERVICE is hereby AMENDED to reflect this

change.

       IT IS FURTHER ORDERED that Liaison Counsel shall meet and confer and prepare a

proposed agenda for the upcoming meeting and submit it to the Court three days (3) before the

meeting.

       IT IS FURTHER ORDERED that Paragraph 11 of Pretrial Order #1 regarding

DOCKETING is hereby AMENDED to read as follows:

       DOCKETING---When an action that properly belongs as a part of In Re: Xarelto

(Rivaroxaban) Products Liability Litigation is hereinafter filed in the Eastern District of

Louisiana or transferred here from another court, the Clerk of this Court shall:

               a. Place a copy of this Order (Pretrial Order #4) in the separate file for such

                   action;

               b. Make an appropriate entry on the master docket sheet;

               c. Forward to all counsel in the newly filed or transferred case a copy of this

                   Order.

                       New Orleans, Louisiana this 26th day of January, 2015.

                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE




                                                 [2]
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 30 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                       * MDL NO. 2592
LIABILITY LITIGATION
                                                            * SECTION L
                                                            *
                                                            * JUDGE ELDON E. FALLON
                                                            *
                                                            * MAG. JUDGE NORTH
**********************************************              *

THIS DOCUMENT RELATES TO ALL CASES



                                   PRETRIAL ORDER #4A

       All counsel shall provide to the appropriate Liaison Counsel their contact information

using the MDL 2592 Counsel Contact Information form attached hereto. The information set

forth in this form shall be updated as necessary so that the information made available to Liaison

Counsel remains current and accurate on an ongoing basis. The contact information shall be

used for service, and Liaison Counsel shall be entitled to rely on the information when

distributing or circulating information in these proceedings. The obligation to provide accurate

and updated information in the MDL 2592 Counsel Contact Information form rests solely on the

part of counsel providing the information. Liaison Counsel is relieved of any responsibility for

serving materials on, or distributing information to, any counsel failing to provide current and

accurate information in a MDL 2592 Counsel Contact Information form.



       The Clerk of Court shall transmit a copy of this Order to all listed counsel of record

herein. When an action is hereafter transferred into or consolidated with this MDL, the Clerk of
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 31 of 348



Court shall: (i) file a copy of this Order in any such action; and (ii) forward a copy of this Order

to counsel for the plaintiff(s) in the newly-filed or transferred action.

       New Orleans, Louisiana this 26th day of January, 2015.


                                                            ________________________________
                                                                           ELDON E. FALLON
                                                            UNITED STATES DISTRICT JUDGE




 
             Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 32 of 348

                  IN RE: XARELTO (RIVAROXABAN) PRODUCTS
                             LIABILITY LITIGATION
MDL 2592                                   Section L                          Judge Eldon Fallon

                  MDL 2592 Counsel Contact Information (Form PTO-4)
                                         Please print or type below.

                                       ATTORNEY INFORMATION
Check              Plaintiff Counsel          Defense Counsel               Third Party
One:                                                                        Defense Counsel

Last Name                        First Name                          Middle Name/Maiden   Suffix:


Address


City                             State                               Zip


Phone                                               Fax


Direct Dial No.                                     Cell Phone


State/ Bar No.                                      Email Address


Party Representing


Other Members of Firm Involved in this Litigation


Assistant Name                                      Paralegal Name


Choose One Option Below:
            I elect to have Liaison Counsel transmit documents to me via email and consent on an
            ongoing basis to notify Liaison Counsel of any changes in the above information.


            I do not want to receive orders or other documents form Liaison Counsel.



Signed                                           Date
Print Name:___________________________________
__________________________________________________________________________________________
Please remit form to: Plaintiffs’ Liaison Counsel - Leonard Davis, Herman, Herman & Katz,
820 O’Keefe Ave., New Orleans, LA 70113/Gerald Meunier, Gainsburgh Benjamin, 2800
Energy Centre, 1100 Poydras St., New Orleans, LA 70113 to PLC@MDL2592.com; and
Defendants’ Liaison Counsel - James Irwin, Irwin Fritchie, 400 Poydras St., Suite 2700, New
Orleans, LA 70130 to jirwin@irwinllc.com.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 33 of 348



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                           * MDL NO. 2592
LIABILITY LITIGATION
                                                                * SECTION L
                                                                *
                                                                * JUDGE ELDON E. FALLON
                                                                *
                                                                * MAG. JUDGE NORTH
**********************************************                  *

THIS DOCUMENT RELATES TO ALL CASES

                                     PRETRIAL ORDER #5A

        IT IS ORDERED that Pretrial Order #5 is AMENDED as follows:

        Upon receipt of a certified copy of a transfer order from the clerk of the transferee district

court and an email, the clerk of the transferor court shall retain the entire original file and

electronically transfer the case to the clerk of the transferee court via the CM/ECF Civil Case

Extraction Tool. This action satisfies Rule 1.6(a), and the clerk of the transferor court shall mark

the case closed upon transfer to the transferee court. Following the receipt of the transferred case

in the transferee court, any papers to be filed regarding any civil action covered by that transfer

order are to be filed in the transferee court.



                        New Orleans, Louisiana this 3rd day of February, 2015.



                                                             ________________________________

                                                             UNITED STATES DISTRICT JUDGE
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 34 of 348



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                    * MDL NO. 2592
LIABILITY LITIGATION
                                                         * SECTION L
                                                         *
                                                         * JUDGE ELDON E. FALLON
                                                         *
                                                         * MAG. JUDGE NORTH
**********************************************           *

THIS DOCUMENT RELATES TO ALL CASES

                                 PRETRIAL ORDER #6

      The Court hereby appoints the following persons to serve as Co-Lead Defense Counsel:

      Susan M. Sharko
      Drinker Biddle & Reath LLP
      500 Campus Drive
      Florham Park, New Jersey 07932-1047
      Tel: (973) 549-7350
      Fax: (973) 360-9831

      Steven Glickstein
      Kaye Scholer LLP
      250 West 55th Street
      New York, NY 10019-7910
      Tel: (212) 836-8485
      Fax: (212) 836-6485



             New Orleans, Louisiana this 3rd day of February, 2015.



                                                      ________________________________

                                                       UNITED STATES DISTRICT JUDGE
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 35 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                       * MDL NO. 2592
LIABILITY LITIGATION
                                                            * SECTION L
                                                            *
                                                            * JUDGE ELDON E. FALLON
                                                            *
                                                            * MAG. JUDGE NORTH
**********************************************              *

THIS DOCUMENT RELATES TO ALL CASES

                                    PRETRIAL ORDER #7

       Numerous applications/nominations for the Plaintiffs' Steering Committee (PSC)

positions have been filed in accordance with the procedures set forth in Pretrial Order #1. The

Court, after having reviewed the applications and carefully considered the matter, hereby

appoints the following members to the PSC:

         Andy D. Birchfield, Jr. (Co-Lead Counsel)         Dr. Mark Alan Hoffman
         234 Commerce Street                               1650 Market Street, Suite 3450
         Post Office Box 4160                              Philadelphia, PA 19103
         Montgomery, Alabama 36103-4160                    Phone: (215) 574-2000
         Phone: (334) 269-2343                             Fax: (215) 574-3080
         Fax: (334) 954-7555                               Email: mhoffman@rossfellercasey.com
         Email: Andy.Birchfield@BeasleyAllen.com

         Brian H. Barr (Co-Lead Counsel)                   Bradley D. Honnold
         316 Baylen Street, Suite 600                      11150 Overbrook Rd., Ste. 200
         Pensacola, FL 32502                               Leawood, KS 66211
         Phone: (850) 435-7045                             Phone: (913) 266-2300
         Fax: (850) 436-6044                               Fax: (913) 266-2366
         Email: bbarr@levinlaw.com                         Email: bhonnold@bflawfirm.com

         Russell T. Abney                                  Frederick Longer
         2100 RiverEdge Parkway,                           510 Walnut Street, Suite 500
         Suite 720                                         Philadelphia, PA 19106
         Atlanta, Georgia 30328                            Phone: (215) 592-1500
         Email: rabney@lawyerworks.com                     Fax: (215-592-4663
                                                           Email: flonger@lfsblaw.com
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 36 of 348



         Sindhu S. Daniel                                   Dianne M. Nast
         550 Broad Street, Suite 920                        1101 Market Street, Suite 2801
         Newark, NJ 07102                                   Philadelphia, Pennsylvania 19107
         Phone: (973) 639-9100                              Phone: (215) 923-9300
         Fax: (973) 639-9393                                Email: dnast@nastlaw.com
         Email: sdaniel@seegerweiss.com

         Roger C. Denton                                    Neil D. Overholtz
         100 S. 4th Street                                  17 E. Main Street , Suite 200
         St. Louis, MO 63102                                Pensacola, Florida 32501
         Phone: (314) 621-6115                              Phone: (850) 916-7450
         Email: rdenton@uselaws.com                         Fax: (850) 916-7449
                                                            Email: noverholtz@awkolaw.com

         Michael Goetz                                      Ellen Relkin
         201 N. Franklin St., 7th Floor                     700 Broadway
         Tampa, FL 33602                                    New York, New York 10003
         Phone: (813) 221-6581                              Phone: (212) 558-5500
         Fax: (813) 222-4737                                Fax: (212) 344-5461
         Email: MGoetz@ForThePeople.com                     Email: Erelkin@weitzlux.com


       The Court appoints Co-Plaintiffs’ Liaison Counsel, Leonard Davis and Gerald Meunier,

and Co-Lead Counsel, Andy Birchfield and Brian Barr, to comprise the PSC Executive

Committee. It shall be the Executive Committee’s duty to coordinate the responsibilities of the

PSC, schedule PSC meetings, keep minutes or transcripts of these meetings, appear at periodic

court noticed status conferences, perform other necessary administrative or logistic functions of

the PSC, and carry out any other duty as the Court may order.

       Additionally, the Court appoints Dawn Barrios to serve as Chair of the State Liaison

Committee, in which capacity she will serve as an ex-officio member of the PSC Committee.

The Court will appoint additional members to the State Liaison Committee in the future.

       The appointment to the PSC is of a personal nature. Accordingly, the above appointees

cannot be substituted by other attorneys, including members of the appointee's law firm, to

perform the PSC's exclusive functions, such as committee meetings and court appearances,



                                                [2]
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 37 of 348



except with prior approval of the Court. Furthermore, the appointment to the PSC is for one year

from the date of this Order. Appointees may apply to be reappointed when their term expires. If

or when they apply, their application should contain references to the nature and scope of their

work on the PSC, including the time and resources expended during the past term.

       The PSC will have the following responsibilities:

       Discovery
             (1) Initiate, coordinate, and conduct all pretrial discovery on behalf of plaintiffs in
                 all actions which are consolidated with the instant multi district litigation.

               (2) Develop and propose to the Court schedules for the commencement,
                   execution, and completion of all discovery on behalf of all plaintiffs.

               (3) Cause to be issued in the name of all plaintiffs the necessary discovery
                          a. requests, motions, and subpoenas pertaining to any witnesses and
                              documents needed to properly prepare for the pretrial of relevant
                              issues
                          b. found in the pleadings of this litigation. Similar requests, notices,
                              and
                          c. subpoenas may be caused to be issued by the PSC upon written
                              request
                          d. by an individual attorney in order to assist him/her in the
                              preparation of the pretrial stages of his/her client’s particular
                              claims.

               (4) Conduct all discovery in a coordinated and consolidated manner on behalf
                         e. and for the benefit of all plaintiffs.

       Hearings and Meetings

               (1) Call meetings of counsel for plaintiffs for any appropriate purpose, including
                   coordinating responses to questions of other parties or of the Court. Initiate
                   proposals, suggestions, schedules, or joint briefs, and any other appropriate
                   matter(s) pertaining to pretrial proceedings.

               (2) Examine witnesses and introduce evidence at hearings on behalf of plaintiffs.




                                                [3]
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 38 of 348



             (3) Act as spokesperson for all plaintiffs at pretrial proceedings and in response to
                 any inquiries by the Court, subject of course to the right of any plaintiff’s
                 counsel to present non-repetitive individual or different positions.


     Trial
             (1) Coordinate trial team(s)’ selection, management, and presentation of any
                 common issue, “bellweather” and/or “test” case trial(s).

             (2) Assemble and prepare “trial packages” that can be utilized in future cases,
                 including cases that are remanded to transferor courts for trial.


     Miscellaneous

             (1) Submit and argue any verbal or written motions presented to the Court or
                 Magistrate on behalf of the PSC as well as oppose when necessary any
                 motions submitted by the defendant or other parties which involve matters
                 within the sphere of the responsibilities of the PSC.

             (2) Negotiate and enter into stipulations with Defendants regarding this litigation.
                 All stipulations entered into by the PSC, except for strictly administrative
                 details such as scheduling, must be submitted for Court approval and will not
                 be binding until the Court has ratified the stipulation. Any attorney not in
                 agreement with a non-administrative stipulation shall file with the Court a
                 written objection thereto within five (5) days after he/she knows or should
                 have reasonably become aware of the stipulation. Failure to object within the
                 term allowed shall be deemed a waiver and the stipulation will automatically
                 be binding on that party.

             (3) Explore, develop, and pursue all settlement options pertaining to any claim or
                 portion thereof of any case filed in this litigation.

             (4) Maintain adequate files of all pretrial matters, including establishing and
                 maintaining a document or exhibit depository, in either real or virtual format,
                 and having those documents available, under reasonable terms and conditions,
                 for examination by all MDL Plaintiffs or their attorneys.

             (5) Perform any task necessary and proper for the PSC to accomplish its
                 responsibilities as defined by the Court’s orders, including organizing sub-
                 committees comprised of plaintiffs’ attorneys not on the PSC and assigning
                 them tasks consistent with the duties of the PSC.

                                              [4]
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 39 of 348




           (6) Keep counsel of all plaintiffs advised of all pertinent developments in the
               MDL.

           (7) Perform such other functions as may be expressly authorized by further orders
               of this Court.




           New Orleans, Louisiana this 9th day of February, 2015.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE




                                            [5]
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 40 of 348



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) PRODUCTS                     * MDL NO. 2592
LIABILITY LITIGATION
                                                          * SECTION L
                                                          *
                                                          * JUDGE ELDON E. FALLON
                                                          *
                                                          * MAG. JUDGE NORTH
**********************************************            *

THIS DOCUMENT RELATES TO ALL CASES

                                 PRETRIAL ORDER #7A

       The Court hereby appoints Michael Weinkowitz, Daniel Gallucci, and Gibson Vance to

serve on the State Liaison Committee.

              New Orleans, Louisiana this 24th day of April, 2015.



                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE
     Case
     Case 2:14-md-02592-EEF-MBN
          2:18-cv-07825-EEF-MBN Document
                                Document 4183Filed
                                                Filed
                                                   08/23/18
                                                      02/13/15Page
                                                                Page
                                                                   41 1ofof348
                                                                            14



                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)             *                   MDL NO. 2592
PRODUCTS LIABILITY LITIGATION            *
                                         *
                                         *                   SECTION L
                                         *
                                         *                   JUDGE ELDON E. FALLON
                                         *
                                         *                   MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * **

THIS DOCUMENT RELATES TO ALL CASES

                         PRE TRIAL ORDER NO. 8
     (ESTABLISHING STANDARDS AND PROCEDURES FOR COUNSEL SEEKING
          REIMBURSEMENT FOR COMMON BENEFIT FEES AND COSTS)

I.     SCOPE OF ORDER

       This Order is entered to provide standards and procedures for the fair and equitable

sharing among plaintiffs, and their counsel, of the burden of services performed and expenses

incurred by attorneys acting for the common benefit of all plaintiffs in this complex litigation.

       A.      Governing Principles and the Common Benefit Doctrine

       The governing principles are derived from the United States Supreme Court's common

benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881); refined in, inter

alia, Central Railroad & Banking Co. v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic

National Bank, 307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970);

Boeing Co. v. Van Gemert, 444 U.S. 472 (1980); and approved and implemented in the MDL

context, in inter alia, In re Air Crash Disaster at Florida Everglades on December 29, 1972, 549

F.2d 1006, 1019-21 (5th Cir. 1977); In re MGM Grand Hotel Fire Litigation, 660 F.Supp. 522,


                                                 1
      Case
      Case 2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document
                                 Document 4183Filed
                                                 Filed
                                                    08/23/18
                                                       02/13/15Page
                                                                 Page
                                                                    42 2ofof348
                                                                             14



525-29 (D. Nev. 1987); In re Zyprexa Prods. Liab., 594 F.3d 113 (2d Cir. 2010); In re Vioxx

Prods. Liab. Litig., MDL No 1657 (E.D. La Aug. 4, 2005), available at

http://www.laed.uscourts.gov/vioxx/Orders/Orders.htm (follow "Pretrial Order No. 19 link).

Common benefit work product includes all work performed for the benefit of all plaintiffs,

including pre-trial matters, discovery, trial preparation, trial, a potential settlement process, and

all other work that advances this litigation to conclusion.

        B.     Application of this Order

        This Order applies to all cases now pending, as well as to any case later filed in,

transferred to, or removed to this Court and treated as part of the coordinated proceeding known

as In Re: Xarelto (Rivaroxaban) Products Liability Litigation, MDL 2592. This Order further

applies to each attorney who represents a plaintiff with a case now pending in or later filed in,

transferred to, or removed to this Court; and to each attorney who represents a plaintiff with a

case filed in a state court who benefits from common benefit work prepared in this litigation.

        C.     Establishing a Common Benefit fee and Cost Fund

        At the appropriate time the Court will establish a mechanism for creating funds for

reimbursing counsel for common benefit costs and fees. The following standards and procedures

are to be utilized by any counsel seeking reimbursement for common benefit fees or costs.

II.     PLAINTIFFS' COUNSEL'S TIME AND EXPENSE SUBMISSIONS

        Reimbursement for costs and/or fees for services of all plaintiffs' counsel performing

functions in accordance with this order will be set at a time and in a manner established by the

Court after due notice to all counsel and after a hearing. The following standards and procedures

are to be utilized by any counsel seeking fees and/or expense reimbursement.


                                                  2
Case
Case 2:14-md-02592-EEF-MBN
     2:18-cv-07825-EEF-MBN Document
                           Document 4183Filed
                                           Filed
                                              08/23/18
                                                 02/13/15Page
                                                           Page
                                                              43 3ofof348
                                                                       14



  A.    General Standards

        (1)   All time and expenses submitted must be incurred only for work authorized
              in advance by the PSC Executive Committee or known to Co-Plaintiffs'
              Liaison counsel and approved by the Court.

        (2)   These Time and Expense Guidelines are intended for all activities performed
              and expenses incurred by counsel that relate to matters common to all
              claimants in MDL 2592. Further, any claimants' counsel that may at a later
              date, seek reimbursement or compensation for common benefit time and
              expenses (including any state court counsel) shall comply with these
              guidelines and any submission by such counsel shall be in accordance with
              this Pre-Trial Order.

        (3)   Co-Plaintiffs' Liaison Counsel has retained and the Court approves the
              retention of Philip Garrett, CPA ("PG"), to assist and provide accounting
              services to Co-Plaintiffs' Liaison Counsel, the Plaintiff's Steering Committee,
              and the Court in MDL 2592. PG will be assisting in compiling submissions
              and will provide reports to Plaintiffs' Liaison Counsel who shall submit them
              to the Court on a monthly basis. These reports will include both time and
              expenses and will summarize, with back-up detail, the submissions of all
              firms. Submission of time and expense records to PG and the Court shall be
              considered as if submitted under seal. P.G. shall periodically submit to Co-
              Plaintiffs' Liaison Counsel detailed bills for all of his services in connection
              with this litigation. These bills shall be considered a shared cost, and P.G.'s
              bills shall be paid upon approval by the Court. See supra Paragraphs II(C)
              & (D).

        (4)   Time and expense submissions must be submitted timely, on a monthly basis,
              to PG electronically at the website set up to handle time/billing submissions
              "http://Xarelto.GarrettCo-CCMS.com". It is essential that each firm, on a
              monthly basis, timely submit its records for the preceding month. All
              submissions shall be certified by a senior partner in each firm attesting to the
              accuracy and correctness of the submission.

        (5)   The first submission is due on March 15, 2015 and should include all time
              and expense through February 28, 2015. Thereafter, time and expense
              records shall be submitted on the 15th of each month and shall cover the time
              period through the end of the preceding month. Any time or expense records
              submitted more than two (2) months in arrears may not be considered or
              included in any compilation of time or expense calculation and shall be
              disallowed, except for good cause shown and with Court approval.

  B.    Time Reporting

                                         3
Case
Case 2:14-md-02592-EEF-MBN
     2:18-cv-07825-EEF-MBN Document
                           Document 4183Filed
                                           Filed
                                              08/23/18
                                                 02/13/15Page
                                                           Page
                                                              44 4ofof348
                                                                       14



        (1)   Only time spent on matters common to all claimants in MDL 2592 will be
              considered in determining fees. No time spent on developing or processing
              any case for an individual client (claimant) will be considered or should be
              submitted.

        (2)   All time must be accurately and contemporaneously maintained. Time shall
              be kept according to these guidelines and specifically in accordance with the
              Case Cost Management System Task Codes, as outlined in Attachment "A".
              All counsel shall keep a daily record of their time spent in connection with
              common benefit work of this litigation, indicating with specificity the hours,
              location and particular activity (such as "conduct of deposition of A.B." or
              "trial and hearing attendance"). The failure to maintain such records, as well
              as insufficient description of the activity, may result in a forfeiture of fees.

        (3)   All time for each firm shall be maintained in one tenth of an hour increments.
              Failure to do so may result in time being disallowed.

        (4)   All time records shall be submitted to the PG website, together with a
              summary report of the total member firm time broken down by each
              timekeeper and Task Code, reflecting the time spent during the preceding
              month and the accumulated total of all time incurred by the firm during the
              particular reporting period. The summary report is located on the PG website.

        (5)   The summary report form shall be certified by a senior partner of the
              submitting firm each month attesting to the accuracy and correctness of the
              monthly submission.

  C.    Expense Reporting

        (1)   Advanced costs will be deemed as either "Shared" or "Held." Both Shared
              and Held Costs are those incurred for the common benefit of the MDL as a
              whole; no individual client-related costs will be considered as Share or Held
              Costs.

              a.     Until the Court establishes a Common Benefit Cost Fund, Shared
                     Costs will be paid out of a separate Plaintiffs' Steering Committee
                     MDL 2592 Fund account to be established by Plaintiffs' Liaison
                     Counsel and to be funded by all members of the PSC and others as
                     determined by the PSC. The Plaintiffs' Steering Committee MDL
                     2592 Fund account will be administered by Gainsburgh, Benjamin,
                     David, Meunier, & Warshauer and monitored by PG.

              b.     Held Costs are those that will be carried by each attorney in MDL
                     2592 and reimbursed as and when determined by the Court.

                                         4
Case
Case 2:14-md-02592-EEF-MBN
     2:18-cv-07825-EEF-MBN Document
                           Document 4183Filed
                                           Filed
                                              08/23/18
                                                 02/13/15Page
                                                           Page
                                                              45 5ofof348
                                                                       14




        (2)   Each member of the PSC and any others as set forth in section (1) above will
              contribute to the Plaintiffs' Steering Committee MDL 2592 Fund at times and
              in amounts sufficient to cover the administration of the MDL. The timing and
              amount of each assessment will be determined by the PSC.

  D.    Shared Costs

        (1)   Shared Costs are costs incurred for the common benefit of the MDL as a
              whole. No individual client-related costs can be considered as Shared Costs.
              All costs of a substantial nature that are for the common benefit of the MDL
              and fall under the following categories shall be considered Shared Costs and
              qualify to be submitted and paid directly from the Plaintiffs' Steering
              Committee MDL 2592 Fund account, until the Court establishes a Common
              Benefit Cost Fund. All Shared Costs must be approved by Co-Plaintiffs'
              Liaison Counsel prior to being incurred and prior to payment or known to
              Co-Plaintiffs' Liaison Counsel and approved by the Court. Shared Costs
              include:

              a.       Court, filing and service costs;
              b.       Deposition and court reporter costs;
              c.       Document Depository: creation, operation, staffing, equipment and
                       administration;
              d.       Co-Plaintiffs' Liaison Counsel administrative matters (e.g., expenses
                       for equipment, technology, courier services, long distance,
                       conference calls,       telecopier, electronic service, postage, meeting
                       expenses, travel for administrative matters, photocopy and printing,
                       secretarial/temporary staff, etc.);
              e.       PSC group administration matters such as meetings and
                       conference calls;
              f.       Legal and accountant fees;
              g.       Expert witness and consultant fees and expenses;
              h.       Printing, copying, coding, shipping, scanning (both in and out of
                       house or extraordinary firm cost);
              i.       Research by outside third party vendors/consultants/attorneys;
              j.       Common witness expenses including travel;
              k.       Translation costs;
              l.       Bank or financial institution charges;
              m.       Investigative services;
              n.       Claims Administrator charges;
              o.       Special Master charges;
              p.       CPA's charges.

        (2)   Co-Plaintiffs' Liaison Counsel shall prepare and be responsible for

                                          5
    Case
    Case 2:14-md-02592-EEF-MBN
         2:18-cv-07825-EEF-MBN Document
                               Document 4183Filed
                                               Filed
                                                  08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  46 6ofof348
                                                                           14



                      distributing to the appropriate plaintiffs' counsel and the PSC reimbursement
                      procedures and the forms associated therewith. Request for payments should
                      include sufficient information to allow Co-Plaintiffs' Liaison Counsel and the
                      CPA to account properly for costs and to provide adequate detail to the
                      Court.

       E.      Held Costs

               (1)    Held Costs are costs incurred for the global benefit of the MDL. Held costs
                      are those that do not fall into the above Shared Costs categories but are
                      incurred for the benefit of all plaintiffs in general. No specific client-related
                      costs can be considered as Held Costs. All costs of a substantial nature that
                      are for the common benefit and fall under the following categories shall be
                      considered Held Costs and qualify to be submitted for consideration by the
                      PSC and the Court for future reimbursement.

                      a.      Telefax charges
                      b.      Postage, shipping, courier, certified mail
                      c.      Printing and photocopying (in-house)
                      d.      Computerized research - Lexis/Westlaw
                      e.      Telephone - long distance (actual charges only)
                      f.      Travel - pursuant to Travel Limitations set forth below, including
                              travel for counsel to attend depositions, court or legislative matters.
                              i.      Airfare
                              ii.     Reasonable ground transportation
                              iii.    Hotel
                              iv.     Reasonable meals and entertainment
                              v.      Reasonable other (parking)
                              vi.     Car rental, cabs, etc.

       F.      Travel Limitations

       Except in extraordinary circumstances approved by Co-Plaintiffs' Liaison Counsel or the

PSC, all travel reimbursements are subject to the following limitations:


       (1)     Airfare. Only the lowest-price available coach airfare at time of booking (either at
               restricted coach rates or rates which allow the reservation to be rebooked without
               surcharge and other agency fees) for a reasonable itinerary will be reimbursed.
               Notwithstanding the foregoing, first class airfare shall be allowed for cross-country
               flights that exceed four hours non-stop flight time or international flights. Airfare
               expense submissions must be supported by an invoice or receipt for airfare that
               shows class of airfare purchased, name of traveler, and destination. If an invoice or

                                                 6
Case
Case 2:14-md-02592-EEF-MBN
     2:18-cv-07825-EEF-MBN Document
                           Document 4183Filed
                                           Filed
                                              08/23/18
                                                 02/13/15Page
                                                           Page
                                                              47 7ofof348
                                                                       14



         receipt is not available, a canceled check or credit card statement may be submitted
         provided an Affidavit from the traveler is also submitted stating that the expense was
         for coach airfare, within the limitations of this Pre-Trial Order, and that the trip was
         for common benefit. If first class if flown and only coach fare is reimbursable, proof
         of applicable coach fare shall be submitted.

  (2)    Hotel. Hotel room charges will be reimbursed up to the greater of (a)
         $300 per night excluding taxes, or (b) the average available room rate of the Hyatt,
         Hilton, and Marriott hotels (or comparable) in that city. Hotel expense submissions
         must be supported by a hotel issued receipt.

  (3)    Meals. Meal expenses must be reasonable. Meal expense submissions must be
         supported by receipts or credit card statements that reflect the date and those
         partaking in the meal.

  (4)    Cash Expenses. Miscellaneous cash expenses for which receipts generally are not
         available (tips, luggage handling, pay telephone, etc.) will be reimbursed up to
         $50.00 per trip, as long as the expenses are properly itemized.

  (5)    Rental Automobiles. Luxury automobile or limousine rentals will not be fully
         reimbursed. If luxury automobiles or Limos are selected, then the difference between
         the luxury and non-luxury vehicle rates must be shown on the travel reimbursement
         form, and only the non-luxury rate may be claimed. Rental automobile expense
         submissions must be supported by receipts or credit card statements. Such rentals
         shall be limited for purposes of traveling to or from meetings, hotel, court
         appearances and airport. The use of hired limousines is discouraged.

  (6)    Mileage. Mileage claims must be documented by stating origination point,
         destination, total actual miles for each trip, and the rate per mile paid by the
         member's firm. The maximum allowable rate will be the maximum rate allowed by
         the IRS (currently 57.55 cents per mile).

  G.     Non-Travel Limitations

  The following apply:

  (1)    Long Distance and Cellular Telephone: Long distance and cellular telephone charges
         must be documented. Copies of the telephone bills must be submitted with notations
         as to which charges relate to this litigation.

  (2)    Shipping, Courier, and Delivery Charges: All claimed expenses must be documented
         with bills showing the sender, origin of the package, recipient, and destination of the
         package.


                                            7
       Case
       Case 2:14-md-02592-EEF-MBN
            2:18-cv-07825-EEF-MBN Document
                                  Document 4183Filed
                                                  Filed
                                                     08/23/18
                                                        02/13/15Page
                                                                  Page
                                                                     48 8ofof348
                                                                              14



         (3)    Postage Charges: A contemporaneous postage log or other supporting documentation
                must be maintained and submitted. Postage charges are to be reported at actual cost.

         (4)    Telefax Charges: Contemporaneous records should be maintained and submitted
                showing faxes sent and received. The per-fax charge shall not exceed $1.00 per page.

         (5)    In-House Photocopy: A contemporaneous photocopy log or other supporting
                documentation must be maintained and submitted. The maximum copy charge is 25¢
                per page.

         (6)    Computerized Research - Lexis/Westlaw: Claims for Lexis, Westlaw, and other
                computerized legal research expenses should be in the exact amount charged to
                the firm for these research services. If any bulk rate or reduced rates are
                applicable, the lowest cost incurred by the firm shall be charged. All such
                computerized legal research must be approved by Co-Plaintiffs' Liaison Counsel
                in advance and before submission.

III.     PROCEDURES TO BE ESTABLISHED BY CO-PLAINTIFFS' LIAISON
         COUNSEL

         Co-Plaintiffs' Liaison Counsel or the CPA may establish forms and procedures to

implement and carry out the time and expense submissions required by the Court and necessary

to compile and maintain the records. These forms shall be made available by Co-Plaintiffs'

Liaison Counsel or from the Court's website.

         Questions regarding the guidelines or procedures or the completion of any forms should

be directed to Co-Plaintiffs' Liaison Counsel: Leonard A. Davis, Herman, Herman & Katz, LLC,

820 O'Keefe Avenue, New Orleans, LA 70113, Phone: (504) 581-4892, Fax: (504) 561-6024, or

Gerald Meunier, Gainsburgh, Benjamin, David, Meunier, & Warshauer, 2800 Energy Center,

1100 Poydras St., New Orleans, LA 70113, Phone: (504) 522-2304, Fax: (504) 528-9973; or to

CPA: Garett and Company CPA's, 156 Bald Eagle Dr. Abita Springs, La. 70420, Phone: (985)

635-1500, E- Mail: philipgarrettsr@yahoo.com; or the Court.




                                                 8
Case
Case 2:14-md-02592-EEF-MBN
     2:18-cv-07825-EEF-MBN Document
                           Document 4183Filed
                                           Filed
                                              08/23/18
                                                 02/13/15Page
                                                           Page
                                                              49 9ofof348
                                                                       14



  New Orleans, Louisiana, this 13th day February, 2015.




                                      ELDON E. FALLON
                                      UNITED STATES DISTRICT JUDGE




                                         9
     Case
      Case2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document 183
                                          4 Filed
                                               Filed
                                                   08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  5010
                                                                     of of
                                                                        34814
                                                                         ATTACHMENT “A”

                       Case Cost Management System
                                Task Codes

                                                  
        The Case Cost Management System Task Codes are intended for use in the In re: Xarelto
(Rivaroxaban) Products Liability Litigation, MDL No. 2592. The numbers below refer to Task
Codes. Counsel shall use the following Task Codes when submitting their time reporting, as
outlined in paragraph II(B)(2) of the preceding pretrial order. The following definitions elaborate
on the intended scope of each phase and task and should guide attorneys in coding time. All
time should be accurately and contemporaneously maintained for work performed on common
benefit matters.
1.     Case Administration and Monitoring
       Administration tasks of the case, as well as monitoring emails and motions filed.
110 Fact Investigation/Development
       All actions to investigate and understand the facts of a matter. Covers interviews
       of potential common benefit witnesses, potential class representatives, or potential
       “bellwether” or “test case” plaintiffs, review of documents to learn the facts of the
       case (but not for document production, Task Code 320), work with an
       investigator, and all related communications and correspondence.
130 Experts/Consultants
       Identifying and interviewing common benefit experts and consultants (testifying
       or non-testifying), working with them, and developing expert reports. Does not
       include preparing for expert depositions (Task Code 340) or trial (Task Code
       420).
140 Document/File Management
       A narrowly defined task that comprises only the processes of creating and
       populating document and other databases or filing systems. Includes the planning,
       design, and overall management of this process. Work of outside vendors in
       building common benefit litigation support databases should be a Shared
       Expense.
150 Budgeting
       Covers developing, negotiating, and revising the budget for a matter.
190 Other Case Assessment, Development and Administration
       Time not attributable to any other overall task. Specific use in a given matter often may
       be pre-determined jointly by Co-Liaison or Lead Counsel or the Court.
195 Travel
       Travel time for attendance at a meeting, hearing or status conference where such
       attendance is not required by the Court nor requested by Co-Liaison or Lead
       Counsel. If other work in this litigation is being completed during travel time,
       then the time spent on the other work should be classified appropriately for that
       work.
196 Status Conferences and Hearings

                                                1 
 
     Case
      Case2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document 183
                                          4 Filed
                                               Filed
                                                   08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  5111
                                                                     of of
                                                                        34814
                                                                        ATTACHMENT “A”

                       Case Cost Management System
                                Task Codes
       Attendance at hearings or status conferences where you are not required to attend
       by the Court. If your attendance is required, then you would use Task Code 230
       (status conference), Task Code 240 (dispositive motion) or Task Code 450 (trial).

2.     Pre-Trial Pleadings and Motions

       Covers all pleadings and all pretrial motions and procedures other than discovery.

210 Pleadings
       Developing (researching, drafting, editing, filing) and reviewing complaints, answers,
       counter-claims and third party complaints. Also embraces motions directed at pleadings
       such as motions to dismiss, motions to strike, and jurisdictional motions.
 220 Preliminary Injunctions/Provisional Remedies
       Developing and discussing strategy for these remedies, preparing motions, affidavits and
       briefs, reviewing opponent's papers, preparing for and attending court hearing, preparing
       witnesses for the hearing, and effectuating the remedy.
230 Court Mandated Conferences
       Preparing for and attending hearings and conferences required by court order or
       procedural rules (including Rule 16 sessions) other than settlement conferences.
240 Dispositive Motions
       Developing and discussing strategy for or opposing motions for judgment on the
       pleadings and motions for complete or partial summary judgment, preparing papers,
       reviewing opponent's papers, defensive motions (e.g., motion to strike affidavit
       testimony, Rule 56(f) motion), and preparing for and attending the hearing.
250 Other Written Motions/Submissions
       Developing, responding to, and arguing all motions other than dispositive (Task Code
       240), pleadings (Task Code 210), and discovery (Task Code 350), such as motions to
       consolidate, to bifurcate, to remand, to stay, to compel arbitration, for MDL treatment
       and for change of venue.
260 Class Action Certification and Notice
       Proceedings unique to class action litigation and derivative suits such as class
       certification and notice.

3.     Discovery

       Includes all work pertaining to discovery according to court or agency rules.

310 Written Discovery
      Developing, responding to, objecting to, and negotiating interrogatories and requests to
      admit. Includes mandatory meet-and-confer sessions. Also covers mandatory written
      disclosures as under Rule 26(a) and negotiation and compilation of fact sheets.


                                                2 
 
     Case
      Case2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document 183
                                          4 Filed
                                               Filed
                                                   08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  5212
                                                                     of of
                                                                        34814
                                                                          ATTACHMENT “A”

                        Case Cost Management System
                                 Task Codes
320 Document Production
       Developing, responding to, objecting to, and negotiating document requests, including
       the mandatory meet-and-confer sessions to resolve objections. Includes identifying
       documents for production, reviewing documents for privilege, effecting production, and
       preparing requested privilege lists. (While a general review of documents produced by
       other parties falls under this task, coding and entering produced documents into a
       database is Task Code 140 and reviewing documents primarily to understand the facts is
       Task Code 110.)
330 Depositions
       All work concerning depositions, including determining the deponents and the timing and
       sequence of depositions, preparing deposition notices and subpoenas, communicating
       with opposing or other party's counsel on scheduling and logistics, planning for and
       preparing to take the depositions, discussing deposition strategy, preparing witnesses,
       reviewing documents for deposition preparation, attending depositions, and drafting any
       deposition summaries.
340 Expert Discovery
       Same as Task Code 330, but for expert witnesses.
350 Discovery Motions
       Developing, responding to, and arguing all motions that arise out of the discovery
       process. Includes the protective order process.
390 Other Discovery
       Less frequently used forms of discovery, such as medical examinations and on-site
       inspections.

4.     Trial Preparation and Trial

        Commences when Co-Liaison or Lead Counsel or the Court determine that trial is
sufficiently likely and imminent so that the process of actually preparing for trial begins. It
continues through the trial and post-trial proceedings in the trial court. Once trial begins, lawyers
who appear in court presumptively should bill their court time to Task Code 450 Trial and
Hearing Attendance. Litigation work outside the courtroom during this phase (e.g., evenings,
weekends and the time of other attorneys and support personnel), should continue to be classified
using other 400 Task Codes.

410 Fact Witnesses
      Preparing for examination and cross-examination of non-expert witnesses.
420 Expert Witnesses
      Preparing for examination and cross-examination of expert witnesses.
430 Written Motions/Submissions
      Developing, responding to and arguing written motions during preparation for trial and
      trial, such as motions in limine and motions to strike proposed evidence. Also includes


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     Case
      Case2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document 183
                                          4 Filed
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                                                   08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  5313
                                                                     of of
                                                                        34814
                                                                           ATTACHMENT “A”

                        Case Cost Management System
                                 Task Codes
       developing other written pre-trial and trial filings, such as jury instructions, witness lists,
       proposed findings of fact and conclusions of law, and trial briefs.
440 Other Trial Preparation and Support
       All other time spent in preparing for and supporting a trial, including developing overall
       trial strategy, preparing opening and closing arguments, establishing an off-site support
       office, identifying documents for use at trial, preparing demonstrative materials, etc.
450 Trial and Hearing Attendance
       Appearing at trial, at hearings and at court-mandated conferences, including the pre-trial
       conferences to prepare for trial. For scheduling conferences that are denominated as "Pre-
       Trial Conferences", but not directed toward conduct of the trial, use Task Code 230.
460 Post-Trial Motions and Submissions
       Developing, responding to and arguing all post-verdict matters in the trial court, such as
       motions for new trial or j.n.o.v., for stay pending appeal, bills of costs, and requests for
       attorney's fees.
470 Enforcement
       All work performed in enforcing and collecting judgments and asserting or addressing
       defenses thereto.
475 Appeal
       Covers all work on appeal or before a reviewing body.
485 Appellate Motions and Submissions
       Developing, responding to and arguing motions and other filings before a reviewing
       body, such as motions and other filings for stay pending appeal.
495 Appellate Briefs
       Preparing and reviewing appellate briefs.
498 Oral Argument
       Preparing for and arguing an appeal before a reviewing body.

5.     Analysis and Strategizing

501 Analysis/Strategy
      Targeted for Co-Liaison and/or Lead Counsel, committee chairs and committee members
      that are doing common benefit work at the highest level. The thinking, strategizing, and
      planning for a case, including discussions, writing, and meetings on case strategy. Also
      includes initial legal research for case assessment purposes and legal research for
      developing a basic case strategy. Most legal research will be under the primary task for
      which the research is conducted, such as research for a summary judgment motion (Task
      Code 240). Once concrete trial preparation begins, use Task Code 440 for trial strategy
      and planning.




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      Case2:14-md-02592-EEF-MBN
           2:18-cv-07825-EEF-MBN Document 183
                                          4 Filed
                                               Filed
                                                   08/23/18
                                                     02/13/15Page
                                                               Page
                                                                  5414
                                                                     of of
                                                                        34814
                                                                     ATTACHMENT “A”

                       Case Cost Management System
                                Task Codes
6.        Settlement/Non-Binding ADR

601 Settlement/Non-Binding ADR
       All activities directed specifically to settlement. Encompasses planning for and
       participating in settlement discussions, conferences, and hearings and
       implementing a settlement. Covers pursuing and participating in mediation and
       other non-binding Alternative Dispute Resolution (ADR) procedures. Also
       includes pre-litigation demand letters and ensuing discussions.


In summary, the Task Codes are:

     1.   Case Administration and Monitoring;
     2.   Pre-Trial Pleadings and Motions;
     3.   Discovery;
     4.   Trial Preparation and Trial;
     5.   Analysis and Strategizing; and
     6.   Settlement/Non-Binding ADR.


NOTE: WHEN  LOGGED INTO THE CASE COST MANAGEMENT SYSTEM YOU WOULD USE THE
NUMBER ACCOMPANYING THE APPLICABLE TASK CODE AND THE PROGRAM WILL
AUTOMATICALLY TALLY IT INTO THE APPROPRIATE BUCKET (OF THE 6 BUCKETS). THE EXACT
TASK CODE AND THE DESCRIPTION OF YOUR SERVICES WILL BE IN THE SYSTEM BUT THE
SUMMARY WILL JUST SHOW THE 6 MAIN CATEGORIES.




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      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 55 of 348




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                           *      MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                       *      SECTION L

                                                       *      JUDGE ELDON E. FALLON

                                           *                  MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                                   PRE-TRIAL ORDER NO. 9
                                    (Direct Filing - Stipulated)


I.     SCOPE OF THE ORDER

       This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of December 12, 2014; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

to Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in

this Court or transferred or removed to this Court. The Order only applies to claims brought by

a U.S. citizen or resident based on usage or purchase of Xarelto in the United States.

II.    DIRECT FILING OF CASES INTO MDL NO. 2592

       A.      In order to eliminate delays associated with the transfer to this Court of cases filed

in or removed to other federal district courts and to promote judicial efficiency, any plaintiff

whose case would be subject to transfer to MDL No. 2592 may file his or her complaint against

all Defendants directly in MDL No. 2592 in the Eastern District of Louisiana.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 56 of 348



        B.      All Defendants stipulate and agree that they will not assert any objection of

improper venue pursuant to Fed. R. Civ. P. 12(b) as to any Xarelto-related cases filed directly in

the Eastern District of Louisiana that emanate from districts outside the Eastern District of

Louisiana and that are filed in this multidistrict litigation proceeding.

        C.      Each case filed directly in MDL No. 2592 that emanates from a district outside

the Eastern District of Louisiana will be filed in MDL No. 2592 for pretrial proceedings only,

consistent with the Judicial Panel on Multidistrict Litigation’s December 12, 2014, Transfer

Order. (Doc. No. 1.)

        D.      Upon completion of all pretrial proceedings applicable to a case directly before

this Court, pursuant to this Order, this Court, pursuant to 28 U.S.C. § 1404(a), will transfer that

case to the federal district court in the district where the plaintiff allegedly was injured or where

plaintiff resided at the time of his or her alleged injury, after giving the parties an opportunity to

meet and confer and be heard on the issue. All Defendants stipulate and agree that they will not

assert any objection of improper venue pursuant to FRCP 12(b) upon transfer consistent with the

provisions in this paragraph and this Order.

        E.      Nothing contained in this Order shall preclude the parties from agreeing, at a

future date, to try cases filed pursuant to this Order in this District.

        F.      The inclusion of any action in In re: Xarelto (Rivaroxaban) Products Liability

Litigation, MDL No. 2592, whether such action was or will be filed originally or directly in the

Eastern District of Louisiana, shall not constitute a determination by this Court that venue is

proper in this district.

        G.      All Parties stipulate and agree that a case that was filed directly in MDL No. 2592

pursuant to this Order will have no impact on choice of law that otherwise would apply to an




                                                    2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 57 of 348



individual case had it been originally filed in another district court and transferred to this Court

pursuant to 28 U.S.C. § 1407.

       H.      All Defendants stipulate and agree that the filing of a complaint directly in MDL

No. 2592 pursuant to this Order shall stop the running of any statute of limitations or prescriptive

or peremptive period as if the complaint had been filed in an appropriate venue.

       I.      The references to “all defendants” herein shall not constitute an appearance by or

for any Defendant not properly served.

       J.      The caption for any complaint that is directly filed in MDL No. 2592 before this

Court shall bear the following caption:

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                   )       MDL No. 2592
PRODUCTS LIABILITY LITIGATION                  )
                                               )       SECTION: L
                                               )       JUDGE FALLON
                                               )       MAG. JUDGE NORTH
_______________________________                )
________,                                      )
                                               )       COMPLAINT AND JURY DEMAND
       Plaintiff,                              )
                                               )       Civil Action No.:_____________________
vs.                                            )
_______________________________                )
________,                                      )
                                               )
       Defendants.                             )
                                               )

       New Orleans, Louisiana, this 24th day of March, 2015.


                                                       ____________________________________
                                                       Hon. Eldon E. Fallon
                                                       United States District Judge




                                                   3
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 58 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                         *      MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                     *      SECTION L

                                                     *      JUDGE ELDON E. FALLON

                                           *                MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                               PRE-TRIAL ORDER NO. 10
                     (Streamlined Service on Certain Bayer Defendants)

I.     SCOPE OF THE ORDER

       This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of December 12, 2014; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

to Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in

this Court or transferred or removed to this Court. The Order only applies to claims brought by a

U.S. citizen or resident based on usage or purchase of Xarelto® in the United States.

II.    STREAMLINED SERVICE OF PROCESS FOR CERTAIN BAYER
       DEFENDANTS

       A.      Bayer Pharma AG and Bayer Healthcare Pharmaceuticals Inc. (BHCP) agree to

waive formal service of process under Federal Rule of Civil Procedure 4 and to accept service of

Xarelto cases that are properly commenced in, removed to, or transferred to this MDL. By

waiving formal service of process, Bayer Pharma AG and BHCP do not waive any defenses

available to them.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 59 of 348



          B.     These procedures for informal service of process are not available in cases in

which the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs

seeking remand, all deadlines set forth in this Order run from the date on which remand is

denied.

          C.     Plaintiffs whose Complaints are not subject to Paragraph B above and who have

not already served Bayer Pharma AG or BHCP shall have 60 days to serve the Complaint with a

Summons. For plaintiffs whose cases already have been docketed in this MDL, the 60 days shall

run from entry of this Order.       Other plaintiffs shall have 60 days from docketing of the

Complaint in the MDL. The Complaint and a Summons shall be served as follows:

                 1.     By CERTIFIED Mail, Return Receipt Requested, upon the following

          representative of BHCP:

          SOP Department
          Corporation Service Company
          Suite 400
          2711 Centerville Road
          Wilmington, DE 19808

                 2.     By REGISTERED Mail, Return Receipt Requested, upon the following

          representative of Bayer Pharma AG:

          Bayer Pharma AG
          Attn: Eva Gardyan-Eisenlohr
          General Counsel
          Muellerstrasse 178
          13353 Berlin
          GERMANY

Contemporaneous with mailing the Bayer Pharma AG pleading, plaintiffs shall provide, by

electronic mail, notice of service, including a copy of the complaint, to the following address:

xareltocomplaints@babc.com.

          D.     Service will be effective only if addressed as above (including the notice of



                                                2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 60 of 348



service provided via electronic mail). General mailing or use of other methods of transmission,

including but not limited to Federal Express or email, will not be sufficient to effect service.

Service will be effective ten (10) days after the date of delivery. Defendants who have consented

to streamlined service under this procedure agree to provide 30 days notice before moving to

dismiss for a technical defect in the service process described in this section. Failure to serve a

Complaint within 60 days will be subject to the standards governing Fed. R. Civ. P. 4(m). Other

than those based on formal service of process, defendants reserve all other rights and defenses

available to them under federal or state law and under applicable treaties and conventions.

       E.      Certain other Bayer entities have been or may be named as defendants in these

proceedings. The term “other Bayer entities” as used in this Order includes but is not limited to

Bayer HealthCare, LLC; Bayer Corporation; Bayer HealthCare AG; and Bayer AG. The other

Bayer entities have not agreed to streamlined service and are relieved of any obligation to answer

complaints until further order of this Court.

       F.      By entry of this Order, plaintiffs have not waived their rights to pursue discovery

against the other Bayer entities. If plaintiffs seek discovery from one or more of the other Bayer

entities and/or seek to pursue one or more of the other Bayer entities as defendants, plaintiffs

shall meet and confer with defendants concerning (a) whether the discovery can be obtained

through BHCP or Bayer Pharma AG, (b) the scope of any discovery directed to the other Bayer

entities, and (c) compliance with foreign data protection laws. If no agreement is reached, the

parties shall seek the Court’s guidance before plaintiffs commence any such discovery.

       G.      For cases in which plaintiffs have served BHCP or Bayer Pharma AG, any

applicable limitations in Fed. R. Civ. P. 4(m) are extended such that plaintiffs need not serve the

other Bayer entities until further order of the Court after a meet and confer of the parties.




                                                3
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 61 of 348



Further, neither Bayer Pharma AG, BHCP, nor the other Bayer entities shall move to dismiss a

complaint under Fed. R. Civ. P. 4(m) as to an unserved Bayer entity until further order of the

Court after a meet and confer of the parties.



       New Orleans, Louisiana, this 24th day of March, 2015.



                                                ____________________________________
                                                      Hon. Eldon E. Fallon
                                                      United States District Judge




                                                  4
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 62 of 348



                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                                  SECTION L
                                          *
                                          *                                  JUDGE ELDON E. FALLON
                                          *
                                          *                                  MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                                                   PRE-TRIAL ORDER NO. 11
                                               (Bundling of Complaints and Answers)

              The Court hereby Orders as follows1:

1. Bundling of Complaints.

       a. In an effort to minimize the expenses of all parties, and to promote judicial

              efficiency, the Court hereby authorizes claims of more than one plaintiff, and up to

              one hundred (100) plaintiffs, to be filed in a single Complaint with one filing fee for

              the Lead Plaintiff at the time of filing. The joined plaintiffs’ (plaintiffs named in

              the Joint Complaint other than the Lead Plaintiff) responsibility for a filing fee will

              be suspended until the resolution of their respective claims, at which time the fee

              must be paid before the case can be dismissed and closed, unless otherwise ordered

              by the Court. This process shall henceforth be referred to as “Joint Complaints” or

              the filing of “Joint Complaints.” The Plaintiff Fact Sheet (“PFS”) obligations of



                                                            
1
  Certain other Bayer entities have been named or may be named as defendants in these proceedings. These
other Bayer entitles include Bayer Healthcare, LLC; Bayer Corporation; Bayer HealthCare AG; and Bayer
AG. Specific provisions relieving these other Bayer entities from answering are found at paragraph 8(c)
pursuant to Pretrial Order No. 10. Possible discovery from these entities is also governed by Pretrial Order
No. 10 until further Order of this Court. 


                                                                1
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 63 of 348



      plaintiffs named in a “Joint Complaint” begin to run from the time the “Joint

      Complaint” is filed.

   b. In the section of the Joint Complaint entitled “Plaintiff Specific Allegations,” each

      individual plaintiff shall be listed alphabetically and in consecutively numbered

      paragraphs, and each paragraph shall include subsections containing case-specific

      allegations for each plaintiff. The case-specific allegations shall include the county

      and state of citizenship of the Plaintiff.

   c. Once a Joint Complaint is filed, this Court will, sua sponte, issue an order severing

      the individual plaintiffs listed in the Plaintiff Specific Allegations (the “Severance

      Order”). Plaintiffs’ counsel shall then file separate short form Complaints for each

      case, attaching the Severance Order as Attachment 1, and a list of the individual

      case captions for the plaintiffs named in the Joint Complaint as Attachment 2.

      Individual Civil Action Numbers and case captions will then be assigned for each

      individual case. Civil Cover Sheets will not be required for the severed civil

      actions. Instructions for filing individual severed Xarelto cases are attached to this

      Order.

   d. Joint Complaints may be filed directly in this Court pursuant to this Court’s

      previously entered Direct Filing Order.

   e. Service of the Joint Complaint, together with a copy of the applicable Severance

      Order and a list of the individual cases and their civil action numbers, shall be

      sufficient to effectuate service of process for each of the individual cases associated

      with the Joint Complaint.

2. Answers and Responsive Pleadings.




                                             2
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 64 of 348



 a. Within forty-five (45) days from this Order, Defendants shall file an Omnibus

    Answer that shall be deemed as a denial of all allegations in any Complaint pending

    in the MDL prior to the filing of the Omnibus Answer. The Omnibus Answer shall

    also set out Defendants’ Affirmative Defenses.

 b. The Omnibus Answer shall not constitute an appearance as to any defendant that

    has not been served and shall be deemed as the answer with respect to a previously

    un-served defendant thirty (30) days after service on that defendant.

 c. For each case filed in or transferred to the MDL after the filing of the Omnibus

    Answer, the Omnibus Answer shall be deemed as the operative Answer in each

    such case thirty (30) days after the case is docketed if an individual Answer is not

    filed prior to that time. Once the answer has been deemed as the operative answer,

    the requirements of Fed. R. Civ. P 15 shall attach for any amendments of the

    complaint and the requirements of Fed. R. Civ. P. 41(a) for a voluntary dismissal

    such that any dismissal shall occur only upon a stipulation of dismissal signed by

    all parties who have appeared or by Court Order after a properly noticed motion.

 d. Certain other Bayer entities have been named or may be named as defendants in

    these proceedings. The term “other Bayer entities” as used in this Order includes

    but is not limited to Bayer Healthcare, LLC; Bayer Corporation; Bayer HealthCare

    AG; and Bayer AG. The “other Bayer entities” are relieved of any obligation to

    answer complaints pursuant to Pretrial Order No. 10 (Streamlined Service on

    Certain Bayer Defendants) (Rec. Doc. 357) until further order of this Court.

 e. Other than the Omnibus Answer set out above, the Defendants’ obligation to file

    any responsive pleading to a Complaint that is filed in or transferred to this




                                         3
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 65 of 348



    proceeding is hereby stayed until further Order of the Court.        The Court is

    specifically preserving the Defendants’ right to file any motion pursuant to Fed. R.

    Civ. P. 12.

 f. Thirty (30) days after the bellwether discovery pool is selected, the Defendants’

    shall file individual Answers for each discovery pool plaintiff that will supersede

    and substitute for the Omnibus Answer and may file Rule 12 motions against any of

    the discovery pool plaintiffs.

 g. The individual plaintiffs will have thirty (30) days to file any response in

    opposition.

 h. After such period, the Court will decide whether oral argument is necessary.



 New Orleans, Louisiana this 4th day of May, 2015.



                                          ____________________________________
                                          UNITED STATES DISTRICT JUDGE  




                                         4
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 66 of 348
                      Filing Individual Severed Xarelto Cases

Documents Needed
Have the following PDFs available before starting the severed civil case opening process:
       C   Short Form Complaint
       C   Severance Order
       C   List of the individual case captions for all plaintiffs named in the Joint Complaint
Note: A civil cover sheet is not required

Opening the Individual Severed Cases
Login to CMECF and select Civil on the main menu bar, then under Open a Case, click
on the link CIVIL CASE.
       C In the "Other Court Name" field enter "EDLA"
       C In "Other court number" field enter the original case number of the Joint
           Complaint
       C Jurisdiction is "4" (Diversity)
       C For most cases, Cause of action is: 28:1332pl (Diversity - Personal Injury) . If
           the case alleges "wrongful death", use Cause of Action: 28:1332wd (Wrongful
           Death)
       C Nature of suit: 367 (Personal Injury: Health Care/Pharmaceutical Personal
           Injury Product Liability)
       C Citizenship of 1st named pla: either 1-Citizen This State, or 2-Citizen Other
           State
       C Citizenship of 1st named defendant: 5 - Incorporated/Principal Business Other
           State
       C Jury demand "p" for plaintiff, no Class Action, no $ demand
       C County is the Louisiana parish of residence for the 1st named plaintiff, or "Out
           of State", or "Out of Country"
       C Add individual plaintiffs as listed in the Short Form Complaint
       C Add defendants as listed in the Short Form Complaint

Docketing the Lead Event/Individual Severed Complaint
     C Select the link "Docket Lead Event", select the event "Complaint"
     C Select the plaintiff(s) as the filer
     C Create the attorney/party association
     C Select the defendant(s) that this filing is against

The Short Form Complaint will be the Main document with Attachments of:
      •      Severance Order
      •      List of the individual case captions for all plaintiffs named in the Joint
             Complaint

At the prompt for electronic payment of the fee, select "Prepayment of fee not required
pursuant to 28:1916." The clerk's office will modify the docket text to "Prepayment of
fee not required pursuant to Pre-Trial Order No. 11."



Attorney Instructions for Filing Individual Severed Xarelto Cases - Revision 4/23/2015
                                                                                     Page 1 of 1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 67 of 348



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) )                         MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )                  SECTION: L
____________________________________)
                                    )                  JUDGE FALLON
THIS DOCUMENT RELATES TO:           )                  MAG. JUDGE NORTH
ALL ACTIONS                         )
____________________________________)


                                PRE-TRIAL ORDER NO. 12
                           (STIPULATED PROTECTIVE ORDER)

       Plaintiffs and Defendants before this Court in MDL No. 2592 (sometimes hereinafter

referred to as “Plaintiffs” and/or “Defendants,” or collectively, the “PartiesKDYHDGYLVHGWKH

&RXUWWKDWWKH\KHUHE\VWLSXODWHand agree, through their respective attorneys of record as follows:

           1. The Parties, by and through their counsel, stipulate and agree that this Stipulated

Protective Order – and any designation of a document, material or information (whether written,

graphic, or electronic) as being a “PROTECTED DOCUMENT’ subject to this Stipulated

Protective Order – is intended solely to facilitate prompt discovery and the preparation for trial in

the above-captioned action.

           2. This Stipulated Protective Order shall govern all hard copy and electronic

materials, the information contained therein, and all other information including all copies,

excerpts, summaries, or compilations thereof, whether revealed in a document, deposition, other

testimony, discovery response or otherwise, produced or disclosed by any party to this

proceeding (the “Supplying Party”) to any other party (the “Receiving Party”). This Stipulated

Protective Order is binding upon all Parties at the time it is entered including their respective

corporate parents, subsidiaries, and affiliates and their respective attorneys, principals, experts,

consultants, representatives, directors, officers, employees, and others as set forth in this Order.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 68 of 348



If additional parties are added other than parents, subsidiaries or affiliates of current parties to

this litigation, then their ability to receive “PROTECTED INFORMATION” as set forth in this

Stipulated Protective Order will be subject to them being bound, by agreement or Court Order, to

this Stipulated Protective Order. Third Parties who so elect may avail themselves of, and agree

to be bound by, the terms and conditions of this Stipulated Protective Order and thereby become

a Supplying Party and/or Receiving Party for purposes of this Stipulated Protective Order.

            3. Nothing herein shall be construed to affect or restrict in any manner the use or

admissibility at trial or any other court proceeding of any document, testimony, or other

evidence.

            4. The entry of this Protective Order does not prevent any party from seeking a

further order of this Court pursuant to Fed. R. Civ. P. 26(c).

            5. This Protective Order does not confer blanket protections on all documents,

disclosures, or responses to discovery and the protection it affords extends only to specific

information or as set forth herein.

            6. A Supplying party may designate as “PROTECTED INFORMATION” any

documents, things and information, it produces in this litigation to a Receiving Party if such

Supplying Party or counsel for such Supplying party believes in good faith that such

PROTECTED INFORMATION is subject to protection under Fed. R. Civ. P. 26(c)(1)(G) or

other applicable law. Plaintiffs shall be permitted to designate materials that contain personal

information as “PROTECTED INFORMATION’ pursuant to this Order.

            7. A Supplying Party may also designate as “PROTECTED INFORMATION –

HIGHLY PROTECTED ” any document or information which, if potentially disclosed to a

competitor or the general public, could result in substantial business harm. Nonexclusive
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 69 of 348



examples include materials that may reveal trade secrets, manufacturing processes, proprietary

design, drug formulation, drug development, sequencing, chemical stability and characteristics,

analytical methods used in manufacturing, quality control processes, CMC information

exchanged with the FDA and not the subject of a patent, source and specifications for drug

components and raw materials, manufacturing plans, unpublished patent applications, strategic

intellectual property plans, notices of invention, including but not limited to confidential

intellectual property and patentable data, information, products or processes, strategic plans,

marketing plans, brand plans, documents setting forth marketing and sales tactics and strategies,

sales data, and documents revealing pricing or other contractual data so long as the material is

also protected under Fed. R. Civ. P. 26(c)(1)(G). In designating discovery materials as

“PROTECTED INFORMATION – HIGHLY PROTECTED ”, the Supplying Party shall do so

in good faith consistent with the provisions of this Protective Order and rulings of the Court.

Paragraphs 19 and 20 herein set forth the terms regarding disclosure of discovery material

designated as “PROTECTED INFORMATION” or “PROTECTED INFORMATION –

HIGHLY PROTECTED.”

       Additionally, certain information that may be designated as “PROTECTED

INFORMATION - DEFENDANT RESTRICTED”, such as protected internal financial data

from the Janssen defendants or Bayer defendants, is not and would not be shared or disclosed as

between the respective defendants for legal and other reasons. To the extent such information is

required to be produced in this matter, if a Receiving Party proposes to disclose such information

to a co-defendant, the Receiving Party and Supplying Party shall meet and confer prior to any

such disclosure, and the Supplying Party shall have the right to seek an Order that the disclosure

not be made. It is the obligation of the Supplying Party to notify the Receiving Party at the time
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 70 of 348



of production and identify with specificity any documents that the Supplying Party contends

should not be disclosed to a co-defendant. This paragraph does not restrict and will not delay the

production of such materials to Plaintiffs.

           8. Any entity organized under the laws of the Federal Republic of Germany that

becomes a party to this litigation may designate as “PROTECTED INFORMATION” those

documents (including electronic or paper form) containing “personal data” within the meaning of

the German Federal Data Protection Act, which is protected under German law. “Personal data”

consists of any and all data that concerns an identified person or a person who is identifiable with

recourse to additional information available to the data processor (e.g., reference to an individual

by his/her title or position with the company whose identity is specified in other available

sources of information). In particular, this provision applies to the following documents:

                   a. any correspondence (electronic or paper form) that identifies or through

                       recourse to other source of information available to the data processor

                       allows identification of its author(s)/sender(s) and/or its

                       addressees/recipients, (e.g., all email correspondence, letters and faxes,

                       including transmission reports);

                   b. any document, such as memoranda, notes and presentations, if it identifies

                       or allows identification of its author/sender and/or its addressee/recipient

                       through recourse to other information available to the data processor;

                   c. minutes of internal or external meetings as far as they include information

                       which individual(s) did or did not attend the meeting;

                   d. personnel records and information; and

                   e. any document containing private medical information.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 71 of 348



           9.   No items or information, including but not limited to summaries of items or

information designated as “PROTECTED INFORMATION” shall be produced or disseminated

orally, or by any other means, except as permitted by this Stipulated Protective Order. As used

in all following paragraphs, the phrase “PROTECTED INFORMATION” also includes the

PROTECTED INFORMATION – HIGHLY PROTECTED” and “PROTECTED

INFORMATION - DEFENDANT RESTRICTED” designations unless the specific paragraph

contains additional or different provisions for the latter designations.

           10. Any designation of “PROTECTED INFORMATION” under this Stipulated

Protective Order shall not be construed as an admission or an agreement by any party that any

document, material or information, or any portion thereof, constitutes competent, material,

relevant, or admissible evidence in this case.

           11. Documents not designated as “PROTECTED INFORMATION” are not

protected as that term is used herein.

           12. This Protective Order shall not be construed to protect from production or to

permit the designation as “PROTECTED INFORMATION” of any document or other material

that (a) the party has not made reasonable efforts to keep confidential, or (b) is at the time of

production or disclosure, or subsequently becomes, through no wrongful act on the part of the

Receiving Party, generally available to the public through publication or otherwise.

           13. This Stipulated Protective Order shall not be construed as a waiver by any party

of the right to contest the designation of “PROTECTED INFORMATION” under this Stipulated

Protective Order. Any party desiring to contest the designation of specific “PROTECTED

INFORMATION” may do so at any time and shall give the Supplying Party notice in writing (a

letter to liaison counsel delivered by email shall be sufficient), including the listing of any such
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 72 of 348



information or document(s) or the Bates ranges for the information or document(s), and shall

provide a brief explanation of the basis for contesting the “PROTECTED INFORMATION”

designation (the “Notice”). If the same document in the Notice appears in the production at

other Bates numbers, the Notice shall be deemed to be sufficient for all such documents and

information. The Notice shall be sufficient if it identifies documents being challenged and states

the basis for the challenge. If the Parties cannot stipulate to the designation as “PROTECTED

INFORMATION” within fourteen (14) days of the Supplying Party’s receipt of such written

notice, then the Supplying Party has the burden of making an application to the Court for an

order directing that the contested document(s) or information is entitled to protection under

applicable law. The Supplying shall have thirty (30) days to file and serve an application unless

the parties agree to a shorter time or the Court orders a different time period. If no such

application is filed within the requisite time period, the information shall not be afforded

protected status, unless the Court subsequently orders otherwise. All references in motions or

briefs seeking to confirm the confidentiality designation “PROTECTED INFORMATION” shall

be filed under seal to the extent permitted by applicable Court rules and procedure as set forth

herein below in paragraphs 25 and 26. Pending a Court determination, no document or

information designated as “PROTECTED INFORMATION” under this Order shall be

disseminated other than as provided by this Order unless otherwise ordered by the Court or as

stipulated by the Parties.

           14. The fact that the Parties have agreed to this Protective Order shall not be used

against either party in any subsequent challenge to the designation of material as protected

information. The challenge shall be decided on the merits pursuant to the applicable law.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 73 of 348



            15. Pursuant to the terms and requirements of this Stipulated Order, the Supplying

Party may designate as “PROTECTED INFORMATION” all or any part of documents or

information produced by it in the course of litigation or in response to various interrogatories and

requests for production of documents, as well as documents, electronic files and data

compilations, and deposition transcripts, or portions thereof, that contain or constitute protected

information.

            16. The designation of information shall be made by placing or affixing on the

material in a manner that will not interfere with its legibility the words “PROTECTED

INFORMATION. SUBJECT TO PROTECTIVE ORDER” as long as the designation is

conspicuously placed on produced documents, media or information in a uniform manner. The

designation shall be made prior to, or contemporaneously with, production or disclosure of that

material.

            17. Information disclosed at a deposition taken in connection with this action may be

designated as Protected Information by designating the portions of the transcript in a letter to be

sent to the court reporter and Liaison Counsel within fifteen (15) days of the date the court

reporter makes the transcript available for the Producing Party’s review. The letter shall direct

the court reporter to indicate the portions designated as Protected Information and segregate

them as appropriate. Designations of transcripts will apply to audio, video, or other recordings

of testimony. The court reporter shall clearly mark any transcript released prior to the expiration

of the fifteen (15) day period as “Protected – Subject to Further Protective Review.” Such

transcripts will be treated as Protected Information and shall be fully subject to this Protective

Order, until after the expiration of the fifteen (15) days after the transcript was made available by

the court reporter. If the Producing Party does not send a designation letter within the fifteen
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 74 of 348



(15) day period, then the transcript will be not be treated as “PROTECTED INFORMATION”

unless upon application to the Court, the Court orders otherwise. The parties may agree to a

reasonable extension of the fifteen (15) day period or may seek an extension from the Court for

sending the designation letter.

           18. A party may not file in the public record in this action any “PROTECTED

INFORMATION” without written permission from the Supplying Party or a court order secured

after appropriate notice to the parties. Material or information designated as “PROTECTED

INFORMATION” under this Stipulated Protective Order shall not be used or disclosed by any

party, or their counsel or any person acting on his/her behalf to any other persons except as

provided for hereinafter, and shall not be used for any business or competitive purpose, or for

any other purposes whatsoever, other than the preparation and trial of this action and any appeal

in connection with this action.

           19. In the absence of written permission from the Supplying Party or an order of the

Court, material or information designated as “PROTECTED INFORMATION” under this

Stipulated Protective Order may only be shown and delivered to the following people:

                   a. Counsel for the Parties, including in-house for Defendants, and all

                       employees of such counsel who have responsibility for assisting in the

                       preparation and trial of this action or any appeal herein;

                   b. Any attorney of record for plaintiffs in other pending U.S. litigation

                       alleging personal injury or economic loss arising from the alleged use,

                       purchase, or payment of Xarelto for use in such other Xarelto action,

                       provided that the proposed recipient is: (a) already operating under a

                       Protective or Confidentiality Order in another jurisdiction where the
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 75 of 348



             Xarelto action is pending; or (b) agrees to be bound by this Order and

             executes the Acknowledgment that is attached hereto as Exhibit A;

          c. The Parties to the extent required for assisting in the preparation and trial

             of the case or any appeal herein. To the extent such disclosure is made,

             such Party shall be advised of, shall become subject to, and shall agree in

             advance of disclosure to, the provisions of this Stipulated Protective

             Order;

          d. The Court, any Special Master appointed by the Court and court personnel

             (including the court having jurisdiction over any appeal);

          e. Court reporters used in connection with the litigation;

          f. Any person who (i) wrote or received a copy of the document before it

             was furnished in this litigation, or (ii) was present or participated in a

             meeting or discussion of the protected information before it was furnished

             in this litigation;

          g. Any mediators, secretaries, paraprofessional assistants, and other

             employees of such mediators who are actively engaged in assisting the

             mediators in connection with this matter;

          h. Employees of outside copying, document imaging, litigation and trial

             support, and facsimile services;

          i. Experts and consultants retained by a party to this proceeding or the

             party’s counsel for purposes of assisting the party and its attorneys of

             record in the preparation and/or presentation of its claims or defenses

             (including undisclosed consulting experts), provided that the proposed
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 76 of 348



             recipient executes the attestation attached as Exhibit A. A copy of each

             executed acknowledgement shall be maintained for Plaintiff’s consultants

             or experts by Plaintiff’s Liaison Counsel and for Defendants’ consultants

             or experts by Counsel for Defendants during the course of the litigation.

             At the conclusion of the litigation, counsel for Receiving Party shall

             confirm in writing with counsel for Supplying Party that it will have any

             documents designated as “PROTECTED INFORMATION” or “HIGHLY

             PROTECTED INFORMATION” that were provided to consultants or

             experts returned to counsel for the Receiving Party.

          j. To the extent the Defendants desire that any former employee whose

             deposition is to be taken in this matter execute the Acknowledgement

             attached as Exhibit A, it shall be the Defendants’ burden to obtain such an

             agreement prior to the deposition. If a former employee refuses to execute

             the Acknowledgment, the parties will meet and confer on the issue. If the

             parties cannot reach an agreement and the Defendants continue to desire to

             preclude the former employee from receiving ”PROTECTED

             INFORMATION” at his or her deposition, the Defendants shall move for

             a protective order in a timely fashion so that the issue may be resolved by

             the Court prior to the deposition. Without such an additional protective

             order, nothing in this Order shall prevent Plaintiffs’ Counsel from showing

             “PROTECTED INFORMATION” to the witness at the deposition of any

             former employee of Defendants who currently works for a company that

             may otherwise preclude the receipt of “PROTECTED INFORMATION”
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 77 of 348



                      by that witness had he or she had not been formerly employed by

                      Defendants. If the Receiving Party intends on disclosing “PROTECTED

                      INFORMATION” to a former employee outside of a deposition, trial or

                      other formal proceeding under oath, the former employee must execute the

                      Acknowledgment attached as Exhibit A prior to disclosure.

                  k. Disclosure may be made to witnesses or deponents in the course of this

                      litigation if such person or persons execute the Acknowledgement that is

                      attached as Exhibit A.

                  l. The Parties will continue to meet and confer regarding the disclosures to

                      plaintiffs’ prescribing and treating physicians, nurse practitioners, or other

                      medical professionals who treated plaintiffs (and their respective staffs)

                      and the conditions upon which those disclosures may be made outside of a

                      deposition.

           20. In addition to the persons and entities identified above, material or information

designated as “PROTECTED INFORMATION – HIGHLY PROTECTED” under this Stipulated

Protective Order may only be disclosed to the following individuals in the manner set forth

below:

           a. As used herein, a “competitor” shall be defined as any pharmaceutical company

              that manufactures or has as one of its products a new oral anticoagulant

              (“NOAC”) indicated for the treatment of reducing the risk of stroke and systemic

              embolism in patients with nonvalvular atrial fibrillation, treatment of DVT,

              treatment of PE, reduction in the risk of recurrence of DVT and/or PE following
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 78 of 348



              initial 6 months treatment for DVT and/or PE, or prophylaxis of DVT, which may

              lead to PE, in patients undergoing knee or hip replacement surgery.

           b. Subject to Paragraph 19(j) above, prior to disclosure to anyone who is,

              independent of this litigation a current director, officer, employee of, or counsel

              for a competitor, or anyone who at the time of disclosure is pursuing an

              opportunity to become an employee, officer, or director of any competitor of

              Defendants;

           c. the Receiving Party shall identify the Bates range of documents that may be

              provided to such person without disclosing the identity of the person. Within

              fourteen (14) days of the disclosure of the Bates range of documents, any party in

              good faith may deem any document in the above Bates range as a document that

              may not be disclosed to such person if that party considers the document to

              contain information that if potentially disclosed to a competitor of Defendants,

              such disclosure would cause Defendants significant competitive harm. If such a

              designation is not made within fourteen (14) days, the documents in the Bates

              range may be provided to the individual pursuant to this Stipulated Protective

              Order so long as Exhibit A is signed as set forth above. A party may object to the

              designation of non-disclosure above within fourteen (14) days of the designation.

           21. All counsel shall keep all material or information designated as “PROTECTED

INFORMATION” which is received under this Stipulated Protective Order within its exclusive

possession and control, except as provided in paragraphs 19 and 20, and shall take reasonable

steps to maintain such material in a secure manner.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 79 of 348



           22. Any person having access to material or information designated as a

“PROTECTED DOCUMENT” under this Stipulated Protective Order, including consultants and

experts, are permitted to make copies, extracts, summaries, or descriptions of the material or

information or any portion thereof as necessary for the preparation and trial of this litigation.

           23. Pursuant to 21 C.F.R. §§ 314.430(e) & (f) and 20.63(f), the names of any person

or persons reporting adverse experiences of patients and the names of any patients that are not

redacted shall be protected, regardless of whether the document containing such names is

designated as “PROTECTED INFORMATION”. No such person shall be contacted, either

directly or indirectly, based on the information so disclosed without the express written

permission of the Supplying Party.

           24. This Protective Order does not address the offering of Protected Information in

evidence at trial or any court hearing, but nothing contained in this Protective Order shall

preclude any party from moving the Court at an appropriate time for an order that evidence be

received in camera or under other conditions to prevent unnecessary disclosure.

           25. The Parties will use the following procedure for submitting to the Court papers

consisting of, relating to, containing, incorporating, reflecting, describing or attaching Protected

Information: any such material shall be filed in a sealed envelope, labeled with the case name,

case number, the motion to which the documents relate, and a listing of the titles of the

documents in the envelope, and shall bear the legend: THIS DOCUMENT CONTAINS

PROTECTED INFORMATION COVERED BY A PROTECTIVE ORDER OF THE COURT

AND IS SUBMITTED UNDER SEAL PURSUANT TO THAT PROTECTIVE ORDER. THE

PROTECTED CONTENTS OF THIS DOCUMENT MAY NOT BE DISCLOSED WITHOUT

EXPRESS ORDER OF THE COURT. Such material shall be kept under seal until further order
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 80 of 348



of the Court; however, such materials shall only be available to the Court and counsel of record,

and to all persons entitled to receive such information under the terms of this Order. When

serving such material, the parties shall select the “Sealed, electronic” option to ensure that on-

line access is restricted as contemplated by this Order. That parties shall take reasonable steps to

minimize such sealing.

           26. Within seven (7) days of the submission of any material under seal, the parties

shall confer to determine if the Producing Party objects to the filing of the Protected Information

in unsealed form. To the extent of the parties’ agreement concerning the treatment of the

Protected Information, the filing party may file the subject materials in unsealed form. To the

extent the parties are unable to reach agreement, either party may file a motion to address the

appropriate treatment of the subject materials. On such motion, the Supplying Party shall have

the burden of proving the material is Protected Information. The material shall remain sealed

unless the Court orders otherwise.

           27. When submitting deposition testimony pursuant to the previous Paragraph that

has been designated as Protected Information, the submitting party shall submit, to the extent

reasonably possible, only those pages of the deposition transcript that are cited, referred to, or

relied on by the submitting party.

           28. If another court or an administrative agency subpoenas or otherwise orders

production of “PROTECTED INFORMATION” obtained under this Stipulated Protective Order,

the person to whom the subpoena or other process is directed shall promptly notify liaison

counsel for the designating party in writing via electronic and overnight delivery of all of the

following: (1) the “PROTECTED INFORMATION” that is requested by the subpoena; (2) the

date on which compliance with the subpoena is requested; (3) the location at which compliance
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 81 of 348



with the subpoena is requested; (4) the identity of the party serving the subpoena; and (5) the

case name, jurisdiction and index, docket, complaint, charge, civil action or other identification

number or other designation identifying the litigation, administrative proceeding or other

proceeding in which the subpoena or other process has been issued. In no event shall

“PROTECTED INFORMATION” be produced before the expiration of fifteen business days

after written notice to counsel for the designating party unless required to do so by the order

seeking the documents. Furthermore, the person receiving the subpoena or other process shall

cooperate with the producing party in any proceeding related thereto.

           29. If any party learns of any unauthorized disclosure of documents or information

designated as “PROTECTED INFORMATION” by Parties or counsel in this litigation, it shall

immediately inform the Court in writing of all pertinent facts relating to such disclosure.

           30. Inadvertent production of any document or information without a designation of

“PROTECTED INFORMATION” will not be deemed to waive a later claim to its protected

nature or preclude a party from designating said document or information as “PROTECTED

INFORMATION” pursuant to this Order at a later date. Any party may designate as

“PROTECTED INFORMATION” or withdraw “PROTECTED INFORMATION” designation

from any material that it has produced, provided, however, that such re-designation shall be

effective only as of the date of such re-designation. A party must treat such documents and

things with the noticed level of protection from the date such notice is received. Such re-

designation shall be accomplished by notifying counsel for each party in writing of such re-

designation and providing replacement images bearing the appropriate description. Upon receipt

of any re-designation and replacement image that designates material as “PROTECTED

INFORMATION,” all Parties shall (1) treat such material in accordance with this Order; (2) take
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 82 of 348



reasonable steps to notify any persons known to have possession of any such material of such re-

designation under this Stipulated Protective Order; and (3) promptly endeavor to procure all

copies of such material from any persons known to have possession of such material who are not

entitled to receipt under this Stipulated Protective Order .

           31. Inadvertent production of documents or information (hereinafter “Inadvertently

Produced Documents”) subject to work-product immunity, the attorney-client privilege, or other

legal privilege protecting information from discovery shall not constitute a waiver of the

immunity or privilege, provided that the party producing the documents shall notify all Parties in

writing within a reasonable period of time from the discovery of the inadvertent production. If

such notification is made, such Inadvertently Produced Documents and all copies thereof shall,

upon request, be returned to the party making the inadvertent production, all notes or other work

product of the Receiving Party reflecting the contents of such materials shall be destroyed, and

such returned or destroyed material shall be deleted from any litigation-support or other

database. If the party receiving the production disputes in writing the claim of privilege or the

claim of inadvertence they may retain possession of the Inadvertently Produced Documents as

well as any notes or other work product of the Receiving Party reflecting the contents of such

materials pending the resolution by the Court of the motion below. The party receiving such

Inadvertently Produced Documents may, after receipt of the notice of inadvertent production,

move the Court to oppose the request for return of the subject materials. If the Receiving Party’s

motion is denied, the Receiving Party shall promptly comply with the immediately preceding

provisions of this paragraph or such other directives as may be issued by the Court. No use shall

be made of such Inadvertently Produced Documents during depositions or at trial, nor shall they
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 83 of 348



be disclosed to anyone who was not given access to them prior to the request to return or destroy

them.

           32. Upon final termination of this action, whether by judgment, settlement or

otherwise, counsel for the Receiving party shall destroy or return to counsel for the Designating

party all “PROTECTED INFORMATION” in their possession or subject to their control

(including but not limited to materials furnished to consultants and/or experts), and execute an

affidavit or declaration affirming based on personal knowledge that all such “PROTECTED

INFORMATION”, including copies upon which any notes have been made, have been destroyed

or returned.

           33. The terms of this Stipulated Protective Order shall survive and remain in effect

after the termination of this lawsuit. To the extent permitted by local rules and governing law,

counsel for the designating party shall be entitled to contact the Court to claim and retrieve

documents containing “PROTECTED INFORMATION” that were submitted to the Court.

           34. Any party for good cause shown may apply to the Court for modification of this

Stipulated Protective Order, or the Order may be modified by consent of the Parties in writing.

This Stipulated Protective Order shall remain in full force and effect and each person subject to

this Order shall continue to be subject to the jurisdiction of this Court, for the purposes of this

Order, in perpetuity, and the Court shall not be divested of jurisdiction of any person or of the

subject matter of this Order by the occurrence of conclusion of this case, or by the filing of a

notice of appeal, or other pleading which would have the effect of divesting this Court of

jurisdiction of this matter generally.

    The Court approves the aforestated stipulations andPHPRULDOL]HVWKHPLQWKLVCourt order.
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 84 of 348



New Orleans, Louisiana this 4th day of May, 2015.

   NEW ORLEANS, LOUISIANA this 28th day of April, 2015.



                                    ____________________________________
                                        United
                                    UNITED     States District
                                            STATES    DISTRICT Judge
                                                                   JUDGE 
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 85 of 348



       EXHIBIT A TO PRE-TRIAL ORDER NO. 12 (STIPULATED PROTECTIVE ORDER)

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              * MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          * SECTION L
                                          *
                                          * JUDGE ELDON E. FALLON
                                          *
                                          * MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
BY PROTECTIVE ORDER

The undersigned agrees:

I declare under penalty of perjury that I have read in its entirety and understand the Protective
Order that was issued by the United States District Court for the Eastern District of Louisiana on
______________, 2015 in IN RE: XARELTO (RIVAROXABAN) PRODUCTS LIABILITY
LITIGATION,(MDL No. 2592).

I agree to comply with and to be bound by all the terms of this Stipulated Protective Order, and
I understand and acknowledge that failure to so comply could expose me to sanctions and
punishment in the nature of contempt. I solemnly promise that I will not disclose in any
manner any information or item that is subject to this Protective Order to any person or entity
except as permitted by the provisions of this Protective Order.

I further agree to submit to the jurisdiction of the United Stated District Court for the Eastern
District of Louisiana for the purposes of enforcing terms of this Protective Order, even if such
enforcement proceedings occur after termination of these proceedings.

Date:__________________


City and State where sworn and signed:_______________________


Printed Name:_____________________________


Signature:_________________________________




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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 86 of 348




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                           *      MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                       *      SECTION L

                                                       *      JUDGE ELDON E. FALLON

                                           *                  MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                                 PRE-TRIAL ORDER NO. 13
                           (Plaintiff Fact Sheets and Authorizations)

       In conjunction with Paragraph 4 of the Case Management Order No. 1 (“CMO No. 1”),

this Order governs the form and schedule for service of Plaintiff Fact Sheets (“PFS”) and

executed Authorizations for the release of records to be completed by Plaintiffs in all individual

cases that were: (1) transferred to this Court by the Judicial Panel on Multidistrict Litigation,

pursuant to its Order of December 12, 2015; (2) subsequently transferred to this Court by the

Judicial Panel on Multidistrict Litigation pursuant to Rule 7.4 of the Rules of Procedure of that

Panel; and (3) originally filed in this Court or transferred or removed to this Court.

PLAINTIFF FACT SHEETS:

   1. Plaintiffs shall each complete and serve upon Defendants a PFS and Authorization for

       Release of Records of all healthcare providers and other sources of information and

       records (e.g. pharmacies, employers, etc.) using MDL Centrality in the form set forth in

       PFS Attachment A. Those Plaintiffs shall also produce with their PFS all documents

       responsive to the document requests contained therein.

   2. As outlined in Paragraph 4(a) of the CMO No. 1, a complete and verified PFS, signed
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 87 of 348



   and dated Authorizations, and all responsive documents shall be submitted to the

   Defendants using MDL Centrality on the following schedule: within sixty (60) days from

   the date that each Plaintiff’s case is filed, if filed directly in this Court; within sixty (60)

   days of the date the case is transferred to this Court, if filed elsewhere; or within sixty

   (60) days from entry of this Order, whichever is longer. The Authorizations are set forth

   in PFS Attachment B.

3. Plaintiffs who fail to provide complete and verified PFS, signed and dated

   Authorizations, and all responsive documents requested in the PFS within the time

   periods set forth hereinabove shall be given notice by e-mail from Defendants' Liaison

   Counsel (“DLC”) and shall be given twenty (20) additional days to cure such deficiency.

   Failure to timely comply may result in a dismissal of Plaintiff’s claim.

4. Authorizations shall be dated and signed. Defendants may use the authorizations for all

   healthcare providers and other sources of information and records (e.g., pharmacies,

   employers, etc.) identified in the PFS, without further notice to Plaintiff's counsel. DLC

   shall make records received pursuant to the Authorizations available to Plaintiffs’ Liaison

   Counsel (“PLC”) and Plaintiff’s counsel at Plaintiff’s request and at cost to Plaintiff.

5. If Defendants wish to use an authorization to obtain records from a source that is not

   identified in the PFS, Defendants shall provide the Plaintiff's counsel for that particular

   case with seven (7) days written notice (email) of the intent to use an authorization to

   obtain records from that source. If Plaintiff's counsel fails to object to the request within

   seven (7) days, Defendants may use the authorization to request the records from the

   source identified in the notice. If Plaintiff's counsel objects to the use of the authorization

   to obtain records from the source identified in the notice within said seven (7) day period,




                                              2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 88 of 348



      Plaintiff's counsel and Defendants’ counsel shall meet and confer in an attempt to resolve

      the objection. If counsel are unable to resolve the objection, Plaintiff shall file a motion

      for a protective order within fourteen (14) days of the Defendants’ notice of intent to use

      the authorization.

   6. Plaintiffs' responses to the PFS shall be treated as answers to interrogatories under Fed.

      R. Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P.

      34 and shall be supplemented in accordance with Fed. R. Civ. P. 26.

   7. Defendants’ use of the PFS and Authorizations shall be without prejudice to Defendants’

      right to serve additional discovery.




    New Orleans, Louisiana this 4th day of May, 2015.



                                                         United States District Judge




Attachments




                                               3
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 89 of 348




   PFS ATTACHMENT A
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 90 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO PRODUCTS                        Master File No.: _____________
LIABILITY LITIGATION                           MDL No. 2592



This Document Relates To:                      Plaintiff: ________________________
MDL Case No. ______________________




                                 PLAINTIFF’S FACT SHEET
        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Xarelto® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide
information that is true and correct to the best of your knowledge. If you cannot recall all of the
details requested, please provide as much information as you can. You must supplement your
responses if you learn that they are incomplete or incorrect in any material respect. For each
question, where the space provided does not allow for a complete answer, please attach
additional sheets so that all answers are complete. When attaching additional sheets, clearly
label what question your answer pertains to.
        In filling out this form, please use the following definitions: (1) “health care provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities
involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s
decedent; (2) “document” means any writing or record of every type that is in your possession,
including but not limited to written documents, documents in electronic format, cassettes,
videotapes, photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-
records, non-identical copies, and other data compilations from which information can be
obtained and translated, if necessary, by the respondent through electronic devices into
reasonably usable form.
        Information provided by plaintiff will only be used for purposes related to this litigation
and may be disclosed only as permitted by the protective order in this litigation. This Fact Sheet
is completed pursuant to the Federal Rules of Civil Procedure governing discovery (or, for state
court case, the governing rules of civil of the state in which the case is pending).




                                                 1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 91 of 348



                              I.       CORE CASE INFORMATION
A.    Please provide the following information for the civil action that you filed:
Caption:
Court and Docket No.
Plaintiff’s Attorney:


B.    Please provide the following information for the individual on whose behalf this action was filed:
Name:                                                          Social Security Number :
Address:                                                       Date of Birth:

C.    Please provide the following information regarding usage of Xarelto®.
      YOU MUST ATTACH COPIES OF PRESCRIPTION AND/OR PHARMACY RECORDS
      DEMONSTRATING USE OF XARELTO®:
Dates of Use:                                                  Dosage:
Reason for Prescription:
Name and Address of Prescribing Physician(s)
Name and Address of Pharmac(ies):

D.    Please provide the following information regarding the event(s) you attribute to use of Xarelto®.
      YOU MUST ATTACH MEDICAL RECORDS DEMONSTRATING ALLEGED INJURY:
      1.        Please select the injury you allege in this lawsuit (check the one(s) that apply):
                 Brain/Cerebral Hemorrhage
                 Death
                 Gastrointestinal Bleeding
                 Heart Attack
                 Kidney Bleeding
                 Nosebleeds
                 Rectal Bleeding
                 Respiratory Failure
                 Stroke (Hemorrhagic)
                 Stroke (Ischemic)
                 Vaginal or Uterine Bleeding
                 Unspecified Internal Bleeding
                 Other *


                                                  2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 92 of 348



* If you checked other, identify all injuries that you are claiming that are not listed in the above chart.
_______________________________________________________________________________
For each event above, please specify:
 Date of Diagnosis:
 Name and Address of Diagnosing Physician(s):
 Hospitalized?           Y/N                             Date(s) of Hospitalization(s):
 Reason for Hospitalization(s):
 Name and Address of Hospital(s) and Medical
 Provider(s):

E.     If you are completing this questionnaire in a representative capacity (e.g., on behalf of the
       estate of a deceased person), please complete the following:
 Name:
 Address:
 Capacity in which you are representing
 the individual:
 If you were appointed as a representative by a court,
 state the State, Court and Case Number:
 Relationship to the Represented Person:
 State the date and place of death of the decedent
 (if applicable)


If you are completing this questionnaire in a representative capacity, please respond to the
remaining questions with respect to the person whose medical treatment involved the use of
Xarelto. Those questions using the term “You” refer to the person whose treatment involved the
use of Xarelto. If the individual is deceased, please respond as of the time immediately prior to
his or her death unless a different time period is specified.


                               II.   PERSONAL INFORMATION
A.     Background Information
       1.        Name:
       2.        Maiden or other names you have used or by which you have been known:

       3.        Medicare Health Insurance Claim Number (if applicable):
       4.        Place of Birth:
       5.        Sex:    Male: _____ Female: _____

                                                3
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 93 of 348



        6.       Identify each address at which you have resided during the last ten (10) years and
                 the approximate dates during which you lived at each address (most recent first):

                                                                                   Dates Resided
             Street Address                  City, State, Zip
                                                                            From                   To




B.      Family Information
        1.       Have you ever been married? Yes: _____ No: _____
                 If yes, for each marriage in the last five years, state the spouse’s name, the date of
                 marriage, the date the marriage ended, the nature of termination (e.g., death,
                 divorce, etc.), and that spouse’s present address:
                                                   Date
                                  Date of                        Nature of         Spouse’s Present Address
      Spouse’s Name                              Marriage
                                 Marriage                       Termination               (if known)
                                                  Ended




        2.       Has your spouse filed a loss of consortium or other claim in this lawsuit?
                 Yes      No
        3.       If you have children, please identify each child’s name, address, and date of birth:
               Child’s Name                                 Address                         Date of Birth




C.      Educational History: Identify each high school, vocational school, college, university or
        other post-secondary educational institution you attended, the institution’s address, the
        dates of attendance, and the diplomas or degrees awarded:

                                 Address and
     Name of School           Telephone Number        Dates of Attendance          Diploma/Degree Awarded
                                  (if known)




                                                      4
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 94 of 348



D.      Employment History
        Whether or not you are making a lost wage claim, please respond to all questions in this
        section except as noted:
        1.     Are you currently employed? Yes          No
               If yes, identify your current employer with name, address and telephone number
               and your position there:
                                                                         __________________
        2.     Are you making a claim for lost wages or lost earning capacity? Yes        No
        3.     Only if you are asserting a wage loss claim: Please provide the address for each
               employer identified above and state the following for the last seven (7) years:

         Name of Employer         Employer Address, City, ST,        Year      Annual Gross Income
                                               Zip




        4.     Have you ever been out of work for more than thirty (30) days for reasons related
               to your health in the last seven (7) years ? Yes: _____ No: _____
                       If yes, please state the dates, employer, and health condition:


E.      Worker’s Compensation and Disability Claims: Within the last 10 years, have you ever
        filed for workers’ compensation, social security, and/or state or federal disability
        benefits? Yes    No

        If Yes, then as to each application, separately state the following:

                              Company
         Year Claim was      and/or Court         Nature of          Period of           Amount
              Filed          where claim       claimed injury        disability          Award
                               was filed




     F. Military Service
        1.     Have you ever served in any branch of the military? Yes            No
               If yes, Branch and dates of service:




                                                  5
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 95 of 348



              If yes, were you discharged for any reason relating to your health (whether
              physical, psychiatric, or other health condition)? Yes No
                       If yes, state the condition:



G.    Life Insurance: Within the last 7 years, have you ever been denied life insurance?
      Yes       No
      If yes, please state when, the name of the life insurance company, and the company’s
      stated reason for denial (if any):



H.    Other Lawsuits: Within the last ten (10) years, have you filed a lawsuit, relating to any
      bodily injury, or made a claim, other than in the present suit? Yes     No
      If yes, state:
      Nature of the case:
      Where was it filed?
      Attorney name:
I.    Prior Convictions: Have you ever been convicted of, or pled guilty (or no contest) to, a
      felony and/or a crime involving an act of dishonesty or providing a false statement within
      the last ten (10) years? Yes     No
      If yes, please provide the following: (Charge to which you plead guilty or were convicted
      of:
      Court where action was pending:
J.    Computer Use: Apart from communications to or from your attorney, have you
      communicated via email, visited any chat rooms, or publicly posted a comment, message
      or blog entry on a public internet site regarding your experience with or injuries you
      attribute to Xarelto, other New Oral Anticoagulants, atrial fibrillation, or the risk of
      stroke or blood clots during the past five (5) years? (You should include all postings on
      public social network sites including Twitter, Facebook, MySpace, LinkedIn, or “blogs”
      that address the topics above).
              Yes: _____ No: _____ Do Not Recall: _____
              If yes, please identify where and when you made such public posts and the
              substance of what was posted.
              _________________________________________________________________
K.    Bankruptcy: In the last 5 years, have you filed for bankruptcy? Yes      No



                                                  6
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 96 of 348



                                  III.       CLAIM INFORMATION
A.        Xarelto Use:
          1. Relevant History

            a.    Provide in the chart below the name(s) and address(es) of the health care
                  provider(s) who prescribed or provided Xarelto:

           Name of health care provider(s)                  Address, City, State and Zip




            b.    When were you first diagnosed with the condition for which you were prescribed
                  Xarelto? ____________________________________________

            c.     Prior to taking Xarelto, how did you manage or treat this condition
                  (describe - if applicable and cross-reference if answered in section VI. A.)?
                  _________________________________________________________________
                  _________________________________________________________________

            d.    In the chart below, please identify all healthcare providers who treated you in
                  connection with this condition:

             Name of health care provider(s)                 Address, City, State and Zip




     2.           Are you currently taking Xarelto? Yes      No
     3.           Provide below the name(s) and address(es) of the pharmacy(ies) or other store(s) or
                  location(s) from which you obtained Xarelto:

                 Name of Pharmacy or other                    Address, City, State and Zip
                          Store/Location




                                                   7
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 97 of 348



 4.    Have you ever received any samples of Xarelto? Yes       No    Do Not Recall
       If yes, please state the following:
       Who Provided? _____________________________________________________
       When?_____________________________________________________________
 5.    Were you ever given any written instructions, including any prescriptions,
       packaging, package inserts, literature, medication guides, or dosing instructions,
       regarding Xarelto? Yes        No       Do Not Recall
       If yes, please describe the documents if you no longer have them. If you have the
       documents, please produce them:



 6.    Were you given any oral instructions from a Healthcare Provider regarding your
       use of Xarelto? Yes     No       Do Not Recall
       If yes, please identify each Healthcare Provider who provided the oral
       instructions:



 7.    Do you have in your possession, or does your attorney have, the packaging from
       the Xarelto you allege to have used? Yes     No
       If yes, who currently has custody of the Xarelto packaging?

 8.    Have you ever seen any advertisements (e.g., in magazines or television
       commercials) for Xarelto? Yes  No
       If yes, identify the advertisement or commercial, and approximately when you
       saw the advertisement or commercial:


 9.    Other than through your attorneys, have you had any communication, oral or
       written, with any of the Defendants or their representatives?
       Yes       No       Do Not Recall
       If yes, please identify:
       Date of Communication:                    Method of Communication:
       Name of Representative:
       Substance of communication between you and any representative(s) of the
       Defendants:




                                             8
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 98 of 348



B.   1.          Identify the primary treating physician for the injuries you claim in this case with
                 address and dates of treatment.


     2.          Were you treated by any health care provider or at any hospital for this/these
                 injury(ies) who is not identified in the Core Case Information section above?
                 Yes      No

                 If “Yes”, please provide the following information:

          Name of health care provider          Address, City, State and Zip           Approx. date(s) of
                 and Hospital                                                             treatment




      3.         At the time you experienced the event you attribute to your use of Xarelto®, were
                 you undergoing treatment for any other medical conditions? If so, describe the
                 condition, the treatment, and identify the healthcare providers treating you.



      4.         At the time you experienced the event you attribute to your use of Xarelto® what
                 other prescription and over the counter medications were you taking?



      5.         Had you ever suffered the type of bodily injury(ies) before the date set forth in
                 your answer to Question I(D)(1) above? Yes       No
                 a.       If yes, state the date and healthcare provider that diagnosed the condition
                 at the time:

                 b.      Do you claim         that       Xarelto   worsened    a   previously   existing
                 injury/condition? Yes        No


                 If yes, set forth the injury/condition, whether or not you had already recovered
                 from that injury/condition before you first used Xarelto, and, if so, the date you
                 recovered from the injury/condition:




                                                     9
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 99 of 348



C.   Do you claim that your use of Xarelto caused or aggravated any psychiatric and/or
     psychological condition(s) for which treatment was sought and for which damages are
     being sought in this lawsuit? Yes    No
     If “Yes”, please state the following as it pertains to your treatment of any psychiatric and/or
     psychological condition(s) in the last ten (10) years:

     Name of psychiatrist,           Address, City, State, Zip,      Reason for          Approx
     psychologist or other             Telephone Number                 Treatme         Dates/Years
      mental health care                                                    nt      of Treatment/Visits
          provider




D.    Medical Expenses: If known, please list all of your medical expenses, including amounts
      billed or paid by insurers and other third-party payors, which are related to any condition
      which you claim was caused by Xarelto for which you seek recovery in the action which
      you have filed.
             Provider                             Date                            Expense




E.    Lost Wages: If you are making a claim that you lost wages or suffered impairment of
      earning capacity, state the annual gross income you derived from your employment for
      each of the five (5) years prior to the injury or condition you claim was caused by
      Xarelto.
                              Year                         Annual gross income




                                                 10
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 100 of 348



               State the annual gross income for every year following the injury or condition you
               claim was caused by Xarelto
                               Year                    Annual gross income




F.     Have you had any discussions with any doctor or other healthcare provider about whether
       Xarelto caused or contributed to your injury? Yes:     No:     Do Not Recall:
               If yes, please identify:
               Name of health care provider:
               Address:
               Date of discussion:
               What were you told? (Describe discussion regarding Xarelto):



               [If discussed with more than one doctor, please answer for each doctor, using
               additional pages as necessary.]

                       IV.      LIST OF HEALTHCARE PROVIDERS

A.     Healthcare Providers: Identify each physician, doctor, or other health care provider who
       has provided treatment to you for any reason in the past twelve (12) years and the reason
       for consulting the health care provider or mental health care provider (attach additional
       sheets as necessary).

                                                                         Reason for Consultation,
        Name                      Address           Approximate Dates
                                                                           if known or recalled




                                               11
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 101 of 348



B.     Hospitals, Clinics, and Other Facilities: Identify each hospital, clinic, surgery center,
       physical therapy or rehabilitation center, or other healthcare facility where you have
       received inpatient or outpatient treatment (including emergency room treatment) in the
       past twelve (12) years (attach additional sheets as necessary):

                                                                           Reason for Treatment, if
         Name                   Address              Approximate Dates
                                                                             known or recalled




C.     Laboratories: Identify each laboratory at which your blood was tested in the past ten (10)
       years:
           Name                   Address and           Approximate Date       Reason, if known or
                               Telephone Number              Taken                  recalled




D.     Pharmacies: Identify each pharmacy, drugstore, and/or other supplier (including mail
       order) where you have had prescriptions filled or from which you have ever received any
       prescription medication in the past ten (10) years (attach additional sheets as necessary):

        Name of Pharmacy                     Address of Pharmacy            Approximate Dates




E.     Insurance Carriers: Identify each health insurance carrier which provided you with
       medical coverage and/or pharmacy benefits for the last ten (10) years, the named insured,
       the named insured’s social security number, and the policy number (attach additional
       sheets as necessary)
                                          Name of Insured &                          Approximate
     Carrier             Address             SSN (if not       Policy Number           Dates of
                                            Xarelto user)                             Coverage




                                                12
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 102 of 348



                                 V.     MEDICAL BACKGROUND
A.     Height and weight at the time of your claimed injury: Height: ________ Weight:
B.     Tobacco Use History: For the ten (10) year period prior to your use of Xarelto up to the
       present, check the answer and fill in the blanks applicable to your history of tobacco use,
       including cigarettes, cigars, pipes, and/or chewing tobacco/snuff.

            I have never used tobacco

            I used tobacco in the ten-year period prior to my use of Xarelto

       Types of Tobacco Used:         Cigarettes        Cigars   Pipes         Chewing tobacco/snuff

       Approximate Amount used: on average                       per day for             years

       I currently use tobacco: Yes         No

C.     Alcohol Use History: For the ten (10) year period prior to your use of Xarelto up to the
       present, did you drink alcohol (beer, wine, etc.)? Yes   No

       If “Yes”, what was your approximate average alcohol consumption during that time?

       Drinks per week/monthly/year/other:

       If other, describe:

D.     Marijuana and Illicit Drug Use
       1.       Have you used marijuana or any illicit drug of any kind (e.g., cocaine, ecstasy,
                heroin, methamphetamines, etc.) within the last ten (10) years before, or at any
                time after, your alleged injuries?
                Yes: _____ No: _____        Don’t Recall: _____
                If yes, identify each substance and state when you first and last used it:
                _________________________________________________________________
       2.       Did you use marijuana or any illegal drug while taking Xarelto? Yes           No
       3.       Have you ever frequently used marijuana or an illegal drug? Yes          No

E.     Within the five (5) days leading up to your injury, had you undergone any surgery?
       Yes No
       If yes, please explain:




                                                   13
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 103 of 348



F.     Have you ever before experienced a blood clot? Yes No
       If yes, describe (1) the site of blood clot, (2) date of clot, and (3) the treatment received:


G.     Have you ever been diagnosed with a genetic coagulopathy? Yes             No
       If yes, describe (1) the type of coagulopathy, (2) date diagnosed, (3) by whom diagnosed,
       and (4) how treated:


H.     In the fifteen (15) years period prior to when you first took Xarelto, were you ever
       diagnosed or treated for any of the following conditions? For each condition for which
       you answer yes, please provide the additional information requested below:

                                                                                            Unknown/
                           Condition                              Yes            No
                                                                                             Not sure
Anemia (or low blood count/low hematocrit)
Adrenal insufficiency
Amyloid angiopathy
Atrial fibrillation
Blood clots or thrombosis
Bleeding/Clotting disorders (hemophilia, Von
Willebrand’s disease, others)
Blood disorder or dyscrasia
Blood transfusion
Cancer of any type
Cerebral or brain hemorrhage
Cerebral aneurysm
Congestive heart failure
Crohn’s Disease
Cystitis
Deep Vein Thrombosis (DVT)
Diabetes
Diverticulitis
Gastrointestinal bleeding
Gastrointestinal disease
Heart attack or Myocardial Infarction (MI)

                                                 14
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 104 of 348



                                                                                             Unknown/
                         Condition                                   Yes           No
                                                                                              Not sure
Hemorrhages (intestinal, vaginal, renal)
Hypertension (High Blood Pressure)
Hypotension (Low Blood Pressure)
Inflammatory Bowel Disease or Irritable Bowel
Syndrome
Irregular heartbeat, arrhythmia, heart palpitations,
tachycardia (rapid heartbeat), bradycardia (slow
heartbeat)
Kidney Problems (disease, infections, stones, protein in
urine, etc.)
Liver Disease (hepatitis B/C, cirrhosis, cysts, abnormal
enzymes, etc.)
Lupus
Pulmonary Embolism / blood clot in lung
Renal Insufficiency
Stroke of any type (hemorrhagic, ischemic, etc.)
Transient Ischemic Attack (TIA)
Ulcerative Colitis
Vascular disease of any type (including vascular
malformation, vasculitis or peripheral vascular disease)

J.      For each condition for which you answered yes in the previous chart, please provide the
        information requested below (attach additional sheets as necessary)
                                 Treating Healthcare Provider or     Address. City and   Approx Date of
         Condition
                                            Facility                      State          Onset, if known




K.      Have you ever had any medical procedure performed in which a stent was used?
        Yes      No       I do not recall or know:
        If yes: Type of Stent:                                     Approximate Date:




                                                   15
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 105 of 348



                              VI.     ADDITIONAL MEDICATIONS
A.        For each anticoagulant listed below, identify if you have used it, the reason for use, the
          dates of use, adverse effects (if any), reason for discontinuation, and name of prescriber.
                                                           Adverse
                  Used?   Dates of             Reason                   Reason for      Prescribing
 Medication                          Dosage                Effects
                  (Y/N)    Use                 for Use                Discontinuation    Physician
                                                           (if any)
Coumadin
(warfarin)
Pradaxa
Eliquis
Savaysa
Lovenox


B.        Do you currently take, or have you ever taken in the last ten (10) years, any of the
          following medications or supplements? (Generic name is followed by brand name):

      Name of Medication             Yes No Not Sure/        Condition     Treating     Name of
                                            Unknown          for which     Physician    dispensing
                                                             taken                      pharmacy
      Aggrenox (Aspirin and
      Extended Release
      Dipyridamole in
      Combination)
      Amiodarone
      (Cordarone, Pacerone)
      Anisindione (Miradon)
      Aspirin once a day for
      more than two weeks
      Cimetidine (Tagamet)
      Dronaderone (Multaq)
      Heparin
      Mannitol
      Non-Steroidal Anti-
      Inflammatory drugs
      (NSAIDs) regularly for
      more than four (4)
      weeks consecutively
      (including Ansaid,
      Pontsel, Toradol,
      Acular, Feldene,

                                                  16
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 106 of 348



      Name of Medication         Yes No Not Sure/          Condition     Treating       Name of
                                        Unknown            for which     Physician      dispensing
                                                           taken                        pharmacy
      Naprosyn, Lodine)




      Plavix (Clopidogrel)
      Prasugrel (Effient)
      St. John’s Wort


D.     Are there any prescription medications that you have taken on a regular basis in the seven
       (7) year period before you first took Xarelto? For purposes of this question, “regular
       basis” mean that you were directed by a health care provider to take a medication for at
       least forty-five (45) consecutive days. Yes    No
       If “Yes”, please provide the following information for each prescription medication:
        Name of Prescription          The health care provider(s) that        Approx. Dates/years
        Medication Used on a               Prescribed the medication                   taken
           Regular Basis




                                  VII.    FACT WITNESSES
A.     Please identify all persons who you believe possess information concerning your alleged
       injury(ies) and current medical conditions, other than your health care providers, and
       state their name, address, and his/her/their relationship to you (attach additional sheets as
       necessary):
             Name                            Address                      Relationship to You




B.     If there are individuals who witnessed your injury as it occurred, other than your health
       care providers, and who are not listed in the chart directly above, please identify them
       here by name, address, and their relationship to you.
       Name:

                                                17
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 107 of 348



       Address: ________________________ City: ______________State: ____ Zip:
       Relationship to You:

          VIII. DECEASED INDIVIDUALS AND AUTOPSY INFORMATION
A.     Are you filling this out on behalf of an individual who is deceased? Yes        No
       If yes, please state the following from the Death Certificate of the individual, and attach a
       copy of the letter of administration.
       (NOTE: In lieu of the following, please attach a copy of the death certificate.)
       Date of death: ____________________________________________________________
       Place of death: ___________________________________________________________
       Cause of death: __________________________________________________________
B.     Are you filling this out on behalf of an individual who is deceased and on whom an
       autopsy was performed? Yes       No
       If yes, please attach a copy of the autopsy report.

                                IX. DOCUMENT REQUESTS
       Produce all documents in your possession, including writings on paper or in electronic
       form (if you have any of the following materials in your custody or possession, please
       indicate which documents you have and attach a copy of them to this PFS) and signed
       authorizations as requested herein:

     1. All non-privileged documents you reviewed that assisted you in the preparation of the
        answers to this Plaintiff Fact Sheet. Yes No

     2. A copy of all medical records and/or documents relating to the use of Xarelto and
        treatment for any disease, condition or symptom referred to in any of your responses to
        the questions above for the past twelve (12) years. Yes    No

     3. A copy of all prescription records and/or documents related to use of Xarelto.
        Yes    No

     4. All laboratory reports and results of blood tests performed on you. Yes           No
     5. All documents reflecting your use of any prescription drug or medication in the past
        twelve (12) years, including documents sufficient to identify all anticoagulation
        medications that you have taken. Yes        No

     6. If you have been the claimant or subject of any workers' compensation, social security
        or other disability proceeding within the last ten (10) years, all documents relating to
        such proceeding.
        Yes      No


                                                18
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 108 of 348



7. All documents constituting, concerning or relating to product use instructions, product
   warnings, package inserts, pharmacy handouts or other materials distributed with or
   provided to you in connection with your use of Xarelto. Yes     No

8. Copies of advertisements or promotions for Xarelto and articles discussing Xarelto.
   Yes      No

9. Copies of the entire packaging, including the box and label for Xarelto (plaintiffs or
   their counsel must maintain the originals of the items requested in this subpart).
   Yes      No

10. All documents relating to your purchase of Xarelto including, but not limited to,
    receipts, prescriptions, prescription records, containers, labels, or records of purchase.
    Yes       No

11. All documents known to you and in your possession which mention Xarelto or any
    alleged health risks or hazards related to Xarelto in your possession at or before the
    time of the injury alleged in your Complaint, other than legal documents, documents
    provided by your attorney or documents obtained or created for the purpose of seeking
    legal advice or assistance. Yes     No

12. All documents in your possession or anyone acting on your behalf (not your lawyer)
    obtained directly or indirectly from any of the Defendants. Yes No

13. All documents constituting any communications or correspondence between you and
    any representative of the Defendants. Yes  No

14. All photographs, drawing, journals, slides, videos, DVDs or any other media, including
    any “day in the life” videos, photographs, recordings or other media that you may
    utilize to demonstrate damages or relating to your alleged injury. Yes    No

15. Any and all documentation of Plaintiff’s use of social media, Internet postings, or other
    electronic networking website (including, but not limited to, Facebook, MySpace,
    LinkedIn, Google Plus, Windows Live, YouTube, Twitter, Instagram, Pinterest, blogs,
    and Internet chat rooms/message boards) relating to Xarelto or any of your claims in
    this lawsuit. Yes     No

16. If you claim you have suffered a loss of earnings or earning capacity, your federal tax
    returns for each of the five (5) years preceding the injury you allege to be caused by
    Xarelto, and every year thereafter or W-2s for each of the five (5) years preceding the
    injury you allege to be caused by Xarelto, and every year thereafter. Yes     No

17. Copies of all documents you (and not your lawyer) obtained from any source related to
    Xarelto or to the alleged effects of using Xarelto. Yes No

18. If you claim any loss from medical expenses, copies of all bills from any physician,
    hospital, pharmacy or other health care providers. Yes  No

                                          19
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 109 of 348



       19. Copies of all records of any other expenses allegedly incurred as a result of the injuries
           alleged in the complaint. Yes       No

       20. Copies of any writings comprising or relating to any public statements made by you
           relating to this litigation in your possession. Yes No

       21. Copies of letters testamentary or letters of administration relating to your status as
           plaintiff (if applicable). Yes  No

       22. Decedent's death certificate and autopsy report (if applicable). Yes     No

       23. All bankruptcy petitions and orders of discharge (if applicable) for all bankruptcy
           claims made by you or your spouse since the date of your first ingestion of Xarelto.
           Yes     No
       24. Signed authorizations in the forms attached hereto (where applicable).


                                     X.      DECLARATION
       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the
information provided in this Plaintiff Fact Sheet is true and correct to the best of my knowledge,
information and belief formed after due diligence and reasonable inquiry, that I have supplied all
the documents requested in Part IX of this Plaintiff Fact Sheet, to the extent that such documents
are in my possession or in the possession of my lawyers, and that I have supplied the
Authorizations attached to this declaration.




Signature                                             Date



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                                                 20
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 110 of 348




    PFS ATTACHMENT B
             Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 111 of 348


                       LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                  Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                         (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

    TO:
    Patient Name:
    DOB:
    SSN:

                 I, _________________________, hereby authorize you to release and furnish to: Drinker Biddle & Reath LLP,
    Kaye Scholer LLP, Bradley Arant Boult Cummings LLP and/or their duly assigned agents, copies of the following records
    and/or information from the time period of twelve (12) years prior to the date on which the authorization is signed:

              *  All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts,
                 reports, documents, correspondence, test results, statements, questionnaires/histories, office and
                 doctor's handwritten notes, and records received by other physicians. Said medical records shall include
                 all information regarding AIDS and HIV status.
              * All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and
                 cardiac catheterization reports.
              * All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
                 pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
                 videos/CDs/films/reels, and echocardiogram videos.
              * All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
              * All billing records including all statements, itemized bills, and insurance records.
              ** Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize
                 the disclosure of notes or records pertaining to psychiatric, psychological, or mental health treatment or
                 diagnosis as such terms are defined by HIPAA, 45 CFR §164.501.

    1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for
    the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
    history, care, treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other
    matter bearing on his or her medical or physical condition, unless you receive an additional authorization permitting
    such discussion. Subject to all applicable legal objections, this restriction does not apply to discussing my
    medical history, care, treatment, diagnosis, prognosis, information revealed by or in the medical records, or any
    other matter bearing on my medical or physical condition at a deposition or trial.

    2. I understand that the information in my health record may include information relating to sexually transmitted disease,
    acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

    3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I
    must do so in writing and present my written revocation to the health information management department. I understand the
    revocation will not apply to information that has already been released in response to this authorization. I understand the
    revocation will not apply to my insurance company when the law provides my insurer with the right to contest a claim under
    my policy. Unless otherwise revoked, this authorization will expire in one year.

    4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I
    need not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed
    as provided in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized
    re-disclosure and the information may not be protected by federal confidentiality rules. If I have questions about disclosure of
    my health information, I can contact the releaser indicated above.

    5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.


    Print Name: ____________________________________ (plaintiff/representative)

    Signature: _____________________________________ Date_________________



80189232.1
                 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 112 of 348


              LIMITED AUTHORIZA TION TO DISCLOSE EMPLOYMENT RECORDS AND INFOR MATION
                   ( H I P A A C O M P L I A N T A U T H O R I ZA T I O N F O R M P U R S U A N T T O 4 5 C F R 1 6 4 . 5 0 8 )
TO:
             Name of Employer


             Address, City State and Zip Code

 RE:         Employee Name: __________________________________ AKA: ____________________________________________

             Date of Birth: __________________________ Social Security Number: ________________________________________

             Address: ______________________________________________________________________________

 I authorize the limited disclosure of my employment records including medical information protected by HIPAA, 45 CFR 164.508, for the
 purpose of review and evaluation in connection with a legal claim.

 This authorization only authorizes release of records and/or information from the time period of seven (7) years prior to the date
 on which this authorization is signed. I expressly request that all entities identified above disclose full and complete records from the
 time period of seven (7) years prior to the date on which this authorization is signed, including the following:

 This will authorize you to furnish copies of all applications for employment; resumes; records of all positions held; job descriptions of
 positions held; wage and income statements and/or compensation records; wage increases and decreases; evaluations, reviews and job
 performance summaries; W-2s; employee health files, and correspondence and memoranda regarding the undersigned.




 I authorize you to release the information to:


Name (Records Requestor)


Street Address                                                        City                                    State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created, learned or discovered at
any time in the future, either by you or another party, you must produce such information to the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, / understand that any actions
already taken in reliance on this authorization cannot be reversed, and my revocation will not affect those actions. Any facsimile, copy or
photocopy of the authorization shall authorize you to release the records herein.




Signature of Employee or Personal Representative             Date                       Name of Employee or Personal Representative


Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




80189232.1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 113 of 348




                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


 To:
                   Name


                   Address


                   City, State and Zip Code

         This will authorize you to furnish copies of any and all workers' compensation records of
any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:

                                              Name of Claimant

 whose date of birth is                       and whose social security number is



         You are authorized to release the above records to the following representatives of defendants

in the above-entitled matter, who have agreed to pay reasonable charges made by you to supply

copies of such records.


         Name of Representative

         Records Requestor_______________________________________________________
         Representative Capacity (e.g., attorney, records requestor, agent, etc.)


         Street Address


        City, State and Zip Code

        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




 80189232.1
                                              Page 1 of 2
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 114 of 348




         This authorization shall be considered as continuing in nature and is to be given full force

and effect to release information of any of the foregoing learned or determined after the date hereof.

It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy of

this authorization with the same validity as through the original had been presented to you.



Date:
                                                   Claimant Signature
                                                   [NAME]


Date:
                                                   Witness Signature




                                           Page 2 of 2


80189232.1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 115 of 348




                   LIMITED AUTHORIZATION FOR RELEASE OF
                         DISABILITY CLAIMS RECORDS


 To:
                   Name


                   Address


                   City, State and Zip Code

         This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or other
documents, concerning:



                                              Name of Claimant

 whose date of birth is                       and whose social security number is



         You are authorized to release the above records to the following representatives of defendants

in the above-entitled matter, who have agreed to pay reasonable charges made by you to supply

copies of such records.


         Name of Representative

         Records Requestor_______________________________________________________
         Representative Capacity (e.g., attorney, records requestor, agent, etc.)


         Street Address


        City, State and Zip Code

        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




 80189232.1
                                              Page 1 of 2
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 116 of 348




         This authorization shall be considered as continuing in nature and is to be given full force

and effect to release information of any of the foregoing learned or determined after the date hereof.

It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy of

this authorization with the same validity as through the original had been presented to you.




Date:
                                                    Claimant/Guardian/Personal Representative
                                                    Signature
                                                    [NAME]




Date:
                                                   Witness Signature




80189232.1                                 Page 2 of 2
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 117 of 348




                   LIMITED AUTHORIZATION FOR RELEASE OF
                        HEALTH INSURANCE RECORDS


 To:
                   Name


                   Address


                   City, State and Zip Code

         This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or information
from the time period of ten (10) years prior to the date on which this authorization is signed.



                                               Name of Insured

 whose date of birth is                       and whose social security number is



         You are authorized to release the above records to the following representatives of defendants

in the above-entitled matter, who have agreed to pay reasonable charges made by you to supply

copies of such records.


         Name of Representative

         Records Requestor_______________________________________________________
         Representative Capacity (e.g., attorney, records requestor, agent, etc.)


         Street Address


         City, State and Zip Code




 80189232.1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 118 of 348




         This authorization only authorizes release of documents and records from the period of ten

(10) years prior to the date on which this authorization is signed. This authorization does not

authorize you to disclose anything other than documents and records to anyone.

         This authorization is not valid unless the record requestor named above has executed the

acknowledgement at the bottom of this authorization.

         This authorization shall be considered as continuing in nature and is to be given full force

and effect to release information of any of the foregoing learned or determined after the date hereof.

It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy of

this authorization with the same validity as through the original had been presented to you.


Date:
                                                       Insured
                                                       [NAME]


 Date:
                                                        Witness Signature




80189232.1



                                Page 2 of 2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 119 of 348



                  LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
        PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
           (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

        I, _________________________, hereby authorize you to release and furnish to: Drinker Biddle & Reath
LLP, Kaye Scholer LLP, Bradley Arant Boult Cummings LLP and/or their duly assigned agents, copies of the
following records and/or information from the time period of ten (10) years prior to the date on which the
authorization is signed:

    x    All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability
         Act, 45 CFR §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any
         medium) by a health care provider who is a mental health professional documenting or analyzing the
         contents of conversations during a private counseling session or a group, joint or family counseling session
         and that are separated from the rest of the individual’s record. This authorization does not authorize ex
         parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of,
attorneys for the defendants for the purpose of litigation. You are not authorized to discuss any aspect of
the above-named person's medical history, mental health history, care, treatment, diagnosis, prognosis,
information revealed by or in the medical or mental health records, or any other matter bearing on his or
her medical, psychological, or physical condition, unless you receive an additional authorization permitting
such discussion. Subject to all applicable legal objections, this restriction does not apply to discussing my
medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or
in the medical or mental health records, or any other matter bearing on my medical, psychological, or
physical condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted
disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also
include information about behavioral or mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this
authorization I must do so in writing and present my written revocation to the health information management
department. I understand the revocation will not apply to information that has already been released in response to this
authorization. I understand the revocation will not apply to my insurance company when the law provides my insurer
with the right to contest a claim under my policy. Unless otherwise revoked, this authorization will expire in one
year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this
authorization. I need not sign his form in order to assure treatment. I understand I may inspect or copy the
information to be used or disclosed as provided in CFR 164.524. I understand that any disclosure of information
carries with it the potential for an unauthorized re-disclosure and the information may not be protected by federal
confidentiality rules. If I have questions about disclosure of my health information, I can contact the releaser
indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an
original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: _____________________________________ Date_________________




80189232.1
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 120 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                        *      MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                    *      SECTION L

                                                    *      JUDGE ELDON E. FALLON

                                           *               MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                                 PRE-TRIAL ORDER NO. 14
                                   (Defendant Fact Sheets)

       In conjunction with Paragraph 4 of the Case Management Order No. 1 (“CMO No. 1”),

this Order governs the form and schedule for service of Defendant Fact Sheets (“DFS”) to be

completed by Defendants in all individual cases that were: (1) transferred to this Court by the

Judicial Panel on Multidistrict Litigation, pursuant to its Order of December 12, 2015; (2)

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

to Rule 7.4 of the Rules of Procedure of that Panel; and (3) originally filed in this Court or

transferred or removed to this Court.

DEFENDANT FACT SHEETS:

   1. Defendants shall complete a DFS for each received Plaintiff Fact Sheet (“PFS”) using the

       form set forth in DFS Attachment A.

   2. As outlined in Paragraph 4(a) of the CMO No. 1, Defendants shall submit a DFS to the

       Plaintiff using MDL Centrality within sixty (60) days of the date the Defendants receive a

       completed and verified PFS from a Plaintiff. Defendants will not be required to serve a

       DFS in any case until Plaintiff supplies a substantially complete PFS, which must provide
   Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 121 of 348



      all the Core Case Information requested in Section I of the PFS, including copies of

      prescription and/or pharmacy records demonstrating use of Xarelto as well as medical

      records demonstrating an alleged injury.

   3. If Defendants fail to provide a complete and verified DFS within the time period set forth

      hereinabove, Defendants shall be given notice by e-mail from Plaintiffs’ Liaison Counsel

      and shall be given twenty (20) additional days to cure such deficiency. Failure to timely

      comply may result in a dismissal of a defense.

   4. Defendants’ responses on a DFS shall be treated as answers to interrogatories under Fed.

      R. Civ. P. 33 and responses to requests for production of documents under Fed. R. Civ. P.

      34 and shall be supplemented in accordance with Fed. R. Civ. P. 26.

   5. Plaintiffs' use of the DFS shall be without prejudice to the right of the Plaintiffs in a

      specific case to serve additional discovery



     New Orleans, Louisiana this 4th day of May, 2015.




                                            ____________________________________
                                                  Hon. Eldon E. Fallon
                                                  United States District Judge


Attachments




                                                 2
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 122 of 348




    DFS ATTACHMENT A
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 123 of 348
 
 
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN) *                       MDL NO. 2592
PRODUCTS LIABILITY LITIGATION *
                                   *                 SECTION L
                                   *
                                   *                 JUDGE ELDON E. FALLON
                                   *
                                   *                 MAG. JUDGE NORTH
********************************** *

THIS DOCUMENT RELATES TO:




                                 DEFENDANT FACT SHEET

        For each case, Defendants Janssen Research & Development, LLC, Janssen Ortho, LLC,
Janssen Pharmaceuticals, Inc. (collectively “Janssen”); Johnson & Johnson (“J&J”); Bayer
Corporation, Bayer Healthcare, AG, Bayer Pharma, AG, Bayer, AG, Bayer Healthcare, LLC,
and Bayer Healthcare Pharmaceuticals, Inc. (collectively “Bayer”); must complete this
Defendant Fact Sheet (“DFS”) and identify or provide documents and/or data responsive to the
questions set forth below to the best of their knowledge. In the event the DFS does not provide you
with enough space for you to complete your responses or answers, please attach additional sheets
if necessary. Please identify any documents that you are producing as responsive to a question or
request by bates number.

        Within 60 days of receiving a substantially completed and verified Plaintiff Fact Sheet
(“PFS”), Defendants must complete and serve this DFS on each Plaintiff's counsel identified in the
PFS. Defendants will not be required to serve a DFS on each Plaintiff’s counsel until Plaintiff
supplies a substantially complete PFS, which must provide all of the Core Case Information
requested in Section I of the PFS, including copies of prescription and/or pharmacy records
demonstrating use of Xarelto® as well as medical records demonstrating an alleged injury.


                                         DEFINITIONS

As used herein, the terms "YOU," "YOUR," or "YOURS" means the responding Defendants.

As used herein, the term “XARELTO” includes Rivaroxaban.

As used herein, the phrase “PRESCRIBING HEALTHCARE PROVIDER” means any
physician, medical provider, practice, clinic, person, or entity identified in Section III.A.1(a) of
the PFS who prescribed and/or dispensed Xarelto® to the Plaintiff

 
 
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 124 of 348
 
 
As used herein, the phrase “PRIMARY TREATING PHYSICIAN” means that one physician,
medical provider, practice, clinic, person, or entity identified in Section III.B.1 of the PFS who
treated plaintiff for the injuries claimed in this case.



I.      Case Information

        This DFS pertains to the following case:

        Case caption:

        Court in which action was originally filed:

        Date that this DFS was completed:



II.     Contacts With Prescribing Healthcare Providers & Primary Treating Physician

        For each Prescribing Healthcare Provider identified in Section III.A.1(a) of the PFS and
        Primary Treating Physician identified in Section III.B.1 of the PFS, please state the
        following:

        A.     Dear Doctor Letters:

              1.   Please identify any “Dear Doctor,” “Dear Health Care Provider,” “Dear
                    Colleague,” or any other similar type of document or letter sent to the
                    Plaintiff’s Prescribing Healthcare Provider(s) and Primary Treating
                    Physician concerning Xarelto®.

Sender                     Letter or Recipient (Name and Address)             Bates Number
(Name and Address)         Document
                           Date




        B.     Physician’s Information Request Letters (“PIR”):

               1. Please indicate if any of the Prescribing Healthcare Provider(s) identified in
                  Section III.A.1(a) of the PFS and Primary Treating Physician identified in
                  Section III.B.1 of the PFS has (have) ever initiated a PIR by identifying the
 
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 125 of 348
 
 
                   name and address of the sender of the PIR; the date it was sent; the name and
                   address of the recipient; and whether or not a response to the PIR or similar
                   document was sent.

Sender (Name and       PIR Date                 Recipient (Name and Response Sent?
Address)                                        Address)            (Yes or No)




            2. For each PIR in which a response was sent as indicated by a “Yes” above,
               please identify the format of the response; the date the response was sent; the
               name and address of the sender of the response; the name and address of the
               recipient of the response; and provide and identify by Bates number any and
               all documentation, including lists or database records, which demonstrates
               that the responsive documents were sent.

Original   Format of         Date        Response           Response          Bates Number
PIR or     Response          Response    Sender             Recipient         of Supporting
Request    (Letter or        Sent        (Name and          (Name and         Documentation
Document   Otherwise)                    Address            Address
Date




      C.    Other Contacts:

            1. For each Prescribing Healthcare Provider identified in Section III.A.1(a) of
               the PFS and Primary Treating Physician identified in Section III.B.1 of the
               PFS, please identify by name any of the Defendants’ Detail Representatives
               and/or any other detail person (“Representative”) who called on the
               Prescribing Healthcare Provider and/or Primary Treating Physician and
               provide dates of each contact that related in any way to Xarelto®.


 
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 126 of 348
  
  
Prescribing          Name of Representative      Current or Former       Date(s) of Each
Health Care                                      Employee                Contact with
Provider(s)                                                              Prescribing Health
and/or Primary                                                           Care Provider
Treating
Physician




              2. Have Defendants or their representatives ever provided any Xarelto® samples
                 to Plaintiff’s Prescribing Healthcare Provider(s) identified in Section
                 III.A.1(a) of the PFS and/or Primary Treating Physician identified in Section
                 III.B.1 of the PFS? To be answered only if Plaintiff answers in the
                 affirmative to Section III.A.4 of the PFS.

                 Yes ______         No ______    Not Applicable ______

                 A. If the answer is “Yes,” please state the Prescribing Healthcare Provider(s)
                    identified in Section III.A.1(a) of the PFS and/or Primary Treating
                    Physician identified in Section III.B.1 of the PFS that received the
                    samples; the dates in which such samples were provided; the amount, and
                    dosage of such samples; and the name of the Representative(s) who
                    provided the samples.


Prescribing Health      Date Shipped to    Amount and Dosage           Representative
Care Provider(s)        and/or Provided                                Who Provided
and/or Primary
Treating Physician




  
  
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 127 of 348
  
  
 III.   Consulting With Plaintiffs Prescribing Health Care Provider(s) and/or Primary
 Treating Physician

         A.     Consulting and Professional Relationships

                1. If any of Plaintiff’s Prescribing Health Care Providers identified in Section
                   III.A.1(a) of the PFS and/or Primary Treating Physician identified in Section
                   III.B.1 of the PFS have been retained and/or compensated by Defendants as a
                   “key opinion leader,” “thought leader,” member of a speaker’s bureau, or
                   clinical investigator, consultant, relating to the subject of anticoagulants
                   (including Xarelto®) stroke prevention, and/or the treatment/prevention of
                   Atrial Fibrilation, PE, DVT, or strokes, please identify date(s) that each
                   Prescribing Health Care Provider and/or Primary Treating Physician was
                   retained or compensated; the nature of the affiliation; and the amount of any
                   compensation and/or reimbursement for expenses.


Prescribing Health    Date(s) that                Nature of Affiliation   Compensation
Care Provider(s)      Prescribing Health                                  and/or
and/or Primary        Care Provider                                       Reimbursement
Treating Physician    Retained or
                      Compensated




 IV.     Plaintiff’s Prescribing Healthcare Providers’ and Primary Treating Physician’s
         Practices

         For each Prescribing Healthcare Provider identified in Section III.A.1(a) of the PFS and
         Primary Treating Physician identified in Section III.B.1 of the PFS, please state and
         produce the following:

         A.     Do you have or have you had access to any databases, documents, or other
                information that track or purport to track the prescribing or treating practices of
                Plaintiff’s Prescribing Healthcare Provider(s) identified in Section III.A.1(a) of
                the PFS and/or Primary Treating Physician identified in Section III.B.1 of the
                PFS, with respect to Xarelto®.

                Yes _____      No _____



  
  
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 128 of 348
 
 

V.      Plaintiff’s Medical Condition

        A.    Have you been contacted by Plaintiff, or anyone acting on behalf of Plaintiff
              (other than Plaintiff’s counsel) concerning Plaintiff?

              Yes _____      No _____

        B.    If you have been contacted by any person or entity concerning the Plaintiff (other
              than Plaintiff’s counsel) for a reason other than reporting an adverse event, please
              state the name of the person(s) who contacted you and the name and address of
              the person(s) who responded to the contact on your behalf.




        C.    Please identify and produce all documents created before the filings of this
              lawsuit which reflect any communication between any person and you concerning
              Plaintiff.




        D.    Please produce a copy of any MedWatch form, other than documents initiated in
              the course of litigation, which refers or relates to Plaintiff. Any MedWatch form
              produced shall be redacted as necessary per federal law.




VII     Documents

        A.    To the extent you have not already done so, please produce a copy of all
              documents and things that fall into the categories listed below. These include
              documents in the possession of any of your present and former employees,
              including information provided to your attorneys:

              1. Any document created before the filing of this lawsuit which relates to or
                 refers to Plaintiff other than documents received or produced in discovery in
                 this matter.

 
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 129 of 348
 
 

              2. Subject to limitations set forth in this fact sheet concerning timeframes and
                 categories of relevant information, any document sent to or received from any
                 of Plaintiff’s Prescribing Health Care Providers identified in Section
                 III.A.1(a) of the PFS and/or Primary Treating Physician identified in Section
                 III.B.1 of the PFS.

              3. “Dear Doctor,” “Dear Health Care Provider,” “Dear Colleague” letters, or
                 PIRs sent to or received from any of Plaintiff’s Prescribing Health Care
                 Providers identified in Section III.A.1(a) of the PFS and/or Primary Treating
                 Physician identified in Section III.B.1 of the PFS.

             4.   Subject to limitations set forth in this fact sheet concerning timeframes and
                  categories of relevant information, any and all documents reflecting any
                  contacts or communications between you and any of Plaintiff’s Prescribing
                  Health Care Providers identified in Section III.A.1(a) of the PFS and/or
                  Primary Treating Physician identified in Section III.B.1 of the PFS regarding
                  Xarelto®.

             5.   Any and all documents which purport to describe, analyze, investigate, track,
                  and/or report the prescribing practices of any of Plaintiff’s Prescribing
                  Healthcare Providers identified in Section III.A.1(a) of the PFS and/or
                  Primary Treating Physician identified in Section III.B.1 of the PFS relating to
                  Xarelto®, subject to the approval and/or agreement of the owner of the
                  prescribing data (IMS Health) to release the data, which approval and/or
                  agreement Defendant will request.


                                     CERTIFICATION

       I am employed by _____________, one of the Defendants in this litigation. I am
authorized by ____________ [names of other Defendants] to execute this certification on each
corporation’s behalf. The foregoing answers were prepared with the assistance of a number of
individuals, including counsel for Defendants, upon whose advice and information I relied. I
declare under penalty of perjury that all of the information as to the foregoing Defendants
provided in this Defendant Fact Sheet is true and correct to the best of my knowledge upon
information and belief.


                                                                          _________________
Signature                           Print Name                            Date




 
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 130 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                  SECTION L
                                          *
                                          *                  JUDGE ELDON E. FALLON
                                          *
                                          *                  MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES


                                  PRETRIAL ORDER NO. 15

   CONSENT ORDER REGARDING THE PRESERVATION OF DOCUMENTS AND
              ELECTRONICALLY STORED INFORMATION



       The Parties having conferred, consented, stipulated and agreed to entry of the within

Consent Order, and good cause appearing therefore, Paragraph 13 of Pretrial Order No. 1

relating to preservation of evidence is modified, and it is hereby ORDERED, as follows.

       I.      GENERAL

               This Order governs the preservation of potentially relevant documents, data, and

tangible things within the Parties’ possession, custody and/or control relevant to claims and

defenses in the cases that have been consolidated before this Court, and with respect to every

action that may in the future be transferred to this Court that involve claims of personal injury

from use of the pharmaceutical product Xarelto® (collectively “the Litigation” or the “Action”).

The preservation obligations set out herein are explicitly intended to be reasonable in scope and

to be interpreted and applied in a manner consistent with the factors set forth in Rule 26.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 131 of 348



          II.   DEFINITIONS

                A.      As used herein, “Documents, Data, and Tangible Things” shall be

interpreted broadly to include electronically stored information (“ESI”) on hard drives, USB or

thumb drives, databases, computers, floppy disks, CD-ROM, magnetic tape, optical disks, or

other devices for digital data storage or transmittal; as well as writings, records, files,

correspondence, reports, memoranda, calendars, diaries, minutes, E-mail, telephone message

records, hard drives, removable computer storage media such as tapes, discs and cards, printouts,

document image files, Web pages, databases, spreadsheets, books, ledgers, journals, orders,

invoices, bills, vouchers, checks statements, worksheets, summaries, compilations, computations,

charts, diagrams, powerpoints or other demonstrative media, graphic presentations, drawings,

films, charts, digital or chemical process photographs, video, phonographic, tape or digital

records and any transcripts thereof, drafts, jottings and notes, studies or drafts of studies or other

similar such material. Information which serves to identify or locate such material, such as file

inventories, file folders, indices, and metadata, are also included in this definition.

                B.       The Parties will continue to meet and confer regarding the obligation on

all parties to preserve voicemail, instant messages sent or received on an instant messaging

system, or text messages sent or received on a cellular phone, smartphone, tablet or other mobile

device.

                C.      In order to not unduly interfere with business needs relating to the

replacement or upgrade of equipment, no Defendant is obligated to preserve hardware on which

data that is required to be preserved resides, so long as such data and associated metadata has

first been preserved in an accessible form on another hardware device. Plaintiff’s obligations

and options as to retention of hardware are set forth in Paragraph V.




                                                   2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 132 of 348



               D.      As used herein, and consistent with the factors set forth in Rule 26,

preservation shall be reasonably interpreted to accomplish the goal of maintaining the integrity

of documents, data, and tangible things relevant to claims or defenses in this action and shall

include taking reasonable steps to prevent the partial or full destruction, alteration, shredding, or

deletion of such materials. Electronic documents and data will be maintained and preserved in

their native format, except as authorized by Paragraph V below. To the extent a party may desire

to change the format of preserved materials other than format changes effected in the normal

course of business or operations where the change would affect the usability or accessibility of

the materials in this Litigation, such party will consult with other parties before making any

change. The parties shall be under an obligation to notify the Court and the parties should it be

determined that any documents, data or tangible things subject to this order have been lost,

deleted, destroyed, damaged, altered, corrupted, or otherwise affected such that preservation of

such evidence either at all or in its original form has been hindered.

       III.    As used herein the terms, “Xarelto®” means Defendants’ anticoagulant product

containing rivaroxaban marketed under the trade name Xarelto® or any other trade name that is

or will be used. Defendants are not obligated to preserve materials relating to any other

products, except for the following: (a) materials relating to any reversal agent or antidote for

Xarelto (or for any product containing rivaroxiban); (b) materials relating to any other products

containing rivaroxaban, whether currently on the market or in development; (c) materials within

the custody or control of Defendants relating to any product, device, method and/or assay, that is

manufactured, designed, developed and/or discussed by any entity, including, but not limited to

the defendants, that is used, intended and/or designed to evaluate and/or measure (quantitatively

and/or qualitatively) the concentration of rivaroxaban in a rivaroxaban treated patient and/or the




                                                  3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 133 of 348



anticoagulant effect(s) of rivaroxaban in a rivaroxaban treated patient; and (d) materials relating

to market research, comparative or competitive research or analysis, market or scientific

comparison or market surveillance (including the tracking, review and analysis of medical or

scientific literature) of dabigatran (Pradaxa), apixaban (Eliquis) or any other new oral

anticoagulant (commonly referred to as “NOACs”) and/or their reversal agents, warfarin

(Coumadin), fondaparinux (Arixtara) or enoxaparin sodium (Lovenox) to the extent such data

was created or collected in connection with Xarelto or any potential reversal agent or antidote for

Xarelto.

       IV.     GENERAL PRESERVATION OBLIGATIONS

       Consistent with the factors set forth in Rule 26, all Parties shall take reasonable steps to

ensure the preservation of documents, data, and tangible things relevant to claims or defenses in

this Litigation. For Defendants, this shall include the dissemination of Legal Hold Notices to

Defendants’ employees and/or departments reasonably believed to possess such material.

Further, Defendants shall notify any third parties or independent contractors who Defendants are

aware have custody and control over relevant information of the preservation obligations or

provide notice to the Plaintiffs’ Steering Committee so that appropriate subpoenas may be

issued. The PSC shall first provide to Defendants a list with reasonably specific descriptions of

the subject matters as to which Defendants will investigate to determine the identity of such third

parties or independent contractors.

       The Parties’ preservation obligations extend not just to evidence generated on or after this

date but evidence in existence on this date no matter when created. Furthermore, the Parties

shall disable any auto-delete features in use as to any system or device to the extent reasonably

known and necessary to preserve materials subject to this Order and, with respect to Defendants,




                                                 4
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 134 of 348



shall terminate or indefinitely suspend deletion policies and schedules for all employees and/or

departments likely to possess information relating to Xarelto defenses and the claims at issue in

this Action to the extent necessary to preserve materials subject to this Order.

       V.      OBLIGATIONS FOR INDIVIDUAL PERSONAL INJURY PLAINTIFFS

       The preservation activities set forth in this section shall fully satisfy the preservation

obligations of the individual personal injury Plaintiffs in the Litigation:

       A.      Preserve all potentially relevant documents, data, and tangible things in their
               possession or control concerning Xarelto, including all Xarelto labels, bottles,
               product packaging, and containers, of any kind.

       B.      Preserve any documents, data, and tangible things relating to their use of Xarelto
               or their alleged injuries at issue in this litigation that are stored on the hard drive
               of a computer owned or controlled by the Plaintiff. This obligation does not
               require a plaintiff to copy or create a duplicate image of the hard drive. Plaintiff’s
               obligation is fulfilled if the relevant ESI and documents are retained on the hard
               drive, however, if the computer is replaced the Plaintiff will, at Plaintiff’s sole
               option, retain the old computer hard drive, create an accessible electronic copy of
               the hard drive, or create and maintain complete hard copies of any such
               documents that were saved to the hard drive, in order to satisfy Plaintiff’s
               preservation obligation. If a Plaintiff chooses to create hard copies rather than
               maintain the hard drive, the Plaintiff will contemporaneously prepare a statement
               that all ESI relating to her use of Xarelto was printed to paper, that the ESI was
               not altered prior to printing, a description of the general nature of the
               documents/data that were printed, and the date(s) on which this was performed.
               Plaintiff will provide the statement to her counsel.

            C. Preserve any documents relating to Plaintiff’s use of Xarelto or their alleged
               injuries at issue in this litigation that are stored on any removable media owned or
               controlled by the Plaintiff. This obligation does not require a Plaintiff to copy or
               create a duplicate image of the media. Plaintiff’s obligation is fulfilled if the
               relevant documents are retained on the media or Plaintiff creates and maintains
               complete hard copies of any documents on the media. If a Plaintiff chooses to
               create hard copies rather than maintain the hard drive, the Plaintiff will
               contemporaneously prepare a statement that all ESI relating to her use of Xarelto
               was printed to paper, that the ESI was not altered prior to printing, a description
               of the general nature of the documents/data that were printed, and the date(s) on
               which this was performed. Plaintiff will provide the statement to her counsel.

       D.      Preserve all medical and pharmacy records in their possession or control and
               records of medical expenses allegedly incurred in connection with use of Xarelto.



                                                  5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 135 of 348



       VI.     ACCEPTABLE METHODS OF PRESERVATION

               The preservation activities set forth in this section shall fully satisfy the

preservation obligations of the Defendants, and with respect to any other corporation or

organization that may become a party to this Litigation in the future. Individual personal injury

plaintiffs’ obligations are governed by Paragraph V, above, and this section is not applicable to

such plaintiffs. A Defendant may select any of the alternative methods set forth under each sub-

section A through C as the means to preserve documents or data and the decision as to which

method to use is at the sole judgment of the Defendant.

A. E-mail

       Defendants shall preserve e-mail communications, including all associated metadata and
       associated attachments relevant to claims or defenses in this action (1) by maintaining
       such email files on a server or within an electronic archive that is not subject to a deletion
       schedule, or (2) by creating an electronic snapshot of implicated email on servers, or (3)
       by maintaining one set of backup tapes for implicated email servers.

B. Databases

       Defendants shall preserve data relevant to claims or defenses and held in databases (1) by
       maintaining such data in accessible electronic systems that are not subject to a deletion
       schedule, or (2) by creating an electronic snapshot of relevant database servers or an
       export of relevant data on database servers, or (3) by maintaining one set of backup tapes
       for relevant database servers.

C. Electronic documents contained in Shared or Home Directories

       Where electronic documents relevant to claims or defenses in this action and located in
       shared or home directories (e.g., word processing documents, spreadsheets, and
       PowerPoint presentations) are subject to a deletion schedule, the parties shall preserve
       such documents by (1) maintaining such directories and files contained therein in
       accessible electronic systems that are not subject to a deletion schedule, or (2) by creating
       an electronic snapshot of relevant shared drive or home directory servers, or (3) by
       maintaining one set of backup tapes for relevant servers.




                                                  6
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 136 of 348



VII.     RESERVATION OF RIGHTS

                The Parties do not concede that any of the information subject to this Consent

Order is discoverable, relevant, or admissible, and the Parties expressly reserve the right to

challenge any specific discovery request concerning any such information. The Parties also

reserve the right to challenge the competency, relevance, materiality, privilege, and/or

admissibility into evidence of such documents, information, or material in these or any

subsequent proceedings or at the trial of these or any other actions, in this or any other

jurisdiction.

                                              IT IS SO ORDERED.

       New Orleans, Louisiana this 4th day of May, 2015.



                                              __________________________________
                                              Honorable Eldon E. Fallon
                                              United States District Court




                                                  7
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 137 of 348



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                          *      MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                      *      SECTION L

                                                      *      JUDGE ELDON E. FALLON

                                           *                 MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                                 PRE-TRIAL ORDER NO. 16
                     (Filing Requests for Summons and Summons Returns)

        The Court notes that numerous requests for summons and summons returns have recently

been filed in the master docket for MDL 2592, 14-md-2592. These filings have added an

unnecessary amount of clutter in the master docket. Accordingly,

        IT IS ORDERED that requests for summons shall be filed in the docket for the member

case, as opposed to the master docket. The Clerk of Court shall make the necessary adjustments

to CM/ECF to permit such filings.

        IT IS FURTHER ORDERED that summons returns and waivers returned executed

shall not be filed into any docket, master or member, unless filing the summons return becomes

necessary (for example, in connection with a motion for default judgment). When it is necessary

to file a summons return, the attorney shall avoid filing the summons return as a separate, stand-

alone document in the master docket. Instead, the summons return shall be filed as an exhibit to

the motion, etc., to which it relates.

     New Orleans, Louisiana this 4th day of May, 2015.

                                                     ____________________________________
                                                         UNITED STATES DISTRICT JUDGE
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 138 of 348



                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                                                                    :   MDL NO. 2592
       PRODUCTS LIABILITY LITIGATION                                                            :
                                                                                                :   SECTION L
THIS DOCUMENT RELATES TO ALL CASES                                                              :
                                                                                                :   JUDGE FALLON
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. :   MAG. JUDGE NORTH

                                             PRETRIAL ORDER NO. 17
                                (Electronic Service/MDL Centrality for Plaintiffs Only)

           The Plaintiffs’ Steering Committee and Plaintiffs’ Liaison Counsel have agreed to use the

BrownGreer MDL Centrality system to distribute pleadings and discovery documents to

plaintiffs’ counsel in In re: Xarelto (Rivaroxaban) Products Liability Litigation, MDL No. 2592

(“MDL 2592”). Defendants have not agreed to use the MDL Centrality system for pleadings or

discovery documents; and, therefore, Defendants shall not, in any way, have access to or use the

MDL Centrality system for pleadings or discovery documents, and thus Defendants must be

served and continue to serve pursuant to the Federal Rules of Civil Procedure.

           IT IS HEREBY ORDERED AS FOLLOWS:

           1.          In order for Plaintiffs to facilitate case management, document retrieval, case

organization and expeditious, efficient and economical communication by and amongst counsel

and the Court, the Plaintiffs in MDL 2592 will utilize the services of BrownGreer MDL

Centrality (“MDL Centrality”) for providing electronic service, storage and delivery of

court-filed and discovery related documents through a secure website.

           2.          All attorneys of record for Plaintiffs in this litigation on whom service of

documents must be effectuated shall, within ten days of the entry of this Order, or within ten

days of the entry of appearance for a new attorney of record for any Plaintiff, or the
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 139 of 348



docketing of their transferred case, whichever occurs earliest, (1) obtain an e-mail address and

access to the Internet's World Wide Web (the "Web") if they do not have an e-mail address and

Web access; (2) forward to Plaintiffs’ Co-Liaison Counsel (Leonard A. Davis and Gerald E.

Meunier) at PLC@mdl2592.com a fully completed "MDL 2592 Counsel Contact Information

Form," as required by Pretrial Orders 4 and 4(A) and forward a copy to BrownGreer at

jswoody@browngreer.com, and (3) sign up for electronic service in this litigation by registering

with          the      BrownGreer       MDL       Centrality     system      by     going      to

https://www.mdlcentrality.com/MDL2592, clicking the “Register as a Law Firm” button, and

following the instructions on how to register.

         3.         Within five business days of the entry of this order, Plaintiffs’ Co-Liaison

Counsel shall provide MDL Centrality with the then current service list of Plaintiffs’ counsel

in the MDL 2592 via email to jswoody@browngreer.com.

         4.         Within five business days of the entry of this order, representatives of MDL

Centrality shall meet and confer with the Clerk of Court for the United States District Court,

Eastern District of Louisiana, to obtain a listing of all cases filed in MDL 2592, which listing

should include the case names and number, original jurisdiction where filed, party name,

party type, attorneys' names, firm names and addresses, phone numbers and e-mail addresses

for each case in MDL 2592.

         5.         Until such time as BrownGreer advises Plaintiffs’ Co-Liaison Counsel that

the MDL Centrality system is in place, Plaintiffs’ Co-Liaison Counsel is responsible for

updating the service lists on a weekly basis and serving documents in accordance with

Pretrial Order 2.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 140 of 348



        6.      The Clerk of Court shall execute the steps necessary to include BrownGreer as the

MDL Centrality Administrator as an interested party for purposes of receiving emailed ECF

notifications related to this matter.

        7.      MDL Centrality’s system will upload all documents (all references to

"document" include exhibits, if any) in Adobe PDF electronic format onto an Internet

website maintained by MDL Centrality, which is privately funded by the Plaintiffs’

Steering Committee in MDL 2592, where Plaintiffs’ counsel of record who are registered

users of the MDL Centrality system may access the copy.

        8.      Once a document is uploaded and submitted electronically, MDL Centrality

shall send an e-mail to all registered users notifying them that the document has been posted

to its Website (unless such registered user has declined to receive e-mails).

        9.      Unless another Order of this Court specifies a different method for service upon

Plaintiffs’ counsel, any document electronically served via MDL Centrality pursuant to this

Order shall be deemed to have been served under the Federal Rules of Civil Procedure.

        10.     Any documents served pursuant to this Order shall be deemed to be served

pursuant to Federal Rule of Civil Procedure 5.

        11.     Only registered users of MDL Centrality will be able to access the MDL

2592 cases hosted online with MDL Centrality. Registered users will include Plaintiffs’

counsel of record for any party in the consolidated MDL 2592. No counsel other than a counsel

for a plaintiff in Xarelto MDL cases shall be allowed to register or have access to the

MDL Centrality system. Upon registration, MDL Centrality will provide each registered user

with a username and password to access the MDL Centrality system.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 141 of 348



       12.     MDL Centrality shall perform all administrative functions to the system.

Once initially registered, MDL Centrality shall be responsible for the registration and

confirmation of all contact information for registered users. After initial enrollment/registration,

it shall be the    responsibility of the registered users to keep current their contact

information by noting any changes directly on the MDL Centrality Website.

       13.     All registered users shall be bound by any Confidentiality and Protective

Orders that this Court may issue, as well as the terms and conditions for the use of the MDL

Centrality system which includes adherence to the terms and conditions of the MDL Centrality

Administrative Agreement.       MDL Centrality will also be bound by the terms of said

Confidentiality and Protective Orders.

       14.     The MDL Centrality system shall contain an index of all served documents

for the MDL 2592 litigation that is searchable and able to be sorted according to methods that

provide useful 24 hour/seven day a week access to the documents via the Web.

       15.     Service of Pleadings, Orders and Motions: Once BrownGreer advises

Plaintiffs’ Co-Liaison Counsel that the MDL Centrality system is in place, Plaintiffs’ Co-

Liaison Counsel will notify all Plaintiffs’ counsel that have provided Counsel Contact Forms

pursuant to Pre-Trial Orders 4 and 4(A).         Upon such notice by Plaintiffs’ Co-Liaison

Counsel, Plaintiffs’ Co-Liaison Counsel is no longer required to serve and distribute

pleadings, orders, and motions on attorneys of record, as required by t h i s Pre-Trial Order.

       16.     Upon notice provided in accordance with paragraph 15 above, all service of

documents on Plaintiffs’ counsel filed in the MDL shall be made via MDL Centrality.
        Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 142 of 348



Plaintiff Attorneys who fail to register will no longer receive service of documents filed in

the MDL.

           17.       Service of Discovery in Individual Cases: Discovery requests and responses that

are not to be filed with the Clerk of Court (notices of depositions, interrogatories, requests for

documents or tangible things or to permit entry onto land, and requests for admission) pursuant

to Federal Rules of Civil Procedure 5(d)(1), shall be served electronically on Defense Lead

Counsel,           Susan        Sharko         (susan.sharko@dbr.com)         and        Steven      Glickstein

(sglickstein@kayescholer.com);                 and       Plaintiffs’   Lead      Counsel,         Brian      Barr

(bbarr@levinlaw.com) and Andy Birchfield (Andy.Birchfield@BeasleyAllen.com); as well as

Defendants’ Liaison Counsel, James Irwin (jirwin@irwinllc.com) and John Olinde

(olinde@chaffe.com),                  and      Co-Plaintiffs’      Liaison    Counsel,      Gerald        Meunier

(gmeunier@gainsben.com) and Leonard Davis (ldavis@hhklawfirm.com). In addition, all such

requests and responses shall be uploaded in the MDL Centrality system. The documents shall

be uploaded into the MDL Centrality system by the individual plaintiff counsel and shall be

titled to clearly identify (1) the name of the filing/uploading party, (2) the precise title of the

discovery, (3) the date the discovery was uploaded to the MDL Centrality system, (4) the date

the discovery was transmitted to Defendants’ counsel in accordance with the Federal Rules of

Civil Procedure, and (5) shall be uploaded only to those cases related to the discovery filing. If

the uploaded discovery only relates to a single individual case, it shall only be uploaded into

that individual case. However, if the uploaded discovery relates to a multi-party lead or master

case, it shall be uploaded into the master case. Nothing herein relieves Plaintiffs from filing


    Notices of depositions are not to be filed with the Court.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 143 of 348



and serving discovery requests and responses on defense counsel as required under Federal

Rules of Civil Procedure 5(d)(1).

          18.    Certificate of Service for All Plaintiffs Serving Documents:        When serving

documents, all Plaintiffs’ counsel must use a uniform certificate of service in the form set out

herein:



                                    CERTIFICATE OF SERVICE

                        I hereby certify that a copy of the above and foregoing
                        [insert name of document] has contemporaneously with
                        or before filing been served on all parties or their
                        attorneys in a manner authorized by FRCP 5(b)(2), Local
                        Rule 5.1 of the Eastern District of Louisiana and via MDL
                        Centrality, which will send notice of electronic filing in
                        accordance with the procedures established in MDL 2592
                        pursuant to Pre-Trial Order No. 17.

          19.    This Order shall supplement Pre-Trial Order No. 2.

          New Orleans, Louisiana this 20th day of May, 2015




                                              _____________________________________
                                              ELDON E. FALLON
                                              UNITED STATES DISTRICT JUDGE
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 144 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                 MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                 SECTION L
                                          *
                                          *                 JUDGE ELDON E. FALLON
                                          *
                                          *                 MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                                 PRETRIAL ORDER NO. 18
                                      Science Day

         On June 11, 2015, the Court will hold “Science Day” to provide the Court with an

overview of the medical and scientific issues associated with the medicine Xarelto® in an

objective format without advocacy. Given the early stage of the litigation and discovery and to

avoid duplication in presentation, the parties have agreed to the following ground rules to

educate the Court on the basic issues in a non-adversarial manner and govern Science Day:

         1.    The parties have agreed that the topics to be discussed at Science Day include: a

               background on atrial fibrillation, a background on coagulation and anticoagulation

               therapy, anti-coagulation therapy before the Novel Oral Anti-Coagulants or

               NOACs, the approved indications and mechanism of action of Xarelto, clinical

               practice with Xarelto, adverse events with Xarelto, clinical trials pertaining to

               Xarelto, the use of blood test based dosing with Xarelto, and Xarelto

               pharmacology.

         2.    The Science Day presentations will be “off the record” without a court reporter

               and shall not be used or admissible for any purpose in the litigation other than for




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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 145 of 348



              the Court’s benefit to gather informal knowledge at Science Day. The Parties

              shall provide the Court with copies of the presentations on or before June 5, 2015

              but will not share the presentations with each other.

         3.   The presentations shall be made by physicians and scientists. The presenters will

              not be questioned by each other or opposing counsel. The Court will have the

              opportunity to ask questions of the experts as the Court deems appropriate.

         4.   The format will be lecture-style presentations that incorporate the use of

              PowerPoint presentations or other demonstrative visuals. The Parties will be

              allowed to lead the experts through a modified direct format to focus the lecture

              presentation.

         5.   The total length of time that will be allotted to Science Day shall be

              approximately three and a half hours, as broken down by the following schedule:

              a.     Science Day will commence at 9:00am;

              b.     Defendants will proceed on all topics from 9:00am to 10:45am;

              c.     Plaintiffs will proceed on all topics from 11:00am to 12:15pm;

              d.     Final questions from the Court – 12:15 to end



NEW ORLEANS, LOUISIANA this 20th day of May, 2015



                                            ____________________________________
                                            UNITED STATES DISTRICT JUDGE




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 146 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)              *                 MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                 SECTION L
                                          *
                                          *                 JUDGE ELDON E. FALLON
                                          *
                                          *                 MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES

                                PRETRIAL ORDER NO. 19
             (Protocol for Treatment of Privileged and Work Product Materials)

        This Order shall govern the treatment of all privileged or work product materials in MDL

2592.   This Order applies equally to all parties, who for the purposes of below shall be

designated as either the “Producing Party” or the “Receiving Party.”


Privilege Log Production

        1.     Any document falling within the scope of any request for production or subpoena

that is withheld on the basis of a claim of privilege, work product, or any other ground is to be

identified by the Producing Party in a privilege log, which the Producing Party shall produce in

an electronic format (i.e., Excel format) that allows text searching, sorting, and organization of

data. The documents that are produced with redactions based on a claim of privilege shall be

Bates numbered using the same Bates numbering format agreed to by the parties for regular

document productions, and shall be listed on the Producing Party’s privilege log in Bates order.

The documents withheld from production based on a claim of privilege will have a unique

identifying number assigned to each document on the privilege log. The Producing Party shall

produce a privilege log within thirty (30) days after the production of documents for which

privilege is asserted to apply. A Party shall produce a master privilege log in Excel format which


                                                1
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 147 of 348



shall be updated with each additional privilege log relating to a subsequent production. The log

shall have a field that contains the date of the production (or Production Number) to which the

individual log entry relates. The log will have two tabs, one providing information as to

documents withheld from production and one providing information for documents that were

produced with redactions of privileged information.

       2.     For each document that a Producing Party asserts that a privilege applies, the

Producing Party must include in the privilege log the information required by Federal Rule of

Civil Procedure 26(b)(5) and other identifying information, including the following:

              a. the Bates number(s) of the document claimed to be privileged if produced in a

                  redacted form, and a unique identifying number for documents withheld on a

                  claim of privilege;

              b. a description of the nature of the document, communication or tangible thing

                  not disclosed or produced in a manner that, without revealing information

                  itself privileged or protected, will enable other parties to assess the claim;

              c. the date of the document or communication;

              d. the subject/title and document type unless the subject/title itself contains

                  privileged information in which case a reasonably objective “substitute”

                  subject/title will be provided in a manner that, without revealing information

                  itself privileged or protected, will enable other parties to assess the claim;

              e. the identity of its author and signatories and to whom it was sent and any

                  other to whom it was disseminated;

              f. indication (e.g., with an asterisk) of which individual(s) (authors and

                  recipients) are attorneys or paralegals;



                                                 2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 148 of 348



               g. - the name of or other identifying information as to the produced source file in

                    which the document subject to a privilege claim was found; and

               h.     the log will contain two tabs, one as to documents produced in redacted form

                    and a separate tab as to documents withheld from production, so that each

                    category can be readily identified;

         3.    Notwithstanding the assertion of an objection, any purportedly privileged

document containing non-privileged matter must be disclosed with the purportedly privileged

portion redacted, with the redacted portion indicated on the document itself and listed on the

privilege log to be provided pursuant to Paragraph 1 above.


         4.    To assist in the prompt resolution of disputed claims of privilege, upon request by

the Court, the Producing Party shall submit to the Court under seal, un-redacted copies of all

documents for which it asserts a privilege.

List of Individuals Identified on Privilege Logs

         5.     At the time it produces any privilege log, the Producing Party shall also produce

a separate list of individuals identified on the privilege log. This list shall include: a) in

alphabetical order (by last name, then first name) all individuals identified on the privilege log,

b) any aliases for such individuals, c) the job title of each individual listed, and d) the employer

of each individual.     This list shall be produced by the Producing Party in an electronic format

(e.g., excel format) that allows text searching, sorting, and organization of data, and shall be

produced in a cumulative manner, so that each subsequent list includes individuals from prior

lists.    The Producing Party will honor subsequent reasonable requests to identify whether a

specific individual is not currently employed by the same employer as reflected on the log

pertaining to employment at the time of the communication, but the Producing Party is not

                                                  3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 149 of 348



required to provide such information in the log or on a wholesale basis.

Inadvertent Production of Privileged Materials

       6.      In the event that a Producing Party claims that it inadvertently failed to designate

as such any production materials or other information as privileged or work product, after

discovery of the inadvertent production it shall promptly notify all parties to whom such

privileged material was produced or disclosed of the Producing Party’s intent to assert a claim of

privilege or work product over such materials.

       7.      Upon such notice, and consistent with Federal Rule of Civil Procedure

26(b)(5)(B), the Receiving Party, if it intends to challenge the designation of the document, shall

promptly sequester all copies of the document, pending Court resolution of the challenge, and

shall view the document only to the extent necessary to challenge the privilege claim. The

Receiving Party shall file and serve any motion challenging the claim of inadvertent production

and/or the underlying claim of privilege within thirty (30) days receipt of notice of the claim of

inadvertent production.

       8.      If the Receiving Party agrees that the document is properly designated as

privileged, consistent with the Federal Rule of Civil Procedure 26(b)(5)(B), the Receiving Party

shall promptly refrain from further copying or distribution of the subject materials, return or

destroy all copies of the document including reasonable steps to retrieve all copies that have been

distributed to counsel or non-parties, and destroy the portion of any work product that describes

or contains the content of the subject materials.

               a.      Where the parties agree, or the Court orders that, an inadvertently

               produced document is protected by the attorney-client, work product, or other

               privilege, and such document was originally produced in electronic format on



                                                    4
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 150 of 348



               media containing production materials that are not subject to any exemption from

               production, the Producing Party shall promptly provide replacement production

               media to the Receiving Party.

       9.      The inadvertent production by any Producing Party, whether in this Action or in

any other proceedings, of materials subject to a claim of privilege or work product shall not

result in a waiver of any such protection in this Action for the produced materials or for any

other privileged or immune materials containing the same or similar subject matter. Nor shall

the fact of an inadvertent production by any party in this Action be used as a basis for arguing

that a claim of privilege or work product has been waived in any other proceeding.

       10.     Nothing in this Order shall relieve counsel for any Receiving Party of any existing

duty or obligation, whether established by case law, rule of court, regulation or other source, to

return, and not to review, any privileged or work product materials without being requested by

the Producing Party to do so. Rather, in the event a Receiving Party becomes aware that it is in

possession of what appears to be an inadvertently produced privileged document – which the

Receiving Party does not intend to challenge, then counsel for the Receiving Party shall

immediately: (i) cease any further review of the Inadvertently Produced Privileged Document;

(ii) notify Producing Party of the inadvertent production; (iii) promptly return or destroy all

copies of the inadvertently produced privileged document in its possession and destroy the

portion of any work product that describes or contains the content of the subject materials; and

(iv) take reasonable steps to retrieve all copies of the inadvertently produced privileged

documents distributed to other counsel or non-parties.

Challenges to Privilege and/or Work Product Claims

       11.     A Receiving Party may challenge a redaction or claim of privilege or work



                                                5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 151 of 348



product at any time after the document or a privilege log identifying the document subject to

such redaction or claim is produced. A Receiving Party may challenge a Producing Party’s

redaction or designation of privilege or work product by notifying the Producing Party in writing

of its challenge to the redaction, privilege claim or work product claim.

       12.     Thereafter, the Producing Party shall have ten (10) days to review the redacted or

designated material, to consider the circumstances, and to meet and confer with the Receiving

Party. If no resolution can be reached after the ten (10) day period, the Receiving Party may file

and serve a motion that challenges the redaction or claim of privilege or work product. The

Producing Party shall have thirty (30) days to file and serve a response to the motion unless the

parties agree to a shorter time or the Court orders a different time period. The burden of proof in

connection with any such motion shall be on the Producing Party.


               New Orleans, Louisiana this 3rd day of June, 2015.



                                                        __________________________________
                                                         UNITED STATES DISTRICT JUDGE




                                                 6
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 152 of 348



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                   MDL NO. 2592
PRODUCTS LIABILITY LITIGATION

                                                               SECTION L
                                                               JUDGE ELDON E FALLON
                                                               MAG. JUDGE NORTH


                                PRETRIAL ORDER NO. 20

       CONSENT ORDER REGARDING THE FORMAT FOR PRODUCTION OF
     HARDCOPY DOCUMENTS AND ELECTRONICALLY STORED INFORMATION

        The Parties hereby agree to the following protocol for production of electronically stored
information (“ESI”) and paper (“hardcopy”) documents. This protocol, subject to the Protective
Order in this litigation, governs all production in this litigation. Nothing in this protocol shall
limit a party’s right to seek or object to discovery as set out in applicable rules or to object to the
authenticity or admissibility of any hardcopy document or ESI produced in accordance with this
protocol. The Parties having conferred and agreed to entry of the within Consent Order, and
good cause appearing therefore, it is hereby ORDERED, as follows.

                                   A.      GENERAL AGREEMENTS

1.      Discovery Costs

        This protocol does not address who will bear the expense associated with responding to
discovery requests which a party believes are unduly burdensome. If a party believes that any
discovery request is unduly burdensome, the parties will meet and confer concerning the
potential expense, and if they cannot resolve the matter, then each party expressly reserves their
rights to seek reimbursement.

2.      Designated ESI Liaison

        Each Party shall designate one or more individuals as Designated ESI Liaison(s) for
purposes of meeting and conferring with the other Parties and of attending Court hearings on the
subject of relevant ESI. The Designated ESI Liaison or their designee shall be reasonably
prepared to speak about and explain the Party’s relevant electronic systems and capabilities and
the technical aspects of the manner in which the Party has responded to e-discovery, including
(as appropriate) relevant ESI retrieval technology and search methodology.

3.      No Designation of Document Requests

       Productions of hardcopy documents and ESI in the reasonably usable form set out in this
protocol need not include any reference to the document requests to which a document may be
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 153 of 348



responsive. However, upon reasonable request and on a case-by-case basis, a Producing Party
will provide a Bates range and/or source file where a particular set of materials can be found in
their production.

4.     Ongoing Cooperation among the Parties

        The Parties agree to continue to consult and cooperate reasonably as productions occur,
to discuss, as appropriate, legitimate questions that arise out of the productions, including issues
(if any) pertaining to poor image quality or pages out of sequence; the existence of proprietary
software or manuals, including third party software and manuals; and other issues.

5.     Avoidance of Duplicate Production

        A Producing Party shall take reasonable steps to de-duplicate ESI horizontally and/or
globally. “Duplicate ESI” means files that are exact duplicates based on the files’ MD5 or SHA-
1 hash values. Entire document families may constitute Duplicate ESI. De-duplication shall not
break apart families. A document within a family (such as an email attachment) shall not be
considered a duplicate of a stand-alone document even if the hash values are the same, and a
copy of both the document family and the stand-alone document will be produced. The
Producing Party otherwise may produce only a single copy of responsive Duplicate ESI, and
shall indicate the source files that contained the Duplicate ESI in the All Custodians field in the
load file accompanying each production. The Producing Party shall provide an overlay file to
allow the Receiving Party to update the All Custodians field. The overlay file will be provided at
the time of each production and will identify all source files that contained a previously produced
Duplicate ESI, including the identity of any new source files in the subject production that
contained the previously produced Duplicate ESI. The Producing Party will not use e-mail
threading as a method of de-duplication.

6.     Non-Discoverable ESI.

       The following categories of ESI are not subject to preservation and are not discoverable:

       i.      Deleted, “slack,” fragmented, or unallocated data on hard drives;

       ii.     Random access memory (RAM) or other ephemeral data;

       iii.    On-line access data such as (without limitation) temporary internet files, history
               files, cache files, and cookies;

       iv.     System, network, server, or software application logs;

       v.      Structural files not material to individual document contents (e.g. .CSS, .XSL,
               .XML, .DTD, etc.).

7.     Test Load File.

       The producing party will send a small test load file at the onset of the first document
production to test parameters discussed within this format of production document.


                                                 2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 154 of 348



                      B.      ELECTRONICALLY STORED INFORMATION

1.     Production in Native and TIFF-Image Format.

        a.     Electronic spreadsheets (e.g., Excel), electronic presentations (e.g., PowerPoint),
desktop databases (e.g., Access), audio/video multimedia and JPEG files that have been
identified as responsive shall be produced in native format, unless they are authorized to be
redacted in accordance with this Protocol and PTO No. 12. After such redactions, the Producing
Party either shall produce the redacted file in TIFF format, with extracted or OCR text files and
the associated metadata set out in Attachment A or shall produce the redacted copy in native
format as agreed to by the Parties.

        b.     Word documents (e.g., Microsoft Word) and PDF documents shall be produced in
both native format (unless they are authorized to be redacted in accordance with this Protocol
and PTO No. 12) and TIFF-image format, with extracted or OCR text files and the associated
metadata set out in Attachment A, which is incorporated in full in this Protocol. Where
available, extracted text will be provided for any electronic document that does not have
redactions. Redacted files shall be produced in TIFF format with OCR text. TIFF-image Word
and PDF documents endorsed with a Bates number and protected designation, if any, shall be
used by all parties at depositions, at trial, or any other proceedings, and TIFF-image Word and
PDF documents shall be provided to any consultants or experts. As to Word or PDF color
documents, or Word documents with tracked changes in color, parties using such documents in
depositions or other court proceedings may use the native format document, but must mark into
the record both the TIFF-image format document with Bates number and protected designation,
if any, as well as the native format document with attached slip sheet containing the Bates
number and protected designation.

        c.    E-mails and other document types not identified above shall be produced in TIFF-
image format with extracted or OCR text files and the associated metadata set out in Attachment
A. Where available, extracted text will be provided for any electronic document that does not
have redactions. OCR text will be provided for paper documents or electronic documents with
redactions.

       d.      Except as otherwise stated in this Protocol, no other ESI need be produced in
native format, unless the Receiving Party, for good cause explained in the request, seeks
production of specifically identified ESI in native format and unless the Producing Party agrees
to the request. The Producing Party shall respond reasonably and in good faith to any such
request.

2.     Additional Procedures for Native Format Files

       Any Party seeking to use, in any proceeding in this litigation, files produced in native
format shall do so subject to the following: The slip sheet provided by the producing party
containing the Bates number and confidentiality designation, if any, must be prepended to an
image of the native file used. Any party using native format files for any reason during the
course of the litigation, for instance as an exhibit at a deposition or at trial, as an exhibit for a
motion, or documents given to any experts or consultants, is responsible for ensuring that the slip


                                                 3
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 155 of 348



sheet associated with each native format file is prepended to the file prior to its use. Use of a file
in native format, or use of a TIFF image or hardcopy document representing the original native-
format file shall constitute a representation that the file being used is an accurate, unaltered and
complete depiction of the original native-format file.

3.      Redactions.

       The Producing Party may redact, from any TIFF image, metadata field, or native file,
information that is protected from disclosure by applicable privilege or immunity, that is
governed by the European Data Privacy Directive, German Data Privacy Law1 or other
applicable privacy law or regulation, or that contains non-responsive information concerning
products or matters unrelated to Xarelto® including:

        i.      The names, street addresses, Social Security numbers, tax identification numbers,
                and any other personal identifying information of patients, health care providers
                or other voluntary reporters reporting specific adverse advents, and individual
                patients participating in clinical studies or referenced in adverse event reports.
                Other general information that does not identify the person, however, such as
                patient or health care provider numbers, shall not be redacted unless required by
                state or federal law. To the extent a plaintiff’s name is contained in any of these
                documents, a copy of the documents that have not had the plaintiff’s information
                redacted may be produced directly to counsel for said plaintiff;

        ii.     Business and proprietary information relating to products manufactured or
                marketed by the named Defendants other than Xarelto® that does not also relate
                to Xarelto®. For purposes of the preceding sentence, information concerning the
                following will be considered to relate to Xarelto® and shall not be redacted: (a)
                materials relating to any reversal agent or antidote for Xarelto (or for any product
                containing rivaroxiban); (b) materials relating to any other products containing
                rivaroxaban, whether currently on the market or in development; (c) materials
                within the custody or control of Defendants relating to any product, device,
                method and/or assay, that is manufactured, designed, developed and/or discussed
                by any entity, including, but not limited to the defendants, that is used, intended
                and/or designed to evaluate and/or measure (quantitatively and/or qualitatively)
                the concentration of rivaroxaban in a rivaroxaban treated patient and/or the
                anticoagulant effect(s) of rivaroxaban in a rivaroxaban treated patient; and (d)
                materials relating to market research, comparative or competitive research or

1
 Pursuant to Article 8 of the European Data Privacy Directive, “the processing of personal data revealing
racial or ethnic origin, political opinions, religious or philosophical beliefs, trade-union membership, and
the processing of data concerning health or sex life” is prohibited. This is different from production of
information that has “personal data”, defined in these laws as any document that identifies an individual
or by recourse to other information could allow identification of an individual. An example is an email of
a German employee because it identifies individuals. If produced as relevant and non-privileged, the
content and “personal data” (e.g. sender and recipients) would not be redacted for the reason expressed
above. Rather the document would be designated Protected under the Protective Order.


                                                     4
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 156 of 348



               analysis, market or scientific comparison or market surveillance (including the
               tracking, review and analysis of medical or scientific literature) of dabigatran
               (Pradaxa), apixaban (Eliquis) or any other new oral anticoagulant (commonly
               referred to as “NOACs”) and/or their reversal agents, warfarin (Coumadin),
               fondaparinux (Arixtara) or enoxaparin sodium (Lovenox) to the extent such data
               was created or collected in connection with Xarelto or any potential reversal agent
               or antidote for Xarelto.

       iii.    Social Security numbers, passwords, telephone conference line numbers, tax
               identification numbers and other private personal information of employees or
               other persons in any records.

        To the extent that the Producing Party redacts documents or portions thereof, the
redaction shall state on the face of the document a designation: “Redacted: Relevance” or
“Redacted: Privilege” or a similar designation setting forth the general basis of the redaction.
The Producing Party shall also provide a field in the load file that reflects whether a document
has any redaction and, if so, the general type(s) of redaction on the document. Documents in
families that would be entirely redacted consistent with these provisions will be replaced by a
ship sheet containing a statement that the document has not been produced because it would be
redacted in its entirety. To the extent practical, if information in a document is redacted because
it does not relate to Xarelto®, the Producing Party will endeavor to leave in headings or similar
non-substantive information concerning the redacted information to facilitate identification of the
general nature of the non-relevant information.

         The foregoing provisions concerning redactions are production guidelines designed to
facilitate the prompt production of potentially relevant discovery material and to minimize pre-
production disputes and motion practice concerning the treatment of discovery material. Nothing
in the foregoing paragraph shall be construed as a waiver by the Receiving Party of any right to
seek an order for good cause shown compelling production of information redacted pursuant to
this Order nor restrict a Producing Party’s right to object or otherwise seek protection from the
Court concerning any such request. The parties shall meet and confer before engaging in any
motion practice with respect to this paragraph.

        Further, nothing in this paragraph precludes the Receiving Party from challenging any
redaction set out above pursuant to Paragraphs 13 and 14 of Pretrial Order No. 12.

4.     Color Copies

      Each Party may make requests, for good cause, for production of specifically identified
documents in color.

5.     Enterprise Databases and Database Management Systems

       The Parties will meet and confer on the appropriate format to produce or to provide
access to discoverable electronically stored information in an enterprise database or database
management system (e.g., Oracle, SQL server, DB2). It is expected that the Producing Party will
produce such information in a manner that allows the Receiving Party to have the ability to
search or review the data similar to that possessed by the Producing Party, such as an already

                                                5
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 157 of 348



existing and reasonably available report, or an export from the original database of discoverable
information in a format compatible with Microsoft Excel or Microsoft Access produced in native
format. The Parties will also meet and confer regarding whether and in what format an
appropriate export of responsive data depending on the database architecture will meet these
objectives, or can seek appropriate relief from the Court if necessary.

6.     Use of Search Filters

        a.      The Parties will meet and confer to discuss the use of reasonable search terms and
date ranges. Defendants have provided a list to Plaintiffs’ ESI Liaison of the search term filters
that they have utilized to date to collect data from various sources. The Parties’ ESI Liaisons will
work on any revisions to search term filters understanding that this will be a collaborative
process. During such discussions, the Producing Party shall retain the sole right and
responsibility to manage and control searches of its data files.

        b.     The fact that any document has been identified in agreed-upon search term filters
shall not prevent any Party from withholding such document from production on the grounds that
the document is not responsive, that it is protected from disclosure by applicable privilege or
immunity, that it is governed by the European Data Privacy Directive or other applicable privacy
law or regulation, that it contains commercially sensitive or proprietary non-responsive
information, or that the Protective Order entered in this Action allows the document to be
withheld.

       c.      Nothing in this section shall limit a Party’s right reasonably to seek agreement
from the other Parties or a court ruling to modify previously agreed-upon search terms.

          C.      DOCUMENTS THAT EXIST ONLY IN HARDCOPY (PAPER) FORM

        A Party may produce documents that exist in the normal course of business only in
hardcopy form scanned and produced in accordance with the procedures set out below. Scanned
hardcopy documents shall be produced in accordance with the Technical Specifications set out in
Attachment A. The scanning of original hardcopy documents does not otherwise require that the
scanned images be treated as ESI. If a Producing Party creates objective coding for hard-copy
documents, the objective coding shall be provided to the Receiving Party when the objective
coding is available. The Producing Party does not guarantee the accuracy of any provided
objective coding.




                                                 6
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 158 of 348



ATTACHMENT A:

A.1.     Image Files. Documents produced in *.tif image format will be single page black and
         white *.tif files at 300 DPI, Group IV compression. To the extent possible, original
         document orientation will be maintained (i.e., portrait-to-portrait and landscape-to-
         landscape). Each *.tif file will be assigned a unique name matching the production
         number of the corresponding page. Such files will be grouped in folders of no more than
         1,000 *.tif files each unless necessary to prevent a document from splitting across folders.
         Documents will not be split across folders and separate folders will not be created for
         each document. Document production (“Bates”) numbers shall be endorsed on the lower
         right corner of all images. This number shall be a unique, consistently formatted
         identifier that will:

         a)     be consistent across the production;

         b)     contain no special characters; and

         c)     be numerically sequential within a given document.

         Bates numbers should be a combination of an alpha prefix along with an 8 digit number
         (e.g. ABC00000001). The number of digits in the numeric portion of the Bates number
         format should not change in subsequent productions. Confidentiality designations, if any,
         will be endorsed on the lower left corner of all images and shall not obscure any portion
         of the original file.

A.2.     Document Text. Except where ESI contains text that has been redacted under assertion of
         privilege or other protection from disclosure, full extracted text will be provided in the
         format of a single *.txt file for each document (i.e., not one *.txt file per *.tif image).
         Where ESI contains text that has been redacted under assertion of privilege or other
         protection from disclosure, the redacted *.tif image will be OCR’d and document-level
         OCR text will be provided in lieu of extracted text. Searchable text will be produced as
         document-level multi-page UTF-8 text files with the text file named to match the
         beginning production number of the document. The full path of the text file must be
         provided in the *.dat data load file.

A.3.     Word Processing Files. Word processing files, including without limitation Microsoft
         Word files (*.doc and *.docx), will be produced in the above format as well as native
         format with tracked changes and comments showing.

A.4.     Presentation Files. To the extent that presentation files, including without limitation
         Microsoft PowerPoint files (*.ppt and *.pptx), are produced in *.tif image format, such
         *.tif images will display comments, hidden slides, speakers’ notes, and similar data in
         such files.

A.5.     Spreadsheet or Worksheet Files. To the extent that spreadsheet files, including without
         limitation Microsoft Excel files (*.xls or *.xlsx), are produced in *.tif image format, such
         *.tif images will display hidden rows, columns, and worksheets, if any, in such files.


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       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 159 of 348



A.6.     Parent-Child Relationships. Parent-child relationships (e.g., the associations between
         emails and their attachments) will be preserved. Email and other ESI attachments will be
         produced as independent documents immediately following the parent email or ESI
         record. Parent-child relationships will be identified in the data load file pursuant to
         paragraph A.14 below.

A.7.     Dynamic Fields. Documents containing dynamic fields such as file names, dates, and
         times will be produced showing the field code (e.g., “[FILENAME]” or
         “[AUTODATE]”), rather than the values for such fields existing at the time the file is
         processed.

A.8.     English Language. To the extent any data exists in more than one language, the data will
         be produced in English, if available. If no English version of a document is available, the
         Producing Party shall not have an obligation to produce an English translation of the data.
         However, any foreign language document will be so indicated in a metadata field.

A.9.     Embedded Objects. Some Microsoft Office and .RTF files may contain embedded
         objects. Such objects typically are the following file types: Microsoft Excel, Word,
         PowerPoint, Project, Outlook, and Access; and PDF. Subject to claims of privilege and
         immunity, as applicable, and to the extent reasonably available, objects with those
         identified file types shall be extracted as separate documents and shall be produced as
         attachments to the document in which they were embedded.

A.10. Compressed Files. Compressed file types (i.e., .CAB, .GZ, .TAR. .Z, .ZIP) shall be
      decompressed in a reiterative manner to ensure that a zip within a zip is decompressed
      into the lowest possible compression resulting in individual files.

A.11. Encrypted Files. The Producing Party will take reasonable steps, prior to production, to
      unencrypt any discoverable electronically stored information that exists in encrypted
      format (e.g., because password-protected) and that can be reasonably unencrypted.

A.12. Scanned Documents

         a)     In scanning hardcopy documents, multiple distinct documents should not be
                merged into a single record, and single documents should not be split into
                multiple records (i.e., hard copy documents should be logically unitized).

         b)     Producing Party agrees to provide OCR text for scanned images of hard copy
                documents. OCR is to be performed on a document level and provided in
                document-level *.txt files named to match the production number of the first page
                of the document to which the OCR text corresponds. OCR text should not be
                delivered in the data load file or any other delimited text file.

         c)     In the case of an organized compilation of separate documents—for example, a
                binder containing several separate documents behind numbered tabs—the
                document behind each tab should be scanned separately, but the relationship
                among the documents in the binder should be reflected in proper coding of the
                family fields set out below.

                                                  2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 160 of 348



A.13. Production Numbering. Each *.tif image file will be named according to the production
      number of the page it represents. Production numbers will:

       a)     be consistent across the production;

       b)     contain no special characters; and

       c)     be numerically sequential within a given document.

       The Producing Party shall take reasonable steps to ensure that attachments to documents
       are assigned production numbers that directly follow the production numbers on the
       documents to which they were attached. If a production number or set of production
       numbers is skipped, the skipped number or set of numbers will be noted. In addition,
       wherever possible, each *.tif image will have its assigned production number
       electronically “burned” onto the image.

A.14. Data and Image Load Files.

       a)     Load Files Required. Unless otherwise agreed, each production will include a data
              load file in Concordance (*.dat) format and an image load file in Opticon (*.opt)
              format.

       b)     Load File Formats.

              i.     Load file names should contain the volume name of the production media.
                     Additional descriptive information may be provided after the volume
                     name. For example, both ABC001.dat or ABC001_metadata.dat would be
                     acceptable.

              ii.    Unless other delimiters are specified, any fielded data provided in a load
                     file should use Concordance default delimiters. Semicolon (;) should be
                     used as multi-entry separator.

              iii.   Any delimited text file containing fielded data should contain in the first
                     line a list of the fields provided in the order in which they are organized in
                     the file.

       c)     Fields to be Included in Data Load File. For all documents produced, the
              following metadata fields will be provided in the data load file pursuant to
              subparagraph (a), above, for each document to the extent that such information is
              available at the time of collection and processing, except to the extent that a
              document has been produced with redactions. The term “Scanned Docs” refers to
              documents that are in hard copy form at the time of collection and have been
              scanned into *.tif images. The term “Email and E-Docs” refers to documents that
              are in electronic form at the time of their collection. All date fields should be
              produced as MM/DD/YYYY format, paying attention to European date formats.
              European dates should be produced in US format to assure sorting and usability
              along with US based documents.

                                               3
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 161 of 348



        d)     The following metadata will be produced:

                                                          Email and E-
Field                  Sample Data         Scanned Docs   Docs           Comment
PRODBEG                ABC00000001         Yes            Yes            Beginning production
[Key Value]                                                              number
PRODEND                ABC00000008         Yes            Yes            Ending production number
PRODBEGATT             ABC00000009         Yes            Yes            Beginning production
                                                                         number of parent document
                                                                         in a family
PRODENDATT             ABC00001005         Yes            Yes            Ending production number
                                                                         of last page of the last
                                                                         attachment in a family
CUSTODIAN(S)           Smith, John         Yes            Yes            Custodian(s) that possessed
                                                                         the document—multiple
                                                                         custodians separated by
                                                                         semicolon
NATIVEFILE             Natives\\           N/A            Yes            Path and file name for
                       \00000001.xls                                     native file on production
                                                                         media
FILEDESC               Microsoft Office    N/A            Yes            Description of the type file
                       2007 Document                                     for the produced record.
FOLDER                 \My Documents\      N/A            Yes            Original source folder for
                       Document1.doc                                     the record produced.
FILENAME               Document1.doc       N/A            Yes            Name of original electronic
                                                                         file as collected.
DOCEXT                 DOC                 N/A            Yes            File extension for email or
                                                                         e-doc
PAGES                  2                   Yes            Yes            Number of pages in the
                                                                         produced document (not
                                                                         applicable to native file
                                                                         productions).
AUTHOR                 John Smith          N/A            Yes            Author information as
                                                                         derived from the properties
                                                                         of the document.
DATECREATED            10/09/2005          N/A            Yes            Date that non-email file was
                                                                         created as extracted from
                                                                         file system metadata
DATELASTMOD            10/09/2005          N/A            Yes            Date that non-email file was
                                                                         modified as extracted from
                                                                         file system metadata
SUBJECT                Changes to Access   N/A            Yes            “Subject” field extracted
                       Database                                          from email message or
                                                                         metadata properties of the
                                                                         document
FROM                   John Beech          N/A            Yes            “From” field extracted from
                                                                         email message
TO                     Janice Birch        N/A            Yes            “To” field extracted from
                                                                         email message
CC                     Frank Maple         N/A            Yes            “Cc” or “carbon copy” field
                                                                         extracted from email
                                                                         message




                                                 4
        Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 162 of 348



                                                          Email and E-
Field                   Sample Data        Scanned Docs   Docs           Comment
BCC                     John Oakwood       N/A            Yes            “Bcc” or “blind carbon
                                                                         copy” field extracted from
                                                                         email message
DATESENT                10/10/2005         N/A            Yes            Sent date of email message
                                                                         (mm/dd/yyyy format)
TIMESENT                10:33 am           N/A            Yes            Sent time of email message,
                                                                         time zone set to GMT
DATERCVD                10/10/2005         N/A            Yes            Received date of email
                                                                         message
                                                                         (mm/dd/yyyyformat)
TIMERCVD                10:33 am           N/A            Yes            Received time of email
                                                                         message, time zone set to
                                                                         GMT
CONFIDENTIALITY         HIGHLY             Yes            Yes            Text of confidentiality
                        CONFIDENTIAL                                     designation, if any
TEXTPATH                Text\\\.txt        Yes            Yes            Path to *.txt file containing
                                                                         extracted or OCR text
PRODVOL                 VOL001             Yes            Yes            Name of the Production
                                                                         Volume
Redaction               Privilege          Yes            Yes            Field noting redactions
                                                                         applied to document
Foreign Language List   English:           N/A            Yes            Field noting languages
                        German                                           within document.
MD5 Hash Value          098f6bcd           N/A            Yes            MD5 Hash value of
                        4621d                                            document
                        373cade4e
                        832627b4f6

A.15. Files Produced in Native Format. Any file produced in native file format shall be given a
      file name consisting of a unique Bates number and, as applicable, a confidentiality
      designation; for example, “ABC00000002_Confidential.” For each native file produced,
      the production will include a *.tif image slipsheet indicating the production number of the
      native file and the confidentiality designation, and stating “File Provided Natively”. To
      the extent that it is available, the original document text shall be provided in a document-
      level multi-page UTF-8 text file with a text path provided in the *.dat file; otherwise the
      text contained on the slipsheet language shall be provided in the *.txt file with the text
      path provided in the *.dat file.

A.16. Production Media. Unless otherwise agreed, documents and ESI will be produced on
      optical media (CD/DVD), external hard drive, secure FTP site, or similar electronic
      format. Such media should have an alphanumeric volume name; if a hard drive contains
      multiple volumes, each volume should be contained in an appropriately named folder at
      the root of the drive. Volumes should be numbered consecutively (ABC001, ABC002,
      etc.). Deliverable media should be labeled with the name of this action, the identity of the
      producing Party, and the following information: Volume name, production range(s), and
      date of delivery.

A.17. Production Index. With each production, the Producing Party will provide, in native
      excel format, a complete production log detailing the source(s) produced with Bates

                                                 5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 163 of 348



       range identified. This log should also identify the number of documents produced in
       each set.

A.18. Encryption of Production Media. To maximize the security of information in transit, any
      media on which documents are produced may be encrypted by the producing Party. In
      such cases, the producing Party shall transmit the encryption key or password to the
      requesting Party, under separate cover, contemporaneously with sending the encrypted
      media. The receiving parties in this matter are on notice that certain data produced may
      originate from custodians in the European Union and the receiving parties therefore agree
      to follow the strictest security standards in guarding access to said data.

        New Orleans, Louisiana this 15th day of June, 2015.


                                           __________________________________
                                           Honorable Eldon E. Fallon
                                           United States District Court




                                              6
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 164 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) )                      MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )               SECTION: L
____________________________________)
                                    )               JUDGE FALLON
THIS DOCUMENT RELATES TO:           )               MAG. JUDGE NORTH
ALL ACTIONS                         )
                                    )               CASE MANAGEMENT
____________________________________)               ORDER NO. [X]


                               PRE-TRIAL ORDER NO. 13(A)
                       (Plaintiff Fact Sheets and Authorizations) AND
                                    PRE-TRIAL NO. 14(A)
                                    (Defendant Fact Sheets)


       The Parties have agreed to accept online submission and service of Plaintiff and

Defendant Fact Sheets, (“PFS” and “DFS”), which are collectively described herein as Fact

Sheets, and related documents in actions filed in or transferred to MDL No. 2592, and in the

interest of efficiency and judicial economy, Pre-Trial Order Nos. 13 and 14 are amended and

supplemented as follows:

       IT IS HEREBY ORDERED that:

           1. Manner of Completion and Service of Fact Sheets and Authorization Forms.

Plaintiffs and Defendants shall use the online MDL Centrality System designed and provided by

BrownGreer PLC and accessible at www.MDLCentrality.com to implement the provisions of

Pre-Trial Order Nos. 13 and 14 regarding Fact Sheets and Records Authorization Forms, as

follows:

   (a) Each Plaintiff required by this Order to submit a Plaintiff Fact Sheet (“PFS”), shall, by
       counsel or as pro se, establish a secure online portal in the MDL Centrality online system
       and obtain authorized user names and secure login passwords to permit use of MDL
       Centrality by such counsel or Plaintiff. Except as set forth herein, Counsel for a Plaintiff
                                                1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 165 of 348



   or each pro se Plaintiff shall be permitted to view, search and download on MDL
   Centrality only those materials submitted by that Plaintiff and by Defendants relating to
   that Plaintiff, and not materials submitted by or relating to other Plaintiffs.
(b) The Defendants by counsel shall establish a secure online portal with the MDL Centrality
    online system and obtain authorized user names and secure login passwords to permit use
    of MDL Centrality by such counsel.
(c) The Plaintiffs’ Steering Committee, Attorney Designees Appointed by the Plaintiffs’
    Steering Committee, Plaintiffs’ Liaison Counsel, Plaintiffs’ Co-Lead Counsel, Defense
    Co-Lead Counsel, Defense Liaison Counsel and Defendants’ Attorney Designees
    (collectively, the “Leadership Counsel”), shall establish separate secure online portals
    with the MDL Centrality online system and obtain individual unique user names and
    secure login passwords to permit use of MDL Centrality by such Leadership Counsel,
    who shall have access to and be able to view, search and download all materials
    submitted by all Plaintiffs and by all Defendants. Plaintiffs’ Liaison Counsel and
    Defense Liaison Counsel shall exchange the names, firm names and addresses of those
    attorneys appointed as Attorney Designees.
(d) Each Plaintiff and Defendants shall use the MDL Centrality System to obtain, complete
    or upload data, and serve the appropriate Fact Sheet online (including the upload of PDFs
    or other electronic images, photographs and videos of any records required in the Fact
    Sheets). Each Plaintiff and Defendants shall provide a signed verification with their Fact
    Sheets, which will be signed in hard copy, uploaded and served through MDL Centrality.
(e) Each Plaintiff shall use the MDL Centrality System to obtain, complete and serve online
    the Plaintiff’s Records Authorizations. Each Plaintiff shall sign each of the required
    Records Authorizations, which will then be uploaded and served through MDL
    Centrality.
(f) Service of a completed Fact Sheet and Records Authorizations shall be deemed to occur
    when the submitting party has performed each of the steps required by the MDL
    Centrality System to execute the online submission of the materials, and the submitting
    party has received confirmation on screen that the materials have been successfully
    submitted. The MDL Centrality System shall provide timely notice by email and online
    to Leadership Counsel who have obtained user credentials in MDL Centrality of the
    submission of Fact Sheets and Records Authorizations and shall provide access at that
    time to such Leadership Counsel of the materials submitted.
(g) If a party must amend a previously served Fact Sheet, all subsequent versions must be
    named accordingly (“First Amended Fact Sheet”, “Second Amended Fact Sheet”, etc.),
    and all iterations of a Party’s Fact Sheet must remain available and accessible to all
    Parties to a case through trial, appeal (if any), or other resolution of the litigation.
(h) The Court may establish a secure online portal with the MDL Centrality online system
    and obtain an authorized user name and secure login password to permit use of MDL
    Centrality by the Court.




                                            2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 166 of 348



           2. HIPAA Authorization. By using MDL Centrality, each Plaintiff authorizes the

disclosure of his or her medical records and other health information submitted as part of the PFS

or DFS to BrownGreer PLC as the administrator of the MDL Centrality System, the Court,

Leadership Counsel and Defendants, and to the authorized agents, representatives and experts of

the foregoing, for purposes of this litigation.

           3. No Impact on Privileges or Work Product Protection.              The use of MDL

Centrality by any party shall not alter or otherwise waive or affect any attorney-client privilege

or work product doctrine protection otherwise available that would otherwise apply to a

document in the absence of the use of MDL Centrality. Any notations placed on materials,

comments entered, or documents stored or uploaded to MDL Centrality by a user shall be

considered to be the work product of such user unless and until the material is served on or

purposefully disclosed to the opposing party through the use of MDL Centrality or otherwise.

Pursuant to Rule 502(d) of the Federal Rules of Evidence, this order with respect to privilege and

work product doctrine protection applies to any other federal or state proceeding.

           4.   No Impact on the Scope of Discovery. Nothing in the Fact Sheets, Records

Authorizations, or any use or action in MDL Centrality shall be deemed to limit the scope of

inquiry at depositions and admissibility of evidence at trial. The scope of inquiry at depositions

shall remain governed by the Federal Rules of Civil Procedure and the admissibility of

information shall be governed by the Federal Rules of Evidence and applicable law.            No

objections or rights are waived as a result of any response in a Fact Sheet or the production of

any documents with a Fact Sheet.

           5. Extension of Deadlines. The Parties may agree to an extension of the deadlines

set in this Order for the completion and service of Fact Sheets and Records Authorizations.



                                                  3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 167 of 348



Consideration should be given to requests for extensions to stagger PFS deadlines where a

single law firm has a large number due on or near the same dates, and correspondingly for

Defendants with a large number of DFS due on or near the same dates. If the parties cannot

agree on reasonable extensions of time, the requesting party may apply to the Court for such

relief upon a showing of good cause and no prejudice to the other party. With any extension

agreed to by the parties or granted by the Court, the twenty (20) day cure period set forth in

Paragraph 3 of Pre-Trial Order No. 13 (Plaintiff Fact Sheets and Authorizations) and in

Paragraph 3 of Pre-Trial Order no. 14 (Defendant Fact Sheets) shall begin on the day after the

expiration of the extension period.

           New Orleans, Louisiana this 22nd day of June, 2015.

                                           _______________________
                                           Eldon E. Fallon
                                           United States District Judge




                                              4
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 168 of 348




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) )                                MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )                         SECTION: L
____________________________________)
                                    )                         JUDGE FALLON
THIS DOCUMENT RELATES TO:           )                         MAG. JUDGE NORTH
ALL ACTIONS                         )
                                    )
____________________________________)


                                     PRETRIAL ORDER NO. 11B
                                 (Bundling of Complaints and Answers)

        This Order governs a Joined Plaintiff’s responsibility for a filing fee and modifies the

second sentence of Paragraph 1(a) of Pretrial Order No. 11.1

        IT IS HEREBY ORDERED AS FOLLOWS:

        A Joined Plaintiff’s (any plaintiff named in the Joint Complaint other than the Lead

Plaintiff) responsibility for a filing fee will be suspended, and such responsibility for the filing

fee shall be resolved upon the resolution of his/her respective claims as follows:

        (1)      No filing fee is owed if a Joined Plaintiff voluntarily dismisses a case with

prejudice within nine (9) months of filing their complaint. After that time, a Joined Plaintiff

shall pay a filing fee.

        (2)      A filing fee is owed if a Joined Plaintiff dismisses a case without prejudice

pursuant to Fed.R.Civ.P. 41(a) (1). The Clerk of Court is directed not to docket the voluntary

dismissal or close the case of until such filing fee has been paid.
                                                                 
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    Second sentence of Paragraph 1(a) of Pretrial Order No. 11 presently reads as follows: “The joined plaintiffs’
(plaintiffs named in the Joint Complaint other than the Lead Plaintiff) responsibility for a filing fee will be
suspended until the resolution of their respective claims, at which time the fee must be paid before the case can be
dismissed and closed, unless otherwise ordered by the Court.”

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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 169 of 348



       (3)     If a Joined Plaintiff seeks to dismiss a case without prejudice other than pursuant

to Fed.R.Civ.P. 41(a)(1), Defendants shall have fourteen (14) days from the filing of the motion

to dismiss to oppose the motion. No filing fee is owed if the Defendants fail to oppose the

motion to dismiss within the fourteen (14) days. A filing fee is owed by a Joined Plaintiff if

Defendants oppose the motion, and the Court grants the motion to dismiss without prejudice over

Defendants’ objection. The Clerk of Court is directed not to enter the voluntary dismissal or to

close the case until the filing fee has been paid. This Order is without prejudice to Defendants’

right to request and a Joined Plaintiff’s right to oppose, additional conditions of dismissal under

Fed.R.Civ.P. 41(a)(2).

       (4)     A filing fee is owed upon involuntary dismissal of a Joined Plaintiff’s case by

Order of Court or entry of Judgment. The Order or Judgment of involuntary dismissal shall

recite the Court’s continuing jurisdiction for the purpose of collection of the filing fee.

       (5)     A filing fee is owed upon the entry of a Judgment in favor of a Joined Plaintiff.

The Clerk of Court has a lien on the Judgment for the purpose of collecting the filing fee.

       (6)     A filing fee is owed upon a stipulated dismissal or order of dismissal after

settlement of a Joined Plaintiff’s case. The Clerk of Court has a lien on the settlement for the

purpose of collecting the filing fee.

       (7)     All counsel for a Joined Plaintiff who are listed on the Complaint are responsible

for the paying of the filing fee if owed under the provisions of this Order. This responsibility is

subject to a Joined Plaintiff’s counsel’s right, if permitted by applicable state law and fee

arrangements, to seek reimbursement from the Joined Plaintiff.           The Joint Complaint may

specify which of the Joined Plaintiff’s counsel is (are) responsible for the fee if more than one

counsel is listed on the Complaint; otherwise all counsel listed on the Complaint are individually



                                                  2
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 170 of 348



responsible for the filing fee. By filing the Joint Complaint, all counsel listed on the Joint

Complaint consent to the jurisdiction and venue of this Court for the purpose of collecting the

filing fee. With respect to any Joint Complaint filed prior to entry of this Order, all Joined

Counsel will be responsible for the filing fee and shall be deemed to have consented to the

jurisdiction and venue of this Court for purpose of collection unless such counsel file an

amended complaint within fourteen (14) days of entry of this Order specifying which of them (if

fewer than all) will be responsible for paying the fee.



           NEW ORLEANS, LOUISIANA this 14th day of July, 2015.



                                              _______________________
                                              Eldon E. Fallon
                                              United States District Judge




                                                 3
 
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 171 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) )                        MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )                 SECTION: L
____________________________________)
                                    )                 JUDGE FALLON
THIS DOCUMENT RELATES TO:           )                 MAG. JUDGE NORTH
ALL ACTIONS                         )
                                    )
____________________________________)


                                 PRETRIAL ORDER NO. 11C

       This Order shall serve as a clarification for some of the issues that have arisen since the

Court entered Pretrial Order No. 11.

       IT IS HEREBY ORDERED AS FOLLOWS:

       Voluntary Dismissal of Claims without Prejudice: Since Defendants have filed an

Omnibus Answer on June 18, 2015, a Plaintiff who seeks to dismiss her case without prejudice

must file a motion and an accompanying proposed order, pursuant to Federal Rule of Civil

Procedure 41(a)(2).

       Timing for Filing an Amended Complaint: A Plaintiff may amend her Complaint as a

matter of course pursuant to Federal Rule of Civil Procedure 15(a)(1)(A) within 21 days after

service of a Joint Complaint if the Plaintiff is the named Plaintiff in the Joint Complaint, and

within 21 days after service of a Severed Complaint if Plaintiff is not the named Plaintiff in the

Joint Complaint. When Plaintiff files an ex parte motion to amend her Complaint pursuant to

Rule 15(a)(1)(A), Plaintiff shall specify the relevant date of service within the motion.




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 172 of 348



       If Plaintiff did not file a Joint Complaint, but rather filed an individual claim, Rule

15(a)(1)(A) governs and Plaintiff may amend her complaint within 21days of service.

       Summons: The named Plaintiff in a Joint Complaint shall file summons in the Joint

Complaint case, but for all of the other listed Plaintiffs, they shall file summons in their

respective, severed cases. For example, if the Joint Complaint is titled John Smith, et al. v.

Janssen Research & Development, LLC, et al., 15-123, and Bob Adams is a listed Plaintiff in

that Joint Complaint with his own severed case number of 15-456, John Smith would file his

summons in the Joint Complaint case of 15-123 and Bob Adams would file his summons in the

severed case of 15-456.



           NEW ORLEANS, LOUISIANA this 14th day of July, 2015.



                                               _______________________
                                               Eldon E. Fallon
                                               United States District Judge




                                                  2
 
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 173 of 348




                                     UNITED STATES DISTRICT
                                   COURT EASTERN DISTRICT OF
                                           LOUISIANA

 IN RE: XARELTO (RIVAROXABAN)
 PRODUCTS LIABILITY LITIGATION                             MDL No. 2592

                                                            SECTION L

                                                           JUDGE ELDON E. FALLON

                                                           MAG. JUDGE NORTH

 THIS DOCUMENT RELATES TO:
 ALL CASES


                                      PRE-TRIAL ORDER NO. 14A

         The parties having agreed to amend Pre-Trial Order No. 14 (PTO 14) dated May 4,

2015, PTO 14 is hereby amended as follows:

         1.          In Section IV and VII.5 of the Defendant’s Fact Sheet (“DFS”), Defendants have

agreed, without objection to answer certain questions and provide certain data relating to the

dispensing and prescribing practices of Plaintiffs’ Prescribing and Primary Treating Health Care

Providers as it relates to Xarelto if such data is within their possession, custody or control.

         2.          Defendants license information and data responsive to Section IV and VII.5 of the

DFS from IMS Health Inc. (“IMS”). IMS has authorized Defendants to provide a copy of the

responsive data to the Plaintiffs, with no fee, upon execution of the Consent Letter attached

hereto as Exhibit 1 by the individual Plaintiff’s counsel to whom the data will be produced.

         3.          Defendants shall, upon receipt of an executed Consent Letter from Plaintiff’s

counsel (sent to each Defendants’ counsel by E-mail to jennifer.lamont@dbr.com,

julie.tersigni@dbr.com, and rbreier@eckertseamans.com):




ACTIVE/ 81850397.1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 174 of 348



                     a)     supplement its response to Section IV and VII.5 of any DFS already

                     provided to Plaintiff and produce all responsive documents within ten (10) days of

                     receiving the executed Consent Letter;

                     b)     produce all responsive data and documents pursuant to Section IV and

                     VII.5 of the DFS pursuant to PTO 14 in cases where a DFS has not yet been

                     provided to Plaintiff.

                     c)     all responsive data and documents will be produced in excel format.

         4.          All provisions of PTO 14 other than those amended herein shall remain

unchanged and in full force and effect.



         New Orleans, Louisiana this 10th day of August, 2015



                                                          ____________________________________
                                                          ELDON E. FALLON
                                                          UNITED STATES DISTRICT JUDGE




ACTIVE/ 81850397.1
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 175 of 348




Via Email

August 3, 2015

Jennifer La Mont, Esq.
Drinker Biddle & Reath LLP
600 Campus Dr.
Florham Park, NJ 07932-1047

Timothy S. Coon, Esq.
Eckert Seamans Cherin & Mellott, LLC
600 Grant Street, 44th Floor
Pittsburgh, PA 15219

        RE:      In re: Xarelto (Rivaroxaban) Products Liability Litigation, MDL No. 2592

                 In re: Xarelto Products Liability Litigation, Philadelphia Court of Common
                 Pleas, No. 002349

                 IMS Data:       For prescribing physicians and one treating physician
                                 identified by each plaintiff in the actions, the name and
                                 address of the HCP and prescribing history data such as the
                                 number of new prescriptions, the units, and the number of
                                 total prescriptions for Xarelto for 2011 to the present

Dear Ms. La Mont and Mr. Coon:

This letter will serve as a response to your requests on behalf of your respective clients:
Janssen Research & Development, LLC; Jannsen Ortho, LLC; Janssen Pharmaceuticals, Inc.;
Johnson & Johnson (collectively, “Janssen”); Bayer Corporation; Bayer Healthcare, AG;
Bayer Pharma, AG; Bayer, AG; Bayer Healthcare, LLC; and Bayer Healthcare
Pharmaceuticals, Inc. (collectively, “Bayer”) (hereinafter, collectively, the “CLIENTS”), to
use the above-referenced IMS Data (the “IMS Information”) in connection with the above-
referenced litigations (the “Litigations”). IMS represents that IMS Information is confidential
and proprietary to IMS. As you may be aware, IMS Information retains its value to IMS so
long as it is treated in accordance with the requirements of law affording certain protection for
such information (e.g., laws governing trade secrets and copyrights). In addition, IMS has
certain contractual obligations of confidentiality with its data sources and clients.

You have requested that IMS consent to CLIENTS’ use of IMS Information in the Litigations,
subject to the respective protective orders, particularly, Pretrial Order No. 12, Stipulated
Protective Order, filed May 4, 2015, in the Eastern District of Louisiana, and Case
Management Order No. 5, Stipulated Protective Order, filed May 19, 2015, in the Philadelphia
Court of Common Pleas, both of which are attached hereto as Exhibits A-1 and A-2 (the
“Protective Orders”). In order to provide consent to this request, it is necessary that, on behalf
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 176 of 348




of CLIENTS, you represent and agree that any such usage or disclosure of IMS Information
will be treated in a manner which does not compromise the above-mentioned protections or
obligations. Further, consent to such use of any IMS Information in the Litigations is subject
to your agreement to the following:

        A.      Prior to disclosure of IMS Information in the Litigations, you shall designate
IMS Information as HIGHLY PROTECTED and proprietary to IMS and in a manner so as to
be subject to the Protective Orders. To the extent any terms of the Protective Orders are
inconsistent with the terms of this letter, the terms of this letter shall control. Access to and
use of IMS Information shall be strictly limited to purposes directly related to the Litigations.

       B.      Prior to using any IMS Information in filings in the court or otherwise
producing IMS Information as part of the Litigations, you shall ensure that:

                1.       Production of IMS Information shall be limited to that portion of IMS
                Information that is relevant to the Litigations, except where the context or
                applicable rules of civil procedure otherwise specifically requires. Without
                limiting the foregoing, IMS Information produced in the Litigations will
                include only the individual prescribers whose prescribing behavior is directly
                relevant to such Litigations and whom the plaintiffs have themselves expressly
                identified.

                2.       Any person or entity receiving IMS Information in connection with
                the Litigations shall only use IMS Information for purposes directly related to
                reaching an outcome in the Litigations and shall not in any event use IMS
                Information for any business, competitive, personal, private, public, or other
                purpose.

                3.      All documents containing IMS Information shall be marked
                “HIGHLY PROTECTED – SUBJECT TO PROTECTIVE ORDER,” or
                marked in such other manner so as to be identified as a document requiring
                highly confidential treatment under the terms of the Protective Orders. Any
                person or entity receiving IMS Information shall be apprised of the
                confidential and proprietary nature of such information.

                4.       No person or entity that obtains access to IMS Information shall
                attempt to identify any person or entity (including any patient, consumer,
                outlet, supplier, plan, pharmacy or prescriber) that is not readily identifiable in
                the IMS Information. No person or entity that obtains access to any IMS
                Information shall attempt to contact, for the purpose of obtaining testimony or
                otherwise, any person or entity (including any patient, consumer, outlet,
                supplier, plan, pharmacy or prescriber) identified in or identifiable from the
                IMS Information. Nothing in this paragraph prohibits any person from
                identifying or contacting any person or entity that they have knowledge of
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 177 of 348




          from sources other than IMS Information, nor does this paragraph authorize
          any person to contact any person or entity.

          5.       When IMS Information is used in or as part of a proceeding in the
          Litigations, IMS will only act as an objective service provider and not as an
          expert on behalf of a client or any party. As more fully described in the
          Statement of IMS Health Regarding Use of Prescriber Data in Legal
          Proceedings or Government Investigations, attached hereto as Exhibit B
          (“IMS Statement”), IMS Information may reflect projections, estimates,
          forecasts, or other analyses of data which are the result of either IMS standard
          processes or specifications developed or approved by the client. The parties
          acknowledge that IMS Information, although appropriate for its intended
          purpose of supporting business and marketing analyses in industries such as
          the pharmaceutical industry, contains data that is susceptible to error or
          variance, and is not intended by IMS to be used to establish any fact. Any
          person or entity receiving IMS Information in connection with the Litigations
          shall receive a copy of the IMS Statement.

          6.       Any reports, documents, or exhibits prepared by CLIENTS which
          contain IMS Information together with information from other sources shall
          be identified a such, and shall not be represented as a report, document, or
          exhibit prepared by IMS.

          7.       IMS will not offer testimony or other evidence regarding the
          interpretation of the results of the data provided by IMS or the services
          performed by IMS in connection with the Litigations. In addition, IMS will
          not provide any advice or engage in any advocacy with respect to witness
          testimony or expert analysis of any other party. Also, IMS will not provide
          any opinion as to the relative merits of the clients’ or the other party’s
          positions in the Litigations.

          8.       The IMS Information shall not be placed in any information
          repository accessible to any person or entity not directly involved in the
          Litigations, and shall not otherwise be made available to any person or entity
          not directly involved in the Litigations.

          9.      In no event shall any disclosure of IMS Information be made to any
          competitor of IMS, or to any person who, upon reasonable good faith inquiry,
          could be determined to be an employee of any competitor of IMS, irrespective
          of whether that person is retained as an expert in the Litigations. No person or
          entity that obtains access to any IMS Information shall in any manner
          whatsoever attempt to reverse engineer or disassemble such information or
          attempt to ascertain the methodologies by which such information was
          obtained, sorted, projected, or manipulated.
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 178 of 348




                10.      Prior to disclosure of IMS Information to any individual plaintiff in
                the Litigations, such plaintiff’s counsel shall sign a copy of this letter,
                acknowledging and agreeing to be bound by the terms and conditions of this
                letter. CLIENTS shall provide to IMS a copy of such letter(s) upon request
                from IMS.

                11.      If CLIENTS or any other party to whom disclosure may be made in
                the Litigations desire to use at trial or in any public court proceeding any of
                the above-referenced IMS Information, CLIENTS or the party seeking to use
                the IMS Information shall request the court to permit presentation of such
                material with only counsel and court personnel present or in such other
                manner as the court deems appropriate to maintain the confidentiality of the
                IMS Information. At no time may the IMS Information be disclosed without
                the “Highly Protected” designation or an equivalent designation that is
                intended to ensure highly confidential treatment of such IMS Information.

                12.      In no event shall IMS be liable for any consequential, special,
                exemplary, or similar types of damages, including but not limited to third
                party claims, whether foreseeable or not, arising in connection with the use of
                IMS Information in the Litigations, even if IMS has been advised of the
                possibility of such damages. Any reliance on or decision based on IMS
                Information is the sole responsibility of you and the entity that receives the
                IMS Information in the Litigations.

                13.      Each person or entity having received IMS Information shall comply
                with paragraph 32 of the Stipulated Protective Order filed in the Eastern
                District of Louisiana (Exhibit A-1) or paragraph 31 of the Stipulated
                Protective Order filed in Philadelphia Court of Common Pleas (Exhibit A-2),
                as applicable. Compliance with the terms of such Protective Orders shall be
                made within 90 days of the termination of the respective action, and written
                attestations that all copies of IMS Information have been destroyed or returned
                shall be provided to IMS upon request.

Subject to your agreement with the foregoing, and in reliance on your representation that the
above terms are acceptable to all plaintiffs or parties in the Litigations, IMS will consent to
your request. If the above terms are acceptable, please counter-sign a copy of this letter where
indicated and returned to my attention. Thank you.

Very Truly Yours,

/s/

Maureen Nakly
Senior Attorney
IMS Health Incorporated
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 179 of 348




Acknowledged and Agreed by:

COUNSEL FOR JANSSEN

BY: ____________________________

TITLE: ___________________________

DATE: ___________________________



COUNSEL FOR BAYER

BY: ____________________________

TITLE: ___________________________

DATE: ___________________________



PLAINTIFFS’ COUNSEL IN THE
E.D. LA. LITIGATION

BY: ____________________________

TITLE: ___________________________

DATE: ___________________________



PLAINTIFFS’ COUNSEL IN THE
PHILADELPHIA LITIGATION

BY: ____________________________

TITLE: ___________________________

DATE: ___________________________
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 180 of 348



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                   MDL NO. 2592
PRODUCTS LIABILITY LITIGATION

                                                               SECTION L
                                                               JUDGE ELDON E FALLON
                                                               MAG. JUDGE NORTH


                                   PRETRIAL ORDER NO. 15A

            CONSENT ORDER REGARDING PRESERVATION OF VOICEMAIL,
                    TEXT MESSAGES AND INSTANT MESSAGES

        On December 17, 2014, the Court issued Pretrial Order No. 1 which addressed, inter alia,
document preservation. Plaintiffs and Defendants advised the Court at status conferences of
continuing discussions and negotiated a more case specific order (Pretrial Order No. 15) that the
Court entered on May 4, 2015. In PTO 15, Plaintiffs and Defendants agreed that the parties “will
continue to meet and confer regarding the obligation on all parties to preserve voicemail, instant
messages sent or received on an instant messaging system or text messages sent or received on a
cellular phone, smartphone, tablet or other mobile device.” The Parties have conducted such
meet and confer following depositions of Defendants. By agreement of the parties, going
forward from the date of this Consent Order, the Court Orders as follows:

           (1)   Plaintiffs shall provide written notice of this Consent Order to individual plaintiffs
                 with cases pending in this MDL proceeding instructing them to either (a) refrain
                 from initiating text messages, instant messages or voicemail for substantive
                 communications relating to Xarelto , the Plaintiffs’ medical condition or the
                 Plaintiffs’ claims for damages; or (b) preserve or transcribe all such text
                 messages, instant messages or voicemails if the Plaintiff initiates such a
                 substantive communication.

           (b)   Defendants shall provide written notice of this Consent Order to any current U.S.
                 employee previously identified by Defendants in their Voluntary Disclosures or
                 requested by Plaintiffs as a document custodian instructing them to either (a)
                 refrain from initiating text messages, instant messages or voicemail for
                 substantive communications relating to Xarelto; or (b) preserve or transcribe all
                 such text messages, instant messages or voicemails if the employee initiates such
                 a substantive communication. Current U.S. employees who are requested as
                 document custodians by Plaintiffs after the date of this order will be provided the
                 notice following a request from Plaintiffs for their files. This paragraph will not
                 apply to employees resident in foreign countries.




00310124
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 181 of 348



           (c)    Following entry of this Order, no party shall have an obligation to preserve or
                  produce newly created instant messages, text messages or voicemail.

           (d)    The parties will continue to meet and confer on any open issues regarding
                  voicemail, text messaging and instant messaging, and will report to the Court at
                  the October 2015 status conference whether they have resolved their differences,
                  and if not the Court will set a briefing and hearing schedule to resolve any
                  disputes.


           New Orleans, Louisiana this ___day of September, 2015.




                                               __________________________________
                                               Honorable Eldon E. Fallon
                                               United States District Court


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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 182 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                MDL NO. 2592
PRODUCTS LIABILITY LITIGATION

                                                            SECTION L
                                                            JUDGE ELDON E FALLON
                                                            MAG. JUDGE NORTH


                                 PRETRIAL ORDER NO. 21

      CONSENT ORDER REGARDING DOCUMENT PRODUCTION PROTOCOL

      The Parties having conferred, consented, stipulated and agreed to entry of the within
Consent Order, and good cause appearing therefore, it is hereby ORDERED, as follows.

        1.     Defendants will make at least on average a monthly production of 5 million pages
per month (collective for all Defendants) through July 29, 2016. The page count shall be
determined by the Bates number ranges produced during any respective month with the
understanding that all Parties are proceeding reasonably and in good faith. Defendants will not
hold back production of files ready to be produced on the basis that they have already exceeded
the 5 million pages per month threshold. Documents shall be produced on a rolling basis as they
are ready for production. The intent of this Order is that the Defendants collectively will
produce as close to if not more than 5 million pages each month while maintaining the five
million page monthly average. The Parties recognize that certain documents are produced in
native form. To the extent there may be a dispute about volume produced, documents produced
as native only are to be included in overall production figures.

        2.    Provided Defendants comply with Paragraph No. 1 above, Defendants do not
have an obligation to produce documents after July 29, 2016 absent express written agreement
between Defendants and Plaintiffs, or upon order of the Court after good cause shown by
Plaintiffs.

        3.       The Plaintiffs’ Steering Committee (“PSC”) will coordinate document requests
with the leadership in the Pennsylvania litigation with the understanding that any document
requested from the Pennsylvania litigation over and above the documents requested in the MDL
may impact Defendants’ ability to produce 5 million pages per month in the MDL. To the extent
the plaintiffs in the Pennsylvania litigation request documents that are not part of a coordinated
request in the MDL, the PSC agrees that the documents produced in response to the
Pennsylvania request will be counted toward the 5 million pages per month limit unless the PSC
shows good cause after meet and confer, and the Court orders that such productions should not
be counted against the limit.




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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 183 of 348



        4.      In addition to the 59 source files previously provided to the Defendants by
Plaintiffs, Plaintiffs will provide a list to Defendants by September 11, 2015, of the initial non-
custodial files and additional custodial files that Plaintiffs request to be produced. Plaintiffs shall
not withdraw their requests for any of the 59 source files previously identified.

       5.       Thereafter, on at least the first business day of each month, starting October 1,
2015 and continuing through April 1, 2016, Plaintiffs will identify additional custodial and non-
custodial files to be produced. All such designations of files to be produced shall be made in
good faith.

         Within 10 days of receipt of the files designated for production by Plaintiffs, Defendants
will advise Plaintiffs of the approximate size of the custodial file and the time expected for
production. Plaintiffs may withdraw their requests for no more than six files based on that
advice, unless the Parties agree otherwise following a meet and confer; such withdrawals shall be
reasonably divided between the Defendants. Once Plaintiffs withdraw a request for a particular
file, it may not be requested again. The Parties will act in good faith to ensure that the
withdrawal of a file will not impact the average production of 5 million pages per month. The
Parties will meet and confer as to whether the size of the file impacts the priority of the
production of the file.

        6.      The production of detail representative custodial files shall be subject to the
provisions of Paragraph 10, which require at least 75 days’ notice for production of a deponent’s
file. Unless Plaintiffs notify the Defendants that a particular detail representative custodial file
need not be produced, detail representative custodial files shall be considered to be requested for
production by Plaintiffs within fourteen (14) days from the date the bellwether discovery pool
plaintiffs are selected when only one detail representative has been identified in the Defendant
Fact Sheet (DFS). To the extent more than one detail representative was designated in the DFS,
Plaintiffs shall have thirty (30) days from the date the bellwether discovery pool plaintiffs are
selected to designate the detail representative custodial file to be produced so that files can be
identified and produced promptly in anticipation of the detail representative depositions that will
likely be taken by Plaintiffs in advance of the August 1, 2016 bellwether nomination date.

       7.       Defendants will make all reasonably practicable efforts to advise Plaintiffs by
May 1, 2016, but no later than May 15, 2016, whether the expected amount of work for all file
requests pending as of April 1, 2016 cannot be completed by July 29, 2016 based on 5 million
pages per month production, or whether Defendants would be able to produce additional files
beyond those pending as of April 1, 2016 based on 5 million pages per month production. If the
Defendants have the capacity within the 5 million pages per month to process and produce
additional files, then Defendants will not object to requests for additional files after April 1, 2016
as long as production is within the 5 million pages per month. The Parties will promptly meet
and confer as to files to be completed by the July 29, 2016 cutoff.

       8.      The average monthly production of 5 million pages includes all pages from all of
the types of source files requested by Plaintiffs in this matter – corporate custodial files, detail
representative custodial files, and non-custodial files.



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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 184 of 348



       9.      Plaintiffs have made two requests totaling 59 specific custodial files. Defendants
will focus on completing production of those files first before moving on to other materials
absent a specific agreement with Plaintiffs otherwise or as set out in paragraph 4.

       10.     Absent good cause, a request for a custodial file or an update to a previously
produced file must be made at least 75 days in advance of any proposed deposition of that
custodian so that the file review can be completed and production made at least 30 days in
advance of the deposition.

       11.    Plaintiffs can make reasonable requests, and Defendants will attempt to
reasonably accommodate, priorities for production among files requested.

       12.      If Plaintiffs request production of a file and later withdraw that request within ten
(10) days after the Defendants have advised Plaintiffs of the size of the file and the expected time
to produce, all pages of that file reviewed before the withdrawal of the request will count
towards the average monthly production of 5 million pages.

       13.      File requests made by Plaintiffs (exclusive of detail representative files) are to be
divided reasonably between the Bayer Defendants and the Janssen Defendants. If Plaintiffs
request files disproportionally between Bayer and Janssen, the Parties understand it could affect
the production deadline and the Parties will meet and confer on any such issues.

       14.      The files to be produced will include at least a substantial majority of the
custodial and non-custodial files identified to Plaintiffs on June 27, 2015 where review work has
been partially done or that were collected for review.

        15.     Defendants reserve all rights to object to a file request on any grounds and will
notify Plaintiffs in writing of any objections to a particular request and provide a summary of the
reason for each objection. The Parties will meet and confer on any objections and, if not
resolved, either party may submit to the Court.

        16.    Defendants shall notify Plaintiffs when production of a custodial or non-custodial
file has been completed to Defendants’ knowledge and information after reasonable inquiry and
the date upon which the file was collected.

        17.    The Parties will designate liaison(s) from each side to regularly communicate on
discovery issues pertaining to document production. Each party recognizes the need to cooperate
and proceed in good faith. Further, the Parties intend to keep the Court informed as to the status
of document production on the bi-weekly discovery calls with the Court so that the Court can
ensure that each party is providing the information necessary for document production consistent
with this Order.




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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 185 of 348



New Orleans, Louisiana this ___ day of September, 2015.



                                          __________________________________
                                          Honorable Eldon E. Fallon
                                          United States District Court




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 186 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) )                        MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )                 SECTION: L
____________________________________)
                                    )                 JUDGE FALLON
THIS DOCUMENT RELATES TO:           )                 MAG. JUDGE NORTH
ALL ACTIONS                         )
                                    )
____________________________________)


                                 PRETRIAL ORDER NO. 15B

            CONSENT ORDER REGARDING PRESERVATION OF VOICEMAIL,
                    TEXT MESSAGES AND INSTANT MESSAGES

        On December 17, 2014, the Court issued Pretrial Order No. 1 which addressed, inter alia,
document preservation. Plaintiffs and Defendants advised the Court at status conferences of
continuing discussions and negotiated a more case specific order (Pretrial Order No. 15) that the
Court entered on May 4, 2015. In PTO 15, Plaintiffs and Defendants agreed that the parties “will
continue to meet and confer regarding the obligation on all parties to preserve voicemail, instant
messages sent or received on an instant messaging system or text messages sent or received on a
cellular phone, smartphone, tablet or other mobile device.” The Parties have conducted such
meet and confer following depositions of Defendants. The Court previously entered consent
order PTO 15A on September 17, 2015. To clarify the preservation obligations of the parties,
the Court hereby enters PTO 15B by consent of the parties. PTO 15A is hereby vacated and
shall have no further effect.

        By agreement of the parties, going forward from September 17, 2015, the Court Orders
as follows:

       (1)     Plaintiffs shall provide written notice of this Consent Order to individual plaintiffs
               with cases pending in this MDL proceeding instructing them to either (a) refrain
               from initiating text messages, instant messages or voicemail for substantive
               communications relating to Xarelto, the Plaintiffs’ medical condition or the
               Plaintiffs’ claims for damages; or (b) preserve or transcribe all such text
               messages, instant messages or voicemails if the Plaintiff initiates such a
               substantive communication.

       (2)     Defendants shall provide written notice of this Consent Order to any current U.S.
               employee previously identified by Defendants in their Voluntary Disclosures or


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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 187 of 348



           requested by Plaintiffs as a document custodian instructing them to either (a)
           refrain from initiating text messages, instant messages or voicemail for
           substantive communications relating to Xarelto; or (b) preserve or transcribe all
           such text messages, instant messages or voicemails if the employee initiates such
           a substantive communication. Current U.S. employees who are requested as
           document custodians by Plaintiffs after the date of this order will be provided the
           notice following a request from Plaintiffs for their files. This paragraph will not
           apply to employees resident in foreign countries.

  (3)      From September 17, 2015 forward, the only obligation to preserve newly created
           text messages, instant messages or voicemail is as required by paragraphs 1 and 2
           above.

  (4)      The parties will continue to meet and confer on any open issues regarding
           voicemail, text messaging and instant messaging, and will report to the Court at
           the November 2015 status conference whether they have resolved their
           differences, and if not the Court will set a briefing and hearing schedule to resolve
           any disputes.


        NEW ORLEANS, LOUISIANA this 21st day of October, 2015.



                                         ________________________________
                                         Honorable Eldon E. Fallon
                                         United States District Judge




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 188 of 348



                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                   MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                               SECTION L

THIS DOCUMENT RELATES TO ALL ACTIONS                           JUDGE ELDON E FALLON

                                                               MAG. JUDGE NORTH


                                    Pretrial Order No. 22
                            (Mailing Lists for Dear Doctor Letters)

       Plaintiffs have requested from the Janssen Defendants the mailing lists that support the

information provided by the Janssen Defendants in response to question II.A.1 in the Defendant

Fact Sheet. The Janssen Defendants are in possession of the requested mailing lists, but the lists

were created and maintained by third-party vendors. The requested mailing lists are to be

provided to the Plaintiffs’ Steering Committee within seven (7) business days of the date of this

Order in useable electronic format subject to the following:

   (1) The mailing lists will be maintained as PROTECTED INFORMATION subject to the

       requirements of PTO 12;

   (2) The mailing lists are to be used solely for the purposes of this litigation in order to assist

       in discovery and the preparation for trial. The mailing lists themselves are to be

       maintained as strictly confidential by the Plaintiffs’ Steering Committee and may not be

       used for any purpose other than as set out above. The Plaintiffs’ Steering Committee is

       allowed to provide to plaintiffs’ counsel in individual cases the information used to

       support the Defendants’ response to question II.A. in the Defendant Fact Sheet.
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 189 of 348



  New Orleans, Louisiana this ___ day of December, 2015.



                                            ____________________________________
                                                  United States District Judge
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 190 of 348




                                UNITED STATES DISTRICT
                              COURT EASTERN DISTRICT OF
                                      LOUISIANA

 IN RE: XARELTO (RIVAROXABAN)
 PRODUCTS LIABILITY LITIGATION                         MDL No. 2592

                                                       SECTION L

                                                       JUDGE ELDON E. FALLON

                                                       MAG. JUDGE NORTH

 THIS DOCUMENT RELATES TO:
 ALL CASES


                                PRE-TRIAL ORDER NO. 14B

       The parties having agreed to amend Pre-Trial Order No. 14 (PTO 14) dated May 4, 2015

and Pre-Trial Order No. 14A (PTO 14A) dated August 10, 2015, PTO 14 and PTO 14A are hereby

amended as follows:

       1.      Section VII.5 of the Defendant’s Fact Sheet (“DFS”) requests that Defendants

provide certain data relating to the dispensing and prescribing practices of Plaintiffs’ Prescribing

and Primary Treating Health Care Providers as it relates to Xarelto® if such data is within their

possession, custody or control. The Plaintiff Steering Committee (PSC) has requested that this

data be provided directly to the PSC, for the sole purpose of assisting the PSC in making its

bellwether case selections.

       2.      Defendants license information and data responsive to Section VII.5 of the DFS

from IMS Health Inc. (“IMS Data”). IMS Health Inc. has authorized Defendants to provide a copy

of the responsive data to the PSC, with no fee, upon execution of the Consent Letter attached

hereto as Exhibit 1 by Plaintiffs’ Co-Lead Counsel, who has authority to represent the interests of

the PSC in this matter.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 191 of 348



       3.      Defendants shall, upon receipt of the executed Consent Letter attached hereto as

Exhibit 1 from Plaintiffs’ Co-Lead Counsel, produce directly to the PSC a copy of the IMS Data

provided pursuant to Section VII.5 of the DFS, in the same excel format that the IMS Data is

provided with the individual DFS, for the cases which are in consideration for potential bellwether

selection and where DFS’s have been produced by Defendants to date.

       4.      The PSC shall not provide any IMS Data to any individual plaintiffs’ counsel for

their individual cases. Individual plaintiffs’ counsel may obtain IMS Data for their individual

cases by following the process set forth in PTO 14A.

       5.      All provisions of PTO 14 and PTO 14A other than those amended herein shall

remain unchanged and in full force and effect.



       New Orleans, Louisiana this 6th day of January, 2016.

                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 192 of 348




Via Email

January 4, 2016

Jennifer La Mont, Esq.
Drinker Biddle & Reath LLP
600 Campus Dr.
Florham Park, NJ 07932-1047

Timothy S. Coon, Esq.
Eckert Seamans Cherin & Mellott, LLC
600 Grant Street, 44th Floor
Pittsburgh, PA 15219

        RE:       In re: Xarelto (Rivaroxaban) Products Liability Litigation, MDL No. 2592

        IMS Data:        For prescribing physicians and one treating physician identified by
                         each plaintiff in the actions that are eligible for the bellwether trial
                         pool as defined by the Court Order in this matter, the name and
                         address of the HCP and prescribing history data such as the number of
                         new prescriptions, the units, and the number of total prescriptions for
                         Xarelto for 2011 to the present

Dear Ms. La Mont and Mr. Coon:

This letter will serve as a response to your requests on behalf of your respective clients: Janssen
Research & Development, LLC; Janssen Ortho, LLC; Janssen Pharmaceuticals, Inc.; Johnson
& Johnson (collectively, “Janssen”); Bayer Corporation; Bayer Healthcare, AG; Bayer Pharma,
AG; Bayer, AG; Bayer Healthcare, LLC; and Bayer Healthcare Pharmaceuticals, Inc.
(collectively, “Bayer”) (hereinafter, collectively, the “CLIENTS”), to provide the above-
referenced IMS Data (the “IMS Information”) to members of the Plaintiffs’ Steering Committee
(the “PSC”) in connection with the above-referenced litigation (the “Litigation”). IMS
represents that IMS Information is confidential and proprietary to IMS. As you may be aware,
IMS Information retains its value to IMS so long as it is treated in accordance with the
requirements of law affording certain protection for such information (e.g., laws governing trade
secrets and copyrights). In addition, IMS has certain contractual obligations of confidentiality
with its data sources and clients.

You have requested that IMS consent to CLIENTS’ and PSC’s use of IMS Information in the
Litigation, subject to the respective protective order, particularly, Pretrial Order No. 12,
Stipulated Protective Order, filed May 4, 2015, in the Eastern District of Louisianawhich is
attached hereto as Exhibit A (the “Protective Order”). In order to provide consent to this request,
it is necessary that, on behalf of CLIENTS, you represent and agree that any such usage or
disclosure of IMS Information will be treated in a manner which does not compromise the
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 193 of 348




above-mentioned protections or obligations. Further, consent to such use of any IMS
Information in the Litigation is subject to your agreement to the following:

        A.      Prior to disclosure of IMS Information in the Litigation, you shall designate
IMS Information as HIGHLY PROTECTED and proprietary to IMS and in a manner so as to
be subject to the Protective Order. To the extent any terms of the Protective Order are
inconsistent with the terms of this letter, the terms of this letter shall control. Access to and use
of IMS Information shall be strictly limited to purposes directly related to the Litigation.

       B.     Prior to using any IMS Information in filings in the court or otherwise producing
IMS Information as part of the Litigation, you shall ensure that:

                 1.       Production of IMS Information shall be limited to that portion of IMS
                 Information that is relevant to the Litigation, except where the context or
                 applicable rules of civil procedure otherwise specifically requires. Without
                 limiting the foregoing, IMS Information produced in the Litigation will
                 include only the individual prescribers whose prescribing behavior is directly
                 relevant to such Litigation and whom the plaintiffs have themselves expressly
                 identified.

                 2.       Any person or entity receiving IMS Information on behalf of the PSC
                 in connection with the Litigation shall only use IMS Information for purposes
                 directly related to reaching an outcome in the Litigation and shall not in any
                 event use IMS Information for any business, competitive, personal, private,
                 public, or other purpose.

                 3.      All documents containing IMS Information shall be marked “HIGHLY
                 PROTECTED – SUBJECT TO PROTECTIVE ORDER,” or marked in such
                 other manner so as to be identified as a document requiring highly confidential
                 treatment under the terms of the Protective Order. Any person or entity
                 receiving IMS Information shall be apprised of the confidential and proprietary
                 nature of such information.

                 4.       No person or entity that obtains access to IMS Information on behalf of
                 the PSC shall attempt to identify any person or entity (including any patient,
                 consumer, outlet, supplier, plan, pharmacy or prescriber) that is not readily
                 identifiable in the IMS Information. No person or entity that obtains access to
                 any IMS Information shall attempt to contact, for the purpose of obtaining
                 testimony or otherwise, any person or entity (including any patient, consumer,
                 outlet, supplier, plan, pharmacy or prescriber) identified in or identifiable from
                 the IMS Information. Nothing in this paragraph prohibits any person from
                 identifying or contacting any person or entity that they have knowledge of from
                 sources other than IMS Information, nor does this paragraph authorize any
                 person to contact any person or entity.
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 194 of 348




          5.       When IMS Information is used in or as part of a proceeding in the
          Litigation, IMS will only act as an objective service provider and not as an
          expert on behalf of a client or any party. As more fully described in the
          Statement of IMS Health Regarding Use of Prescriber Data in Legal
          Proceedings or Government Investigations, attached hereto as Exhibit B
          (“IMS Statement”), IMS Information may reflect projections, estimates,
          forecasts, or other analyses of data which are the result of either IMS standard
          processes or specifications developed or approved by the client. The parties
          acknowledge that IMS Information, although appropriate for its intended
          purpose of supporting business and marketing analyses in industries such as
          the pharmaceutical industry, contains data that is susceptible to error or
          variance, and is not intended by IMS to be used to establish any fact. Any
          person or entity receiving IMS Information in connection with the Litigation
          shall receive a copy of the IMS Statement.

          6.       Any reports, documents, or exhibits prepared by CLIENTS or the PSC,
          which contain IMS Information together with information from other sources,
          shall be identified as such, and shall not be represented as a report, document,
          or exhibit prepared by IMS.

          7.       IMS will not offer testimony or other evidence regarding the
          interpretation of the results of the data provided by IMS or the services
          performed by IMS in connection with the Litigation. In addition, IMS will not
          provide any advice or engage in any advocacy with respect to witness testimony
          or expert analysis of any other party. Also, IMS will not provide any opinion as
          to the relative merits of the clients’ or the other party’s positions in the
          Litigation.

          8.      The IMS Information shall not be placed in any information repository
          accessible to any person or entity not part of the PSC and not directly involved
          in the Litigation, and shall not otherwise be made available to any person or
          entity not directly involved in the Litigation.

          9.       In no event shall any disclosure of IMS Information be made to any
          competitor of IMS, or to any person who, upon reasonable good faith inquiry,
          could be determined to be an employee of any competitor of IMS, irrespective
          of whether that person is retained as an expert in the Litigation. No person or
          entity that obtains access to any IMS Information shall in any manner
          whatsoever attempt to reverse engineer or disassemble such information or
          attempt to ascertain the methodologies by which such information was obtained,
          sorted, projected, or manipulated.

          10.     Prior to disclosure of IMS Information to any member of the PSC, Brian
          Barr, as Co-Lead Counsel for the Plaintiffs in the Litigation, shall sign a copy
          of this letter, acknowledging and agreeing to be bound by the terms and
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 195 of 348




                conditions of this letter. Mr. Barr, as Co-Lead Counsel for the Plaintiffs in the
                Litigation represents that he has authority to sign this agreement and represents
                the interests of the PSC in this matter. CLIENTS shall provide to IMS a copy
                of such letter(s) upon request from IMS.

                11.      If CLIENTS or any other party to whom disclosure may be made in the
                Litigation desire to use at trial or in any public court proceeding any of the
                above-referenced IMS Information, CLIENTS or the party seeking to use the
                IMS Information shall request the court to permit presentation of such material
                with only counsel and court personnel present or in such other manner as the
                court deems appropriate to maintain the confidentiality of the IMS Information.
                At no time may the IMS Information be disclosed without the “Highly
                Protected” designation or an equivalent designation that is intended to ensure
                highly confidential treatment of such IMS Information.

                12.      In no event shall IMS be liable for any consequential, special,
                exemplary, or similar types of damages, including but not limited to third party
                claims, whether foreseeable or not, arising in connection with the use of IMS
                Information in the Litigation, even if IMS has been advised of the possibility of
                such damages. Any reliance on or decision based on IMS Information is the sole
                responsibility of you and the entity that receives the IMS Information in the
                Litigation. The PSC agrees to hold IMS and its affiliates harmless from any
                claims or costs arising out of the release of IMS Information in the Litigation.

                13.     Each person or entity having received IMS Information shall comply
                with paragraph 32 of the Stipulated Protective Order filed in the Eastern District
                of Louisiana (Exhibit A), as applicable. Compliance with the terms of such
                Protective Order shall be made within 90 days of the termination of the
                respective action, and written attestations that all copies of IMS Information
                have been destroyed or returned shall be provided to IMS upon request.

                14.      The PSC shall not provide any IMS Information to any individual
                plaintiffs’ counsel for their individual cases. Individual plaintiffs’ counsel may
                obtain IMS Information following the process set forth in CMO 14A in the
                Litigation, after providing the signed IMS letter agreement attached as Exhibit
                1 to CMO 14A.

Subject to your agreement with the foregoing, and in reliance on your representation that the
above terms are acceptable to all members of the PSC, IMS will consent to your request. If the
 Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 196 of 348




above terms are acceptable, please counter-sign a copy of this letter where indicated and returned
to my attention. Thank you.

Very Truly Yours,

Maureen Nakly
Senior Attorney
IMS Health Incorporated


Acknowledged and Agreed by:

COUNSEL FOR JANSSEN

BY: ____________________________
       Jennifer La Mont, Esq.

TITLE: ___________________________

DATE: ___________________________


COUNSEL FOR BAYER

BY: ____________________________
       Timothy S. Coon, Esq.

TITLE: ___________________________

DATE: ___________________________


PLAINTIFFS’ STEERING COMMITTEE


BY: ____________________________
       Brian Barr, Esq.

TITLE: ___________________________

DATE: ___________________________
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 197 of 348



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                    MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                    SECTION L
                                          *
                                          *                    JUDGE ELDON E. FALLON
                                          *
                                          *                    MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                             PRETRIAL ORDER NO. 11D
                         (Bundling of Complaints and Answers)

       The Court outlined the procedure for the filing of joint complaints in Pretrial

Order 11. (Rec. Doc. 893). The Plaintiffs’ Steering Committee later provided the Court

with an exemplar joint complaint and exemplar short form complaint, which the Court

issued as Pretrial Order No. 11A. The Plaintiffs’ Steering Committee has provided the

Court with an updated exemplar joint complaint (Attachment A) for the use of Plaintiffs’

counsel when filing their joint complaints. These forms are intended to provide

guidance, but individual counsel bears the responsibilty first to decide whether this form

appplies to his or her client's case, and then to tailor this form to correspond to each

Plaintiff’s claims/allegations. Counsel shall contact Plaintiffs’ Liaison Counsel,

Leonard Davis or Gerald Meunier, with any questions regarding these forms.



       NEW ORLEANS, LOUISIANA this 27th day of January, 2016.

                                               ____________________________________
                                               UNITED STATES DISTRICT JUDGE




                                              1
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 198 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



ANDY APPLE, BRIAN BARNONE, CANDY                    MDL NO. 2592
CORN, DONNA DIXON, ELLEN ELKIN, FRED
FINKEL, AND GEAUX GIROD
                                                    SECTION: L
              Plaintiffs,

       v.                                           JUDGE: ELDON E. FALLON

JANSSEN RESEARCH & DEVELOPMENT
LLC f/k/a JOHNSON AND JOHNSON                       MAG. JUDGE MICHAEL NORTH
PHARMACEUTICAL RESEARCH AND
DEVELOPMENT LLC, JANSSEN ORTHO LLC,
JANSSEN PHARMACEUTICALS, INC.
f/k/a JANSSEN PHARMACEUTICA INC.
f/k/a ORTHO-MCNEIL-JANSSEN                          JURY TRIAL DEMANDED
PHARMACEUTICALS, INC.,
JOHNSON & JOHNSON COMPANY
BAYER HEALTHCARE
PHARMACEUTICALS, INC.,
BAYER PHARMA AG,
BAYER CORPORATION,
BAYER HEALTHCARE LLC,
BAYER HEALTHCARE AG, and BAYER AG,

              Defendants.




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                                           1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 199 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                         	          	
	

                                       JOINT COMPLAINT

        Pursuant to Pretrial Order No. 11, Plaintiffs, by and through counsel, file this Joint

Complaint against Defendants, as follows:

I.      PLAINTIFF SPECIFIC ALLEGATIONS [NOTE: PTO 11(1)(b)]1

Plaintiffs herein are: [list each plaintiff alphabetically and add counts necessary and appropriate

for each client specific jurisdiction, if necessary]

        1.   Andy Apple [include county & state of citizenship for each plaintiff]

                a. Plaintiff, ________, ingested Xarelto from approximately _____ to ____ and

                    suffered a gastrointestinal bleed on ____ as a direct result of Xarelto. Plaintiff

                    ___________ resides in ______ County in the state of__________.

1
 THROUGHOUT THIS DOCUMENT A NUMBER OF ITEMS ARE HIGHLIGHTED IN YELLOW.
THESE HIGHLIGHTED AREAS ARE MEANT TO PROVIDE GUIDANCE TO INDIVIDUAL COUNSEL
SO THAT INDIVIDUAL COUNSEL CAN SPECIFICALLY PREPARE ITS CLIENT’S COMPLAINT. IN
ADDITION, THE CLAIMANTS IDENTIFIED IN SECTION I. PLAINTIFF SPECIFIC ALLEGATIONS
ARE FICTIOUS NAMES THAT SHOULD BE REMOVED AND ARE PLACED WITHIN SOLELY AS
EXAMPLES. COUNSEL ARE IN INSTRUCTED TO EDIT THE PLEADING THEY USE FOR THEIR
PARTICULAR CLIENTS APPROPRIATELY BY REMOVING THE DISCLAIMER IN THE FOOTER
BELOW, YELLOW HIGHLIGHTING AND INSTRUCTIONS. COUNSEL ARE ALSO INSTRUCTED TO
FILL-IN OR DELETE BLANKS AS APPROPRIATE.




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                                               2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 200 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	           	
	
       2.   Brian Barnone [use if claim includes loss of consortium]

              a. Plaintiff, Brian Barnone, ingested Xarelto from approximately _____ to ____

                  and suffered a gastrointestinal bleed on ____ as a direct result of Xarelto.

                  Plaintiff ___________ resides in ______ County in the state of__________.

              b. In conjunction with Plaintiff Barnone’s claim, Belinda Barnone, spouse of

                  Brian Barnone, asserts a claim for loss of consortium.

       3.   Candy Corn [use if minor]

              a. Plaintiff, ___________, a minor, ingested Xarelto from approximately ____ to

                  __ and suffered severe internal bleeding on _______ as a direct result of

                  Xarelto. Plaintiff ________ resides in ___ County in the state of _________.

                  Plaintiff ________ is represented herein by his guardian(s), ______.

       4.   Donna Dixon [use if death case]

              a. Plaintiff, ___________, ingested Xarelto from approximately ____ to __ and

                  suffered severe internal bleeding on _______ as a direct result of Xarelto.

                  Plaintiff _____ ultimately died due to his injuries on _____.          Plaintiff




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                                           3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 201 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
                  ________ was a resident of ___ County in the state of _________. Plaintiff

                  ________ is represented herein by ____, the executor of his estate.

       5.   Ellen Elkin [use if state of death is different from state of citizenship]

              a. Plaintiff, _________, ingested Xarelto from approximately ____ to __ and

                  suffered severe internal bleeding on _______ as a direct result of Xarelto.

                  Plaintiff _____ ultimately died due to his injuries on _____ in _____ county in

                  the state of _____. Plaintiff _____ was a resident of ___ County in the state

                  of _________ at the time of his death. Plaintiff _______ is represented herein

                  by ____, the executor of his estate.

       6.   Fred Finkel [use if location of injury & ingestion are different from state of current

            citizenship]

              a. Plaintiff, _________, ingested Xarelto from approximately _____ to ____ and

                  suffered a gastrointestinal bleed on ____ as a direct result of Xarelto. Plaintiff

                  ______ resides in ______ County in the state of__________. At the time of

                  the ingestion and injury Plaintiff resided in _____ County in the state of

                  ________.




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                                             4
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 202 of 348




	     JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                  	          	
	
        7.   Geaux Girod [use if state of injury, ingestion and current citizenship are all

             different]

               a. Plaintiff, _________, ingested Xarelto from approximately _____ to ____ and

                  suffered brain hemorrhaging on ____ as a direct result of Xarelto. Plaintiff

                  ______ currently resides in ______ County in the state of__________. At the

                  time of the ingestion Plaintiff resided in _____ County in the state of

                  ________. At the time of injury Plaintiff resided in ____ County in the state

                  of _______.

II.     DEFENDANTS

        8.     Upon       information   and   belief,   Defendant   JANSSEN   RESEARCH        &

DEVELOPMENT           LLC       f/k/a   JOHNSON         AND   JOHNSON     RESEARCH          AND

DEVELOPMENT LLC (hereinafter referred to as “JANSSEN R&D”) is a limited liability

company organized under the laws of New Jersey, with a principal place of business in New

Jersey. Defendant JANSSEN R&D’s sole member is Janssen Pharmaceuticals, Inc., which is a

Pennsylvania corporation with a principal place of business in New Jersey. Accordingly,

JANSSEN R&D is a citizen of Pennsylvania and New Jersey for purposes of determining




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                                              5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 203 of 348




	       JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                	          	
	
diversity under 28 U.S.C. § 1332.

         9.   As part of its business, JANSSEN R&D is involved in the research, development,

sales, and marketing of pharmaceutical products including Xarelto.

         10. Defendant JANSSEN R&D is the holder of the approved New Drug Application

(“NDA”) for Xarelto as well as the supplemental NDA.

         11. Upon information and belief, and at all relevant times Defendant JANSSEN R&D,

was in the business of and did design, research, manufacture, test, advertise, promote, market,

sell, and distribute the drug Xarelto for use as an oral anticoagulant. The primary

purposes of Xarelto are to reduce the risk of stroke and systemic embolism in patients with non-

valvular atrial fibrillation, to treat Deep Vein Thrombosis (“DVT”) and Pulmonary Embolism

(“PE”), to reduce the risk of recurrence of DVT and/or PE, and for prophylaxis of DVT for

patients undergoing hip and knee replacement surgery.

         12. Upon information and belief, Defendant JANSSEN PHARMACEUTICALS, INC.

f/k/a     JANSSEN      PHARMACEUTICA            INC.     f/k/a    ORTHO-MCNEIL-JANSSEN

PHARMACEUTICALS, INC. (hereinafter referred to as “JANSSEN PHARM”) is a

Pennsylvania corporation, having a principal place of business in New Jersey.




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                                           6
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 204 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
       13. As part of its business, JANSSEN PHARM is involved in the research,

development, sales, and marketing of pharmaceutical products, including Xarelto.

       14. Upon information and belief, and at all relevant times, Defendant JANSSEN

PHARM was in the business of and did design, research, manufacture, test, advertise, promote,

market, sell, and distribute the drug Xarelto for use as an oral anticoagulant, the primary

purposes of which are to reduce the risk of stroke and systemic embolism in patients with non-

valvular atrial fibrillation, to treat DVT and PE, to reduce the risk of recurrence of DVT and/or

PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement surgery.

       15.       Upon information and belief, Defendant JANSSEN ORTHO LLC (hereinafter

referred to as “JANSSEN ORTHO”) is a limited liability company organized under the laws of

Delaware, having a principal place of business at Stateroad 933 Km 0 1, Street Statero, Gurabo,

Puerto Rico 00778. Defendant JANSSEN ORTHO is a subsidiary of Johnson & Johnson. The

only member of JANSSEN ORTHO LLC is OMJ PR Holdings, which is incorporated in Ireland

with a principal place of business in Puerto Rico. Accordingly, JANSSEN ORTHO LLC is a

citizen of Delaware, Ireland and Puerto Rico for purposes of determining diversity under 28

U.S.C. § 1332.




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                                            7
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 205 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
       16. As part of its business, JANSSEN ORTHO is involved in the research,

development, sales, and marketing of pharmaceutical products, including Xarelto.

       17. Upon information and belief, and at all relevant times, Defendant, JANSSEN

ORTHO, was in the business of and did design, research, manufacture, test, advertise, promote,

market, sell, and distribute the drug Xarelto for use as an oral anticoagulant, the primary

purposes of which are to reduce the risk of stroke and systemic embolism in patients with non-

valvular atrial fibrillation, to treat DVT and PE, to reduce the risk of recurrence of DVT and/or

PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement surgery.

       18. Defendant Johnson & Johnson (hereinafter referred to as “J&J”) is a fictitious name

adopted by Defendant Johnson & Johnson Company, a New Jersey corporation which has its

principal place of business at One Johnson & Johnson Plaza, New Brunswick, Middlesex

County, New Jersey 08933.

       19. As part of its business, J&J, and its “family of companies,” is involved in the

research, development, sales, and marketing of pharmaceutical products, including Xarelto.




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                                            8
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 206 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	         	
	
       20. Upon       information     and    belief,    Defendant     BAYER       HEALTHCARE

PHARMACEUTICALS, INC. is, and at all relevant times was, a corporation organized under

the laws of the State of Delaware, with its principal place of business in the State of New Jersey.

       21. As part of its business, BAYER HEALTHCARE PHARMACEUTICALS, INC. is

involved in the research, development, sales, and marketing of pharmaceutical products

including Xarelto.

       22. Upon information and belief, and at all relevant times, Defendant BAYER

HEALTHCARE PHARMACEUTICALS, INC. was in the business of and did design, research,

manufacture, test, advertise, promote, market, sell, and distribute the drug Xarelto for use as an

oral anticoagulant, the primary purposes of which are to reduce the risk of stroke and systemic

embolism in patients with non-valvular atrial fibrillation, to treat DVT and PE, to reduce the risk

of recurrence of DVT and/or PE, and for prophylaxis of DVT for patients undergoing hip and

knee replacement surgery.

       23. Upon information and belief, Defendant BAYER PHARMA AG is a

pharmaceutical company domiciled in Germany.




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                                             9
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 207 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
       24. Defendant BAYER PHARMA AG is formerly known as Bayer Schering Pharma

AG and is the same corporate entity as Bayer Schering Pharma AG. Bayer Schering Pharma AG

was formerly known as Schering AG and is the same corporate entity as Schering AG.

       25. Upon information and belief, Schering AG was renamed Bayer Schering Pharma

AG effective December 29, 2006.

       26. Upon information and belief, Bayer Schering Pharma AG was renamed BAYER

PHARMA AG effective July 1, 2011.

       27. As part of its business, BAYER PHARMA AG is involved in the research,

development, sales, and marketing of pharmaceutical products, including Xarelto.

       28. Upon information and belief, and at all relevant times, Defendant BAYER

PHARMA AG was in the business of and did design, research, manufacture, test, advertise,

promote, market, sell, and distribute the drug Xarelto for use as an oral anticoagulant, the

primary purposes of which are to reduce the risk of stroke and systemic embolism in patients

with non-valvular atrial fibrillation, to treat DVT and PE, to reduce the risk of recurrence of

DVT and/or PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement

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                                           10
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 208 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	       	
	
         29. Upon information and belief, Defendant BAYER CORPORATION is an Indiana

corporation with its principal place of business at 100 Bayer Road, Pittsburgh, Pennsylvania

15205.

         30. Upon information and belief, BAYER HEALTHCARE PHARMACEUTICALS,

INC. is owned by Defendant BAYER CORPORATION.

         31. At all relevant times, Defendant BAYER CORPORATION was engaged in the

business of researching, developing, designing, licensing, manufacturing, distributing, selling,

marketing, and/or introducing into interstate commerce, either directly or indirectly through third

parties or related entities, its products, including the prescription drug Xarelto.

         32. Upon information and belief, Defendant BAYER HEALTHCARE LLC is a limited

             liability company duly formed and existing under and by the virtue of the laws of

             the State of Delaware, with its principal place of business located at 100 Bayer

             Blvd, Whippany, New Jersey 07981-1544.

               a. Upon information and belief, from on or about the early January 1, 2003 until

                   on or about late December, 2014, BAYER HEALTHCARE LLC’s sole

                   member was Bayer Corporation, and is wholly owned by Bayer Corporation,




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                                              11
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 209 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
                  which is an Indiana corporation with its principal place of business at 100

                  Bayer Road, Pittsburgh, Pennsylvania 15205.

              b. Upon information and belief, from on or about early January, 2015 to on or

                  about June 30, 2015, BAYER HEALTHCARE LLC’s sole member was

                  Bayer Medical Care, Inc., and is wholly owned by Bayer Medical Care, Inc.,

                  which is a Delaware Corporation, with its principal place of business at 1

                  Medrad Dr., Indianola, Pennsylvania 15051.

              c. Upon information and belief, from on or about July 1, 2015 to the present,

                  BAYER HEALTHCARE LLC’s members are:

                        i.   Bayer Medical Care Inc., a Delaware corporation with its principal

                             place of business in Pennsylvania;

                       ii.   NippoNex Inc., a Delaware corporation with its principal place of

                             business in New York;

                      iii.   Bayer West Coast Corporation, a Delaware Corporation with its

                             principal place of business in California;




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                                           12
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 210 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
                      iv.    Bayer Essure Inc., a Delaware corporation with its principal place

                             of business in California;

                       v.    Bayer Consumer Care Holdings, LLC, a limited liability company

                             formed in Delaware with its principal place of business in New

                             Jersey;

                      vi.    Dr. Scholl’s LLC, a limited liability company, formed in Delaware

                             with its principal place of business in California;

                     vii.    Coppertone LLC, a limited liability company, formed in Delaware

                             with its principal place of business in California;

                     viii.   MiraLAX LLC, a limited liability company, formed in Delaware

                             with its principal place of business in California; and,

                      ix.    Bayer HealthCare U.S Funding LLC, a limited liability company a

                             limited liability company, formed in Delaware with its principal

                             place of business in Pennsylvania.




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                                           13
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 211 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	          	
	
       Accordingly, BAYER HEALTHCARE LLC is a citizen of Delaware, New Jersey, New

York, Indiana, Pennsylvania, and California for purposes of determining diversity under 28

U.S.C. § 1332.

       33. Upon information and belief, at all relevant times, Defendant BAYER

HEALTHCARE LLC was in the business of and did design, research, manufacture, test,

advertise, promote, market, sell, and distribute Xarelto for use as an oral anticoagulant, the

primary purposes of which are to reduce the risk of stroke and systemic embolism in patients

with non-valvular atrial fibrillation, to treat DVT and PE to reduce the risk of recurrence of DVT

and/or PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement

surgery.

       34. Upon information and belief, Defendant BAYER HEALTHCARE AG is a company

domiciled in Germany and is the parent/holding company of Defendants BAYER

CORPORATION,           BAYER        HEALTHCARE           LLC,       BAYER        HEALTHCARE

PHARMACEUTICALS, INC, and BAYER PHARMA AG.

       35. Upon information and belief, at all relevant times, Defendant BAYER

HEALTHCARE AG exercises control over Defendants BAYER CORPORATION, BAYER




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                                            14
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 212 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
HEALTHCARE LLC, BAYER HEALTHCARE PHARMACEUTICALS, INC., and BAYER

PHARMA AG.

       36. Upon information and belief, Defendant BAYER AG is a German chemical and

pharmaceutical company that is headquartered in Leverkusen, North Rhine-Westphalia,

Germany.

       37. Upon information and belief, Defendant BAYER AG is the third largest

pharmaceutical company in the world.

       38. Upon information and belief, at all relevant times, Defendant BAYER AG was in

the business of and did design, research, manufacture, test, advertise, promote, market, sell, and

distribute Xarelto for use as an oral anticoagulant, the primary purposes of which are to reduce

the risk of stroke and systemic embolism in patients with non-valvular atrial fibrillation, to treat

DVT and PE, to reduce the risk of recurrence of DVT and/or PE, and for prophylaxis of DVT for

patients undergoing hip and knee replacement surgery.

       39. Defendants Janssen Research & Development LLC, Janssen Ortho LLC, Janssen

Pharmaceuticals, Inc., Johnson & Johnson, Bayer Healthcare Pharmaceuticals, Inc., Bayer




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                                             15
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 213 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                          	      	
	
Pharma AG, Bayer Corporation, Bayer Healthcare LLC, Bayer Healthcare AG, and Bayer AG,

shall be referred to herein individually by name or jointly as “Defendants.”

        40. At all times alleged herein, Defendants include and included any and all parents,

subsidiaries, affiliates, divisions, franchises, partners, joint venturers, and organizational units of

any kind, their predecessors, successors and assigns and their officers, directors, employees,

agents, representatives and any and all other persons acting on their behalf.

        41.   At all times herein mentioned, each of the Defendants was the agent, servant,

partner, predecessors in interest, and joint venturer of each of the remaining Defendants herein

and was at all times operating and acting with the purpose and scope of said agency, service,

employment, partnership, and joint venture.

        42.   At all times relevant, Defendants were engaged in the business of developing,

designing, licensing, manufacturing, distributing, selling, marketing, and/or introducing into

interstate commerce throughout the United States, either directly or indirectly through third

parties, subsidiaries or related entities, the drug Xarelto.




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                                               16
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 214 of 348




	      JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	        	
	
III.     JURISDICTION AND VENUE

         43.   Federal subject matter jurisdiction in the constituent actions is based upon 28

U.S.C. § 1332, in that in each of the constituent actions there is complete diversity among

Plaintiffs and Defendants and the amount in controversy exceeds $75,000, exclusive of interest

and costs, and because there is complete diversity of citizenship between Plaintiffs and

Defendants.

         44.   Defendants have significant contacts in the vicinage of Plaintiff’s residence such

that they are subject to the personal jurisdiction of the court in that vicinage.

         45.   A substantial part of the events and omissions giving rise to Plaintiffs’ causes of

action occurred in the vicinage of Plaintiff’s residence, as well as in this district. Pursuant to 28

U.S.C. § 1391(a), venue is proper in both districts.

         46.   Pursuant to the Transfer Order of the Judicial Panel on Multidistrict Litigation, In

re Xarelto (Rivaroxaban) Products Liab. Litig., 2014 WL 7004048 (J.P.M.L. June 12, 2014),

venue is also proper in this jurisdiction pursuant to 28 U.S.C. § 1407.




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                                              17
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 215 of 348




	     JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	          	
	
IV.     FACTUAL ALLEGATIONS

        A.     Nature of the Case

        47.    Plaintiffs bring this case against Defendants for damages associated with

ingestion of the pharmaceutical drug Xarelto, which was designed, manufactured, marketed, sold

and distributed by Defendants. Specifically, Plaintiffs suffered various injuries, serious physical

pain and suffering, medical, hospital and surgical expenses, loss of consortium, and/or death and

funeral expenses as a direct result of their use of Xarelto.

        48.    At all relevant times, Defendants were in the business of and did design, research,

manufacture, test, advertise, promote, market, sell and distribute Xarelto to reduce the risk of

stroke and systemic embolism in patients with non-valvular atrial fibrillation, to treat DVT and

PE, to reduce the risk of recurrence of DVT and/or PE, and for prophylaxis of DVT for patients

undergoing hip and knee replacement surgery.

        49.    Xarelto was introduced in the United States (“U.S.”) on July 1, 2011, and is part

of a class of drugs called New Oral Anticoagulants (“NOACs”).




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                                              18
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 216 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
       50.    This class of NOACs, which also includes Pradaxa and Eliquis, is marketed as the

next generation of blood-thinning drugs to replace warfarin (Coumadin); an established safe

treatment for preventing stroke and systemic embolism for the past 60 years.

       51.    Xarelto is an anticoagulant that acts as a Factor Xa inhibitor, and is available by

prescription in oral tablet doses of 20mg, 15mg, and 10mg.

       52.    Defendants received FDA approval for Xarelto on July 1, 2011 for the

prophylaxis of DVT and PE in patients undergoing hip replacement or knee replacement

surgeries (NDA 022406).

       53.    Approval of Xarelto for the prophylaxis of DVT and PE in patients undergoing

hip replacement or knee replacement surgeries was based on a series of clinical trials known as

the Regulation of Coagulation in Orthopedic Surgery to Prevent Deep Venous Thrombosis and

Pulmonary Embolism studies (hereinafter referred to as the “RECORD” studies). The findings of

the RECORD studies showed that Xarelto was superior (based on the Defendants’ definition) to

enoxaparin for thromboprophylaxis after total knee and hip arthroplasty, accompanied by similar

rates of bleeding. However, the studies also showed a greater bleeding incidence with Xarelto

leading to decreased hemoglobin levels and transfusion of blood. (Lassen, M.R., et al.




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                                           19
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 217 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Total Knee Arthroplasty. N. Engl.

J. Med. 2008; 358:2776-86; Kakkar, A.K., et al. Extended duration rivaroxaban versus short-

term enoxaparin for the prevention of venous thromboembolism after total hip arthroplasty: a

double-blind, randomized controlled trial. Lancet 2008; 372:31-39; Ericksson, B.I., et al.

Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Hip Arthroplasty. N. Engl. J.

Med. 2008; 358:2765-75.).

       54.    Despite these findings, the RECORD studies were flawed in design and

conducted in a negligent manner.     In fact, FDA Official Action Indicated (“OAI”)—rated

inspections in 2009 disclosed rampant violations including, “systemic discarding of medical

records,” unauthorized unblinding, falsification, and “concerns regarding improprieties in

randomization.” As a result, the FDA found that the RECORD 4 studies were so flawed that

they were deemed unreliable. (Seife, Charles, Research Misconduct Identified by US Food and

Drug Administration, JAMA Intern. Med (Feb. 9, 2015)).

       55.    Nevertheless, Defendants received additional FDA approval for Xarelto to reduce

the risk of stroke and systemic embolism in patients with non-valvular atrial fibrillation on

November 4, 2011 (NDA 202439). Approval of Xarelto for reducing the risk of stroke and




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                                           20
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 218 of 348




	      JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
systemic embolism in patients with non-valvular atrial fibrillation in the U.S. was based on a

clinical trial known as the Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition

Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial

Fibrillation study (hereinafter referred to as “ROCKET AF”).

         56.   The Rocket AF study showed that Xarelto was non-inferior to warfarin for the

prevention of stroke or systemic embolism in patients with non-valvular atrial fibrillation, with a

similar risk of major bleeding. However, “bleeding from gastrointestinal sites, including upper,

lower, and rectal sites, occurred more frequently in the rivaroxaban group, as did bleeding that

led to a drop in the hemoglobin level or bleeding that required transfusion.” (Patel, M.R., et al.

Rivaroxaban versus warfarin in Nonvalvular Atrial Fibrillation. N. Engl. J. Med. 2011; 365:883-

91.)

         57.   The ROCKET AF study compared warfarin to Xarelto. Thus, for the study to be

well designed and meaningful, the warfarin study group would have to be well managed because

warfarin’s safety and efficacy is dose dependent. In other words, if the warfarin group was

poorly managed, it would be easy for Xarelto to appear non-inferior to warfarin, which, in turn,

would provide Defendants a study to “support” Xarelto’s use.




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                                            21
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 219 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
       58.     In fact, in the ROCKET AF study, the warfarin group was not well managed. The

warfarin group in the ROCKET AF study was the worst managed warfarin study group in any

previously reported clinical trial involving warfarin.

       59.     The poor management of the warfarin group in the ROCKET AF study was not

lost on the FDA, which noted “the data comparing [Xarelto] to warfarin are not adequate to

determine whether [Xarelto] is as effective for its proposed indication in comparison to warfarin

when the latter is used skillfully.” FDA Advisory Committee Briefing document. P. 10.

       60.     Public Citizen also noticed the poor control in the warfarin group. Public Citizen

wrote the FDA, stating they “strongly oppose FDA approval… The 3 ROCKET AF trial

conducted in support of the proposed indication had a suboptimal control arm…”

http://www.citizen.org/documents/1974.pdf.

       61.     Another problem with the ROCKET AF study was Xarelto’s once-a-day dosing.

The FDA clinical reviewers stated that “the sponsor’s rationale for evaluating only once daily

dosing during Phase 3 is not strong. Most importantly, there is clinical information from Phase 2

trials … and from clinical pharmacology studies suggesting that twice daily dosing, which would

produce lower peak blood levels and higher trough blood levels of [Xarelto], might have been




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                                             22
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 220 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
associated with greater efficacy and/or a better safety profile.”      FDA advisory Committee

Briefing document p. 100.

       62.     Dr. Steven E. Nissen, more sharply, stated “my concern was that the dose was

selected more for a marketing advantage rather than for the scientific data that was available, and

was a mistake…” FDA Advisory Meeting Transcript p. 287.

       63.     Furthermore, the FDA expressed desirability in monitoring Xarelto dosage within

their NDA approval memo based on the ROCKET studies. The clinical pharmacology in these

studies demonstrated a linear correlation between rivaroxaban (Xarelto) levels and prothrombin

time (“PT”); and subsequently a correlation between PT and the risk of bleeding. At this time,

Defendants were aware of the correlation between Xarelto dosage and bleeding risks, but had

“not chosen to utilize this information.” (NDA 202439 Summary Review, p. 9).        At all relevant

times, Defendants’ controlled the contents of their label as demonstrated by their decision to go

forward without regard to the FDA’s suggestion to utilize this information.

       64.     The additional indication for treatment of DVT and/or PE and the reduction in

recurrence of DVT and/or PE was added to the label on November 2, 2012.




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                                            23
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 221 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
       65.    Approval of Xarelto for the treatment of DVT and/or PE and the reduction in

recurrence of DVT and/or PE in the U.S. was based on the clinical trials known as the

EINSTEIN-DVT, EINSTEIN-PE, and EINSTEIN-Extension studies. The EINSTEIN-DVT

study tested Xarelto versus a placebo, and merely determined that Xarelto offered an option for

treatment of DVT, with an increased risk of bleeding events as compared to placebo. (The

EINSTEIN Investigators. Oral Rivaroxaban for Symptomatic Venous Thromboembolism.

N.Engl.J.Med. 2010; 363:2499-510). The EINSTEIN-Extension study confirmed that result.

(Roumualdi, E., et al. Oral rivaroxaban after symptomatic venous thromboembolism: the

continued treatment study (EINSTEIN-Extension study). Expert Rev. Cardiovasc. Ther.

2011; 9(7):841-844). The EINSTEIN-PE study’s findings showed that a Xarelto regimen was

non-inferior to the standard therapy for initial and long-term treatment of PE. However, the

studies also demonstrated an increased risk of adverse events with Xarelto, including those that

resulted in permanent discontinuation of Xarelto or prolonged hospitalization. (The EINSTEIN-

PE Investigators. Oral Rivaroxaban for the Treatment of Symptomatic Pulmonary Embolism.

N.Engl.J.Med. 2012; 366:1287-97.)




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                                           24
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 222 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	        	
	
       66.     Defendants use the results of the ROCKET AF study, the RECORD studies, and

the EINSTEIN studies to promote Xarelto in their promotional materials, including the Xarelto

website, which tout the positive results of those studies. However, Defendants’ promotional

materials fail to similarly highlight the increased risk of gastrointestinal bleeding and bleeding

that required transfusion, among other serious bleeding concerns.

       67.     Defendants market Xarelto as a new oral anticoagulant treatment alternative to

warfarin (Coumadin), a long-established safe treatment for preventing stroke and systemic

embolism.

       68.     Defendants market and promote Xarelto as a single daily dose pill that does not

require the need to measure a patient’s blood plasma levels, touting it more convenient than

warfarin, and does not limit a patient’s diet. The single dose and no blood testing requirements

or dietary constraints are marked by Defendants as the “Xarelto Difference.”

       69.     However, Xarelto’s clinical studies show that Xarelto is safer and more effective

when there is blood monitoring, dose adjustments and twice a day dosing.

       70.     In its QuarterWatch publication for the first quarter of the 2012 fiscal year, the

Institute for Safe Medication Practices (“ISMP”), noted that, even during the approval process,




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                                            25
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 223 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
FDA “[r]eviewers also questioned the convenient once-a-day dosing scheme [of Xarelto],

saying blood level studies had shown peaks and troughs that could be eliminated by twice-a-day

dosing.”

       71.     The use of Xarelto without appropriate blood monitoring, dose adjustment and

twice a day dosing can cause major, life-threatening bleeding events. Physicians using Xarelto

have to be able to balance the dose so that the blood is thinned enough to reduce the risk of

stroke, but not thinned so much as to increase the risk for a major bleeding event. The

Defendants were aware of this risk and the need for blood monitoring but have failed to disclose

this vital health information to patients, doctors and the FDA.

       72.     Importantly, Xarelto’s significant risk of severe, and sometimes fatal, internal

bleeding has no antidote to reverse its effects, unlike warfarin. Therefore, in the event of

hemorrhagic complications, there is no available reversal agent. The original U.S. label,

approved when the drug was first marketed, did not contain a warning regarding the lack of

antidote, but instead only mentioned this important fact in the overdose section.

       73.     The FDA’s adverse event data indicates staggering, serious adverse events that

have been associated with Xarelto.




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                                            26
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 224 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	          	
	
       74.     In the year leading up to June 30, 2012, there were 1,080 Xarelto-associated

“Serious Adverse Event” (“SAE”) Medwatch reports filed with the FDA, including at least 65

deaths. Of the reported hemorrhage events associated with Xarelto, 8% resulted in death, which

was approximately twofold the risk of a hemorrhage-related death with warfarin.

       75.     At the close of the 2012 fiscal year, a total of 2,081 new Xarelto-associated SAE

reports were filed with the FDA, its first full year on the market, ranking tenth among other

pharmaceuticals in direct reports to the FDA. Of those reported events, 151 resulted in death, as

compared to only 56 deaths associated with warfarin.

       76.     The ISMP referred to these SAE figures as constituting a “strong signal”

regarding the safety of Xarelto, defined as “evidence of sufficient weight to justify an alert to the

public and the scientific community, and to warrant further investigation.”

       77.     Of particular note, in the first quarter of 2013, the number of reported serious

adverse events associated with Xarelto (680) overtook that of Pradaxa (528), another new oral

anticoagulant, which had previously ranked as the number one reported drug in terms of adverse

events in 2012.




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                                             27
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 225 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                   	          	
	
       78.     Moreover, in the first eight months of 2013, German regulators received 968

Xarelto-related averse event reports, including 72 deaths, as compared to a total of 750 reports

and 58 deaths in 2012.

       79.     Despite the clear signal generated by the SAE data, Defendants did not tell

consumers, health care professionals and the scientific community about the dangers of Xarelto,

nor did Defendants perform further investigation into the safety of Xarelto.

       80.     Defendants’ original, and in some respects, current labeling and prescribing

information for Xarelto:

               (a) failed to investigate, research, study and define, fully and adequately, the
                   safety profile of Xarelto;

               (b) failed to provide adequate warnings, about the true safety risks associated
                   with the use of Xarelto;

               (c) failed to provide adequate warning regarding the pharmacokinetic and
                   pharmacodynamic variability of Xarelto and its effects on the degree of
                   anticoagulation in a patient;

               (d) failed to disclose the need for dose adjustments;

               (e) failed to disclose the need to twice daily dosing;

               (f) failed to warn about the need for blood monitoring;




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                                            28
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 226 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	

              (g) failed to provide adequate warning that it is difficult or impossible to assess
                  the degree and/or extent of anticoagulation in patients taking Xarelto;

              (h) failed to adequately disclose in the “Warnings” Section that there is no drug,
                  agent or means to reverse the anticoagulation effects of Xarelto;

              (i) failed to advise prescribing physicians, such as the Plaintiffs’ physicians, to
                  instruct patients that there was no agent to reverse the anticoagulant effects of
                  Xarelto;

              (j) failed to provide adequate instructions on how to intervene and/or stabilize a
                  patient who suffers a bleed while taking Xarelto;

              (k) failed to provide adequate warnings and information related to the increased
                  risks of bleeding events associated with aging patient populations of Xarelto
                  users;

              (l) failed to provide adequate warnings regarding the increased risk of
                   gastrointestinal bleeds in those taking Xarelto, especially, in those patients
                   with a prior history of gastrointestinal issues and/or upset stomach;

              (m) failed to provide adequate warnings regarding the increased risk of suffering
                  a bleeding event, requiring blood transfusions in those taking Xarelto;

              (n) failed to provide adequate warnings regarding the need to assess renal
                  functioning prior to starting a patient on Xarelto and to continue testing and
                  monitoring of renal functioning periodically while the patient is on Xarelto;

              (o) failed to provide adequate warnings regarding the need to assess hepatic
                  functioning prior to starting a patient on Xarelto and to continue testing and




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                                           29
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 227 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	         	
	
                    monitoring of hepatic functioning periodically while the patient is on
                    Xarelto;

               (p) failed to include a “BOXED WARNING” about serious bleeding events
                    associated with Xarelto;

               (q) failed to include a “BOLDED WARNING” about serious bleeding events
                   associated with Xarelto; and

               (r) in the “Medication Guide” intended for distribution to patients to whom
                   Xarelto has been prescribed, Defendants failed to disclose the need for blood
                   monitoring or to patients that there is no drug, agent or means to reverse the
                   anticoagulation effects of Xarelto and that if serious bleeding occurs, such
                   irreversibility could have permanently disabling, life-threatening or fatal
                   consequences.

       81.     During the years since first marketing Xarelto in the U.S., Defendants modified

the U.S. labeling and prescribing information for Xarelto, which included additional information

regarding the use of Xarelto in patients taking certain medications. Despite being aware of: (1)

serious, and sometimes fatal, irreversible bleeding events associated with the use of Xarelto; and

(2) 2,081 SAE Medwatch reports filed with the FDA in 2012 alone, including at least 151 deaths,

Defendants nonetheless failed to provide adequate disclosures or warnings in their label as

detailed in Paragraph 74 (a – r).




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                                            30
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 228 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	        	
	
       82.     Despite the wealth of scientific evidence, Defendants have ignored the increased

risk of the development of the aforementioned injuries associated with the use of Xarelto, but

they have, through their marketing and advertising campaigns, urged consumers to use Xarelto

without regular blood monitoring or instead of anticoagulants that present a safer alternative.




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                                            31
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 229 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	          	
	
         B.    Over-Promotion of Xarelto

         83.   Xarelto is the second most prescribed drug for treatment of atrial fibrillation,

behind only Coumadin (warfarin), and achieved blockbuster status with sales of approximately

$2 billion dollars in 2013.

         84.   Defendants spent significant amounts of money in promoting Xarelto, which

included at least $11,000,000.00 spent during 2013 alone on advertising in journals targeted at

prescribers and consumers in the U.S. In the third quarter of fiscal 2013, Xarelto was the number

one pharmaceutical product advertised in professional health journals based on pages and dollars

spent.

         85.   Defendants’ aggressive and misrepresentative marketing of a “Xarelto

Difference” lead to an explosion in Xarelto sales. The “Xarelto Difference,” i.e., was once a day

dosing without blood monitoring. In fact, the “Xarelto Difference” was nothing more than a

marketing campaign based on flawed science.

         86.   As a result of Defendants’ aggressive marketing efforts, in its first full year on the

market, Xarelto garnered approximately $582 million in sales globally.




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                                             32
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 230 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	        	
	
       87.        Defendants’ website for Xarelto claims that over seven million people worldwide

have been prescribed Xarelto. In the U.S., approximately 1 million Xarelto prescriptions had

been written by the end of 2013.

       88.        During the Defendants’ 2012 fiscal year, Xarelto garnered approximately $658

million in sales worldwide. Then, in 2013, sales for Xarelto increased even further to more than

$1 billion, which is the threshold commonly referred to as “blockbuster” status in the

pharmaceutical industry. In fact, Xarelto sales ultimately reached approximately $2 billion for

the 2013 fiscal year, and Xarelto is now considered the leading anticoagulant on a global scale in

terms of sales.

       89.        As part of their marketing of Xarelto, Defendants widely disseminated direct-to-

consumer (“DTC”) advertising campaigns that were designed to influence patients to make

inquiries to their prescribing physicians about Xarelto and/or request prescriptions for Xarelto.

       90.        In the course of these DTC advertisements, Defendants overstated the efficacy of

Xarelto with respect to preventing stroke and systemic embolism, failed to disclose the need for

dose adjustments, failed to disclose the need for blood monitoring, and failed to adequately

disclose to patients that there is no drug, agent, or means to reverse the anticoagulation




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                                              33
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 231 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
effects of Xarelto, and, that such irreversibility could have permanently disabling, life-

threatening and fatal consequences.

       91.     On June 6, 2013, Defendants received an untitled letter from the FDA’s Office of

Prescription Drug Promotion (hereinafter referred to as the “OPDP”) regarding its promotional

material for the atrial fibrillation indication, stating that, “the print ad is false or misleading

because it minimizes the risks associated with Xarelto and makes a misleading claim” regarding

dose adjustments, which was in violation of FDA regulations. The OPDP thus requested that

Defendants immediately cease distribution of such promotional material.

       92.     Prior to Plaintiffs’ ingestion of Xarelto, Plaintiffs became aware of the

promotional materials described herein.

       93.     Prior to Plaintiffs’ prescription of Xarelto, Plaintiffs’ prescribing physician

received promotional materials and information from sales representatives of Defendants

claiming that Xarelto was just as effective as warfarin in reducing strokes in patients with non-

valvular atrial fibrillation, as well as preventing DVT/PE in patients with prior history of

DVT/PE or undergoing hip or knee replacement surgery, and was more convenient, without also

requiring blood monitoring, dose adjustments, twice a day dosing or adequately informing




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                                            34
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 232 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	        	
	
prescribing physicians that there was no reversal agent that could stop or control bleeding in

patients taking Xarelto.

       94.     At all times relevant hereto, Defendants also failed to warn emergency room

doctors, surgeons, and other critical care medical professionals that unlike generally-known

measures taken to treat and stabilize bleeding in users of warfarin, there is no effective agent to

reverse the anticoagulation effects of Xarelto, and therefore no effective means to treat and

stabilize patients who experience uncontrolled bleeding while taking Xarelto.

       95.     At all times relevant to this action, The Xarelto Medication Guide, prepared and

distributed by Defendants and intended for U.S. patients to whom Xarelto has been prescribed,

failed to warn about the need for blood monitoring, dose adjustments, and twice a day dosing,

and failed to disclose to patients that there is no agent to reverse the anticoagulation effects of

Xarelto, and, that if serious bleeding occurs, it may be irreversible, permanently disabling, and

life-threatening.

       96.     Prior to applying to the FDA for and obtaining approval of Xarelto, Defendants

knew or should have known that consumption of Xarelto was associated with and/or would cause

the induction of life-threatening bleeding, and Defendants possessed at least one clinical




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                                            35
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 233 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	          	
	
scientific study, which evidence Defendants knew or should have known was a signal that life-

threatening bleeding risk needed further testing and studies prior to its introduction to the market.

       97.     As a result of Defendants’ claim regarding the effectiveness and safety of Xarelto,

Plaintiffs’ medical providers prescribed and Plaintiffs ingested Xarelto.

       C.      The Plaintiffs’ Use of Xarelto and Resulting Injuries

       98.     By reason of the foregoing acts and omissions, Plaintiffs were caused to suffer

from life-threatening bleeding, as well as other severe and personal injuries (for some, wrongful

death) which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, expenses for hospitalization and medical treatment, and loss of

earnings, among other damages.

       99.     Upon information and belief, despite life-threatening bleeding findings in a

clinical trial and other clinical evidence, Defendants failed to adequately conduct complete and

proper testing of Xarelto prior to filing their New Drug Application for Xarelto.

       100.    Upon information and belief, from the date Defendants received FDA approval to

market Xarelto, Defendants made, distributed, marketed, and sold Xarelto without adequate

warning to Plaintiffs’ prescribing physicians or Plaintiffs that Xarelto was associated with and/or




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                                             36
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 234 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	     	
	
could cause life-threatening bleeding, presented a risk of life-threatening bleeding in patients

who used it, and that Defendants had not adequately conducted complete and proper testing and

studies of Xarelto with regard to severe side-effects, specifically life-threatening bleeding.

       101.    Upon information and belief, Defendants concealed and failed to completely

disclose their knowledge that Xarelto was associated with or could cause life-threatening

bleeding as well as their knowledge that they had failed to fully test or study said risk.

       102.    Upon information and belief, Defendants ignored the association between the use

of Xarelto and the risk of developing life-threatening bleeding.

       103.    Upon information and belief, Defendants failed to warn Plaintiffs and their

healthcare providers regarding the need for blood monitoring, dose adjustments and failed to

warn of the risk of serious bleeding that may be irreversible, permanently disabling, and life-

threatening, associated with Xarelto.

       104.    Defendants’ failure to disclose information that they possessed regarding the

failure to adequately test and study Xarelto for life-threatening bleeding risk further rendered

warnings for this medication inadequate.




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                                             37
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 235 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
       105.    Defendants’ fraudulent concealment and misrepresentations were designed to

prevent, and did prevent, the public and the medical community at large from discovering the

risks and dangers associated with Xarelto and Plaintiffs from discovering, and/or with reasonable

diligence being able to discover, their causes of action.

       106.    Defendants’ fraudulent representations and concealment evidence flagrant,

willful, and depraved indifference to health, safety, and welfare. Defendants’ conduct showed

willful misconduct, malice, fraud, wantonness, oppression, and that entire want of care that raises

the presumption of conscious indifference to the consequences of said conduct.

       107.    By reason of the forgoing acts and omissions, Plaintiffs have suffered damages

and harm, including, but not limited to, personal injury, medical expenses, other economic harm,

as well as, where alleged, loss of consortium, services, society, companionship, love and

comfort.

V.     CLAIMS FOR RELIEF
                                             COUNT I
                                        (STRICT LIABILITY)

       108.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense possible,




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                                             38
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 236 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	        	
	
pursuant to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        109.    At the time of Plaintiffs’ injuries, Defendants’ pharmaceutical drug Xarelto was

defective and unreasonably dangerous to foreseeable consumers, including Plaintiffs.

        110.    At all times herein mentioned, the Defendants designed, researched,

manufactured, tested, advertised, promoted, marketed, sold, distributed, and/or have recently

acquired the Defendants who have designed, researched, manufactured, tested, advertised,

promoted, marketed, sold and distributed Xarelto as hereinabove described that was used by the

Plaintiff.

        111.    Defendants’ Xarelto was expected to and did reach the usual consumers, handlers,

and persons coming into contact with said product without substantial change in the condition in

which it was produced, manufactured, sold, distributed, and marketed by the Defendants.

        112.    At those times, Xarelto was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, the Plaintiffs herein.

        113.    The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was defective in design or formulation in that,




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                                             39
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 237 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
when it left the hands of the manufacturer and/or suppliers, the foreseeable risks exceeded the

benefits associated with the design or formulation of Xarelto.

       114.    The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was defective in design and/or formulation, in that,

when it left the hands of the Defendants, manufacturers, and/or suppliers, it was unreasonably

dangerous, and it was more dangerous than an ordinary consumer would expect.

       115.    At all times herein mentioned, Xarelto was in a defective condition and unsafe,

and Defendants knew or had reason to know that said product was defective and unsafe,

especially when used in the form and manner as provided by the Defendants.

       116.    Defendants knew, or should have known that at all times herein mentioned, their

Xarelto was in a defective condition, and was and is inherently dangerous and unsafe.

       117.    At the time of the Plaintiffs’ use of Xarelto, Xarelto was being used for the

purposes and in a manner normally intended, namely to reduce the risk of stroke and systemic

embolism in patients with non-valvular atrial fibrillation, to reduce the risk of recurrence of DVT

and/or PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement

surgery.




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                                            40
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 238 of 348




	      JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                 	          	
	
         118.   Defendants, with this knowledge, voluntarily designed their Xarelto in a

dangerous condition for use by the public, and in particular the Plaintiffs.

         119.   Defendants had a duty to create a product that was not unreasonably dangerous

for its normal, intended use.

         120.   Defendants created a product unreasonably dangerous for its normal, intended

use.

         121.   The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was manufactured defectively in that Xarelto left

the hands of Defendants in a defective condition and was unreasonably dangerous to its intended

users.

         122.   The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants reached their intended users in the same defective

and unreasonably dangerous condition in which the Defendants’ Xarelto was manufactured.

         123.   Defendants designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed a defective product which created an unreasonable risk to the




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                                             41
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 239 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	          	
	
health of consumers and to the Plaintiffs in particular; and Defendants are therefore strictly liable

for the injuries sustained by the Plaintiffs.

        124.    The Plaintiffs could not, by the exercise of reasonable care, have discovered

Xarelto’s defects herein mentioned and perceived its danger.

        125.    The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was defective due to inadequate warnings or

instructions, as the Defendants knew or should have known that the product created a risk of

serious and dangerous side effects including, life-threatening bleeding, as well as other severe

and personal injuries which are permanent and lasting in nature and the Defendants failed to

adequately warn of said risk.

        126.    The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was defective due to inadequate warnings and/or

inadequate testing.

        127.    The Xarelto designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendants was defective due to inadequate post-marketing

surveillance and/or warnings because, after Defendants knew or should have known of the risks




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                                                42
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 240 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                           	     	
	
of serious side effects including, life-threatening bleeding, as well as other severe and permanent

health consequences from Xarelto, they failed to provide adequate warnings to users or

consumers of the product, and continued to improperly advertise, market and/or promote their

product, Xarelto.

       128.    The Xarelto ingested by Plaintiffs was in the same or substantially similar

condition as it was when it left the possession of Defendants.

       129.    Plaintiffs did not misuse or materially alter their Xarelto.

       130.    Defendants are strictly liable for Plaintiffs’ injuries in the following ways:

               a. Xarelto as designed, manufactured, sold and supplied by the Defendants, was
                  defectively designed and placed into the stream of commerce by Defendants
                  in a defective and unreasonably dangerous condition;

               b. Defendants failed to properly market, design, manufacture, distribute, supply
                  and sell Xarelto;

               c. Defendants failed to warn and place adequate warnings and instructions on
                  Xarelto;

               d. Defendants failed to adequately test Xarelto;

               e. Defendants failed to provide timely and adequate post-marketing warnings
                  and instructions after they knew of the risk of injury associated with the use of
                  Xarelto, and,




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                                             43
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 241 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	

                f. A feasible alternative design existed that was capable of preventing Plaintiffs’
                   injuries.

        131.    By reason of the foregoing, Defendants have become strictly liable in tort to the

Plaintiffs for the manufacturing, marketing, promoting, distribution, and selling of a defective

product, Xarelto.

        132.    Defendants’ defective design, manufacturing defect, and inadequate warnings of

Xarelto were acts that amount to willful, wanton, and/or reckless conduct by Defendants.

        133.    That said defects in Defendants’ drug Xarelto were a substantial factor in causing

Plaintiffs’ injuries.

        134.    As a result of the foregoing acts and omissions, Plaintiffs were caused to suffer

serious and dangerous side effects including but not limited to, life-threatening bleeding, as well

as other severe and personal injuries (in some cases death) which are permanent and lasting in

nature, physical pain and mental anguish, diminished enjoyment of life, and financial expenses

for hospitalization and medical care.

        135.    Defendants’ conduct, as described above, was extreme and outrageous.

Defendants risked the lives of the consumers and users of their products, including Plaintiffs,




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                                             44
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 242 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
with knowledge of the safety and efficacy problems and suppressed this knowledge from the

general public. Defendants made conscious decisions not to redesign, re-label, warn or inform

the unsuspecting consuming public. Defendants’ outrageous conduct warrants an award of

punitive damages.



                                          COUNT II
                                   (MANUFACTURING DEFECT)

       136.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available

under the law, to include pleading same pursuant to all substantive law that applies to this case,

as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

       137.    Xarelto was designed, manufactured, marketed, promoted, sold, and introduced

into the stream of commerce by Defendants.

       138.    When it left the control of Defendants, Xarelto was expected to, and did reach

Plaintiffs without substantial change from the condition in which it left Defendants’ control.




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                                             45
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 243 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
       139.    Xarelto was defective when it left Defendants’ control and was placed in the

stream of commerce, in that there were foreseeable risks that exceeded the benefits of the

product and/or that it deviated from product specifications and/or applicable federal

requirements, and posed a risk of serious injury and death.

       140.    Specifically, Xarelto was more likely to cause serious bleeding that may be

irreversible, permanently disabling, and life-threatening than other anticoagulants.

       141.    Plaintiffs used Xarelto in substantially the same condition it was in when it left

the control of Defendants and any changes or modifications were foreseeable by Defendants.

       142.    Plaintiffs and their healthcare providers did not misuse or materially alter their

Xarelto.

       143.    As a direct and proximate result of the use of Xarelto, Plaintiffs’ suffered serious

physical injury (and in some cases death), harm, damages and economic loss, and will continue

to suffer such harm, damages and economic loss in the future.

                                             COUNT III
                                          (DESIGN DEFECT)




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                                            46
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 244 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
          144.   Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available

under the law, to include pleading same pursuant to all substantive law that applies to this case,

as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

          145.   Xarelto was not merchantable and/or reasonably suited to the use intended, and its

condition when sold was the proximate cause of the injuries sustained by Plaintiffs.

          146.   Defendants placed Xarelto into the stream of commerce with wanton and reckless

disregard for public safety.

          147.   Xarelto was in an unsafe, defective, and inherently dangerous condition.

          148.   Xarelto contains defects in its design which render the drug dangerous to

consumers, such as Plaintiffs, when used as intended or as reasonably foreseeable to Defendants.

The design defects render Xarelto more dangerous than other anticoagulants and cause an

unreasonable increased risk of injury, including but not limited to life-threatening bleeding

events.




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                                             47
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 245 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	       	
	
       149.    Xarelto was in a defective condition and unsafe, and Defendants knew, had reason

to know, or should have known that Xarelto was defective and unsafe, even when used as

instructed.

       150.    The nature and magnitude of the risk of harm associated with the design of

Xarelto, including the risk of serious bleeding that may be irreversible, permanently disabling,

and life-threatening is high in light of the intended and reasonably foreseeable use of Xarelto.

       151.    The risks of harm associated with the design of Xarelto are higher than necessary.

       152.    It is highly unlikely that Xarelto users would be aware of the risks associated with

Xarelto through either warnings, general knowledge or otherwise, and Plaintiffs specifically

were not aware of these risks, nor would they expect them.

       153.    The design did not conform to any applicable public or private product standard

that was in effect when Xarelto left the Defendants’ control.

       154.    Xarelto’s design is more dangerous than a reasonably prudent consumer would

expect when used in its intended or reasonably foreseeable manner. It was more dangerous than

Plaintiffs expected.




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                                             48
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 246 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                         	      	
	
       155.    The intended or actual utility of Xarelto is not of such benefit to justify the risk of

bleeding that may be irreversible, permanently disabling, and life-threatening.

       156.    At the time Xarelto left Defendants’ control, it was both technically and

economically feasible to have an alternative design that would not cause bleeding that may be

irreversible, permanently disabling, and life-threatening or an alternative design that would have

substantially reduced the risk of these injuries.

       157.    It was both technically and economically feasible to provide a safer alternative

product that would have prevented the harm suffered by Plaintiffs.

       158.    Defendants’ conduct was extreme and outrageous. Defendants risked the lives of

consumers and users of their products, including Plaintiffs, with the knowledge of the safety and

efficacy problems and suppressed this knowledge from the general public. Defendants made

conscious decisions not to redesign, re-label, warn or inform the unsuspecting consuming public.

Defendants’ outrageous conduct warrants an award of punitive damages.

       159.    The unreasonably dangerous nature of Xarelto caused serious harm to Plaintiffs.

       160.    As a direct and proximate result of the Plaintiffs’ use of the Xarelto, which was

designed, manufactured, marketed, promoted, sold, and introduced into the stream of commerce




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                                              49
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 247 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
by Defendants, Plaintiffs suffered serious physical injury, harm (and in some cases death),

damages and economic loss and will continue to suffer such harm, damages and economic loss in

the future.

        161.    Plaintiffs plead this Count in the broadest sense available under the law, to

include pleading same pursuant to all substantive law that applies to this case, as may be

determined by choice of law principles regardless of whether arising under statute and/or

common law.

                                             COUNT IV
                                        (FAILURE TO WARN)

        162.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense possible,

pursuant to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        163.    Defendants had a duty to warn Plaintiffs and their healthcare providers regarding

the need for blood monitoring, dose adjustments, twice daily dosing and failed to warn of the risk




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                                             50
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 248 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	         	
	
of serious bleeding that may be irreversible, permanently disabling, and life-threatening,

associated with Xarelto.

       164.    Defendants knew, or in the exercise or reasonable care should have known, about

the risk of serious bleeding that may be irreversible, permanently disabling, and life-threatening.

       165.    Defendants failed to provide warnings or instructions that a manufacturer

exercising reasonable care would have provided concerning the risk of serious bleeding that may

be irreversible, permanently disabling, and life-threatening, in light of the likelihood that its

product would cause these injuries.

       166.    Defendants failed to update warnings based on information received from product

surveillance after Xarelto was first approved by the FDA and marketed, sold, and used in the

United States and throughout the world.

       167.    A manufacturer exercising reasonable care would have updated its warnings on

the basis of reports of injuries to individuals using Xarelto after FDA approval.

       168.    When it left Defendants’ control, Xarelto was defective and unreasonably

dangerous for failing to warn of the risk of serious bleeding that may be irreversible,

permanently disabling, and life-threatening.




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                                               51
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 249 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
       169.    Plaintiffs used Xarelto for its approved purpose and in a manner normally

intended and reasonably foreseeable by the Defendants.

       170.    Plaintiffs and Plaintiffs’ healthcare providers could not, by the exercise of

reasonable care, have discovered the defects or perceived their danger because the risks were not

open or obvious.

       171.    Defendants, as the manufacturers and distributors of Xarelto, are held to the level

of knowledge of an expert in the field.

       172.    The warnings that were given by Defendants were not accurate or clear, and were

false and ambiguous.

       173.    The warnings that were given by the Defendants failed to properly warn

physicians of the risks associated with Xarelto, subjecting Plaintiffs to risks that exceeded the

benefits to the Plaintiffs. Plaintiffs, individually and through their physicians, reasonably relied

upon the skill, superior knowledge and judgment of the Defendants.

       174.    Defendants had a continuing duty to warn Plaintiffs and their prescriber of the

dangers associated with its product.




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                                             52
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 250 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
       175.    Had Plaintiffs or their healthcare providers received adequate warnings regarding

the risks associated with the use of Xarelto, they would not have used it or they would have used

it with blood monitoring.

       176.    The Plaintiffs’ injuries (including and in some cases death), were the direct and

proximate result of Defendants’ failure to warn of the dangers of Xarelto.

       177.    Defendants’ conduct, as described above, was extreme and outrageous.

Defendants risked the lives of consumers and users of their products, including Plaintiffs, with

knowledge of the safety and efficacy problems and suppressed this knowledge from the general

public. Defendants made conscious decisions not to redesign, re-label, warn or inform the

unsuspecting consuming public. Defendants’ outrageous conduct warrants an award of punitive

damages.

                                               COUNT V
                                            (NEGLIGENCE)

       178.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available

under the law, to include pleading same pursuant to all substantive law that applies to this case,




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                                             53
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 251 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	          	
	
as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

       179.    Defendants had a duty to exercise reasonable care in the design, manufacture,

sale, labeling, warnings, marketing, promotion, quality assurance, quality control, and sale,

distribution of Xarelto including a duty to assure that the product did not cause unreasonable,

dangerous side-effects to users.

       180.    Defendants failed to exercise ordinary care in the design, manufacture, sale,

labeling, warnings, marketing, promotion, quality assurance, quality control, and sale,

distribution of Xarelto in that Defendants knew, or should have known, that the drugs created a

high risk of unreasonable, dangerous side-effects and harm, including life-threatening bleeding,

as well as other severe and personal injuries (including in some cases death) which are

permanent and lasting in nature, physical pain and mental anguish, including diminished

enjoyment of life.

       181.    Defendants, their agents, servants, and/or employees were negligent in the design,

manufacture, sale, labeling, warnings, marketing, promotion, quality assurance, quality control,

and sale, distribution of Xarelto in that, among other things, they:




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                                             54
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 252 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	         	
	
              a.    Failed to use due care in designing and manufacturing, and testing Xarelto
                    so as to avoid the aforementioned risks to individuals;

              b.    Failed to analyze pre-marketing test data of Xarelto;

              c.    Failed to conduct sufficient post-marketing and surveillance of Xarelto;

              d.    Failed to accompany the drug with proper warnings regarding all possible
                    adverse side effects associated with its use, and the comparative severity and
                    duration of such adverse effects. The warnings given did not accurately
                    reflect the symptoms, scope or severity of the side effects; the warnings
                    given did not warn Plaintiffs and their healthcare providers regarding the
                    need for blood monitoring, dose adjustments and failed to warn of the risk
                    of serious bleeding that may be irreversible, permanently disabling, and life-
                    threatening, associated with Xarelto;

              e.    Failed to provide adequate training and instruction to medical care providers
                    for the appropriate use of Xarelto;

              f.    Falsely and misleadingly overpromoted, advertised and marketed Xarelto as
                    set forth herein including overstating efficacy, minimizing risk and stating
                    that blood monitoring and dose adjustments were not necessary for safe and
                    effective use to influence patients, such as Plaintiffs, to purchase and
                    consume such product;

              g.    Manufacturing, producing, promoting, formulating, creating, and/or
                    designing Xarelto without thoroughly testing it;

              h.    Manufacturing, producing, promoting, formulating, creating, and/or
                    designing Xarelto without adequately testing it;




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                                           55
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 253 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	       	
	
              i.    Not conducting sufficient testing programs to determine whether or not
                    Xarelto was safe for use; in that Defendants herein knew or should have
                    known that Xarelto was unsafe and unfit for use by reason of the dangers to
                    its users;

              j.    Selling Xarelto without making proper and sufficient tests to determine the
                    dangers to its users;

              k.    Negligently failing to adequately and correctly warn the Plaintiffs, the
                    public, the medical and healthcare profession, and the FDA of the dangers
                    of Xarelto;

              l.    Failing to provide adequate instructions regarding safety precautions to be
                    observed by users, handlers, and persons who would reasonably and
                    foreseeably come into contact with, and more particularly, use, Xarelto;

              m.    Failing to test Xarelto and/or failing to adequately, sufficiently and properly
                    test Xarelto;

              n.    Negligently advertising and recommending the use of Xarelto without
                    sufficient knowledge as to its dangerous propensities;

              o.    Negligently representing that Xarelto was safe for use for its intended
                    purpose, when, in fact, it was unsafe;

              p.    Negligently representing that Xarelto had equivalent safety and efficacy as
                    other forms of treatment for reducing the risk of stroke and systemic
                    embolism in patients with non-valvular atrial fibrillation, reducing the risk
                    of recurrence of DVT and/or PE, and for prophylaxis of DVT for patients
                    undergoing hip and knee replacement surgery;

              q.    Negligently designing Xarelto in a manner which was dangerous to its users;




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                                           56
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 254 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	       	
	
              r.    Negligently manufacturing Xarelto in a manner which was dangerous to its
                    users;

              s.    Negligently producing Xarelto in a manner which was dangerous to its
                    users;

              t.    Negligently assembling Xarelto in a manner which was dangerous to its
                    users;

              u.    Concealing information from the Plaintiffs in knowing that Xarelto was
                    unsafe, dangerous, and/or non-conforming with FDA regulations;

              v.    Improperly concealing and/or misrepresenting information from the
                    Plaintiffs, healthcare professionals, and/or the FDA, concerning the severity
                    of risks and dangers of Xarelto compared to other forms of treatment for
                    reducing the risk of stroke and systemic embolism in patients with non-
                    valvular atrial fibrillation, reducing the risk of recurrence of DVT and/or PE,
                    and for prophylaxis of DVT for patients undergoing hip and knee
                    replacement surgery; and,

              w.    Placing an unsafe product into the stream of commerce.

       182.   Defendants under-reported, underestimated and downplayed the serious dangers

of Xarelto.

       183.   Defendants negligently compared the safety risk and/or dangers of Xarelto with

other forms of treatment for reducing the risk of stroke and systemic embolism in patients with




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                                           57
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 255 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
non-valvular atrial fibrillation, reducing the risk of recurrence of DVT and/or PE, and for

prophylaxis of DVT for patients undergoing hip and knee replacement surgery.

       184.    Defendants       were   negligent   in   the   designing,   researching,   supplying,

manufacturing, promoting, packaging, distributing, testing, advertising, warning, marketing and

sale of Xarelto in that they:

               a.    Failed to use due care in designing and manufacturing Xarelto so as to avoid
                     the aforementioned risks to individuals when Xarelto was used for treatment
                     for reducing the risk of stroke and systemic embolism in patients with non-
                     valvular atrial fibrillation, reducing the risk of recurrence of DVT and/or PE,
                     and for prophylaxis of DVT for patients undergoing hip and knee
                     replacement surgery;

               b.    Failed to accompany their product with proper and/or accurate warnings
                     regarding all possible adverse side effects associated with the use of Xarelto;

               c.    Failed to accompany their product with proper warnings regarding all
                     possible adverse side effects concerning the failure and/or malfunction of
                     Xarelto;

               d.    Failed to accompany their product with accurate warnings regarding the
                     risks of all possible adverse side effects concerning Xarelto;

               e.    Failed to warn Plaintiffs of the severity and duration of such adverse
                     effects, as the warnings given did not accurately reflect the symptoms, or
                     severity of the side effects;




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                                              58
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 256 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                         	          	
	
                  f.   Failed to conduct adequate testing, including pre-clinical and clinical testing
                       and post-marketing surveillance to determine the safety of Xarelto;

                  g.   Failed to warn Plaintiffs, prior to actively encouraging the sale of Xarelto,
                       either directly or indirectly, orally or in writing, about the need for more
                       comprehensive, more regular medical monitoring than usual to ensure early
                       discovery of potentially serious side effects;

                  h.   Were otherwise careless and/or negligent.

        185.      Despite the fact that Defendants knew or should have known that Xarelto caused

unreasonable, dangerous side-effects which many users would be unable to remedy by any

means, Defendants continued to market Xarelto to consumers, including the medical community

and Plaintiffs.

        186.      Defendants knew or should have known that consumers such as the Plaintiffs

would foreseeably suffer injury as a result of Defendants’ failure to exercise ordinary care as

described above, including the failure to comply with federal requirements.

        187.      It was foreseeable that Defendants’ product, as designed, would cause serious

injury to consumers, including Plaintiffs.




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                                              59
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 257 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
        188.    As a direct and proximate result of Defendants’ negligence, Plaintiffs suffered

serious physical injury, harm (and in some cases death), damages and economic loss and will

continue to suffer such harm, damages and economic loss in the future.

        189.    Defendants’ conduct, as described above, was extreme and outrageous.

Defendants risked the lives of the consumers and users of their products, including Plaintiffs,

with the knowledge of the safety and efficacy problems and suppressed this knowledge from the

general public. Defendants made conscious decisions not to redesign, re-label, warn or inform

the unsuspecting consuming public. Defendants’ outrageous conduct warrants an award of

punitive damages.

                                        COUNT VI
                              (BREACH OF EXPRESS WARRANTY)

        190.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense, pursuant

to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.




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                                             60
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 258 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
       191.    Defendants expressly warranted that Xarelto was safe and effective to members of

the consuming public, including Plaintiffs.

       192.    Defendants expressly warranted that Xarelto was a safe and effective product to

be used as a blood thinner, and did not disclose the material risks that Xarelto could cause

serious bleeding that may be irreversible, permanently disabling, and life-threatening. The

representations were not justified by the performance of Xarelto.

       193.    Defendants expressly warranted Xarelto was safe and effective to use without the

need for blood monitoring and dose adjustments.

       194.    Defendants expressly represented to Plaintiffs, Plaintiffs’ physicians, healthcare

providers, and/or the FDA that Xarelto was safe and fit for use for the purposes intended, that it

was of merchantable quality, that it did not produce any dangerous side effects in excess of those

risks associated with other forms of treatment for reducing the risk of stroke and systemic

embolism in patients with non-valvular atrial fibrillation, reducing the risk of recurrence of DVT

and/or PE, and for prophylaxis of DVT for patients undergoing hip and knee replacement

surgery, that the side effects it did produce were accurately reflected in the warnings and that it

was adequately tested and fit for its intended use.




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                                              61
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 259 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	        	
	
       195.    Defendants knew or should have known that, in fact, said representations and

warranties were false, misleading and untrue in that Xarelto was not safe and fit for the use

intended, and, in fact, produced serious injuries to the users that were not accurately identified

and represented by Defendants.

       196.    Plaintiffs and their healthcare providers reasonably relied on these express

representations.

       197.     Xarelto does not conform to these express representations because Xarelto is not

safe and has serious side-effects, including death.

       198.    Defendants breached their express warranty in one or more of the following ways:

               a.    Xarelto as designed, manufactured, sold and/or supplied by the Defendants,
                     was defectively designed and placed in to the stream of commerce by
                     Defendants in a defective and unreasonably dangerous condition;

               b.    Defendants failed to warn and/or place adequate warnings and instructions
                     on Xarelto;

               c.    Defendants failed to adequately test Xarelto; and,

               d.    Defendants failed to provide timely and adequate post-marketing warnings
                     and instructions after they knew the risk of injury from Xarelto.




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                                             62
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 260 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
       199.    Plaintiffs reasonably relied upon Defendants’ warranty that Xarelto was safe and

effective when they purchased and used the medication.

       200.    Defendants herein breached the aforesaid express warranties as their drug was

defective.

       201.    Plaintiffs’ injuries (and in some cases death) were the direct and proximate result

of Defendants’ breach of their express warranty.

       202.    Defendants’ conduct, as described above, was extreme and outrageous.

Defendants risked the lives of the consumers and users of their products, including Plaintiffs,

with knowledge of the safety and efficacy problems and suppressed this knowledge from the

general public. Defendants made conscious decisions not to redesign, re-label, warn or inform

the unsuspecting consuming public. Defendants’ outrageous conduct warrants an award of

punitive damages.

                                     COUNT VII
                           (BREACH OF IMPLIED WARRANTY)

       203.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available




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                                             63
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 261 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	          	
	
under the law, to include pleading same pursuant to all substantive law that applies to this case,

as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

       204.    At the time Defendants marketed, distributed and sold Xarelto to Plaintiffs,

Defendants warranted that Xarelto was merchantable and fit for the ordinary purposes for which

it was intended.

       205.    Members of the consuming public, including consumers such as Plaintiffs, were

intended third party beneficiaries of the warranty.

       206.    Xarelto was not merchantable and fit for its ordinary purpose, because it has a

propensity to lead to the serious personal injuries described in this Complaint.

       207.    Plaintiffs reasonably relied on Defendants’ representations that Xarelto was safe

and free of defects and was a safe means of reducing the risk of stroke and systemic embolism in

patients with non-valvular atrial fibrillation, to treat Deep Vein Thrombosis (“DVT”) and

Pulmonary Embolism (“PE”), to reduce the risk of recurrence of DVT and/or PE, and for

prophylaxis of DVT for patients undergoing hip and knee replacement surgery.




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                                             64
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 262 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
       208.    Defendants’ breach of the implied warranty of merchantability was the direct and

proximate cause of Plaintiffs’ injury (including in some cases death).

       209.    Defendants’ conduct, as described above, was extreme and outrageous.

Defendants risked the lives of the consumers and users of their products, including Plaintiffs,

with knowledge of the safety and efficacy problems and suppressed this knowledge from the

general public. Defendants made conscious decisions not to redesign, re-label, warn or inform

the unsuspecting consuming public. Defendants’ outrageous conduct warrants an award of

punitive damages.




                                    COUNT VIII
                          (NEGLIGENT MISREPRESENTATION)

       210.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available

under the law, to include pleading same pursuant to all substantive law that applies to this case,




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                                             65
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 263 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	        	
	
as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

       211.    From the time Xarelto was first tested, studied, researched, evaluated, endorsed,

manufactured, marketed and distributed, and up to the present, Defendants made

misrepresentations to Plaintiffs, Plaintiffs’ physicians and the general public, including but not

limited to the misrepresentation that Xarelto was safe, fit and effective for human use. At all

times mentioned, Defendants conducted sales and marketing campaigns to promote the sale of

Xarelto and willfully deceived Plaintiffs, Plaintiffs’ physicians and the general public as to the

health risks and consequences of the use of Xarelto.

       212.    The Defendants made the foregoing representations without any reasonable

ground for believing them to be true. These representations were made directly by Defendants,

by sales representatives and other authorized agents of Defendants, and in publications and other

written materials directed to physicians, medical patients and the public, with the intention of

inducing reliance and the prescription, purchase, and use of Xarelto.

       213.    The representations by the Defendants were in fact false, in that Xarelto is not

safe, fit and effective for human consumption as labeled, using Xarelto is hazardous to your




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                                            66
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 264 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
health, and Xarelto has a serious propensity to cause serious injuries to users, including but not

limited to the injuries suffered by Plaintiffs.

        214.    The foregoing representations by Defendants, and each of them, were made with

the intention of inducing reliance and the prescription, purchase, and use of Xarelto.

        215.    In reliance on the misrepresentations by the Defendants, Plaintiffs were induced

to purchase and use Xarelto. If Plaintiffs had known the truth and the facts concealed by the

Defendants, Plaintiffs would not have used Xarelto. The reliance of Plaintiffs upon Defendants’

misrepresentations was justified because such misrepresentations were made and conducted by

individuals and entities that were in a position to know all of the facts.

        216.    As a result of the foregoing negligent misrepresentations by Defendants, Plaintiffs

suffered injuries (including, in some cases, death) and damages as alleged herein.


                                             COUNT IX
                                              (FRAUD)

        217.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense, pursuant




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                                                  67
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 265 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        218.    Prior to Plaintiffs’ use of Xarelto and during the period in which Plaintiffs

actually used Xarelto, Defendants fraudulently suppressed material information regarding the

safety and efficacy of Xarelto, including information regarding increased adverse events, pre and

post marketing deaths, and the high number of severe adverse event reports compared to other

anticoagulants and the need for blood monitoring and dose adjustments for the safe and effective

use of Xarelto. Furthermore, Defendants fraudulently concealed the safety information about the

use of Xarelto. As described above, Xarelto has several well-known serious side-effects that are

not seen in other anticoagulants. Plaintiffs believe that the fraudulent misrepresentation described

herein was intentional to keep the sales volume of Xarelto strong.

        219.    The Defendants falsely and fraudulently represented to the medical and healthcare

community, and to the Plaintiffs, the FDA, and the public in general, that said product, Xarelto,

had been tested and was found to be safe and/or effective to reduce the risk of stroke and

systemic embolism in patients with non-valvular atrial fibrillation, to treat DVT and PE, to




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                                             68
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 266 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                       	          	
	
reduce the risk of recurrence of DVT and/or PE, and for prophylaxis of DVT for patients

undergoing hip and knee replacement surgery.

        220.    These representations were made by said Defendants with the intent of defrauding

and deceiving the Plaintiffs, the public in general, and the medical and healthcare community in

particular, and were made with the intent of inducing the public in general, and the medical and

healthcare community in particular, to recommend, prescribe, dispense and/or purchase said

product, Xarelto, for use to reduce the risk of stroke and systemic embolism in patients with non-

valvular atrial fibrillation, to reduce the risk of recurrence of DVT and/or PE, and for

prophylaxis of DVT for patients undergoing hip and knee replacement surgery, all of which

evinced a callous, reckless, willful, depraved indifference to the health, safety and welfare of the

Plaintiffs herein.

        221.    At the time the aforesaid representations were made by the Defendants and, at the

time the Plaintiffs used Xarelto, the Plaintiffs were unaware of the falsity of said representations

and reasonably believed them to be true.

        222.    In reliance upon said representations, Plaintiffs were induced to and did use

Xarelto, thereby sustaining severe and permanent personal injuries.




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                                             69
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 267 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                    	         	
	
       223.    Said Defendants knew and were aware, or should have been aware, that Xarelto

had not been sufficiently tested, was defective in nature, and/or that it lacked adequate and/or

sufficient warnings.

       224.    Defendants knew or should have known that Xarelto had a potential to, could, and

would cause severe and grievous injury to the users of said product, and that it was inherently

dangerous in a manner that exceeded any purported, inaccurate, and/or down-played warnings.

       225.    Defendants brought Xarelto to the market, and acted fraudulently, wantonly and

maliciously to the detriment of Plaintiffs.

       226.    Defendants fraudulently concealed the safety issues associated with Xarelto

including the need for blood monitoring and dose adjustments in order to induce physicians to

prescribe Xarelto and for patients, including Plaintiffs, to purchase and use Xarelto.

       227.    At the time Defendants concealed the fact that Xarelto was not safe, Defendants

were under a duty to communicate this information to Plaintiffs, physicians, the FDA, the

healthcare community, and the general public in such a manner that they could appreciate the

risks associated with using Xarelto.




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                                              70
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 268 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	        	
	
       228.    Defendants, at all times relevant hereto, withheld information from the FDA

which they were required to report.

       229.    Plaintiffs and the Plaintiffs’ prescribing physicians relied upon the Defendants’

outrageous untruths regarding the safety of Xarelto.

       230.    Plaintiff’s prescribing physicians were not provided with the necessary

information by the Defendants, to provide an adequate warning to the Plaintiffs.

       231.    Xarelto was improperly marketed to the Plaintiffs and their prescribing physicians

as the Defendants did not provide proper instructions about how to use the medication and did

not adequately warn about Xarelto’s risks.

       232.    As a direct and proximate result of Defendants’ malicious and intentional

concealment of material life-altering information from Plaintiffs and Plaintiffs’ prescribing

physicians, Defendants caused or contributed to Plaintiffs’ injuries (and in some cases death).

       233.    It is unconscionable and outrageous that Defendants would risk the lives of

consumers, including Plaintiffs. Despite this knowledge, the Defendants made conscious

decisions not to redesign, label, warn or inform the unsuspecting consuming public about the

dangers associated with the use of Xarelto. Defendants’ outrageous conduct rises to the level




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                                             71
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 269 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	         	
	
necessary that Plaintiffs should be awarded punitive damages to deter Defendants from this type

of outrageous conduct in the future and to discourage Defendants from placing profits above the

safety of patients in the United States of America.

       234.    Defendants’ fraud also acted to conceal their malfeasance which actions tolled

Plaintiffs’ statute of limitations because only Defendants knew the true dangers associated with

the use of Xarelto as described herein. Defendants did not disclose this information to the

Plaintiffs, their prescribing physicians, the healthcare community and the general public. Without

full knowledge of the dangers of Xarelto, Plaintiffs could not evaluate whether a person who was

injured by Xarelto had a valid claim.

       235.    Defendants widely advertised and promoted Xarelto as a safe and effective

medication and/or as a safe and effective means of reducing the risk of stroke and systemic

embolism in patients with non-valvular atrial fibrillation, to treat DVT and PE, to reduce the risk

of recurrence of DVT and/or PE, and for prophylaxis of DVT for patients undergoing hip and

knee replacement surgery.

       236.    Defendants’ advertisements regarding Xarelto falsely and misleadingly stated that

blood monitoring and dose adjustments were not necessary for safe and effective use of the drug,




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                                            72
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 270 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	         	
	
misrepresentations Defendants knew to be false, for the purpose of fraudulently inducing

consumers, such as Plaintiffs, to purchase such product. Plaintiffs relied on these material

misrepresentations when deciding to purchase and consume Xarelto.

       237.    Defendants had a duty to disclose material information about serious side-effects

to consumers such as Plaintiffs.

       238.    Additionally, by virtue of Defendants’ partial disclosures about the medication, in

which Defendants touted Xarelto as a safe and effective medication, Defendants had a duty to

disclose all facts about the risks associated with use of the medication, including the risks

described in this Complaint. Defendants intentionally failed to disclose this information for the

purpose of inducing consumers, such as Plaintiffs, to purchase Defendants’ dangerous product.

       239.    Had Plaintiffs been aware of the hazards associated with Xarelto, Plaintiffs would

have employed appropriate blood monitoring, consumed a different anticoagulant with a better

safety profile, or not have consumed the product that led proximately to Plaintiffs’ injuries

(including in some cases death).

       240.    Upon information and belief, Plaintiffs aver that Defendants actively and

fraudulently concealed information in Defendants’ exclusive possession regarding the hazards




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                                            73
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 271 of 348




	     JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
associated with Xarelto, for the purpose of preventing consumers, such as Plaintiffs, from

discovering these hazards.

                              COUNT X
    (VIOLATION OF CONSUMER PROTECTION LAWS/CONSUMER FRAUD LAWS)

       241.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense available

under the law, to include pleading same pursuant to all substantive law that applies to this case,

as may be determined by choice of law principles, regardless of whether arising under statute

and/or common law.

       242.    Plaintiffs used Xarelto and suffered ascertainable losses as a result of Defendants’

actions in violation of the consumer protection laws.

       243.    Defendants used unfair methods of competition or deceptive acts or practices that

were proscribed by law, including the following:

               a. Representing that goods or services have characteristics, ingredients, uses,
                  benefits, or quantities that they do not have;

               b. Advertising goods or services with the intent not to sell them as advertised;
                  and,




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                                             74
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 272 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	          	
	
               c. Engaging in fraudulent or deceptive conduct that creates a likelihood of
                  confusion or misunderstanding.

       244.    Defendants violated consumer protection laws through their use of false and

misleading misrepresentations or omissions of material fact relating to the safety of Xarelto.

       245.    Defendants violated consumer protection laws of various states.

       246.    Defendants uniformly communicated the purported benefits of Xarelto while

failing to disclose the serious and dangerous side effects related to the use of Xarelto and of the

true state of Xarelto’s regulatory status, its safety, its efficacy, and its usefulness. Defendants

made these representations to physicians, the medical community at large, and to patients and

consumers, such as Plaintiffs, in the marketing and advertising campaign described herein.

       247.    Defendants’ conduct in connection with Xarelto was also impermissible and

illegal in that it created a likelihood of confusion and misunderstanding, because Defendants

misleadingly, falsely and or deceptively misrepresented and omitted numerous material facts

regarding, among other things, the utility, benefits, costs, safety, efficacy and advantages of

Xarelto.




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                                            75
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 273 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	         	
	
        248.    As a result of these violations of consumer protection laws, Plaintiffs have

incurred and will incur; serious physical injury (including in some cases death), pain, suffering,

loss of income, loss of opportunity, loss of family and social relationships, and medical, hospital

and surgical expenses and other expense related to the diagnosis and treatment thereof, for which

Defendants are liable.

                                             COUNT XI
                                      (LOSS OF CONSORTIUM)

        249.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense, pursuant

to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        250.    At all relevant times hereto, where applicable, Plaintiffs had spouses (hereafter

referred to as “Spouse Plaintiffs”) and/or family members (hereafter referred to as “Family

Member Plaintiffs”) who have suffered injuries and losses as a result of the Plaintiffs’ injuries

from Xarelto.




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                                             76
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 274 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	          	
	
           251.   For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

Plaintiffs have necessarily paid and have become liable to pay for medical aid, treatment,

monitoring, medications, and other expenditures and will necessarily incur further expenses of a

similar nature in the future as a proximate result of Defendants’ misconduct.

           252.   For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

Plaintiffs have suffered and will continue to suffer the loss of their loved one’s support,

companionship, services, society, love and affection.

           253.   For all Spouse Plaintiffs, Plaintiffs allege that their marital relationship was

impaired and depreciated, and the marital association between husband and wife has been

altered.

           254.   Spouse Plaintiffs and/or Family Member Plaintiffs have suffered great emotional

pain and mental anguish.

           255.   As a direct and proximate result of Defendants’ wrongful conduct, Spouse

Plaintiffs, Family Member Plaintiffs, and/or intimate partners of the aforesaid Plaintiffs, have

sustained and will continue to sustain severe physical injuries, severe emotional distress,

economic losses and other damages for which they are entitled to compensatory and equitable




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                                              77
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 275 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	         	
	
damages and declaratory relief in an amount to be proven at trial. Defendants are liable to

Spouse Plaintiffs, Family Member Plaintiffs, and intimate partners jointly and severally for all

general, special and equitable relief to which Spouse Plaintiffs, Family Member Plaintiffs, and

intimate partners are entitled by law.

                                             COUNT XII
                                         (WRONGFUL DEATH)


        256.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense, pursuant

to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        257.    Plaintiffs bring this claim, where appropriate, on behalf of the Estate and for the

benefit of the Plaintiff Decedents’ lawful beneficiaries.

        258.    As a direct and proximate result of the conduct of the Defendants and the

defective nature of Xarelto as outlined above, Plaintiff Decedents suffered bodily injury resulting

in pain and suffering, disability, disfigurement, mental anguish, loss of capacity of the enjoyment




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responsibility to individual counsels’ clients.

                                             78
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 276 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                        	         	
	
of life, shortened life expectancy, expenses for hospitalization, medical and nursing treatment,

loss of earnings, loss of ability to earn, funeral expenses and death.

        259.    As a direct and proximate cause of the conduct of Defendants, Plaintiff

Decedents’ beneficiaries have incurred hospital, nursing and medical expenses, and estate

administration expenses as a result of Decedents’ deaths. Plaintiffs bring this claim on behalf of

Decedents’ lawful beneficiaries for these damages and for all pecuniary losses under applicable

state statutory and/or common laws.

                                             COUNT XIII
                                         (SURVIVAL ACTION)

        260.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

though set forth fully at length herein. Plaintiffs plead this Count in the broadest sense, pursuant

to all laws that may apply pursuant to choice of law principles, including the law of the

Plaintiffs’ resident State.

        261.    As a direct and proximate result of the conduct of Defendants, where appropriate,

Plaintiff Decedents, prior to their death, were obligated to spend various sums of money to treat

his or her injuries, which debts have been assumed by the Estate. As a direct and proximate




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                                             79
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 277 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	         	
	
cause of the aforesaid, Decedents were caused pain and suffering, mental anguish and

impairment of the enjoyment of life, until the date of his or her death; and, as a direct and

proximate result of the aforesaid, Decedents suffered a loss of earnings and earning capacity.

Plaintiffs bring this claim on behalf of Decedents’ estates under applicable state statutory and/or

common laws.

       262.     As a direct and proximate result of the conduct of Defendants, Plaintiff Decedents

and their spouses and heirs, including domestic partners, until the time of Decedents’ deaths,

suffered a disintegration and deterioration of the family unit and the relationships existing

therein, resulting in enhanced anguish, depression and other symptoms of psychological stress

and disorder.

       263.     As a direct and proximate result of the aforesaid, and including the observance of

the suffering and physical deterioration of Plaintiff Decedents until the date of their deaths,

Plaintiffs have and will continue to suffer permanent and ongoing psychological damage which

may require future psychological and medical treatment. Plaintiffs’ spouses or heirs, including

domestic partners, as Administrators or beneficiaries of the estate of the Decedent, bring the




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                                            80
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 278 of 348




	      JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                      	      	
	
claim on behalf of the estate for damages under applicable statutory and/or common laws, and in

their own right.

                                           COUNT XIV
                                 (STATE SPECIFIC ALLEGATIONS)


         264. Counsel may want to include specific state specific allegations applicable to

certain plaintiffs depending upon the particular jurisdiction of the particular plaintiff. This

determination is the responsibility of individually retained counsel. Allegations should be plead

as appropriate.    Also state specific allegations should be cross-referenced to the particular

plaintiff identified in Section I. PLAINTIF SPECIFIC ALLEGATIONS above.

VI.      JURY TRIAL DEMANDED

         Plaintiffs demand that all issues of fact of this case be tried to a properly impaneled jury

to the extent permitted under the law.

VII.     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against the Defendants on each of the

above-referenced claims and Causes of Action and as follows:




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                                              81
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 279 of 348




	    JOINT	COMPLAINT	–	REVISED	DRAFT	(JANUARY,	2016)	                                     	          	
	
              1. Awarding compensatory damages in excess of the jurisdictional amount,
                 including, but not limited to pain, suffering, emotional distress, loss of
                 enjoyment of life, and other non-economic damages in an amount to be
                 determined at trial of this action;

              2. Awarding economic damages in the form of medical expenses, out of pocket
                 expenses, lost earnings and other economic damages in an amount to be
                 determine at trial of this action;

              3. Punitive and/or exemplary damages for the wanton, willful, fraudulent,
                 reckless acts of the Defendants who demonstrated a complete disregard and
                 reckless indifference for the safety and welfare of the general public and to the
                 Plaintiff in an amount sufficient to punish Defendants and deter future similar
                 conduct;

              4. Prejudgment interest;

              5. Postjudgment interest;

              6. Awarding Plaintiff reasonable attorneys’ fees when applicable;

              7. Awarding Plaintiff the costs of these proceedings; and

              8. Such other and further relief as this Court deems just and proper.

                                            Respectfully submitted,

       [INDIVIDUAL COUNSEL SIGNATURE BLOCK]




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                                           82
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 280 of 348




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                    MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                    SECTION L
                                          *
                                          *                    JUDGE ELDON E. FALLON
                                          *
                                          *                    MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES


                                   PRETRIAL ORDER NO. 23
                                     (Deposition Guidelines)

         This Order shall govern the conduct of depositions for (1) cases directly filed in this Court

pursuant to this Court’s Direct Filing Order of March 24, 2015 (Pretrial Order No. 9 (Rec. Doc.

356)); (2) cases transferred to this Court by the Judicial Panel on Multidistrict Litigation; (3) any

tag-along action subsequently transferred to this Court by the Judicial Panel on Multidistrict

Litigation; and (4) all related cases originally filed in this Court or transferred or removed to this

Court.

         The Parties will submit modified protocols for case-specific and expert depositions.

   I.         GENERAL PROVISIONS

         A.     Cooperation

         1.     Counsel are expected to cooperate with and be courteous to each other and

deponents in both scheduling and conducting depositions.

         2.     Counsel are reminded that the Courts consider depositions to be official court

procedures and the conduct of all participants in depositions shall be in accordance with the



                                                   1
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 281 of 348



customs and practices expected of lawyers and witnesses appearing before these Courts, as if each

was appearing personally before the Courts at the time of the depositions. Counsel shall not at any

time conduct himself or herself in a manner not becoming an officer of the court and not in full

compliance with the civil rules of practice and all other orders of the Courts. Neither counsel nor

witnesses shall, at any time, engage in conduct that impedes, delays, or frustrates the examination

of the witness. All counsel and the deponent must be treated with civility and respect.

       B.      Attendance

       3.      Who May be Present. Unless otherwise ordered under Fed. R. Civ. P. 26(c),

depositions may be attended by counsel of record, members and employees of their firms,

attorneys specially engaged by a party for purposes of the deposition, the parties or the

representative of a party (including in-house counsel), court reporters, videographers, the

deponent, and counsel for the deponent. Upon application, and for good cause shown, the Court

may permit attendance by a person who does not fall within any of the categories set forth in the

preceding sentence. While the deponent is being examined about any stamped confidential

document or the confidential information contained therein, persons to whom disclosure is not

authorized under an MDL – 2592 Protective Order shall be excluded from the deposition.

       4.      Unnecessary Attendance. Unnecessary attendance by counsel is discouraged and

may not be compensated in any fee application to the Court. Counsel who have only marginal

interest in a proposed deposition or who expect their interests to be adequately represented by other

counsel should elect not to attend.

       5.      Notice of Intent to Attend a Deposition. In order to make arrangements for

adequate deposition space, Liaison Counsel for each party shall confer regarding the expected

attendance in advance of the deposition. Ten days prior to the deposition, the noticing party shall



                                                 2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 282 of 348



provide the number of attendees. Three days prior to the deposition, the noticing party shall

provide the names of the examining attorneys with the understanding that such names are provided

in good faith and could be subject to change.

         C.       Effectiveness

         6.       The MDL parties will use best efforts to cooperate on the entry of substantively

identical deposition protocol orders in the MDL and Pennsylvania proceedings, which will become

effective on the date docketed.

   II.         CONDUCT OF DEPOSITIONS

         A.       Examination

          7.      There shall be no more than one primary and one secondary examining attorney

for Plaintiffs in MDL No. 2592. One examining attorney for Plaintiffs in the consolidated

Philadelphia proceedings (Court of Common Pleas No. 2349) may also ask non-duplicative

questions. Under no circumstances will plaintiffs’ failure to allocate time among themselves or to

enforce that allocation of time among themselves during a deposition result in an extension of

the deposition.

          8.      Defendants’ Lead or Liaison Counsel ordinarily shall designate one primary

examiner for the Bayer Defendants and one primary examiner for the Janssen Defendants.

          9.      Counsel for plaintiffs who have individual or divergent positions, which cannot be

resolved by good faith negotiations with Plaintiffs’ Lead or Liaison Counsel, may examine a




                                                  3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 283 of 348



deponent limited to matters not previously covered by MDL Counsel, provided said counsel do

not have any cases in the MDL.

        10.    Once a witness has fully answered a question, that same or substantially the same

question shall not be asked again.

        11.    The use of tobacco products by deponents or counsel during the deposition will

not be permitted.

       B.      Duration

       12.     Counsel should consult prior to a deposition to agree upon the time required to

depose a particular witness. Absent agreement of the parties or order of this Court based on a

showing of good cause, a deposition should not exceed two days. Defendants, collectively, shall

be entitled to 15% of deposition time for examination of the witness. Plaintiffs shall be allowed

to reserve an equal amount of time as Defendants for re-cross examination. However, absent

agreement of the parties or an order of the Court, the deposition will not extend beyond the

second day. The parties are instructed that the Court expects counsel conducting the depositions

to be reasonable and allow such reasonable time as is necessary to complete the deposition

without the unnecessary involvement of the Court. The subject matter of re-cross examination

and re-direct examination, where appropriate, shall not go beyond the scope of matters

previously covered.

       13.     In the event that a deposition involves a translator, the deposition shall be

extended as reasonably necessary to conduct the examination, but not to exceed 3.5 days except

by agreement of the parties, or by Court order for good cause. The time limits agreed to by the




                                                 4
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 284 of 348



parties shall be the actual time spent examining the witness. Time spent on breaks or lunch shall

not be counted toward the time limits.




        C.      Means of Recording

        14.     Stenographic Recording. A certified Court reporter shall stenographically record

all deposition proceedings and testimony with “real time feed” capabilities. The Court reporter

shall administer the oath or affirmation to the deponent. A written transcript by the Court reporter

shall constitute the official record of the deposition for purposes of Fed. R. Civ. P. 30(e) and similar

state court rules addressing filing, retention, certification and the like.

        15.     Deposition notices shall state whether the deposition is to be videotaped. All

videotape depositions shall proceed pursuant to the provision of section R, infra.

        16.     Each side shall bear its own costs in securing copies of the deposition transcript,

videotape or DVD.

        17.     Subject to the terms of the Protective Order entered in these proceedings, any party

may at its own expense obtain a copy of the videotape and the stenographic transcript by contacting

the court reporter.

        D.      Scheduling

        18.     Each deposition notice shall include the name, address and telephone number of an

attorney point of contact designated by the party noticing the deposition as well as the date, time




                                                   5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 285 of 348



and place of the deposition. The deposition notice shall generally be served thirty (30) days prior

to a scheduled deposition; said notice shall not be filed on the Court docket.

       19.     Plaintiffs’ counsel from all jurisdictions shall use best efforts to coordinate in the

scheduling and taking of depositions. Prior to issuing a deposition notice, absent extraordinary

circumstances, counsel should consult in advance with opposing counsel and counsel for the

proposed deponents in an effort to schedule depositions at mutually convenient times and

locations. Counsel are expected to cooperate and coordinate the scheduling of depositions.

       20.     After counsel, through consultation, have arrived on a mutually acceptable date and

location for a deposition, the Noticing Party shall serve an amended Notice (if necessary) reflecting

the agreed upon date and location; said notice shall not be filed on the Court docket.

       E.      Deposition Day

       21.     A deposition shall commence at 9:00 a.m. and terminate no later than 5:30 p.m.

local time, unless breaks total more than one hour and 30 minutes, in which case the end time may

be extended accordingly. Modest variations in this schedule may be made by agreement of counsel

who noticed the deposition and counsel for the witness. There shall be at least a 15 minute morning

break and a 15 minute afternoon break, with one (1) hour for lunch. Additional reasonable breaks

may be taken, in which case the end time may be extended accordingly. Counsel should be

efficient in depositions.

       F.      Location of Depositions

       22.     The Court expects counsel to mutually agree upon deposition locations. In the

absence of agreement, depositions of witnesses located in the United States will take place in the




                                                 6
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 286 of 348



deponent’s home district. The location of the deposition shall be as consistent as possible within

each city so that videotape equipment, if being used, can be left in place.

        23.     Witnesses who are domiciled in Germany, where domestic law prohibits the taking

of depositions, will be deposed in Amsterdam unless all parties agree to another location.

      G.        Translators

        24.     Where a witness indicates his or her intention to respond to questions in a language

other than English, neutral translators will be employed to interpret and translate between the

foreign language and English. Three translators will be employed to allow for rotation of

translators. The parties shall meet and confer to agree upon the translators prior to the deposition.

Each translator will swear under oath or affirm prior to each deposition to provide honest and

truthful translations. A monitor displaying “real time” transcription will be placed in front of the

translator to assist in the translation.

        25.     Counsel for Defendants will notify the plaintiffs at least 15 days in advance of the

deposition of any present or former employee whose examination will require the involvement of

a translator. Subject to their being informed of the terms of this Order, counsel for third party

witnesses will notify counsel for the party who noticed the deposition at least 15 days in advance

of the deposition that the examination will require the involvement of a translator. In the event the




                                                 7
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 287 of 348



noticing party receives such a notice from a third party or his/her counsel, then the noticing party

shall inform Defendants’ counsel within 24 hours of receiving such notice.

       26.     Defendants and plaintiffs will share the fees and costs of the translators equally.

       27.     Objections as to the accuracy of any translations of deposition testimony shall be

reserved.

       H.      Custodial Files

       28.     Subject to the limitations set forth in Case Management Order No. 2 as to the

number of depositions to be conducted, the custodial file of an employee, or former employee,

shall be produced in advance of a deposition as set forth in the Document Production Protocol

(PTO 21), including Paragraphs 10 and 16. The parties shall meet and confer regarding the impact,

if any, on the scheduled deposition if further documents are produced less than 14 days from the

scheduled deposition. If the parties cannot agree, the matter shall be resolved by the Court.




       I.      Coordination with State Actions

       29.     Plaintiffs’ counsel in the MDL shall use their best efforts to coordinate the

scheduling of depositions with state court plaintiffs in order to minimize the number of times that

a witness shall appear for a deposition. In a coordinated deposition, the Court expects counsel for

plaintiffs in the MDL and plaintiffs’ counsel in a coordinated state court proceeding to cooperate

in selecting a primary examiner. Upon conclusion of the examination by the primary examiner,

other counsel may ask non-duplicative additional questions prior to the completion of the

deposition, pursuant to the provisions contained in II.A. of this Order. It is the intent of this Order




                                                  8
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 288 of 348



that counsel for MDL Plaintiffs shall be the primary examiner in depositions coordinated with a

state court proceeding.

       J.          Cross-Noticing

       30.     The parties and all courts desire to minimize the expense and inconvenience of this

litigation by, inter alia, providing for a single deposition of witnesses within the time limits set

forth in this Order in all litigations relating to Xarelto. Any witness deposition noticed in this

MDL proceeding may be cross-noticed by any party in any related action pending in any state

court. To the extent practicable, the parties shall endeavor to allow for full participation by all

jurisdictions in each deposition.

       31.     If a deposition originally noticed in this MDL proceeding has been cross-noticed in

another state court subject to this Order, then a party may not take a subsequent deposition of that

witness over objection of the opposing party or the witness except for good cause shown. Any

disputes among the parties under this provision shall be resolved, and good cause determined by

the MDL court. Any subsequent deposition shall be restricted to such additional inquiry stipulated

to by the parties or as permitted by the courts.

       K.      Postponement

       32.     Once a deposition has been scheduled, it shall not be taken off the calendar,

rescheduled or relocated less than three (3) calendar days in advance of the date it is scheduled to

occur, except upon agreement between Lead and/or Liaison Counsel for each side or counsel for




                                                   9
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 289 of 348



the witness (if the witness is not a party or a current or former employee) or by leave of Court for

good cause.

       L.       Objections and Directions Not to Answer

       33.     Counsel shall comply with Fed. R. Civ. P. 30(c)(2). When a privilege is claimed,

the witness should nevertheless answer questions relevant to the existence, extent, or waiver of the

privilege, such as the date of the communication, who made the statement, to whom and in whose

presence the statement was made, other persons to whom the contents of the statement have been

disclosed, and the general subject matter of the statement, unless such information is itself

privileged. Any objection made at a deposition shall be deemed to have been made on behalf of

all other parties. All objections, except those as to form, are reserved.

       34.     Counsel shall refrain from engaging in colloquy during the deposition. The phrase

“objection as to form” or similar language as contemplated by Fed. R. Civ. P. 30(c)(2) shall be

sufficient to preserve all objections as to form until the deposition is sought to be used, and counsel

stating such an objection shall do so concisely in a nonargumentative and nonsuggestive manner.

If requested by the examining attorney, the objecting party shall provide a sufficient explanation

for the objection to allow the deposing party to rephrase the question.

       35.     Counsel shall not make objections or statements which might suggest an answer to

a witness.

       36.     Counsel shall not direct or request that a witness refuse to answer a question, unless

that counsel has objected on the ground that the question seeks privileged information, information

that the Court has ordered may not be discovered, or a deponent seeks to present a motion to the

Court for termination or limitation of the deposition on the ground that it is being conducted in bad

faith or in such a manner as to unreasonably annoy, embarrass or oppress the party or deponent.



                                                  10
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 290 of 348



If during a deposition a party in good faith intends to present an issue to the MDL Judge by

telephone pursuant to paragraph O, and if the MDL Judge is not immediately available, the party

may instruct the witness temporarily to defer answering the question until the MDL Judge is

available to issue a ruling.

        37.     Private consultations between deponents and their attorneys during the actual

taking of the deposition are improper, except for the purpose of determining whether a privilege

should be asserted. Unless prohibited by the Court for good cause shown, consultations may be

held during normal recesses, adjournments, or if there is a break in the normal course of

interrogation and no questions are pending..

        M.      Disputes During or Relating to Depositions

        38.     Disputes between parties should be addressed to this Court. Disputes arising during

depositions that cannot be resolved by agreement and that, if not immediately resolved, will

significantly disrupt the discovery schedule or require rescheduling of the deposition, or might

result in the need to conduct a supplemental deposition, shall be presented to the MDL Judge,

Eldon E. Fallon by telephone (504-589-7545). If the MDL Judge is not available, the deposition

shall continue with full reservation of rights of the examiner for a ruling at the earliest possible

time. Nothing in this Order shall deny counsel the right to suspend a deposition pursuant to Fed.

R. Civ. P. 30(d)(3), file an appropriate motion with the Court at the conclusion of the deposition,

and appear personally before the Court.

        N.      Documents Used in Connection with Depositions

        39.     Production of Documents.        Third-party witnesses subpoenaed to produce

documents shall, to the extent possible, be served with the document subpoena at least thirty (30)

calendar days before a scheduled deposition, with a copy of the subpoena served as required by



                                                11
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 291 of 348



Fed. R. Civ. P. 45. Depending upon the quantity of documents to be produced, some time may be

needed for inspection of the documents before the examination commences.

        40.     Copies. Extra copies of documents about which deposing counsel expects to

examine a deponent should be provided to primary counsel for the parties and the deponent during

the course of the deposition.

        41.     Marking of Deposition Exhibits. Each document referred to at a deposition shall

be referred to by its alpha-numeric production number except in the case of documents which have

not yet received production numbering at the time of the deposition. Documents that are produced

in native format shall have the slip sheet with the Bates number affixed to the front of the

document. Once an exhibit has been numbered, it shall retain that number throughout the case.

The court reporter for each deposition will include in each deposition transcript a list of the exhibits

referenced in the deposition. The court reporter shall assign exhibit number blocks for each

deposition and shall make sure that duplicative or overlapping exhibit numbers are not assigned.

        42.     Objections to Documents.        Objections to the relevance or admissibility of

documents used as deposition exhibits are not waived and are reserved for later ruling by the Court

or by the trial judge.

        43.     Translation of Documents. Objections as to the accuracy of any translations of

documents shall be reserved unless a stipulation is reached by the parties in advance of the

deposition.

        44.     Authenticity of Exhibits. Any objection to the authenticity of an exhibit used in the

deposition must be made by defendants within thirty (30) days from the conclusion of the

deposition for any exhibits that were produced by Defendants. If no objection is made to such an




                                                  12
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 292 of 348



exhibit, the exhibit will be deemed to be authentic. If the Defendants subsequently obtain

information that an exhibit is not authentic, it will promptly notify the PSC.

         O.    Video Depositions

         45.    By so indicating in its notice of a deposition, a party may record a deposition by

videotape or digitally-recorded video pursuant to Fed. R. Civ. P. 30(b)(3) subject to the following

rules:

               a)      Video Operator. The operator(s) of the video record equipment shall be

subject to the provisions of Fed. R. Civ. P. 28(c). At the commencement of the deposition, the

operator(s) shall swear or affirm to record the proceedings fairly and accurately.

               b)      Index.   The videotape operator shall use a counter on the recording

equipment and after completion of the deposition shall prepare a log, cross-referenced to counter

numbers, that identifies the depositions on the tape at which examination by different counsel

begins and ends, at which objections are made and examination resumes, at which exhibits are

identified, and at which an interruption of continuous tape-recording occurs, whether for recesses,

“off-the-record” discussions, mechanical failure, or otherwise.

               c)      Attendance.    Each witness, attorney, and other person attending the

deposition shall be identified on the record at the commencement of the deposition.

               d)      Standards. Unless physically incapacitated, the deponent shall be seated at

a table except when reviewing or presenting demonstrative materials for which a change in

position is needed. To the extent practicable, the deposition will be conducted in a neutral setting,

against a solid background with only such lighting as is required for accurate video recording.

Lighting, camera angle, lens setting, and field of view will be changed only as necessary to record

accurately the natural body movements of the deponent. Sound levels will be altered only as



                                                 13
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 293 of 348



necessary to record satisfactorily the voices of counsel and the deponent. The witness shall appear

in ordinary business attire (as opposed to, for instance, a lab coat) and without objects such as a

bible, medical equipment, or other props.

       e)      Additional Cameras. Pursuant to the Court’s Order dated January 25, 2016 [Rec.

Doc. 1970], any party, at its own expense and with notice 24 hours in advance of the deposition to

opposing counsel, may arrange for an additional camera to film the examining attorney. If more

than one camera is employed, the party arranging for the additional camera shall pay for the

expense of synchronization of the videotapes from the additional camera if the party intends to

show videotape from the additional camera at trial. Nothing in this order shall be construed as a

ruling whether the videotapes of the lawyers may be shown at trial. Counsel’s objections to

showing the videotape of counsel at the time of trial are reserved.

              f)       Filing. After the deposition is completed, the video operator shall certify

on camera the correctness, completeness, and accuracy of the videotape recording in the same

manner as a stenographic court reporter, and file a true copy of the videotape, the transcript, and

certificate with Liaison Counsel for whomever noticed the deposition.




       P.      Telephone Depositions

       46.     By indicating in its notice of deposition that it wishes to conduct the deposition by

telephone, a party shall be deemed to have moved for such an order under Fed. R. Civ. P. 30(b)(4).

Unless an objection is filed and served within ten (10) calendar days after such notice is received,

the Court shall be deemed to have granted the motion. Other parties may examine the deponent

telephonically or in person. However, all persons present with the deponent shall be identified in



                                                14
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 294 of 348



the deposition and shall not by word, sign or otherwise coach or suggest answers to the deponent.

The court reporter shall be in the same room with the deponent.

         Q.     Correcting and Signing Depositions

         47.    Unless waived by the deponent, the transcript of a deposition shall be submitted to

the deponent for correction and signature, and shall be corrected and signed within thirty (30)

days after receiving the final transcript of the completed deposition. If no corrections are made

during this time, the transcript will be presumed accurate.

         48.    Parties in jurisdictions where rules do not provide for correction and signing of a

deposition transcript reserve their objections to corrections made pursuant to this procedure.

III.     USE OF DEPOSITIONS

         49.    Depositions of employees and former employees of Defendants taken in this MDL

proceeding or in any state action relating to Xarelto in which any Defendant is a party may be used

in this proceeding in accordance with the Federal Rules of Civil Procedure and Evidence and case

law by or against any person (including parties later added and parties in cases subsequently filed

in, removed to or transferred to this Court as part of this litigation):

                 a)   who is a party to this litigation;

                 b)   who was present or represented in the deposition;

                 c)   who was served with prior notice of the deposition or otherwise had

                      reasonable notice thereof, or

                 d)   who, within thirty (30) calendar days after the transcription of the deposition

                      (or, if later, within sixty (60) calendar days after becoming a party in this




                                                   15
      Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 295 of 348



                        Court in any action that is part of this MDL proceeding), fails to show just

                        cause why such deposition should not be useable against such party.

       50.         Depositions may be used in any Xarelto-related action in state court to the extent

permitted by that state’s law and rules.

     IV.            TIMING OF TRIAL PRESERVATION DEPOSITION AFTER
                 DISCOVERY DEPOSITION

          51.      To the extent a party wishes to conduct a preservation deposition for trial, the

deposing party shall provide at least thirty (30) days’ notice of the intent to take the preservation

deposition and, if the witness has not previously been deposed, provide opposing counsel an

opportunity to take a discovery deposition of that witness, absent agreement of the parties to shorten

the time or by Court order for good cause. In the event the opposing party chooses to take a discovery

deposition of the witness, the preservation deposition shall not commence any sooner than seventy-

two (72) hours after the completion of the discovery deposition, unless the parties agree otherwise.

     V.            FEDERAL RULES OF CIVIL PROCEDURE APPLICABLE

           52.     The Federal Rules of Civil Procedure and Federal Rules of Evidence shall apply

 in all proceedings unless specifically modified herein.


           New Orleans, Louisiana this 17th day of February, 2016



                                                         _____________________________________
                                                                             ELDON E. FALLON
                                                              UNITED STATES DISTRICT JUDGE




                                                    16
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 296 of 348



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                  SECTION L
                                          *
                                          *                  JUDGE ELDON E. FALLON
                                          *
                                          *                  MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                            PRETRIAL ORDER NO. 11E
                        (Bundling of Complaints and Answers)

       The Court outlined the procedure for the filing of Joint Complaints in Pretrial

Order 11. (Rec. Doc. 893). As the MDL is entering a new phase of the litigation, the

Court finds it appropriate to terminate the Joint Complaint filing procedure. All efforts to

file a Complaint in this MDL will be governed by the Federal Rules of Civil Procedure

and the Local Rules, unless otherwise provided for by this Court, as of May 20, 2016.

Therefore,

       IT IS ORDERED that all provisions of Pretrial Order 11 pertaining to the filing

of Joint Complaints shall be VACATED on May 20, 2016. After this date, no Joint

Complaints as defined in PTO 11 will be accepted by the Clerk’s office.



       NEW ORLEANS, LOUISIANA this 21st day of March, 2016.



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 297 of 348



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)    *      MDL 2592
PRODUCTS LIABILITY LITIGATION   *
                                *      SECTION L
THIS DOCUMENT RELATES TO        *
ALL CASES                       *      JUDGE ELDON E. FALLON
                                *
                                *      MAG. JUDGE NORTH
*************************
                       PRETRIAL ORDER NO. 24
                         (Dismissal Guidelines)

       This joint stipulation and order shall govern the filing of Motions to Dismiss for reasons of

subject matter jurisdiction.


1.     A case will be dismissed for lack of subject matter jurisdiction only upon a noticed motion

or order to show cause in which the plaintiff bringing the action and the served defendants have

an opportunity to be heard, or upon a stipulated order consented to by both the plaintiff bringing

the action and the defendants who have been served in that action. This paragraph does not intend

to restrict the ability any plaintiff may otherwise have to voluntarily dismiss pursuant to Rule

41(a)(1); provided however that paragraph 3 shall not apply to rule 41(a)(1) dismissals. Further,

plaintiffs continue to retain the right to individually dismiss certain named defendants without

dismissing the entire action. This stipulation pertains solely to dismissals of an entire action for

lack of subject matter jurisdiction.


2.     Any dismissal of the entire action for lack of subject matter jurisdiction shall be without

prejudice. In addition, the provisions of PTO 11B shall apply to any such dismissal and the Clerk

of Court shall not docket or close the case until the filing fee is paid if no such filing fee was

previously paid due to the plaintiffs action being filed as part of a bundled complaint.



                                                 1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 298 of 348



3.      Defendants stipulate that if any case filed in or transferred to this MDL is dismissed for

lack of federal subject matter jurisdiction either by motion or order to show cause or stipulation as

set forth in Paragraph 1, and if a new action is thereafter commenced in a court having jurisdiction

in the state where plaintiff resided at the time he or she used Xarelto within 60 days of such

dismissal, for statute of limitations purposes the new action shall be deemed to be commenced as

of the date the dismissed federal action was commenced. If the law of the state in which the action

is re-commenced provides for a longer period than 60 days to re-file, the longer period provided

by such state law shall apply.


4.   Paragraph 3 of this stipulation and order shall not apply as to any defendant that was not

properly served with the summons and complaint in federal court pursuant to the federal rules and

the time to complete such service has expired except that with respect to other Bayer entities as

defined in PTO 10, paragraph 3 shall apply so long as Bayer Pharma AG and Bayer

Pharmaceuticals Inc. were timely served.


5.   Paragraph 3 of this stipulation and order shall not apply if the plaintiff in the dismissed action

fails to commence a new action in a court having jurisdiction in the state specified in paragraph 3

within 60 days of dismissal of the federal action for lack of subject matter jurisdiction; provided,

however, that if the dismissal of the federal action is timely appealed to a federal Court of Appeals,

the new action may be filed within 60 days of the dismissal order becoming final following the

issuance of mandate from the appellate court.


                                               SO ORDERED


                                               ________________________________
                                                     23rd 2016
                                               March ____,

                                                   2
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 299 of 348




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                    MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                    SECTION L
                                          *
                                          *                    JUDGE ELDON E. FALLON
                                          *
                                          *                    MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES


                                  PRETRIAL ORDER NO. 25
                 (Production of Materials Pursuant to Subpoenas to Third Parties)

           The Parties having conferred, consented, stipulated and agreed to entry of the within

Consent Order, and good cause appearing therefore, it is hereby ORDERED, as follows:

           When a third party produces documents or information pursuant to a subpoena issued in

this litigation, the receiving party shall ensure that copies of the responsive materials will be

produced to the other side within 48 hours of receipt.

            New Orleans, Louisiana, this ______ day of April, 2016.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




00341943
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 300 of 348



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                  SECTION L
                                          *
                                          *                  JUDGE ELDON E. FALLON
                                          *
                                          *                  MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                            PRETRIAL ORDER NO. 11F
                        (Bundling of Complaints and Answers)

       In PTO 11E, the Court announced that the Clerk’s office would no longer accept

Joint Complaints after May 20, 2016. (Rec. Doc. 2850). The parties have requested

clarification of this Pretrial Order, and the Court now writes to eliminate any possible

ambiguity.

       IT IS ORDERED that as of May 20, 2016, no Joint Complaints as defined in

PTO 11 filed in any court will be accepted by the Clerk’s office.



       NEW ORLEANS, LOUISIANA this 15th day of April, 2016.



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 301 of 348




                            UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                                 MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                             SECTION L

THIS DOCUMENT RELATES TO                                     JUDGE ELDON E. FALLON
ALL ACTIONS
                                                             MAG. JUDGE NORTH

                                PRETRIAL ORDER NO. 26
                              (Bellwether Deposition Protocol )

           1.   Scheduling. Andy Birchfield of the PSC will handle scheduling for

plaintiffs. When a critical mass of relevant medical records are collected for a particular

case, Defense counsel will notify Andy Birchfield and identify the prescriber and treater

that defendants want to depose. In response, Andy Birchfield will provide dates for

plaintiff, prescriber and treater with no less than two week notice.

           2.   Who gets deposed. Within 1 week of receiving Defendants’ identification

of the prescriber and treater they want to depose in each case, Andy Birchfield will notify

defendants if there is any disagreement. Andy Birchfield, Susan Sharko (Janssen) and

Andrew Solow (Bayer) will attempt to resolve these disputes or will seek Court assistance,

as necessary.

           3.   Location of Depositions. The witnesses will be deposed in the federal

district where they live.

           4.   Order of Depositions. The order of deposition shall be plaintiff, prescriber

and treater, with the detail representative going before or after the treater, as scheduling

permits



00342462
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 302 of 348




           5.   Time of Depositions. Seven hours for defense for the plaintiff deposition.

For prescribing doctor and treating doctor depositions, the time split will be 50-50

provided that plaintiff’s counsel has not met with the doctor. If the plaintiff’s counsel has

met with the doctor, then defense counsel will be allocated 60% of the deposition time for

that doctor’s deposition. For detail representative depositions, six hours will be allotted for

plaintiff’s counsel and one hour for defense counsel.

           6.   Order of Questioning. For detail representatives, plaintiffs first. For

prescribers and treaters, as set forth on table below:

Pick                 Xarelto User                        Prescriber          Treater
Random Pick          Atwood, Donnie                      Defense First       Plaintiff First
Random Pick          Bloch, Carmelita                    Plaintiff First     Defense First
Random Pick          Cooper, Daisy                       Defense First       Plaintiff First
Random Pick          Ervin, Joseph W.                    Plaintiff First     Defense First
Random Pick          Fishman, Helen                      Defense First       Plaintiff First
Random Pick          Gray, Lawrence                      Plaintiff First     Defense First
Random Pick          Hall, Sigrid                        Defense First       Plaintiff First
Random Pick          Hershberger, Lowell                 Plaintiff First     Defense First
Random Pick          Ibanez, Harriet                     Defense First       Plaintiff First
Random Pick          Louviere, Herbert J., Jr.           Plaintiff First     Defense First
Random Pick          Mascaro, Frances                    Defense First       Plaintiff First
Random Pick          McDaniel, Frances                   Plaintiff First     Defense First
Random Pick          McKee, Mary                         Defense First       Plaintiff First
Random Pick          Mitchell, Rawleigh                  Plaintiff First     Defense First
Random Pick          North, David                        Defense First       Plaintiff First
Random Pick          O'Fallon, JoAnn                     Plaintiff First     Defense First
Random Pick          Smith, Gwendolyn                    Defense First       Plaintiff First
Random Pick          Stokes, Mary                        Plaintiff First     Defense First
Random Pick          Voss, Marilyn                       Defense First       Plaintiff First
Random Pick          Williams, Sidney A., Jr             Plaintiff First     Defense First
Defense Pick         Bass, David                         Defense First       Plaintiff First
Defense Pick         Braswell, Christopher               Plaintiff First     Defense First
Defense Pick         Brien, James J., Sr.                Defense First       Plaintiff First




00342462
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 303 of 348




Defense Pick         Dixon, Winston D.                 Plaintiff First   Defense First
Defense Pick         Dombroski, Anthony                Defense First     Plaintiff First
Defense Pick         Heckler, James                    Plaintiff First   Defense First
Defense Pick         Henry, William                    Defense First     Plaintiff First
Defense Pick         Marotte, Judy                     Plaintiff First   Defense First
Defense Pick         Sutton, Rose                      Defense First     Plaintiff First
Defense Pick         Weis, Janet                       Plaintiff First   Defense First
Plaintiff Pick       Barbosa, Manuel                   Defense First     Plaintiff First
Plaintiff Pick       Boudreaux, Joseph J., Jr.         Plaintiff First   Defense First
Plaintiff Pick       Ferguson, Patricia                Defense First     Plaintiff First
Plaintiff Pick       Griffin, Clarence, Jr.            Plaintiff First   Defense First
Plaintiff Pick       Guerra, Horacio                   Defense First     Plaintiff First
Plaintiff Pick       Hannah, Tommie Lee                Plaintiff First   Defense First
Plaintiff Pick       Jack, Tharon                      Defense First     Plaintiff First
Plaintiff Pick       Mingo, Dora                       Plaintiff First   Defense First
Plaintiff Pick       Orr, Sharyn                       Defense First     Plaintiff First
Plaintiff Pick       Yarnick, David Lynn               Plaintiff First   Defense First


           7.    Number of Questioners. One for each party for each witness.
                                           April 2016.
NEW ORLEANS, LOUISIANA, this ____ day of _______,



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE




00342462
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 304 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)                         *         MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                     *         SECTION L

                                                     *         JUDGE ELDON E. FALLON

                                           *                   MAG. JUDGE NORTH
*******************************************
THIS DOCUMENT RELATES TO ALL CASES


                                 PRE-TRIAL ORDER NO. 27
                      (Plaintiff Fact Sheets and Defendant Fact Sheets)


       By agreement of the parties, this Order modifies PTO Nos. 13, 13A, 14 and 14A in

regard to Plaintiff Fact Sheets (PFS) and Defendant Fact Sheets (DFS), as follows:

PLAINTIFF FACT SHEETS

   1. Plaintiffs shall provide a complete PFS, and amend their PFS if necessary, for the 40

       discovery pool cases.

   2. For all other cases (not in the discovery pool) where Plaintiff’s PFS were due on or after

       March 30, 2016, Plaintiffs shall be obligated to substantially complete Section 1 (as

       defined by Paragraph 2of PTO 14) of the PFS only (Core Case Information), and provide

       records of proof of use and proof of injury within 90 days from the date Plaintiff’s

       complaint was filed. Plaintiffs shall also produce medical records and pharmacy records

       responsive to Section IX of the Plaintiff Fact Sheet.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 305 of 348



DEFENDANT FACT SHEETS

   1. Defendants shall provide a complete DFS, and amend their DFS if necessary, for the 40

       discovery pool cases.

   2. For all other cases (not in the discovery pool), Defendants will complete a DFS within 90

       days of this Order for cases where a substantially complete PFS (as defined by Paragraph

       2 of PTO 14) has been served as of March 30, 2016. Defendants will not be obligated to

       serve a DFS for any PFS served after March 30, 2016.

   3. The defendant Bayer Pharmaceutical A.G. (BPAG) is not obliged to serve a DFS in any

       past or future cases except in the 40 discovery pool cases, and such responses need only

       be a formal statement that BPAG has no relevant materials required by the DFS.

   Upon notification that the parties wish to terminate the foregoing agreement, the Court will

establish a schedule for the service of Defendant Fact Sheets in cases where core-complaint

Plaintiff Fact Sheets were served after March 30, 2016.

                                                      April
   New Orleans, Louisiana, this _________day of _______________, 2016.



                                            ____________________________________
                                            Honorable Eldon E. Fallon
                                            United States District Judge




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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 306 of 348




                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                          MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                      SECTION L

THIS DOCUMENT RELATES TO                              JUDGE ELDON E. FALLON
ALL CASES
                                                      MAG. JUDGE NORTH

                             PRETRIAL ORDER NO. 28
                          (Regarding Contact with Physicians)

       Consistent with the Court’s Order & Reasons, entered on March 9, 2016 [Doc.

No. 2676] (“Order & Reasons”), the following will govern the parties’ interactions with

an MDL Plaintiff’s prescribing and treating physicians. As used in this order, an “MDL

Plaintiff’s prescribing or treating physician” is a physician who has one or more patients

who have filed a lawsuit (or whose representative has filed a lawsuit) pending in this

MDL proceeding alleging that the patient sustained an injury caused by Xarelto. A

“prescribing physician” is the physician identified in Plaintiffs’ Fact Sheet as the

physician who prescribed Xarelto to the plaintiff, as recorded in MDL Centrality; a

“treating physician” is the physician who treated the injury alleged in the Plaintiffs’ Fact

Sheet, as recorded in MDL Centrality.

       1.      Plaintiffs’ counsel may engage in ex parte communications with any MDL

Plaintiff’s prescribing or treating physician. With respect to any such ex parte

communications, at least 48 hours before the deposition of the Plaintiff’s prescribing or

treating physician, Plaintiffs’ counsel shall disclose to Defendants’ counsel each of the

following:
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 307 of 348




               a.      the date(s) of each such ex parte communication;

               b.      the approximate duration of each such ex parte communication;

               c.      the location of each such ex parte communication;

               d.      the participants in each such ex parte communication; and

               e.      the identity of the documents, photographs, or other materials that

were shown or provided to the treating physician by Plaintiffs’ counsel in connection

with each such ex parte communication.

       2.      Defendants’ counsel will not engage in ex parte communications with any

MDL Plaintiff’s prescribing or treating physician, except as permitted in paragraph 3 and

its subdivisions. Nothing herein shall bar any employee, agent or representative of the

Defendants from engaging in communications with physicians in the ordinary course of

business.

       3.      Going forward from the date of this Order, Defendants’ counsel may

engage in ex parte communications with up to 30 MDL Plaintiffs’ prescribing or treating

physicians (to be divided between the Defendants, collectively) for the purpose of

obtaining physician-experts with respect to the discovery pool Plaintiffs as identified in

the Court's Order dated March 7, 2016 [Doc. No. 2626] (the “Discovery Pool Plaintiffs”).

In addition, Defendants’ counsel may retain as expert witnesses up to 15 MDL Plaintiffs’

prescribing or treating physicians (to be divided between the Defendants, collectively),

no matter when the physicians were initially contacted by Defendants’ counsel.

               a.      All ex parte communications by Defendants’ counsel with an

MDL Plaintiff’s prescribing or treating physician must be limited to non-substantive
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 308 of 348




discussions until the physician has affirmatively expressed a bona fide interest in being

considered as a retained expert.

                b.      Defendants’ counsel shall not retain physician-experts who are

prescribing or treating physicians, as recorded in MDL Centrality, of the Discovery Pool

Plaintiffs until the trial or disposition of the first four bellwether cases.

                c.      Defendants’ counsel shall disclose to Plaintiffs’ counsel on the

date set forth in CMO 2 for disclosure of testifying experts, the name of any testifying

expert who per MDL Centrality has patients who are plaintiffs in the MDL proceeding,

and the experts themselves shall have no further affirmative disclosure obligations. No

disclosures pursuant to CMO 2 are necessary for consulting experts until such time as an

expert is identified as a testifying expert. Consulting experts contacted or retained by

Defendants’ counsel shall be subject to all of the requirements of this Order to the same

extent as testifying experts, except that the disclosure requirements set forth in this sub-

paragraph 3(c) shall not apply to consulting experts until they are identified as testifying

experts.

                d.      Defendants’ counsel may communicate with a prospective

physician-expert about his or her general clinical experiences with Xarelto, provided that

Defendants’ counsel shall not communicate with a physician-expert who has acted as a

prescribing or treating physician about any of his or her specific patients who have taken

Xarelto.

                e.      The Defendants shall not use a physician as a consulting or

testifying expert in a case where that physician’s present or former patient is a plaintiff in
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 309 of 348




that case. The provisions of this subparagraph shall not apply to plaintiffs who are in a

bundled complaint with Discovery Pool Plaintiffs but who are not themselves Discovery

Pool Plaintiffs.

                f.      Defendants may rely on the disclosures in Plaintiffs’ Fact Sheets as

recorded in MDL Centrality at the time the physician-expert is retained, in determining

whether a physician is an MDL Plaintiff’s prescribing or treating physician. Subsequent

disclosures in Plaintiffs’ Fact Sheets as recorded in MDL Centrality shall not impact the

count toward the cap in paragraph 3.

        4.      The numerical limit in paragraph 3 above is subject to modification by

agreement of the parties or by court order for good cause shown. The limitation shall be

subject to re-evaluation by the Court should any additional plaintiffs subsequently be

selected for discovery or trial.

        5.      This order denies in part and grants in part Defendants’ Motion for Entry

of Proposed Order Regarding Contact with Physicians [Doc. No. 1844]. The Court

overrules Defendants’ and Plaintiffs’ objections to the extent this order is inconsistent

with the positions of either party as articulated in their written submissions or oral

argument.
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 310 of 348




       6.      This order denies in part and grants in part Defendants’ Motion for

Reconsideration [Doc. No. 2991]. The motion is granted to the extent that this Pretrial

Order deviates from the Court’s Order & Reasons Regarding Contact with Physicians

[Doc. No. 1844]. The motion is otherwise denied.



                                                 April 2016.
       NEW ORLEANS, LOUISIANA, this ____ day of _______,



                                             ________________________________
                                             UNITED STATES DISTRICT JUDGE
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 311 of 348




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                              SECTION L

THIS DOCUMENT RELATES TO ALL CASES                            JUDGE ELDON E FALLON

                                                              MAG. JUDGE NORTH

                              PRETRIAL ORDER NO. 24A
                (Supplemental Procedures for Voluntary Dismissal Motions)

       This Order does not replace or modify the provisions of PTO No. 24, which remains in

force and effect with respect to Motions of Voluntary Dismissal based on the lack of subject matter

jurisdiction. This Order does supplement PTO No. 24, however, by setting forth additional

procedures that govern all Motions of Voluntary Dismissal filed by a plaintiff or plaintiffs under

FRCP 41(a)(2), regardless of the basis for the voluntary dismissal.

       1. Moving counsel for a plaintiff in all motions to dismiss any or all parties or claims,

           whether the dismissal sought is with or without prejudice, must certify in the motion

           that Defendants’ Lead and Liaison Counsel were contacted in writing at least fourteen

           (14) days prior to the filing of the motion and all served Defendants have responded in

           writing stating either their consent or no intended opposition to the motion, or have

           responded in writing stating that the motion is opposed. The Clerk of Court is directed

           not to accept such motions for filing without this certification by moving counsel.

       2. All motions filed by plaintiff to voluntarily dismiss an entire action (i.e., all claims and

           parties), whether with or without prejudice, must also be accompanied by a written


                                                 1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 312 of 348



     certification by counsel filing the motion that said counsel has complied with the filing

     fee payment provisions of PTO No. 11B (Rec. Doc. 1117) and that all applicable filing

     fees have been paid.

  3. This Order shall apply not only to motions filed hereafter but also to previously-filed

     but still pending motions of plaintiff’s counsel to dismiss, and counsel shall amend or

     supplement such motions in order to comply with the provisions of this Order.

  4. If motions to dismiss previously were granted by the Court without filing fees having

     been paid pursuant to PTO No. 11B, Plaintiffs’ Liaison Counsel will communicate in

     writing to the moving counsel in those actions, requesting immediate payment of the

     filing fee to the Clerk of Court. Plaintiffs’ Liaison Counsel shall report to the Court at

     each monthly status conference as necessary regarding the status of such matters.

  5. All motions of plaintiffs’ counsel to dismiss which are opposed by one or more

     Defendants shall be noticed for hearing by moving counsel on a date specified by the

     Court as the date for a monthly status conference in these proceedings, and any needed

     argument on such motions will be conducted immediately following the status

     conference on that date. To be set for hearing at the monthly status conference, the

     motion to dismiss must be filed (at least) twenty-one (21) days before the conference.

  NEW ORLEANS, LOUISIANA, this ______ day of _______________,
                                                   May        2016.




                                        __________________________________________
                                        HONORABLE ELDON E. FALLON
                                        UNITED STATES DISTRICT JUDGE




                                           2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 313 of 348




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                              SECTION L

THIS DOCUMENT RELATES TO ALL CASES                            JUDGE ELDON E FALLON

                                                              MAG. JUDGE NORTH


                               PRETRIAL ORDER NO. 29
                       (Procedures for Notices of Voluntary Dismissal)

       This Order applies to all Notices of Voluntary Dismissal of entire actions filed by a plaintiff

or parties under FRCP 41(a)(1), and establishes the following procedures as to such Notices:

   1. A Notice of the Voluntary Dismissal of an entire action may be filed pursuant to FRCP

       41(a)(1) only if no Defendant has answered the Complaint which is the subject of the

       Notice. Omnibus Answers filed by Defendants are deemed by PTO No. 11(2)(c) [Rec.

       Doc. 893] to be the operative answer in each action filed in, or transferred to, the MDL,

       thirty (30) days after the case is docketed, assuming no individual answer was filed prior

       to that time. Accordingly, all Notices of Voluntary Dismissal of an entire action under

       FRCP 41(a)(1) must be accompanied by a written certification by counsel that the Notice

       has been filed less than thirty (30) days from the date the case was docketed in the MDL,

       and that no individual answer has been filed by any Defendant in the matter.

   2. Any Notice of Voluntary Dismissal pursuant to FRCP 41(a)(1) must be accompanied by

        a written certification by counsel filing the Notice that said counsel has complied with



                                                 1
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 314 of 348



  the filing fee payment provisions of PTO No. 11B (Rec. Doc. 1117) and that all filing

  fees which are due have been paid.

                                                   May
  NEW ORLEANS, LOUISIANA, this ______ day of _______________, 2016.




                                       __________________________________________
                                       HONORABLE ELDON E. FALLON
                                       UNITED STATES DISTRICT JUDGE




                                         2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 315 of 348



                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                            SECTION L

THIS DOCUMENT RELATES TO ALL CASES                          JUDGE ELDON E FALLON

                                                            MAG. JUDGE NORTH


                               PRETRIAL ORDER NO._30
                     (Procedures for Withdrawal of Plaintiff’s Counsel)

       This Order governs the procedure for Motions for the Withdrawal of Plaintiff’s Counsel.

   1. In addition to satisfying the requirements of Local Rule 83.2.11 of this Court and the

applicable state Rules of Professional Conduct, a Motion for the Withdrawal of Plaintiff’s Counsel

which would leave the plaintiff unrepresented, even temporarily, requires leave of Court and must

be accompanied by the following to be considered by the Court:

       (a) a written certification by moving counsel that Defendants’ Lead and Liaison Counsel

           have been contacted in writing at least fourteen (14) days prior to the filing of the

           motion and all served Defendants have responded in writing either their consent or no

           intended opposition to the motion, or have responded in writing that the motion is

           opposed, without which certification the Clerk of Court is directed not to accept such

           motions for filing;

       (b) a written statement by moving counsel indicating whether or not each plaintiff subject

           to the motion has communicated to moving counsel an objection to the requested

           withdrawal and whether the plaintiff has communicated an intention to obtain other

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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 316 of 348



     counsel herein, and, if so, also has indicated the expected length of time required to do

     so. When moving counsel has not been able to communicate with the plaintiff, moving

     counsel as required by Local Rule 83.2.11 must submit in an affidavit     (1) a statement

     that all reasonable efforts were made to communicate with the plaintiff, such as by

     telephone, email, text message and certified mail, return receipt requested, and

     (2) detailed information for each attempted communication. Moving counsel shall

     attach to the affidavit copies of the return receipts of any certified letters mailed to

     clients in the course of efforts to communicate with them, and also shall preserve for

     potential Court review in camera copies of all text messages, emails and letters sent in

     the course of efforts to communicate with the plaintiff. Moving counsel’s inability to

     communicate with the client will not necessarily result in permission to withdraw as

     counsel;

  (c) a written statement by moving counsel indicating whether or not each plaintiff subject

     to the motion has complied with PTO No. 13 or, if applicable, PTO No. 27, which

     requires service of a Plaintiff Fact Sheet in these proceedings within sixty (60) days

     (ninety (90) days if PTO No. 27 applies) from the date of the filing of the Complaint,

     and, if so, whether this Fact Sheet has been entered into MDL Centrality. If the plaintiff

     does not comply with Court orders (including the submission of a completed Plaintiff

     Fact Sheet) as a result of being out of communication with the moving counsel, the

     Court may in its discretion dismiss the plaintiff’s case; and

  (d) a statement by moving counsel of compliance with Pretrial Order No. 11B (Rec. Doc.

     1117) and a verification that any applicable filing fee has been paid.



                                           2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 317 of 348



   2. This Order shall apply not only to motions filed hereafter but also to previously-filed but

still pending motions of plaintiff’s counsel to withdraw, and counsel shall amend or supplement

such motions in order to comply with the provisions of this Order.

   3. If motions to withdraw as counsel previously were granted by the Court so as to leave

plaintiffs unrepresented in actions which have been dismissed without filing fees having been paid

pursuant to PTO No. 11B, Plaintiffs’ Liaison Counsel will communicate in writing to the last-

withdrawn counsel in those actions, requesting immediate payment of the filing fee to the Clerk

of Court. Plaintiffs’ Liaison Counsel shall report to the Court at each monthly status conference

as necessary regarding the status of such matters.

   4. All motions of plaintiffs’ counsel to withdraw which are opposed by one or more

Defendants shall be noticed for hearing by moving counsel only on a date specified by the Court

as the date for a monthly status conference in these proceedings, and any needed argument on such

motions will be conducted immediately following the status conference on that date. For a motion

to withdraw as counsel to be noticed for hearing at the monthly status conference, however, the

motion must be filed (at least) twenty-one (21) days before the conference.

                                    14th day of _______________,
       NEW ORLEANS, LOUISIANA, this ______            June       2016.




                                             __________________________________________
                                             HONORABLE ELDON E. FALLON
                                             UNITED STATES DISTRICT JUDGE




                                                3
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 318 of 348



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                   MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                   SECTION L
                                          *
                                          *                   JUDGE ELDON E. FALLON
                                          *
                                          *                   MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                            PRE-TRIAL ORDER NO. 10A
                  (Streamlined Service on Certain Bayer Defendants)

       The Court outlined in Pretrial Order 10 the procedure for the streamlined service

of certain Bayer Defendants. R. Doc. 357. In Part II.C., the Court granted multiple

classes of plaintiffs 60 days to serve their Complaint with a Summons. R. Doc. 357 at 2.

Due to an influx of Complaints in advance of the deadline for filing Bundled Complaints,

the Clerk’s Office is inundated with a large number of recently-filed Complaints into

MDL 2592. The quantity of these Complaints has delayed the Clerk’s entry of Summons

in recently-filed cases. Therefore, to promote the interests of fairness, efficiency, and

economy,

       IT IS ORDERED that plaintiffs identified in Part II.C. of Pretrial Order 10

whose cases have already been docketed in this MDL shall have 90 days from the entry

of this Order to serve the Complaint with a Summons.

       IT IS FURTHER ORDERED that plaintiffs identified in Part II.C. of Pretrial

Order 10 whose cases are not docketed in this MDL upon the entry of this Order but are




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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 319 of 348



docketed on or before July 11, 2016, shall have 90 days from the docketing of the

Complaint in the MDL to serve the Complaint with a Summons.



       NEW ORLEANS, LOUISIANA this 23rd day of June, 2016.



                                            ____________________________________
                                            UNITED STATES DISTRICT JUDGE




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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 320 of 348
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 321 of 348
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 322 of 348
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 323 of 348



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



IN RE: XARELTO (RIVAROXABAN)              *                 MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                 SECTION L
                                          *
                                          *                 JUDGE ELDON E. FALLON
                                          *
                                          *                 MAG. JUDGE NORTH
* * * * * * * * * * * * * * * * * * * * * *
THIS DOCUMENT RELATES TO ALL CASES

                           PRE-TRIAL ORDER NO. 10B
                 (Streamlined Service on Certain Bayer Defendants)

       The Court outlined in Pretrial Order 10 the procedure for the streamlined service

of certain Bayer Defendants. R. Doc. 357. In Part II.C., the Court granted multiple

classes of plaintiffs 60 days to serve their Complaint with a Summons. R. Doc. 357 at 2.

Due to an influx of Complaints in advance of the deadline for filing Bundled Complaints,

the Clerk’s Office is inundated with a large number of recently-filed Complaints into

MDL 2592. The quantity of these Complaints has delayed the Clerk’s entry of Summons

in recently-filed cases. While progress has been made in the wake of the Court’s

implementation of Pretrial Order 10A, many Summons have yet to be entered.

Therefore, to promote the interests of fairness, efficiency, and economy,

       IT IS ORDERED that plaintiffs identified in Part II.C. of Pretrial Order 10

whose cases have already been docketed in this MDL shall have 90 days from the entry

of this Pretrial Order to serve the Complaint with a Summons.

       IT IS FURTHER ORDERED that plaintiffs identified in Part II.C. of Pretrial

Order 10 whose cases are not docketed in this MDL upon the entry of this Pretrial Order




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Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 324 of 348



but are docketed on or before September 16, 2016, shall have 90 days from the

docketing of the Complaint in the MDL to serve the Complaint with a Summons.



       NEW ORLEANS, LOUISIANA this 17th day of August, 2016.



                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 325 of 348



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)
                         *                            MDL 2592
PRODUCTS LIABILITY LITIGATION
                         *
                         *                            SECTION L
THIS DOCUMENT RELATES TO *
ALL CASES                *                            JUDGE ELDON E. FALLON
                         *
                         *                            MAG. JUDGE NORTH
*************************


                                 PRE-TRIAL ORDER 12(B)
                        (Stipulation and Order to Govern Non-Party
                  Portola Pharmaceutical, Inc.’s Production of Documents)

       This Pre-Trial Order 12(B) (“PTO 12(B)”) will govern the production of documents made

by Portola in this litigation, including those documents in response to the Plaintiffs’ May 9, 2016

Subpoena to Produce Documents, Information or Objects or to Permit Inspection of Premises in a

Civil Action (the “Subpoena”) that was served on Portola. For good cause as shown:

       WHEREAS, on August 4, 2016, at the hearing on the PSC’s motion to compel, and in a

telephonic hearing conducted on September 14, 2016, the Parties, Portola, and the Court discussed

the need for additional protective provisions to govern Portola’s production of certain confidential

documents;

       IT IS HEREBY ORDERED that PTO 12 and 12(B) shall govern Portola’s production of

documents:

       1.      In addition to the provisions in PTO 12 which shall apply to any production made

by Portola, Portola may also designate as “PROTECTED INFORMATION – ATTORNEYS

EYES ONLY” those documents meeting the criteria for “PROTECTED INFORMATION –

HIGHLY PROTECTED” that Portola has not previously disclosed or provided to a defendant of




                                                 1.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 326 of 348



record in MDL No. 2592. A document marked “PROTECTED INFORMATION – ATTORNEYS

EYES ONLY” may be only be disclosed to:

               (a)    Defendants’ Counsel of record, Plaintiffs’ Lead and Liaison Counsel and

the Plaintiffs Steering Committee;

       2.      One (1) in-house counsel for the Janssen defendants and the Bayer defendants,

respectively, provided that such designee serves exclusively as in-house litigation counsel.

Defendants’ Counsel of record shall identify Janssen’s designee and Bayer’s designee to Counsel

for Portola prior to the designee obtaining access to materials marked “PROTECTED

INFORMATION – ATTORNEYS EYES ONLY”.

       3.      The parties shall meet and confer further to discuss the sharing and use of

documents designated “PROTECTED INFORMATION – ATTORNEYS EYES ONLY” under

this PTO 12(B) in depositions or with others, as may be necessary. Failing to come to an

agreement, the Parties and Portola will bring unresolved matters to the Court.

       New Orleans, Louisiana, this 21st day of September, 2016.


                                             __________________________________
                                             Eldon E. Fallon
                                             United States District Court Judge




                                                2.
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 327 of 348



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)       *                         MDL NO. 2592
PRODUCTS LIABILITY LITIGATION      *
                                   *                         SECTION L
                                   *
                                   *                         JUDGE ELDON E. FALLON
                                   *
                                   *                         MAG. JUDGE NORTH
                                   *
**************************** *
THIS DOCUMENT RELATES TO ALL CASES

                                  PRETRIAL ORDER NO. 23A
                                  (Expert Deposition Guidelines)

                This Order shall govern the conduct of expert depositions for experts disclosed

 under 26(a)(2)(B) for the first four bellwether trials.

                The Parties previously submitted protocols for non-case-specific depositions,

ordered by the Court in its Deposition Guidelines Order (Pretrial Order No. 23 (Rec. Doc. 2283)

and for the bellwether deposition protocol, ordered by the Court in its Pretrial Order No. 26 (Rec.

Doc 3093). Except where otherwise noted below, this Order hereby incorporates the protocols set

forth regarding General Provisions and Conduct of Depositions in Sections I and II of Pretrial

Order No. 23 (Deposition Guidelines).

I.      CONDUCT OF DEPOSITIONS

        A.      Examination

                For each expert witness in MDL No. 2592, there shall be no more than two

primary examining attorneys for the Plaintiffs and no more than two primary examining

attorneys for the Defendants, collectively. An expert witness or consultant of the party

examining the witness may attend.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 328 of 348



       B.      Materials to be Produced

               The parties shall produce the following materials:

               (1) A list of documents and materials containing the facts or data relied upon by

       the witness in forming his/her opinions;


               (a) The parties are not required to produce the actual documents or materials

               relied upon by the expert witnesses in forming his/her opinions. Rather, the

               parties shall provide a list of materials relied upon by each expert, and said list

               shall include the bates numbers for documents and materials, if available. The

               opposing party can request copies of documents and materials not already

               produced in this litigation or not reasonably available in the public domain;


               (2) a list of any exhibits (including bates numbers if available) that will be used

       by the witness to summarize or support his/her opinions (excluding demonstratives that

       may be used at trial);

               (3) the witness’s current curriculum vitae, including a list of all publications

       authored by the witness in the previous 10 years;

               (4) a list of all other cases in which, during the previous 4 years, the witness

       testified as an expert at trial or by deposition; and

               (5) a statement of the compensation to be paid for the witness’s study and

       testimony in the case, including the witness’s invoices/bills for the work performed to

       date.

               The materials above should be provided at the time the report is served (with the

exception of the statement of the compensation to be paid for the witness’s study and testimony

in the case and the witness’s invoices/bills for the work performed to date, which shall be


                                                  2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 329 of 348



produced at the witness’s deposition.). To the extent such materials have not been provided or

there are additional materials that fall within the documents listed above, they should be

provided no later than ten days before the witness’s deposition. Graphics or demonstratives that

an expert may use at trial need not be disclosed at or prior to deposition, but shall be disclosed at

least 36 hours prior to examination of the particular witness at trial.

       C.      Duration

               It is expected that the parties will complete their examination of the expert in

seven hours (excluding breaks in the deposition), and the parties will cooperate to complete the

deposition in one sitting with a minimum of inconvenience to the witness and counsel. This

limitation assumes the proper cooperation and responsiveness of the witness and counsel. Where

examining counsel feel additional time is necessary, they will work cooperatively to agree on a

reasonable extension of time and if are unable to agree will take the issue to the Court promptly,

preferably before the deposition.

               Experts providing reports for any of the initial Bellwether cases who offer generic

testimony and case-specific testimony about one Bellwether plaintiff will be subject to the seven

hour time limit set forth above plus three (3) hours (excluding breaks in the deposition) on a

separate day. However, it is expected that, if the same expert witness later offers case-specific

testimony about additional plaintiffs, the witness will not be deposed for seven hours per

plaintiff, but can be deposed in a much shorter time, presumptively three hours. Where the

expert’s later reports concern more than one plaintiff, the parties will cooperate to schedule a

deposition that will cover the opinions as to all the plaintiffs in the report where that is

reasonable (taking into account the number of plaintiffs and when they are scheduled for trial).

Where an expert provides additional or new generic opinions in a new report or along with a

report about additional plaintiffs, the witness may be deposed for additional time on the new or


                                                   3
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 330 of 348



additional generic opinions, up to an additional three hours beyond the time allowed for the

expert’s case-specific opinions.

       D.      Scheduling

               At the time of the disclosure of expert reports, the disclosing party shall provide a

proposed location and no less than three dates on which the witness is available for deposition.

Counsel for the opposing party will notify opposing counsel expeditiously as to which of the

offered deposition dates will be accepted. In the case of disclosures by plaintiffs, counsel for

both defendants must confirm the acceptable deposition date. The parties will make every effort

to accommodate one of the dates provided for the deposition; however, it is understood that

conflicts can occur and that, at times, it may be necessary to request additional dates.

               Each deposition notice shall include the name, address and telephone number of

an attorney point of contact designated by the party noticing the deposition as well as the date,

time and place of the deposition. The deposition notice shall generally be served seven (7) days

prior to a scheduled deposition; said notice shall not be filed on the Court docket.

               The parties will meet and confer on the location of depositions, taking into

consideration the preference of the expert witness. Prior to issuing a deposition notice, absent

extraordinary circumstances, counsel should consult in advance in an effort to schedule

depositions at mutually convenient times and locations. Counsel are expected to cooperate and

coordinate the scheduling of depositions.

               After counsel, through consultation, have arrived on a mutually acceptable date

and location for a deposition, the Noticing Party shall serve an amended Notice (if necessary)

reflecting the agreed upon date and location; said notice shall not be filed on the Court docket.




                                                 4
       Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 331 of 348



         E.    Translators

               In the event an expert witness requires a translator, the time limits discussed in

Section C will not apply. Rather, each witness requiring a translator is expected to be made

available for double the amount of time indicated above in Section C.

               Counsel will notify the opposing party of any expert witness whose examination

will require the involvement of a translator at the time that deposition dates are offered.

               The party offering an expert witness who requires a translator will incur all of the

fees and costs of the translators.

II.      USE OF DEPOSITIONS

               Depositions of expert witnesses are for the purpose of discovery of the expert’s

opinions. Absent an agreement between the parties, expert witnesses are expected to be

available to testify live at trial. Depositions may not be used at trial in lieu of live testimony

without agreement between the parties or by Court Order. Depositions may be used for purposes

of impeachment of an expert in any Xarelto-related action in which the expert has been

designated, including in state court to the extent permitted by that state’s law and rules.

III.     FEDERAL RULES OF CIVIL PROCEDURE APPLICABLE

               The Federal Rules of Civil Procedure and Federal Rules of Evidence shall apply

in all proceedings unless specifically modified herein.

          New Orleans, Louisiana this 7th day of November, 2016



                                                       ELDON E. FALLON
                                                       UNITED STATES DISTRICT JUDGE




                                                   5
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 332 of 348



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                   MDL NO. 2592
PRODUCTS LIABILITY LITIGATION

THIS DOCUMENT RELATES TO                                       SECTION L
ALL CASES                                                      JUDGE ELDON E FALLON
                                                               MAG. JUDGE NORTH


                               PRETRIAL ORDER NO. 28A
                      (Regarding Contact with Physicians Through Trial)

       Consistent with the Court’s Order & Reasons, entered on March 9, 2016 [Doc. No. 2676],

and Pretrial Order No. 28, entered on April 28, 2016 [Doc. No. 3156], the following will govern

the parties’ interactions with an MDL Plaintiff’s prescribing and treating physicians for the four

bellwether cases through the end of trial.

       1.    Plaintiffs’ counsel may engage in ex parte communications with the healthcare

providers of the four bellwether plaintiffs, including but not limited to the prescribers and treaters.

With respect to any such ex parte communications, at least 48 hours before the healthcare

provider’s testimony at trial, Plaintiffs’ counsel shall disclose to Defendants’ counsel each of the

following:

               a.      The date(s) of each such ex parte communication;

               b.      The approximate duration of each such ex parte communication;

               c.      The location of each such ex parte communication;

               d.      The participants in each such ex parte communication; and

               e.      The identity of the documents, photographs, or other materials that were

shown or provided to the treating physician by Plaintiffs’ counsel in connection with each such ex

parte communication. If said communication takes place less than 48 hours before a healthcare
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 333 of 348



provider is scheduled to testify at trial, such disclosure shall be made within three hours of the

communication.

       2.      Plaintiffs’ counsel will maintain a record of the information set forth in paragraph

1 with respect to their ex parte contacts with physicians for each of the other 36 discovery pool

plaintiffs so that the information will be preserved when discovery is resumed in those cases.

       3.      Defendants’ counsel will not engage in ex parte communications with the

healthcare providers of the four bellwether plaintiffs except as permitted in paragraph 3 of Pretrial

Order No. 28 and its subdivisions. Nothing herein shall bar any employee, agent or representative

of the Defendants from engaging in communications with physicians in the ordinary course of

business.



       NEW ORLEANS, LOUISIANA, this 10th day of January, 2017.



                                              ________________________________________
                                              UNITED STATES DISTRICT JUDGE
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 334 of 348




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                          :
PRODUCTS LIABILITY LITIGATION                         :       MDL No. 2592
                                                      :
                                                      :       SECTION L
THIS DOCUMENT RELATES TO                              :
ALL CASES                                             :
                                                      :       JUDGE ELDON E. FALLON
                                                      :
                                                      :       MAGISTRATE JUDGE NORTH

                               PRE TRIAL ORDER NO. 31
               (Protocol to Assist in Addressing Plaintiff Fact Sheets Which
              Defendants Contend Are Not In Compliance with Court Orders)

       Defendants have requested that the Court enter a Pretrial Order setting forth the protocol

with respect to assistance that the Plaintiffs’ Steering Committee (PSC) has agreed to provide in

addressing deficiencies alleged by Defendants in a Plaintiff Fact Sheet (PFS). The Court has

previously addressed PFSs in Case Management Order No. 1 [Rec. Doc. 891], Pre-Trial Order No.

13 [Rec. Doc. 895], Pre-Trial Order No. 13A [Rec. Doc. 1040] and Pre-Trial Order No. 27 [Rec.

Doc. 3132] (collectively the “PFS Orders”). In an effort to resolve instances where PFS do not

comply with the Court’s PFS Orders, the parties have agreed, and the Court so Orders, as follows:

1.     When the Defendants allege either a failure to timely provide a PFS, or a deficiency in a

       timely-served PFS on the ground of non-compliance with the PFS Orders, the following

       procedure shall be utilized:

       a.     In cases where it is alleged the PFS has not been timely provided, Defendants will

              send counsel for the Plaintiff (or in the event the claimant is Pro se, then directly to

              the Pro se claimant) a letter requesting that a PFS be served within 20 days;
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 335 of 348



  b.    In cases where a PFS is received timely but alleged by Defendants to be deficient

        because it does not comply with the PFS Orders, Defendants will send counsel for

        the Plaintiff a letter specifically outlining the deficiency at issue and requesting that

        the deficiency(ies) be cured within 20 days; and

  c.    On or before the first business day of each month, starting February 1, 2017,

        Defendants shall provide Plaintiffs’ Liaison Counsel and its designee with one or

        all of the following three lists:

                i. A list of cases in which a PFS has allegedly not been timely served and

                    20 days have passed since the letter provided for in paragraph 1a was

                    sent;

                ii. A list of cases in which a PFS allegedly fails to provide pharmacy or

                    medical records indicating proof of use of Xarelto® (Defendant will

                    indicate the nature of the deficieny(ies) on the list provided to Plaintiffs’

                    Liaison Counsel and its designee) and 20 days have passed since the

                    letter provided for in paragraph 1b was sent; and/or

               iii. A list of cases in which a PFS allegedly remains core deficient for

                    reasons other than failure to provide proof of use of Xarelto®

                    (Defendant will indicate the nature of the deficieny(ies) on the list

                    provided to Plaintiffs’ Liaison Counsel and its designee) and 20 days

                    have passed since the letter provided for in paragraph 1b has been sent.

  d.    Thirty (30) days following receipt of the list(s) provided for in paragraph c above,

        Plaintiffs’ Liaison Counsel or its designee will provide comments and/or objections

        to the aforementioned lists.




                                            -2-
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 336 of 348



  e.     Five (5) days following receipt of comments from Plaintiffs’ Liaison Counsel or its

         designee, Defendants shall file the list(s) provided for in paragraph c above as

         Motions for Orders to Show Cause as to why the cases should not be dismissed, to

         be returnable for the next schedule case management conference.

  New Orleans, Louisiana, on this 24th day of January 2017.


                                       ___________________________________
                                       Eldon E. Fallon
                                       United States District Judge




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    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 337 of 348




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                  MDL NO. 2592
PRODUCTS LIABILITY LITIGATION
                                                              SECTION L

THIS DOCUMENT RELATES TO ALL CASES                            JUDGE ELDON E. FALLON

                                                              MAG. JUDGE NORTH

                                 PRETRIAL ORDER NO. 13B

                          (Amending Pretrial Order No. 13 and 13A)

       THIS MATTER, having been opened by the Court by counsel for the Parties, and the

Parties having consented, stipulated, and agreed to entry of the within Order, and good cause

appearing therefore,

       IT IS on this 26th day of January, 2018, ORDERED, as follows:

       Paragraph 4 of Pretrial Order No. 13 is hereby amended to add the following language:

       With respect to Authorizations provided to Defendants that are dated, Defendants and their

record copy vendor, The Marker Group, Inc. (“Marker”), are hereby authorized to “white-out” and

re-date the Authorizations to the date that they are being sent to the Healthcare Providers and other

entities that require Authorizations, provided that the date affixed is not later than November 30,

2018. Once this Order becomes effective, at the end of each month, Defendants’ vendor shall

supply to Liaison Counsel for Plaintiffs a list of all cases in which such authorizations have been

used that month.    This order shall become effective fourteen (14) days from the date above. If

any Plaintiff does not agree to authorize the re-dating of Authorizations as provided herein, he or

she shall notify lead counsel for the Defendants within ten (10) days of the date above and
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 338 of 348



  simultaneously provide defense counsel with updated authorizations.

  IT IS SO ORDERED.

                                             ____________________________________
                                             JUDGE ELDON E. FALLON




                                                                2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 339 of 348



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 IN RE: XARELTO (RIVAROXABAN)                                    MDL NO. 2592
 PRODUCTS LIABILITY LITIGATION
                                                                 SECTION L

 THIS DOCUMENT RELATES TO ALL CASES                              JUDGE ELDON E. FALLON

                                                                 MAG. JUDGE NORTH


                                 PRETRIAL ORDER NO. 13C

                       (Amending Pretrial Order No. 13, 13A and 13B)

       THIS MATTER, having been opened by the Court by counsel for the Parties, and the

Parties having consented, stipulated, and agreed to entry of the within Order, and good cause

appearing therefore,

       IT IS on this 15th day of May, 2018, ORDERED, as follows:

       Paragraph 4 of Pretrial Order No. 13 is hereby amended to add the following language:

       With respect to Authorizations provided to Defendants that are undated, Defendants and

their record copy vendor, The Marker Group, Inc. (“Marker”), are hereby authorized to date the

undated Authorizations as of the date of party or random selection per CMO No. 6 that are being

sent to the Healthcare Providers and other entities that require Authorizations, provided that the

date affixed is not later than November 30, 2018. Once this Order becomes effective, at the end

of each month, Defendants’ vendor shall supply to Liaison Counsel for Plaintiffs a list of all

cases in which such authorizations have been used that month. This order shall become effective

fourteen (14) days from the date above. If any plaintiff does not agree to authorize the dating of

undated Authorizations as provided herein, he or she shall notify lead counsel for the Defendants
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 340 of 348



within ten (10) days of the date above and simultaneously provide defense counsel with dated

authorizations.

       With respect to new or location specific authorizations, Plaintiffs shall cooperate with

Defendants, and shall respond to Defendants’ requests for signatures for new or location specific

authorizations within ten (10) days of being requested to do so.

IT IS SO ORDERED.




                                                     JUDGE ELDON E. FALLON




                                                2
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 341 of 348




                                 UNITED STATES DISTRICT
                               COURT EASTERN DISTRICT OF
                                       LOUISIANA

 IN RE: XARELTO (RIVAROXABAN)
 PRODUCTS LIABILITY LITIGATION                          MDL No. 2592

                                                        SECTION L

                                                        JUDGE ELDON E. FALLON

                                                        MAG. JUDGE NORTH

 THIS DOCUMENT RELATES TO:
 ALL CASES


                                 PRE-TRIAL ORDER NO. 14C

       The parties having agreed to amend Pre-Trial Order No. 14 (PTO 14) dated May 4,

2015, PTO 14 is hereby amended as follows:

       1.      In Section IV and VII.5 of the Defendant’s Fact Sheet (“DFS”), Defendants have

agreed, without objection to answer certain questions and provide certain data relating to the

dispensing and prescribing practices of Plaintiffs’ Prescribing and Primary Treating Health Care

Providers as it relates to Xarelto if such data is within their possession, custody or control.

       2.      Defendants license information and data responsive to Section IV and VII.5 of the

DFS from Source Healthcare Analytics LLC (“SHA”), a wholly-owned subsidiary of Symphony

Health Solutions Corporation (“SHS”). SHA has authorized Defendants to provide a copy of the

responsive data to the Plaintiffs, with no fee, upon execution of the Third Party Data Use

Agreement attached hereto as Exhibit 1 by the individual Plaintiff’s counsel to whom the data

will be produced.
    Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 342 of 348



       3.      Defendants shall, upon receipt of an executed Third Party Data Use Agreement

from    Plaintiff’s   counsel   (sent     to   each   Defendants’   counsel    by   E-mail      to

jennifer.lamont@dbr.com, julie.tersigni@dbr.com, and shane.oconnell@dbr.com):

               a)      produce all responsive SHS data and documents pursuant to Section IV

               and VII.5 of the DFS in cases which have been designated to receive a DFS

               pursuant to CMO 6.

               b)      supplement its response to Section IV and VII.5 of any DFS already

               provided to Plaintiff pursuant to CMO 6 and produce all responsive documents

               within ten (10) days of receiving the executed Third Party Data Use Agreement.

               c)      all responsive data and documents will be produced in excel format.

       4.      All provisions of PTO 14 other than those amended herein shall remain

unchanged and in full force and effect.



       New Orleans, Louisiana this 23rd day of May, 2018




                                               __________________________________
                                               ELDON E. FALLON
                                               UNITED STATES DISTRICT JUDGE
Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 343 of 348




                                EXHIBIT 1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 344 of 348



                          THIRD PARTY DATA USE AGREEMENT (LITIGATION)

        This THIRD PARTY DATA USE AGREEMENT (LITIGATION) (“Agreement”) is by and among
Source Healthcare Analytics, LLC, a Delaware corporation with its principal place of business at 2390
East Camelback Road, Phoenix, Arizona 85016 (“SHA”), Janssen Pharmaceuticals, Inc., Janssen
Research & Development, LLC, Janssen Ortho, LLC and Johnson & Johnson (collectively,
“JANSSEN”), Bayer Corporation, Bayer Healthcare, AG, Bayer Pharma, AG, Bayer, AG, Bayer
Healthcare, LLC, and Bayer Healthcare Pharmaceuticals, Inc. (collectively, “BAYER”) and the
PLAINTIFF and/or PLAINTIFF’S LAW FIRM identified on the signature page of this Agreement
(“PLAINTIFF”) SHA, JANSSEN, BAYER and PLAINTIFF may be individually referred to herein as a “party”
or may be collectively referred to herein as the “parties.” PLAINTIFF and BAYER are collectively
referred to herein as “Data Users”.

THE PARTIES AGREE TO THE FOLLOWING:

1.       Effective Date. This Agreement shall only become effective as of the earlier of: (i) the date
last signed by all parties, or (ii) the date that Data Users receive access to the SHA Data (“Effective
Date”).

2.      Scope of this Agreement. PLAINTIFF is currently involved in litigation with JANSSEN and BAYER
in one or more of the consolidated lawsuits (the “Litigation”) titled:

         IN RE: XARELTO® PRODUCTS LIABILITY LITIGATION,
         PHILADELPHIA COURT OF COMMON PLEAS

         IN RE: XARELTO® (RIVAROXABAN) PRODUCTS LIABILITY LITIGATION
         MDL 2592, as well as the various federal District Courts to which an MDL case may be
         remanded

        As part of discovery in the Litigation, Data Users seek to receive, use and/or disclose (subject
to the Court-approved Protective Orders) all or part of the following data product(s)/service(s) that
JANSSEN previously licensed from SHA (“SHA Data” or “Data”):

        SHA Data includes information or data licensed by JANSSEN from SHA relating to the number of
new prescriptions and the number of total prescriptions for Xarelto® for 2011 to the present written by
the prescribing healthcare providers and one primary treating healthcare provider identified by each
PLAINTIFF in Section III.A.1(a) and Section III.B.1 of the Plaintiff Fact Sheet, along with the name and
address of the healthcare provider.

        SHA Data also includes any license agreement, or amendment thereto, pursuant to which
JANSSEN licensed information or data from SHA, and any correspondence or communications relating to
any such license agreement or amendment thereto.

        SHA Data further includes any data or information derived from any SHA Data licensed by
JANSSEN. By the signature below of an authorized representative of SHA, this Agreement constitutes
SHA’s prior written permission to JANSSEN to disclose such data to Data Users, subject to the terms and
conditions contained in this Agreement.

3.     Data Delivery. JANSSEN will have sole responsibility for providing Data Users with access to the
SHA Data. SHA has no obligation to deliver any SHA Data or provide support of any kind to JANSSEN or
Data Users unless expressly provided in this Agreement.

4.     Permitted Scope of Data Use. The parties agree that the SHA Data may be used solely in
accordance with this Agreement and for the purpose(s) and in the manner expressly described below
(“Permitted Use(s)”):



91568853.1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 345 of 348




         SHA Data may be used in connection with discovery, motion practice, trial and appeal in the
Litigation pursuant to the terms of the Protective Orders (as defined in Section 6(a) below). No report,
document, or exhibit using SHA data will be represented as having been prepared by SHA. The
Permitted Uses shall terminate at the conclusion of the Litigation identified in Section 2 on the last to
occur of the following dates: (1) entry of a final order and judgment disposing of all claims; (2)
exhaustion of all appellate rights relating to any final order and judgment; (3) expiration of the time to
appeal any final order and judgment; or (4) final settlement of all claims.

        SHA's consent is limited to disclosure of the SHA Data in connection with legally required
production of information or documents in the Litigation. JANSSEN and Data Users each will not
disclose the SHA Data to any other party or in any other legal proceeding without SHA's prior written
consent. The American Medical Association (“AMA”), whose proprietary data is or may be included
within the SHA Data that JANSSEN intends to disclose to Data Users, has consented to the disclosure of
SHA data to Data Users, subject to the requirements that (1) the AMA information will be designated
with the highest degree of confidentiality under the Protective Orders and (2) all other reasonable
steps will be undertaken to maintain the confidentiality of the AMA information.

5.      Restrictions on Data Users’ Use of SHA Data. The Permitted Use(s) described in the preceding
Section 4 are subject to all of the following restrictions:

         a. SHA will only act as an objective service provider and not as an expert on behalf of a client
or any party. SHA Data may only be used in accordance with this Agreement. SHA will not offer and
will not be expected or required to provide expert testimony or other evidence regarding the
interpretation of the results of the data provided by SHA or the services performed by SHA in
connection with the Litigation on behalf of JANSSEN or Data Users. In addition, SHA will not provide
any advice or engage in any advocacy with respect to witness testimony or expert analysis of any other
party. Also, SHA will not provide any opinion as to the relative merits of the clients’ or other party’s
positions in the Litigation.

         b. SHA Data cannot be used to identify an individual patient or pharmacy or for any other
unlawful purpose. SHA Data must be delivered to Data Users only in a format which does not identify
an individual patient or pharmacy in compliance with the Health Insurance Portability and
Accountability Act of 1996 and its implementing regulations. Data Users represent and warrant that
they will not attempt, directly or indirectly, to re-identify any SHA Data to identify an individual or
pharmacy. SHA may require JANSSEN to immediately suspend delivery of any SHA Data to Data Users in
the event that SHA has a good faith reason to believe that identifiable data will be or is included with
or in any SHA Data. Data Users shall ensure that the SHA Data will not be used by or on behalf of Data
Users in any way to exhibit, reference, access or generate any individual, pharmacy or hospital level
data. Data Users represent and warrant that they will not attempt to link, on an individual basis, any
other information to the SHA Data. Data Users further represent and warrant that they maintain, and
will continue to maintain, appropriate access controls to physically, technically, and administratively
separate any SHA Data. Data Users agree to notify SHA immediately if any individual or pharmacy
identifiable data is received by Data Users. Data Users agree that subject to SHA’s direction, they will
either: (1) promptly return to SHA any SHA Data that contains identifiable data, or (2) destroy such
Data and copies thereof.

        c. Except for the Permitted Use(s), Data Users may not use any SHA Data for Data Users’ own
benefit or for the benefit of any other person or entity. Further, Data Users may not resell, sublicense,
copy, duplicate or otherwise distribute, disclose or permit access to SHA Data by any third party
(including affiliates of Data Users).




91568853.1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 346 of 348



         d. Data Users acknowledge that SHA has an obligation to handle medical information in a
legally appropriate and confidential manner. In addition to any other remedy or right hereunder, SHA
shall have the right to obtain equitable relief in the event that Data Users breach any obligation
herein.

6.       Confidentiality.

        a. SHA’s willingness to enter into this Agreement is expressly conditioned upon JANSSEN’s and
Data Users’ willingness to treat SHA Data as confidential information subject to the terms of a valid,
Court-approved Protective Orders. A copy of the applicable Protective Orders in the Litigation, Pre-
Trial Order No. 12 (Stipulated Protective Order) [Rec. Doc. 894], filed 05/04/15 in MDL No. 2592, In
re: Xarelto (Rivaroxaban) Products Liability Litigation attached hereto as Exhibit A and Case
Management Order No. 5 (Stipulated Protective Order), filed 05/19/15, First Judicial District of
Pennsylvania, Philadelphia Court of Common Pleas, In re: Xarelto Products Liability Litigation
attached hereto as Exhibit B (collectively referred to within as “Protective Orders”). JANSSEN and
Data Users each agree that they will not disclose any SHA Data during the Litigation unless such
disclosure fully complies with the terms of the attached Protective Orders.

         b. Data Users shall ensure that: (i) any employees or agents who receive any SHA Data is
apprised of and appreciates the confidential and proprietary nature of the SHA Data; and (ii) each such
employee or agent agrees to the confidentiality obligations herein and refrains from disclosing or
discussing the SHA Data with anyone other than the Court or required employees of Data Users,
JANSSEN or SHA. Data Users’ employees shall only receive those portions of the SHA Data necessary to
fulfill Data Users’ requirements in connection with the Litigation and in accordance with the Permitted
Use.

        c. Data Users agree not to remove or alter any SHA confidentiality, protected designation,
copyright or proprietary notice appearing on any SHA Data received from JANSSEN. In addition, any
documents or materials prepared by Data Users which contain information derived from any SHA Data
shall be marked or designated HIGHLY PROTECTED – SUBJECT TO PROTECTIVE ORDER pursuant to the
terms and procedures set forth in the Protective Orders and without regard to whether such
information may or will be disclosed to any other person or party. In addition, any documents or
materials prepared by Data Users which contain information derived from any SHA Data shall be
marked or designated HIGHLY PROTECTED – SUBJECT TO PROTECTIVE ORDER pursuant to the terms of
this Agreement and without regard to whether such information may or will be disclosed to any other
person or party.

        d. Except in accordance with the terms of the Protective Orders referenced above, no part of
the SHA Data shall be published, quoted or reproduced by Data Users. JANSSEN will credit SHA as a
source of data only for the Litigation. JANSSEN’s attribution of the SHA Data to SHA does not constitute
and will in no way be characterized by JANSSEN or Data Users as SHA's endorsement of the data, views,
opinions or findings expressed, shared or otherwise reported by JANSSEN or Data Users.

        e. No part of the SHA Data shall be published, quoted, made or reproduced by Data Users for
any business, competitive, personal, private, advertising, promotional or public relations purposes.

        f. Data User accepts sole responsibility for ensuring that Data users’ employees and agents
comply with the terms of this Section of the Agreement and the Protective Orders. Data Users agree
that they are directly and separately liable for any breach of such terms by Data Users’ employees and
agents.

7.      Ownership. JANSSEN and Data Users acknowledge that the Data provided under this Agreement
are proprietary and confidential to SHA and that JANSSEN and Data Users have the right only to use
such Data in accordance with the terms of this Agreement. Except as otherwise provided for herein,
SHA retains all right, title and interest in, to, and under the Data.



91568853.1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 347 of 348




8.       Term and Termination. The term of this Agreement shall begin on the Effective Date and shall
end at the: (i) the expiration or termination of the Permitted Use(s); or (ii) any earlier termination as
permitted under the Agreement. Upon the termination or expiration of this Agreement, Data Users
shall at SHA’s option destroy or return to JANSSEN or to SHA, all SHA Data, and if applicable, an
authorized representative of Data Users shall certify in writing to SHA, with a copy to JANSSEN, that
Data Users have destroyed or returned to JANSSEN or SHA all SHA Data.

9.      No Warranty. ANY SHA DATA PROVIDED TO DATA USERS IN CONNECTION WITH THIS AGREEMENT
IS PROVIDED TO DATA USERS “AS-IS” AND SHA MAKES NO REPRESENTATION OR WARRANTY, EXPRESS OR
IMPLIED, TO DATA USER SOR TO JANSSEN IN CONNECTION WITH THE SHA DATA, INCLUDING THE IMPLIED
WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE.

10.      Limitation of Liability. THE PARTIES ACKNOWLEDGE AND AGREE THAT SHA SHALL HAVE NO
LIABILITY TO ANY OTHER PARTY UNDER THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO, ANY
LIABILITY ARISING FROM THE INACCURACY OR INCOMPLETENESS OF THE DATA. IN NO EVENT SHALL SHA
BE LIABLE FOR ANY INCIDENTAL OR CONSEQUENTIAL DAMAGES INCLUDING BUT NOT LIMITED TO, LOST
BUSINESS, LOST PROFITS OR THIRD PARTY CLAIMS, WHETHER FORESEEABLE OR NOT, EVEN IF SHA HAS
BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. The parties acknowledge and agree that a
breach of Data Users or its employees of the provisions of this Agreement will cause SHA and/or its
affiliates irreparable injury and damage which may not be compensable by money damages, and,
therefore, Data Users agree that SHA and/or its affiliates shall be entitled to injunctive or other relief
to prevent such a breach and to secure enforcement of the terms of this Agreement, in addition to any
other remedies which may be available. Without limiting the availability to SHA of any other rights or
remedies, if Data Users breach any of the terms of this Agreement, SHA reserve the right to
immediately terminate this Agreement upon notice to JANSSEN and Data Users.

11.     Notices. All notices, demands or other communications required hereunder shall be given or
made in writing and shall be delivered personally or sent prepaid (a) by certified or registered first
class mail with return receipt requested or (b) by a nationally-recognized common carrier’s overnight
courier service, addressed to the receiving party at the address first written above or such other
address as the receiving party may advise in writing to use hereunder. Further, in the case of SHA, the
notice must be sent to the attention of the “President & CEO” with a copy to the “Legal Department.”

12.      Miscellaneous. This Agreement sets forth the entire agreement between the parties and
supersedes prior proposals, agreements and representations related to the subject matter of this
Agreement, whether written or oral. No modifications, amendments or waiver of any of the provisions
of this Agreement shall be binding upon the parties unless made in writing and duly executed by
authorized representatives of all parties. No party may assign, transfer or sublicense any portion of this
Agreement or the Data provided hereunder without the express prior written consent of SHA. Any
attempt to assign, transfer or sublicense by Data Users or JANSSEN shall be void. This Agreement may
be executed in one or more counterparts, each of which shall be deemed an original, and all of which
together shall constitute one and the same document. The headings of the paragraphs hereof are used
for convenience only and shall not affect the meaning or interpretation of the content thereof. This
Agreement and the relationship of the parties in connection with the subject matter of this Agreement
shall be governed by and determined in accordance with the laws of the State of Delaware. The failure
to enforce at any time the provisions of this Agreement or to require at any time performance by the
other parties of any of the provisions hereof shall in no way be construed to be a waiver of such
provisions or to affect either the validity of this Agreement (or any part hereof), or the right of any of
the parties thereafter to enforce each and every provision in accordance with the terms of this
Agreement. If any provision of this Agreement is held to be invalid or unenforceable by any judgment
of a tribunal of competent jurisdiction, the remainder of this Agreement shall not be affected by such
judgment, and the Agreement shall be carried out as nearly as possible according to its original terms
and intent. However, if the original intent of the parties cannot be preserved, this Agreement shall
terminate upon the effective date of such judgment.



91568853.1
     Case 2:18-cv-07825-EEF-MBN Document 4 Filed 08/23/18 Page 348 of 348




SHA, JANSSEN, BAYER and PLAINTIFF acknowledge their receipt and acceptance of the terms and
conditions of this Agreement by the signature below of their respective authorized representatives.




 PLAINTIFF:                                    JANSSEN:
 By: ______________________________            By: __________________________________
 Printed Name: ____________________            Printed Name:_________________________
 Title: ____________________________           Title: ________________________________
 Law Firm: ________________________            Law Firm: ____________________________
 Address: _________________________            Address: _____________________________
 Address: __________________________           Address: _____________________________
 Telephone: _______________________            Telephone: ___________________________
 E-mail:___________________________            E-mail:_______________________________
 Date: ___________________________             Date: ________________________________


 SOURCE HEALTHCARE ANALYTICS, LLC              BAYER:
 By: _______________________________           By: __________________________________
 Printed Name: _____________________           Printed Name: ________________________
 Title: _____________________________          Title: ________________________________
 Date: _____________________________           Law Firm: ____________________________
                                               Address: _____________________________
                                               Address: _____________________________
                                               Telephone: ___________________________
                                               E-mail:_______________________________




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